 

 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

1656 S. Pearl St., Milwaukee, WI, more fully described in
Attachment A.

Case No. 00 am SIA

 

Nee ee ee ee ee

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

1656 S. Pearl St., Milwaukee, WI, more fully described in Attachment A.

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B.

The basis for the search under Fed. R. Crim P. 41(c) is:
mi evidence of a crime;
m contraband, fruits of crime, or other items illegally possessed;
mi property designed for use, intended for use, or used in committing a crime;
m a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: 21, United States Code, Sections 841(a)(1), 846, and 843(b) and Title 18, United States Code,
Sections 1956(h), and 2

The application is based on these facts: See attached affidavit.

L] Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

   

Apptcant’s signature

Michael Saddy, DEA Task Force Officer

 

 

 

Printed Name and Title
Sworn to before me and signed in my presence:
Date: ate, / oO, 020 26h
(7 CD Judge’ 's signature

 
   

City and State: Mitwankes, Wisconsing22.WEC Filed 02/18 9perable Malia by Callahan es

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AFFIDAVIT IN SUPPORT OF CRIMINAL
COMPLAINT AND SEARCH WARRANTS

L INTRODUCTION

I, Michael Saddy, being duly sworn, depose and state as follows:

1. 1 am a Federal Task Force Officer (TFO), with the United States Department of
Justice, Drug Enforcement Administration (DEA) and am currently attached to the Milwaukee
District Office (MDO) Task Force Group 62 on the drug interdiction and opioid initiative as an
investigator specializing in the smuggling, trafficking, and distribution of controlled substances.
As such, I am an “investigative or law enforcement officer” within the meaning of 18 U.S.C. §
2510(7) and 21 U.S.C. § 878, an officer of the United States who is empowered by law to conduct
investigations of, and to make arrests for offenses enumerated in 18 U.S.C. § 2516. I was deputized
as a TFO with the DEA in 2017. In addition to being a TFO with the DEA, I am a Detective for
the City of New Berlin Police Department and have been a full-time law enforcement officer since
2007.

2. I have received basic criminal investigative training, attended the Wisconsin State
Police Academy, and attended numerous DEA narcotic training courses. In the course of my
work, I have become knowledgeable with the enforcement of state and federal laws pertaining to
narcotics trafficking. I have participated in drug trafficking investigations conducted by the
Milwaukee Police Department, Homeland Security Investigations (HSI), the Drug Enforcement
Administration (DEA), the Federal Bureau of Investigation (FBI), the United States Postal
Inspection Service (USPIS) and other law enforcement agencies, which resulted in the arrest of
subjects, and the seizure of property, assets, and controlled substances. J have been involved with

various electronic surveillance methods, the debriefing of defendants, informants, and witnesses,

1
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 2 of 219 Document 1
as well as others who have knowledge of the distribution, transportation, storage, and importation
of controlled substances.

3. I am familiar with various methods of smuggling and trafficking controlled
substances and its’ proceeds. I am also familiar with methods used to by traffickers to evade
detection of both the controlled substances and its’ proceeds. I have received training in the
investigation of and am knowledgeable in investigations pertaining to drug trafficking, illegal firearm
possession and trafficking, money laundering, financial investigations and various methods which
drug dealers use in an effort to conceal and launder the proceeds of their illicit drug trafficking
enterprises.

4. I have received training in the area of narcotics investigations, money laundering,
financial investigations, and various methods that drug dealers use in an effort to conceal and
launder the proceeds of their illicit drug trafficking enterprises. I have participated in numerous
investigations involving violations of state and federal narcotics laws. I have participated or
assisted in numerous federal and state search warrants for narcotic related offenses, which have
resulted in the seizure of controlled substances, firearms, United States currency, vehicles, real
estate, and jewelry from individuals involved in narcotic trafficking.

5. I have extensive training and experience in the investigation of criminal gangs,
Continuing Criminal Enterprises (CCE), and Drug Trafficking Organizations (DTO). I am familiar
with the different structures, the motivations for criminal their activities, the hierarchies, and the
variety of roles of the members within the organizations. I have applied my training in the
investigation of these organizations and have charted and tracked them. My investigations have
revealed the geographical locations that they inhabit, the level of violence and crimes they have

committed and their hierarchy and the roles of their members within their respective organizations. I

2
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 3of219 Document 1
 

have participated in these types of investigations as both the lead investigator and co-agent and have
successfully dismantled them by use of several law enforcement investigation techniques to include
wiretaps.

6. In addition, through training, experience, and discussions with other experienced
agents:

a. I have learned about the manner in which individuals and organizations
distribute controlled substances in Wisconsin as well as in other areas of the
United States;

b. I am familiar with the appearance and street names of various drugs, including
marijuana, heroin, cocaine, and crack cocaine. J am familiar with the methods
used by drug dealers to package and prepare controlled substances for sale. J
know the street values of different quantities of the various controlled
substances;

c. I am familiar with the coded language utilized over the telephone to discuss
drug trafficking and know that the language is often limited, guarded, and
coded. J also know the various code names used to describe controlled
substances;

d. I know drug dealers often put telephones in the names of others (nominees) or
obtain pre-paid cellular telephones from companies where no subscriber name
or address is required to distance themselves from telephones that they use to
facilitate drug distribution. Because drug traffickers go through many
telephone numbers, they often do not pay final bills when they are done using
a telephone number and then are unable to put another line in the name of that
subscriber;

e. I know large-scale drug traffickers often purchase and/or title their assets in
fictitious names, aliases or the names of relatives, associates, or business
entities to avoid detection of these assets by government agencies. I know that
even though these assets are in names other than the drug traffickers, the drug
traffickers actually own and continue to use these assets and exercise dominion
and control over them;

f. I know large-scale drug traffickers must maintain on-hand, large amounts of
U.S. currency to maintain and finance their ongoing drug business;

g. I know it is common for drug traffickers to maintain books, records, receipts,

notes, ledgers, airline tickets, receipts relating to the purchase of financial
instruments and/or the transfer of funds and other papers relating to the

3
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 4of219 Document 1
transportation, ordering, sale and distribution of controlled substances. That the
aforementioned books, records, receipts, notes, ledgers, etc., are maintained
where the traffickers have ready access to them;

h. I know it is common for large-scale drug traffickers to secrete contraband,
proceeds of drug sales and records of drug transactions in secure locations
within their residences, their businesses and/or other locations over which they
maintain dominion and control, for ready access and to conceal these items from
law enforcement authorities or rival drug traffickers. These secure locations
include, but are not limited to, safes, briefcases, purses, locked filing cabinets,
and hidden storage areas in natural voids of a residence;

i. I know it is common for persons involved in large-scale drug trafficking to
maintain evidence pertaining to their obtaining, secreting, transfer,
concealment, and/or expenditure of drug proceeds, such as currency, financial
instruments, precious metals and gemstones, jewelry, books, records of real
estate transactions, bank statements and records, passbooks, money drafts,
letters of credit, money orders, bank drafts, cashier’s checks, bank checks, safe
deposit box keys and money wrappers. These items are maintained by the
traffickers within residences (including attached and unattached garages),
businesses or other locations over which they maintain dominion and control;

j. I know large-scale drug traffickers often use electronic equipment such as
telephones (land-lines and cell phones), computers, telex machines, facsimile
machines, currency counting machines and telephone answering machines to
generate, transfer, count, record and/or store the information described in the
items above, as well as conduct drug trafficking activities;

k. I know when drug traffickers amass large proceeds from the sale of drugs, the
drug traffickers attempt to legitimize these profits through money laundering
activities. To accomplish these goals, drug traffickers utilize the following
methods, including, but not limited to: domestic and international banks and
their attendant services, securities brokers, professionals such as attorneys and
accountants, casinos, real estate, shell corporations and business fronts, and
otherwise legitimate businesses that generate large quantities of currency;

1. I know drug traffickers commonly maintain addresses or telephone numbers in
books or papers that reflect names, addresses and/or telephone numbers of their
associates in the trafficking organization;

m. I know drug traffickers take or cause to be taken photographs of themselves;
their associates, their property and their drugs. These traffickers usually
maintain these photographs in their possession; and

n. I know a “controlled buy” (and/or controlled contact) is a law enforcement
operation in which an informant purchases drugs from a target. The operation

4
Case 2:20-mj-00822-WEC Filed 02/18/20 Page5of 219 Document 1
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is conducted using surveillance, usually audio and video taping equipment, and
pre-recorded buy money. When an informant is used, he/she is searched for
contraband, weapons, and money before the operation. The informant is also
wired with a concealed body recorder and monitoring device. When the
transaction is completed, the informant meets case agents at a pre-determined
meet location and gives the purchased drugs and the recording/monitoring
equipment to the case agents. The informant is again searched for contraband,
weapons, and money. Additionally, all telephone calls made by the informant
while under the direction and control of case agents are recorded.

o. In addition, during the course of such residential searches, J and other agents
have also found items of personal property that tend to identify the person(s) in
residence, occupancy, control, or ownership of the subject premises. Such
identification evidence is typical of the articles people commonly maintain in
their residences, such as canceled mail, deeds, leases, rental agreements,
photographs, personal telephone books, diaries, utility and telephone bills,
statements, identification documents, and keys.

7. Pursuant to my official duties, I am submitting this affidavit in support of an
application for a criminal complaint, arrest warrants, and search warrants for violations of federal
laws, including violations of Title 21, United States Code, Sections 841(a)(1), 846, and 843(b),
Distribution of, and Possession with Intent to Distribute, Controlled Substances; Attempt and
Conspiracy to commit violations of Controlled Substances Offenses, including to Distribute and
Possess with Intent to Distribute Controlled Substances; Use of Communications Facilities to
Facilitate Controlled Substance Felonies; and, Title 18, United States Code, Sections
1956(a)(1)(B)(i) and (h); i.e. Money Laundering and Conspiracy to Commit Money Laundering;
and, Title 18, U.S.C. Section 2.

8. I am personally involved in the investigation of the offenses discussed in this
affidavit and I am familiar with all aspects of this investigation. The statements contained in this
affidavit are based on my knowledge and, in part, information provided by LEOs, including (a)

my personal knowledge and observations derived from participation in this investigation; (b)

review of oral and written reports that I have received directly or indirectly from other LEOs about

5
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 6 of 219 Document 1
this and other drug-trafficking investigations; (c) discussions I personally had concerning this
investigation with other experienced drug-trafficking investigators; (d) physical surveillance by
the DEA, Homeland Security Investigations (HSI), and local law enforcement agencies, the results
of which have been reported to me directly or indirectly; (e) public records; (f) review of telephone
toll records, pen register and trap and trace information, and telephone subscriber information; (g)
information provided by confidential sources working for the DEA, HSI, and North Central
HIDTA; (h) consensually-recorded phone calls between confidential sources, undercover agents
that involved the TARGET TELEPHONES (TT); (i) controlled purchases of heroin, fentanyl, and
cocaine; (j) review of driver's license and automobile registration records; (k) records obtained
from law enforcement databases; (1) my training and experience as a DEA TFO; and (m) the
training and experience of other LEOs involved in this investigation; (n) United States Postal
service records; (0) and wire and electronic communication interceptions that have been translated
from Spanish to English.

9. The statements in this affidavit are based on my personal knowledge, and on
information I have received from other law enforcement personnel and from persons with
knowledge regarding relevant facts. Because this affidavit is being submitted for the limited
purpose of securing search warrants and a criminal complaint, I have not included each and every
fact known to me concerning this investigation. I have set forth only those facts that I believe are
necessary to establish probable cause to believe that evidence of violations set forth above occurred
and that probable cause exists to believe that the property described in Attachment A, incorporated

herein by reference, contain the items that are described in Attachment B.

6
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 7 of 219 Document 1
 

Il. INDIVIDUALS FOR WHOM A CRIMINAL COMPLAINT IS SOUGHT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME DATE OF BIRTH

1 David QUINONES-QUINONES 11-18-1971
aka: Davo

2 David Joel QUINONES-RIOS 05-08-1990
aka: Davito, Gordito, Gordo

3 Roberto ORENCH-FELICIANO 10-06-1992
aka: Kendo, Kendo Kaponi

4 Carlos Omar CONCEPCION-RIVERA 03-18-1988
aka: Omy

5 Yashira Jehovalis CORTES-NIEVES 08-09-1995

6 Jose GONZALEZ-COLLADO 05-11-1991
aka: Chieto, Gordo

7 Hector Yamil RODRIGUEZ-RODRIGUEZ | 01-01-1992
aka: Yamil

8 Marcos APONTE-LEBRON 01-25-1979
aka: Viejo, Kiko

9 Vladimir RODRIGUEZ-RODRIGUEZ 09-05-1994
aka: Vlado

10 Steven CORTES-IRIZARRY 08-23-1982
aka: Tufo

11 Keven TORRES-BONILLA 12-01-1990

12 Andros MARTINEZ-PELLOT 10-14-1989

13 Eric ROSA 07-10-1987
aka: Erico

14 Kadeja LEWIS 07-08-1990
aka: black girl, dark skinned girl, KD

15 Yadier ROSARIO 10-03-1996

16 Julio RIVERA-RAMIREZ 04-25-1968
aka: Macho

 

Case 2:20-mj-00822-WEC Filed 02/18/20 Page 8 of 219 Document 1

7

 
 

 

 

 

 

 

 

 

 

 

17 Rafael RIVERA-HERNANDEZ 04-24-1954
Aka: Rafa

18 Ricardo BONILLA 09-19-1971
aka: Ricky

19 Jose BURGOS-RIVERA 09-13-1977
aka: Chino

20 Jomar LABOY-SILVA 01-14-1993
aka: Yomo

21 Enid MARTINEZ 05-28-1987

22 Alexander MORALES-RIVERA 12-05-1992
aka: Robert

23 Keishla M. ORENCH-FELICIANO 10-26-1993

24 Wilberto SANTIAGO-MARTINEZ 03-30-1981
aka: Willy

25 Julio SEDA-MARTINEZ 01-02-1981
aka: Bebo

26 Jose M. AVILES-GONZALEZ 06-12-1994
Aka: Josema

 

 

 

 

 

Il. PROPERTIES FOR WHICH SEARCH WARRANTS ARE SOUGHT

10. For the reasons discussed herein, there is probable cause to believe that located at
and in the following properties (hereinafter the “PREMISES”), more fully described in Attachment
A, are items that constitute evidence of drug trafficking, including violations of Title 21, United
States Code, Sections 841 and 846; and money laundering, Title 18 United States Code, Sections
1956 and 2.

a. 120 East National Avenue, #326, Milwaukee, WI — identified as belonging to Jose
AVILES-GONZALEZ. A check of WE Energies revealed that services were
established on August 4, 2019, in the name of Daisy M. Velez-Collet, (414) 553-
0258.

8
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 9of 219 Document 1
 

b. 931 West Walker Street, Milwaukee, WI — identified as belonging to Alexander
MORALEZ-RIVERA. A check of WE Energies revealed that services were
established on March 20, 2017, in the name of Nellie Rivera-Rivas, (908) 313-
5651.

C. 1339 West Scott Street, Apartment 1, Milwaukee, WI — identified as belonging to
Alexander MORALEZ-RIVERA. A check of WE Energies revealed that services
were established on September 25, 2018, in the name of Sharitza Rosado-Morales,
(414) 346-3587.

d. 1466A South Union Street, Milwaukee, WI — identified as belonging to Julio
RIVERA-RAMIREZ. A check of WE Energies revealed that services were
established on March 31, 2017, in the name of Julio C. Rivera, (414) 544-9701,
(414) 514-9650.

€. 1656 South Pearl Street, Milwaukee, WI — identified as belonging to Hector Yamil
RODRIGUEZ-RODRIGUEZ and Katiria Perez-Gonzales. A check of WE
Energies revealed that services were established on November 9, 2019, in the name
of Katiria Perez, (414) 690-4619.

f. 2166 South 15" Street (lower), Milwaukee, WI — identified as belonging to
Vladimir RODRIGUEZ-RODRIGUEZ. A check of WE Energies revealed that
services were established on August 17, 2012, in the name of Juan Villanueva,
(414) 803-0924.

g. 2179 South 14" Street, Upper Rear, Milwaukee, WI — identified as belonging to
Rafael RIVERA-HERNANDEZ. A check of WE Energies revealed that services
were established on June 29, 2018, in the name of Rafael Rivera, (414) 514-3478.

h. 2310A West Maple Street, Upper Unit, Milwaukee, WI — Identified as belonging
to Yadier ROSARIO. A check of WE Energies revealed that services were
established on January 26, 2019, in the name of Yadier Rosario, (414) 595-0785.

1. 2348A South 13" Street, Upper Rear, Milwaukee, WI — identified as belonging to
Marcos APONTE-LEBRON and Enid MARTINEZ. A check of WE Energies
revealed that services were established on November 3, 2018, in the name of Raul
Rosas, 414-719-1933 and 414-588-6934.

j. 2730 South 10" Street, Milwaukee, WI — identified as belonging to Hector Yamil
RODRIGUEZ-RODRIGUEZ. A check of WE Energies revealed that services
were established on July 29, 2019, in the name of Hector Rodriguez, (414) 841-
3770.

9
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 10 of 219 Document 1
11.

5956 North 65" Street, Milwaukee, WI — identified as belonging to Jomar LABOY-
SILVA. A check of WE Energies revealed that services were established on July
18, 2019, in the name of Weishka I. LaBoy, (414) 766-8371.

6225 West Mitchell Street, Lower Unit, West Allis, WI —identified as belonging to
Kelly Martinez-Bonilla, who is Steven CORTES-IRIZARRY’s paramour. A check
of WE Energies revealed that services were established on October 3, 2016, in the
name of Kelly M. Martinez, (414) 982-8221.

6353 West Lakefield Drive, Unit 1, Milwaukee, Wisconsin — identified as
belonging to Eric ROSA. A check of WE Energies revealed that services were
established on April 13, 2019, in the name of Eric Ramon Perez, (920) 515-5515.

6652 North 43 Street, Milwaukee, WI — Identified as belonging to Jose
GONZALEZ-COLLADO. A check of WE Energies revealed that services were
established on December 3, 2018, in the name of Jose M. Gonzalez-Collado, (708)
982-6640.

8330 West Beloit Road, West Allis, Wisconsin — identified as belonging to Keven
TORRES-BONILLA. A check of WE Energies revealed that services were
established on December 13, 2019, in the name of Lesty E. Burgos, (414) 274-
9724.

N88W14822 Main Street, Apartment B-03, Menomonee Falls, WI — identified as
belonging to Andros MARTINEZ-PELLOT. A check of WE Energies revealed
that services were established on January 3, 2012, in the name of Daniel Bruckner,
(414) 305-5800.

The following sub-sections set forth various types of information obtained during

this investigation regarding the locations and persons described above. Such information includes,

but is not limited to the following: (1) information obtained from confidential sources; (2)

surveillance; (3) recorded conversations; and (4) physical surveillance.

12.

This investigation was initiated in September 2018. To date, case agents have

determined that a group of individuals, including, but not limited to David QUINONES-

QUINONES, David Joel QUINONES-RIOS, Jose Manuel GONZALEZ-COLLADO, Hector

Yamil RODRIGUEZ-RODRIGUEZ, and others, both known and unknown, are part of a drug

10

Case 2:20-mj-00822-WEC Filed 02/18/20 Page 11 of 219 Document 1
 

trafficking organization (“DTO”) that distributes cocaine, heroin, and fentanyl in the Eastern
District of Wisconsin and elsewhere.

13. The investigation has further revealed that those who participated in shipping drug
proceeds (i.e. cash) as payment for drugs, in parcels bearing the names and/or addresses of
nominees have conspired to commit money laundering. Moreover, every disguised shipment
represents an overt act of the conspiracy and a specific violation of Title 18, U.S.C., Sections 1956
(a)(1)(B)(i) and (h), knowing the transaction is designed to conceal the nature, source, location,
ownership or control of the proceeds, and Conspiracy to Commit Money Laundering. In sum, the
currency shipped from Milwaukee, Wisconsin, to Puerto Rico represents the proceeds from the
sales of cocaine in the Eastern District of Wisconsin. Those proceeds were shipped to the sources
of cocaine who reside in Puerto Rico, as payment for fronted cocaine, thus ensuring the continued
shipment of cocaine laden parcels to Milwaukee.

IV. PROBABLE CAUSE

A. Case Initiation

14. In September 2018, members of North Central High Intensity Drug Trafficking
Area Group 63 and Group 68, along with members of Group 62 (HIDTA), initiated an
investigation into individuals distributing large quantities of cocaine throughout Milwaukee,
Wisconsin. HJDTA identified the individuals involved in this cocaine distribution as, among
others, Jose Manuel GONZALEZ-COLLADO, Hector Yamil RODRIGUEZ-RODRIGUEZ,
Marcos APONTE-LEBRON, and Eric ROSA. The investigation revealed that GONZALEZ-
COLLADO obtained kilogram-quantities of cocaine from unknown source(s) of supply in Puerto
Rico. ROSA would, among other things, broker cocaine deals for GONZALEZ-COLLADO in

Milwaukee. APONTE-LEBRON would facilitate drug shipments from Puerto Rico, retrieve drugs

11
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 12 of 219 Document 1
from storage facilities for further distribution by local distributors in Milwaukee, collect drug
proceeds, and facilitate the mailing of those proceeds to Puerto Rico. The investigation disclosed
that ROSA would also broker heroin and fentanyl transactions in Milwaukee.

15. The US. Postal Service intercepted cocaine-laden parcels originating from Puerto
Rico and destined for residences in Milwaukee, Wisconsin on three distinct occasions early in
these investigation. First, on September 28, 2018, the USPS intercepted and searched, pursuant to
a warrant, a parcel containing approximately three kilograms of cocaine. The parcel originated
from Hormigueros, Puerto Rico and was addressed to 1330 S. 22nd Street, Milwaukee, Wisconsin.
On October 3, 2018, investigators observed a Honda Civic, registered to GONZALEZ-
COLLADO, parked at the residence. On October 4, 2018, investigators executed an anticipatory
warrant at 1330 S. 22nd Street, Milwaukee, Wisconsin once the cocaine-laden parcel was received
at the residence. During the search, investigators discovered 353.46 grams of cocaine and firearms
in the residence’s garage. Parked in the alley adjacent to the garage, investigators observed a
Toyota 4Runner, which was registered to GONZALEZ-COLLADO as well. The officers also
detained an individual who agreed to become a confidential source (CS-2, discussed infra).

16. Second, on October 25, 2018, the USPS intercepted a suspicious parcel addressed
to 2166 S. 15th Street, Milwaukee, Wisconsin and again originating from Hormigueros, Puerto
Rico. Although officers attempted to deliver the parcel to the Milwaukee residence on October
29, 2018, no one retrieved it. A postal employee left a notice in the mailbox directing the parcel’s
intended recipients to contact the USPS to claim the parcel. An unidentified male went to the Post
Office to give the USPS his contact number in reference to the undelivered parcel. The phone
number was affiliated with Jose BURGOS-RIVERA, an identified associate of GONZALEZ-

COLLADO. U.S. Postal Inspector (USPI) Tyler Fink called the number and spoke to a heavy-

12
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 13 of 219 Document 1
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accented male who agreed to retrieve the parcel. No one ever retrieved the parcel. On October
30, 2018, law enforcement searched the parcel pursuant to a warrant and discovered approximately
two kilograms of cocaine.

17. Third, on April 8, 2019, the USPS intercepted a suspicious parcel addressed to 5152
S. 15th Street, Milwaukee, Wisconsin and originating from Mayaguez, Puerto Rico. The parcel
was undeliverable because the destination address did not exist. On the same date, GONZALEZ-
COLLADO went to the West Milwaukee Post Office to specifically inquire about the undelivered
parcel. GONZALEZ-COLLADO gave the postal employee his name — Jose M. Collado — and
telephone numbers as a means to contact him should the parcel arrive. Also on the same date,
GONZALEZ-COLLADO left a message with the USPS to inquire about the parcel and left the
telephone number (708) 982-6640 (i.e. TARGET TELEPHONE- 5S) as his contact number. On
April 15, 2019, law enforcement searched the parcel pursuant to a warrant and discovered
approximately 1.8 kilograms of cocaine. As detailed infra, investigators seized additional cocaine-
laden parcels following the interception of wire and electronic communications in this case.

18. The investigation also determined that GONZALEZ-COLLADO had sent
suspected drug proceeds to Puerto Rico. On February 19, 2019, location information derived from
TARGET TELEPHONE-5 indicated the device was at a U.S. Post Office on the north side of
Milwaukee. Video surveillance and still images from the postal facility showed GONZALEZ-
COLLADO and an unknown male sending an overnight parcel to Puerto Rico. Suspecting
GONZALEZ-COLLADO had mailed drug proceeds, the officers notified HSI and the Postal
Inspection Service in Puerto Rico. On February 22, 2019, location information for TARGET
TELEPHONE 5 indicated the device was again at the postal facility on the north side of

Milwaukee. Video surveillance and still images showed GONZALEZ-COLLADO and Roberto

13
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 14 of 219 Document 1
SOSA (GONZALEZ-COLLADO’s brother in-law) requesting a refund for the overnight parcel
sent to Puerto Rico on February 19, 2019. Also on February 22, 2019, U.S. Postal inspectors in
Puerto Rico obtained a warrant to search the contents of the suspect parcel. The parcel contained
over $72,000 in U.S. currency.

19. On May 23, 2019, USPI Fink reviewed U.S. Postal Service business records and
identified a suspicious outbound parcel from Milwaukee, Wisconsin, destined for Mayaguez,
Puerto Rico. The suspicious parcel was believed to contain narcotics proceeds. The parcel had a
fictitious sender name and address (i.e. 1234 W. Walker Street, Milwaukee, Wisconsin 53204).
Conspicuously, Carlos FIGUEROA-REYES’s address is 1233 W. Walker Street, Milwaukee,
Wisconsin. USPI Fink noted the consignee address had been used before by other members of the
organization on April 9, 2019, and April 20, 2019. On May 24, 2019, USPI Fink reviewed
surveillance video at the West Milwaukee Post Office where the suspected money parcel
originated. A review of surveillance video and still images showed APONTE-LEBRON enter the
Post Office carrying the suspected money parcel and complete the transaction.

20. According to U.S Postal records and video surveillance, between May 28, 2019 and
November 26, 2019, Hector Yamil RODRIGUEZ-RODRIGUEZ appears to have shipped
approximately 17 parcels containing suspected drug proceeds to various locations in Puerto Rico
and one parcel to Mission, Texas. Likewise, between May 22, 2019 and November 25, 2019,
APONTE-LEBRON appears to have shipped approximately 27 parcels containing suspected drug
proceeds to various locations in Puerto Rico, two addresses in California, and three addresses in
Mission, Texas. Investigators have identified an Internet Protocol (IP) address that has tracked
several of the suspect parcels shipped to and from Puerto Rico and Mission, Texas. Based on

information obtained via subpoena, the IP address tracking these parcels listed a subscriber address

14
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 15 of 219 Document 1
 

of 2730 S. 10" St., Milwaukee, Wisconsin 53215, which is the residence of Hector Yamil
RODRIGUEZ-RODRIGUEZ.
B. Confidential Source Information
Information Obtained From Cooperating Source 1 (“CS-1”)

21. In September 2018, a confidential source (CS-1) contacted investigators. CS-1
provided information that was reliable given that CS-1 made statements both against CS-1’s penal
interest and later corroborated by other information gathered during the course of the investigation.
CS-1 said CS-1 knew an individual named Eric ROSA who bragged about receiving regular
cocaine shipments from Puerto Rico. CS-1 said ROSA is Puerto Rican and has family that still
lives on the island territory. CS-1 said ROSA has offered to sell cocaine to CS-1 and that ROSA
has sold cocaine to other individuals. ROSA has bragged to CS-1 about receiving multiple-
kilogram quantities of cocaine, which ROSA says he keeps in a storage unit near his residence on
Milwaukee’s south side. ROSA’s cocaine-dealing partner, an individual later identified as
GONZALEZ-COLLADO, is also known to CS-1. CS-1 cooperated with law enforcement from
approximately September 2018 to December 2018. CS-1 cooperated in exchange for consideration
on an offense in Waukesha County, Wisconsin, which involved a reduction in work-release jail
time. CS-] has never been paid money in exchange for his cooperation with law enforcement.
Thus far, the information provided by CS-1 has proven to be reliable and has been corroborated
by, among other things, physical surveillance activities, USPS postal records, controlled buys and
other confidential source information. According to law enforcement databases, CS-1 has been
convicted of Operating While Intoxicated and Operating after Revocation in Waukesha County,

Wisconsin, which is the same offense for which CS-1 received consideration.

15
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 16 of 219 Document 1
Information Obtained From Cooperating Source 2 (“CS-2”)

22. In October and November 2018, investigators spoke with another confidential
source (CS-2), who provided information that was reliable given that CS-2 made statements both
against CS-2’s penal interest and later corroborated by other information gathered during the
course of the investigation. CS-2 had known GONZALEZ-COLLADO for several months and,
along with several of GONZALEZ-COLLADO’s associates, shared an interest in working on
automobiles. Given CS-2’s close association with GONZALEZ-COLLADO and his associates,
CS-2 became privy to the illicit activity in which they engaged. Specifically, CS-2 said
GONZALEZ-COLLADO supervised a drug-trafficking organization in the greater Milwaukee
area. According to CS-2, GONZALEZ-COLLADO had cocaine sent, via U.S. Mail, from Puerto
Rico to Milwaukee. On several occasions, in the past six months, GONZALEZ-COLLADO
mentioned to CS-2 that GONZALEZ-COLLADO’s drug source-of-supply resides in Puerto Rico.
GONZALEZ-COLLADO had numerous associates who agreed to receive the cocaine, which
would be delivered to their home addresses in the Milwaukee area via the U.S. Postal Service. CS-
2 admitted to receiving a parcel on behalf of GONZALEZ-COLLADO that CS-2 believed
contained contraband. CS-2 identified Julio SEDA-MARTINEZ as “Bebo,” a heroin user, who,
on behalf of GONZALEZ-COLLADO, obtains cocaine-laden parcels sent via the USPS from
Puerto Rico. CS-2 said SEDA-MARTINEZ also sends the organization’s drug proceeds to Puerto
Rico via wire transfers at Walmart.

23. CS-2 said GONZALEZ-COLLADO may have cocaine suppliers in New Jersey.
CS-2 described Hector Yamil RODRIGUEZ-RODRIGUEZ as a cocaine distributor who works
with GONZALEZ-COLLADO. Intercepted communications over TARGET TELEPHONE-S and

TARGET TELEPHONE-? (identified infra) and location information derived from TARGET

16
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 17 of 219 Document 1
 

TELEPHONE-5 and TARGET TELEPHONE-2 suggested that GONZALEZ-COLLADO and
APONTE-LEBRON traveled to Philadelphia, Pennsylvania to purchase heroin and transport it to
Milwaukee in a car provided by a Philadelphia-based drug trafficker.

24. CS-2 identified 1233 W. Walker St., Milwaukee, Wisconsin 53204 as a residence,
used by organization members, to meet and conduct mechanical work on vehicles as well. The
residence and rear garage are used to store illegal drugs too. CS-2 further characterized this
location as a “stash house,” which is a reference to a place where individuals clandestinely store
illegal drugs and/or drug proceeds. While conducting surveillance, investigators observed
GONZALEZ-COLLADO entering the rear garage area. CS-2 also identified Carlos Miguel
FIGUEROA-REYES as “El Bori,” the person who resides at 1233 W. Walker St. residence and
assists GONZALEZ-COLLADO and others in the distribution of illegal drugs.

25. CS-2 also explained the nature of GONZALEZ-COLLADO’s “business”
relationship with an individual later identified as Kadeja LEWIS. Between September and October
2018, CS-2 was present during 8-9 kilogram-level cocaine transactions between GONZALEZ-
COLLADO and the LEWIS. In total, CS-2 has witnessed about 12 transactions where
GONZALEZ-COLLADO has supplied cocaine dealers with kilogram-level quantities of cocaine.
Because GONZALEZ-COLLADO spoke only Spanish and LEWIS spoke only English, CS-2,
who speaks both English and Spanish, served as a translator during these cocaine transactions.
CS-2 said LEWIS’s father was also a cocaine trafficker, who may have worked at a car dealership
with ROSA and GONZALEZ-COLLADO. CS-2 said LEWIS’s father purchased cocaine from
ROSA as well and sold the cocaine in the Racine, Wisconsin area. LEWIS gave CS-2 her phone

number (i.e., (414) 736-0451) to facilitate future drug transactions with GONZALEZ-COLLADO.

17
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 18 of 219 Document 1
26. CS-2 actively cooperated with law enforcement from approximately October 2018
to January 2019. CS-2 expressed fears that CS-2’s life would be endangered if the organization
discovered that CS-2 was cooperating with law enforcement. CS-2 said GONZALEZ-COLLADO
and other organization members have ceased communicating with CS-2 following CS-2’s October
4, 2018 arrest for Possession of Cocaine with Intent to Deliver in Milwaukee, Wisconsin. CS-2
cooperated in exchange for an expectation of lenient treatment in the Milwaukee case involving
the Possession of Cocaine with Intent to Deliver. Specifically, the Milwaukee County District
Attorey’s Office delayed prosecution of CS-2 in exchange for CS-2’s ongoing cooperation with
law enforcement. CS-2 has never been paid money in exchange for his cooperation with law
enforcement. Thus far, the information provided by CS-2 has proven to be reliable and has been
corroborated by, among other things, physical surveillance activities, USPS postal records, search
warrants, controlled drug buys, undercover recordings and other confidential source information.
According to law enforcement databases, CS-2 has been arrested for Aggravated Battery,
Endanger Safety/Use/Dangerous Weapon in Milwaukee County, Wisconsin and convicted of
Armed Robbery and Possession of a Controlled Substance in Montgomery, Alabama.

Information obtained from Cooperating Source (“CS-3”)

27. During the course of the investigation, case agents also received cooperation from
another confidential source (CS-3). CS-3 agreed to conduct a controlled purchases of narcotics
with the expectation that s/he would receive lenient treatment regarding pending state charges.
Case agents believe the confidential source is credible and reliable because the confidential source
made statements against the confidential source’s penal interest. These statements were later
corroborated by other information gathered during the course of the investigation. CS-3 has a

2017 arrest in Milwaukee County for possession with intent to deliver cocaine and possession with

18
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 19 of 219 Document 1
 

intent to deliver heroin. In addition, CS-3 has a 2018 arrest in Milwaukee County for possession
with intent to deliver cocaine, possession with intent to deliver heroin, use of a dangerous weapon,
bail jumping and obstructing an officer. (See, infra, a discussion of MARTINEZ-PELLOT, for

additional information regarding CS-3’s cooperation).

C. Court-Authorized Interceptions

28. On June 13, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for and
successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District of
Wisconsin, to intercept wire and electronic communications (Application Number 13029) for the
cellular telephone assigned number (920) 651-5712, which was used by ROSA. Although
interception began on June 13, 2019, no communications were intercepted because ROSA
discontinued use of (920) 651-5712 on or about June 12, 2019.

29. On June 20, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for and
successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District of
Wisconsin, to intercept wire and electronic communications (Application Number 13029) for the
cellular telephone assigned number (920) 651-5723 (hereinafter TARGET TELEPHONE-1),
which ROSA previously used. Intercepted communications over TARGET TELEPHONE-1 were
terminated on July 11, 2019.

30. On July 9, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for and
successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District of
Wisconsin, to intercept wire and electronic communications (Application Number 13029) for the
cellular telephone assigned number (414) 501-6426 (hereinafter TARGET TELEPHONE-2), used
by APONTE-LEBRON. As the result of an error in agency designation, an amended order was

signed by District Judge J.P. Stadtmueller on July 10, 2019. Although interceptions began on July

19
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 20 of 219 Document 1
10, 2019, no interceptions were initially obtained as APONTE-LEBRON had “self-suspended” the
account affiliated with TARGET TELEPHONE-2 hours before interception began. On July 18,
2019, APONTE-LEBRON resumed use of TARGET TELEPHONE-2, allowing investigators to
initiate interceptions of TARGET TELEPHONE-2. The interception of wire and electronic
communications on TARGET TELEPHONE-?2 ended on August 8, 2019.

31. On July 25, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for and
successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District of
Wisconsin, to intercept wire and electronic communications (Application Number 13029) for the
cellular telephone assigned number (920) 492-6440 (hereinafter TARGET TELEPHONE-3) used
by GONZALEZ-COLLADO, the cellular telephone assigned number (920) 651-5731 (hereinafter
TARGET TELEPHONE-4) used by APONTE-LEBRON, and the cellular telephone assigned
number (708) 982-6640 (hereinafter TARGET TELEPHONE-5) used by GONZALEZ-
COLLADO. The interception of wire and electronic communications on TARGET
TELEPHONE-3 ended on August 2, 2019. The interception of wire and electronic
communications on TARGET TELEPHONE-4 and TARGET TELEPHONE: 5 is scheduled to end
on August 24, 2019.

32. On August 27, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for and
successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District of
Wisconsin, to intercept wire and electronic communications (Application Number 13029) for the
cellular telephone assigned number (414) 841-3770 (hereinafter TARGET TELEPHONE-6) used
by Hector Yamil RODRIGUEZ-RODRIGUEZ, the cellular telephone assigned number (414) 208-
5745 (hereinafter TARGET TELEPHONE-7) used by Hector Yamil RODRIGUEZ-

RODRIGUEZ, and the cellular telephone assigned number (920) 492-6147 (hereinafter TARGET

20
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 21 of 219 Document 1
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TELEPHONE-8) used by GONZALEZ-COLLADO. The interception of wire and electronic
communications on TARGET TELEPHONE-6, TARGET TELEPHONE-7, and TARGET
TELEPHONE-8 ended on September 26, 2019.

33. On September 13, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for
and successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District
of Wisconsin, to intercept wire communications (Application Number 13029) for the cellular
telephone assigned number (708) 970-3187 (hereinafter TARGET TELEPHONE-9) used by
GONZALEZ-COLLADO. The interception of wire communications on TARGET TELEPHONE-
9 ended on October 12, 2019.

34. On September 19, 2019 Assistant U.S. Attorney Robert J. Brady, Jr. applied for and
successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District of
Wisconsin, to intercept wire and electronic communications (Application Number 13029) for the
cellular telephone assigned number (787) 960-9540 (hereinafter TARGET TELEPHONE-10) used
by CONCEPCION-RIVERA. The interception of wire and electronic communications on
TARGET TELEPHONE-10 ended on October 18, 2019.

35. On October 4, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for and
successfully obtained authorization from U.S. District Judge Lynn Adelman, Eastern District of
Wisconsin, to continue intercepting wire and electronic communications (Application Number
13029) for the cellular telephone assigned number (414) 841-3770 (TARGET TELEPHONE-6)
used by Hector Yamil RODRIGUEZ-RODRIGUEZ, and the cellular telephone assigned number
(414) 208-5745 (TARGET TELEPHONE-7) used by Hector Yamil RODRIGUEZ-RODRIGUEZ;
and for the initial interception of wire communications for the cellular telephone assigned number

(787) 463-8963 (hereinafter TARGET TELEPHONE-11) used by QUINONES-RIOS, and the

21
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 22 of 219 Document 1
cellular telephone assigned number (939) 274-6962 (hereinafter TARGET TELEPHONE -12) used
by ORENCH-FELICIANO. The interception of wire and electronic communications on TARGET
TELEPHONE-6 and TARGET TELEPHONE-7, and the interception of wire communications on
TARGET TELEPHONE-11 and TARGET TELEPHONE-12, ended on November 3, 2019.

36. On October 25, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for and
successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District of
Wisconsin, to continue intercepting wire and electronic communications (Application Number
13029) for the cellular telephone assigned number (708) 970-3187 (TARGET TELEPHONE-9)
used by GONZALEZ-COLLADO; and for the initial interception of wire and electronic
communications for the cellular telephone assigned number (939) 414-0240 (hereinafter TARGET
TELEPHONE-13), used by QUINONES-QUINONES, and the cellular telephone assigned
number (787) 675-0225 (hereinafter TARGET TELEPHONE-14) used by FNU LNU 8 (a/k/a
“Edward”). Interception of wire communications on TARGET TELEPHONE-14 ceased on
October 29, 2019, as FNU LNU 8 discontinued use of TARGET TELEPHONE-14. The
interception of wire communications on TARGET TELEPHONE-Y, and the interception of wire
and electronic communications on TARGET TELEPHONE-13, ended on November 23, 2019.

37. On November 8, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for and
successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District of
Wisconsin, to continue intercepting wire and electronic communications (Application Number
13029) for the cellular telephone assigned number (414) 841-3770 (TARGET TELEPHONE-6)
used by Hector Yamil RODRIGUEZ-RODRIGUEZ, and the cellular telephone assigned number
(414) 208-5745 (TARGET TELEPHONE-7) used by Hector Yamil RODRIGUEZ-RODRIGUEZ;

and for the continued interception of wire communications for the cellular telephone assigned

22
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 23 of 219 Document 1
 

number (787) 463-8963 (TARGET TELEPHONE-11) used by QUINONES-RIOS. The
interception of wire and electronic communications on TARGET TELEPHONE-6 and TARGET
TELEPHONE-7, and the interception of wire communications on TARGET TELEPHONE-11,
ended on December 8, 2019.

38. | On November 27, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for
and successfully obtained authorization from U.S. District Judge Lynn Adelman, Eastern District
of Wisconsin, to continue intercepting wire communications (Application Number 13029) for the
cellular telephone assigned number (708) 970-3187 (TARGET TELEPHONE-9) used by
GONZALEZ-COLLADO; and for the continued interception of wire and _ electronic
communications for the cellular telephone assigned number (939) 414-0240 (TARGET
TELEPHONE-13), used by QUINONES-QUINONES. The interception of wire communications
on TARGET TELEPHONE-9, and the interception of wire and electronic communications on
TARGET TELEPHONE-13, ended on December 26, 2019.

39. | On December 17, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for
and successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District
of Wisconsin, to continue intercepting wire and electronic communications (Application Number
13029) for the cellular telephone assigned number (414) 208-5745 (TARGET TELEPHONE-7)
used by Hector Yamil RODRIGUEZ-RODRIGUEZ; and for the continued interception of wire
communications for the cellular telephone assigned number (414) 841-3770 (TARGET
TELEPHONE-6) used by Hector Yamil RODRIGUEZ-RODRIGUEZ, and the cellular telephone
assigned number (787) 463-8963 (hereinafter TARGET TELEPHONE-1 1) used by QUINONES-

RIOS. The interception of wire communications on TARGET TELEPHONE-11 ended on January

23
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 24 of 219 Document 1
7, 2020. The interception of wire communications on TARGET TELEPHONE-6 is scheduled to
end on January 16, 2020.

40. On December 18, 2019, Assistant U.S. Attorney Robert J. Brady, Jr. applied for
and successfully obtained an amended authorization from U.S. District Judge J.P. Stadtmueller,
Eastern District of Wisconsin, to continue intercepting wire and electronic communications
(Application Number 13029) for the cellular telephone assigned number (414) 208-5745
(hereinafter TARGET TELEPHONE-7) used by Hector Yamil RODRIGUEZ-RODRIGUEZ. The
interception of wire and electronic communications on TARGET TELEPHONE-7 is scheduled to
end on January 17, 2020.

41. On January 3, 2020, Assistant U.S. Attorney Gail J. Hoffman applied for and
successfully obtained authorization from U.S. District Judge J.P. Stadtmueller, Eastern District of
Wisconsin, to continue intercepting wire communications (Application Number 13029) for the
cellular telephone assigned number (708) 970-3187 (TARGET TELEPHONE-9) used by
GONZALEZ-COLLADO; and for the continued interception of wire and _ electronic
communications for the cellular telephone assigned number (939) 414-0240 (hereinafter TARGET
TELEPHONE -13), used by QUINONES-QUINONES. The interception of wire communications
on TARGET TELEPHONE-9, and the interception of wire and electronic communications on

TARGET TELEPHONE-13, is scheduled to end on February 3, 2019.

D. Additional Details Relating to Targets and Search Locations

42. Identification of callers, phone numbers, and addresses referenced herein have been
established over the course of the investigation through the investigative means discussed above,
including many conversations on intercepted communications over several months, phone records,
information for confidential sources, public records searches, and electronic and personal

24
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 25 of 219 Document 1
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surveillance. The intercepted calls! detailed below are provided solely as a sample of what case
agents believe are numerous inculpatory interceptions with the identified targets:
Jose Manuel GONZALEZ-COLLADO

43. As discussed in detail herein, Jose Manuel GONZALEZ-COLLADO (a/k/a
"Cheito” and “Gordo”), an Hispanic male born May 11, 1991, is a cocaine and heroin trafficker
who obtains these controlled substances for further distribution to low to mid-level drug
traffickers. GONZALEZ-COLLADO resides at 6652 N. 43" Street, Milwaukee, Wisconsin,
which has been confirmed by investigation, surveillance, and review of utilities records. During
the course of this investigation, case agents determined that GONZALEZ-COLLADO has used
several cellular telephone numbers, including (920) 492-6440 (TARGET TELEPHONE-3), (708)
982-6640 (TARGET TELEPHONE-S), (920) 492-6147 (TARGET TELEPHONE-8), and (708)
970-3187 (TARGET TELEPHONE-9).

GONZALEZ-COLLADO’s receipt of kilogram-quantities of cocaine

44, _GONZALEZ-COLLADO is responsible for receiving kilogram quantities of
cocaine sent via the U.S. Mail from Puerto Rico. For instance, on April 8, 2019, the U.S. Postal
Service (USPS) intercepted a suspicious parcel addressed to 5152 S. 15th Street, Milwaukee,
Wisconsin and originating from Mayagiiez, Puerto Rico. The parcel was undeliverable because
the destination address did not exist. On the same date, GONZALEZ-COLLADO went to the
West Milwaukee Post Office to specifically inquire about the undelivered parcel. GONZALEZ-
COLLADO gave the postal employee his name — Jose M. Collado — and telephone numbers as a

means to contact him should the parcel arrive. Also on the same date, GONZALEZ-COLLADO

 

' Most of the intercepted communications referenced in this Affidavit were originally conducted in Spanish. These
communications were translated into English by certified monitors who are fluent in both Spanish and English.
Furthermore, the significance and meaning attributed to those intercepted communications are based on your A ffiant’s
training, experience, and knowledge thus far derived from this investigation.

25
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 26 of 219 Document 1
left a message with the USPS to inquire about the parcel and left the telephone number (708) 982-
6640 (i.e. TARGET TELEPHONE: 5S) as his contact number. On April 15, 2019, law enforcement
searched the parcel pursuant to a warrant and discovered approximately 1.8 kilograms of cocaine.

45.  Intercepted communications offered a glimpse into GONZALEZ-COLLADO’s
receipt and further distribution of cocaine from Puerto Rico. Specifically, on July 28, 2019, at
5:48 p.m., 7 TARGET TELEPHONE- 5S (i.e., GONZALEZ-COLLADO) received a call from (414)
841-3770 (i.e., TARGET TELEPHONE-6), used by Hector Yamil RODRIGUEZ-RODRIGUEZ,
who also received and distributed kilogram quantities of cocaine in coordination with
GONZALEZ-COLLADO. During the intercepted conversation, GONZALEZ-COLLADO said,
“T think four will arrive tomorrow (i.e., July 29, 2019) and one on Tuesday (i.e., July 30, 2019) ..
. . He (i.e., the drug source-of-supply, later identified as Roberto ORENCH-FELICIANO, see
infra) sent one to you for Tuesday; so, that means the other four will arrive tomorrow,” indicating
five cocaine-laden parcels were inbound for Milwaukee, Wisconsin. On the same day, at 8:30
p-m., TARGET TELEPHONE: 5 (i.e., GONZALEZ-COLLADO) received a call from (414) 208-
5745 (i.e., TARGET TELEPHONE-7), used by Hector Yamil RODRIGUEZ-RODRIGUEZ.
During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ said, “Look, a picture of
a box is missing,” indicating he had not received the image of an inbound, cocaine-laden parcel.
Hector Yamil RODRIGUEZ-RODRIGUEZ continued, “[T]he photo from Afiasco (i.e., a town in
western Puerto Rico), dude. The box that was sent from Afiasco. There is the one from Las Marias
(i.e., a town in western Puerto Rico), the one from Hormigueros (i.e., a town in western Puerto
Rico), the one from Cabo Rojo (i.e., a town in western Puerto Rico),” indicating he had received

images of several, inbound drug-laden parcels (or images of mailing receipts for those parcels).

 

? All the times noted in the narrative are in Central Standard Time or Central Daylight Time.

26
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 27 of 219 Document 1
 

GONZALEZ-COLLADO and Hector Yamil RODRIGUEZ-RODRIGUEZ then engaged in the

following colloquy regarding the parcels’ various destinations in Milwaukee:

GONZALEZ-COLLADO (GC): Listen to me, the first box is for Union.

Hector Yamil RODRIGUEZ-RODRIGUEZ (R): _ The first one is for Union, uh-huh.

GC: The second one...

R: The second one is for my girl’s house.

GC: The third one...

R: The third one is for Holton that is at [unintelligible] .. .

GC: Look, I sent (i.e., he sent an image of a parcel or mailing receipt) . . .

R: The first one, that is for Union.

GC: Look, the one for 84" is...

R: That is the second one; that is the one from Cabo Rojo... . There are two receipts
and one picture of a box is missing.

GC: Listen to me, listen to me, the thing is that the first one was one that you sent me
for an apartment number 3...

R: No, that one is for a house on 84" [unintelligible].

GC: That was the first one I sent.

R: Exactly, that is my girl’s.

GC: Yeah, listen the one that say’s 215 is for Bebe’s (i.e., SEDA-MARTINEZ) house.

My girl’s, Bebe’s house, and Holton’s, that is on the east side.

R:

G: The Union one; the 8" one, it’s Yomo’s mother-in-law’s home; and the Holton
one, that is the last one, the one I sent you with the box, the picture of the box.

R: Yes, the one at Holton is my boss’s father’s house.

46. Because GONZALEZ-COLLADO was in Philadelphia at the time, Hector Yamil
RODRIGUEZ-RODRIGUEZ kept him apprised regarding the status of the inbound, cocaine-laden
parcels. On July 29, 2019, at 9:31 am., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) received a call from TARGET TELEPHONE-S (i.e., GONZALEZ-
COLLADO). During the intercepted conversation, Hector Yamil RODRIGUEZ-RODRIGUEZ
said, “I checked (i.e., USPS tracking) on it at 8:00 this morning, the one that was closer to delivery
was Holton’s on the east side; but the other ones are at the Post Office ready for delivery. They

will go out any moment for delivery.”, GONZALEZ-COLLADO inquired, “And the one’s for

27
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 28 of 219 Document 1
Tuesday (i.e., July 30, 2019)?” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “Yes, they
are all set for today,” meaning they were ready for delivery.

47. In a series of intercepted calls between TARGET TELEPHONE-5 (ie.,
GONZALEZ-COLLADO) and TARGET TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-
RODRIGUEZ) on July 29, 2019, Hector Yamil RODRIGUEZ-RODRIGUEZ informed
GONZALEZ-COLLADO when cocaine-laden parcels arrived at specific locations and when he
retrieved them. For instance, during an intercepted conversation starting at 9:43 a.m., Hector
Yamil RODRIGUEZ-RODRIGUEZ said, “[T]he one from Bebe’s (SEDA-MARTINEZ) house
arrived.” During an intercepted call starting at 10:15 am., Hector Yamil RODRIGUEZ-
RODRIGUEZ said, “The east-side one has arrived.” USPS records disclosed a parcel from
Hormigueros, Puerto Rico mailed to “Jose L. Rivera” at 2778 N. Holton St., Milwaukee, a
residence on the east side of Milwaukee. During an intercepted call starting at 4:08 p.m., Hector
Yamil RODRIGUEZ-RODRIGUEZ said, “I’m waiting because I have to go get the box that is at
my girl’s house.” Later during the same call, Hector Yamil RODRIGUEZ-RODRIGUEZ said, “1
got the box from Union as well” and “[w]e are missing the one from Yomo’s and the one at my
girl’s; but, I’ll go pick it up later.” During an intercepting call starting at 4:39 p.m., Hector Yamil
RODRIGUEZ-RODRIGUEZ remarked on their success by stating, “Damn, five boxes in one
day.” GONZALEZ-COLLADO replied, “We are hard core.”

48. On July 29, 2019, U.S. Postal Inspector (USPI) Fink reviewed USPS records and
identified five parcels sent from Puerto Rico to different addresses in Milwaukee, Wisconsin. In
particular, USPI Fink identified a parcel with a handwritten label addressed to “Julio Martinez” at
1613 S. Union Street, Milwaukee, Wisconsin. The parcel was sent from Hormigueros, Puerto Rico

and weighed approximately two kilograms. On July 29, 2019, at approximately 2:50 p.m., the

28
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 29 of 219 Document 1
 

USPS delivered the parcel to 1613 S. Union Street, Milwaukee, Wisconsin. Record queries
indicated Julio SEDA-MARTINEZ is affiliated with this address. On the same date, at
approximately 9:30 a.m., the USPS delivered a suspicious parcel addressed to 2428 S. 9" Street,
Milwaukee, Wisconsin. This suspicious parcel was addressed to “Julio E. Seda” and was sent
from Afiasco, Puerto Rico. The parcel weighed approximately three kilograms. In addition to the
above-referenced recorded mailings from Puerto Rico, parcels arrived at 3255 S. 84" St., Apt. 3,
Milwaukee, Wisconsin, and 1968 S. 8 St. Lower, Milwaukee, Wisconsin.

49. During another intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ and
GONZALEZ-COLLADO discussed the allocation of the drugs contained in the parcels that
arrived in Milwaukee. Specifically, on July 29, 2019, at 7:45 p.m., TARGET TELEPHONE-5
(i.e, GONZALEZ-COLLADO) received a call from TARGET TELEPHONE-7 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ). During the intercepted conversation, Hector Yamil
RODRIGUEZ-RODRIGUEZ said, “[T]he half tablet (i.e., one-half kilogram) for Jose Manuel is
there. So, 250 grams for Yadiel.” Hector Yamil RODRIGUEZ-RODRIGUEZ then inquired, “Is
there another half tablet in another of those boxes that are not open?” GONZALEZ-COLLADO
replied, “I do not know. They need to be checked.” Hector Yamil RODRIGUEZ-RODRIGUEZ
commented, “I sold 250 to Migue as well. I wanted to know if there is a half tablet by itself
because I got 250 for Yadiel and 250 for Migue; so, I do not have to break that half tablet, because
....” Later in the conversation, Hector Yamil RODRIGUEZ-RODRIGUEZ noted that a parcel
retrieved from West Allis, Wisconsin probably contained two kilograms of drugs by saying, “I
think there are two in here, in the one that arrived at West Allis.” Based upon their training,
experience, and familiarity with the investigation, case agents believe this conversation confirmed

the parcels indeed contained cocaine.

29
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 30 of 219 Document 1
GONZALEZ-COLLADO’s retrieval and mailing of drug proceeds

 

50.  Intercepted communications also revealed GONZALEZ-COLLADO’s efforts to
return drug proceeds to Puerto Rico. For instance, on July 30, 2019, in a series of intercepted
communications, GONZALEZ-COLLADO and Hector Yamil RODRIGUEZ-RODRIGUEZ
discussed preparing drug proceeds to be boxed and mailed to the cocaine source-of-supply.
Specifically, on July 30, 2019, at 4:13 p.m., TARGET TELEPHONE-7 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) called TARGET TELEPHONE- S (i.e., GONZALEZ-COLLADO).
During the intercepted conversation, Hector Yamil RODRIGUEZ-RODRIGUEZ inquired as to
how much money he should put in a box by asking, “How much do I make for one?” GONZALEZ-
COLLADO asked, “How much do you have?” Hector Yamil RODRIGUEZ-RODRIGUEZ
replied, “Man, there is a lot. All that cannot be put in one.” GONZALEZ-COLLADO inquired if
Hector Yamil RODRIGUEZ-RODRIGUEZ had a money-counting machine by asking, “And you
don’t have that to count the money, right?” Hector Yamil RODRIGUEZ-RODRIGUEZ replied,
“I am going to get the machine later.” Hector Yamil RODRIGUEZ-RODRIGUEZ then inquired
if he should place $29,500 in a single box by asking, “Look, put together a box of how much, 29
and a half?” GONZALEZ-COLLADO responded that he wanted Hector Yamil RODRIGUEZ-
RODRIGUEZ to place the drug proceeds collected by their associates Eric ROSA and Keven
TORRES-BONILLA ina box. Specifically, GONZALEZ-COLLADO said, “Look, for Erico (i.e.,
ROSA) there is 15,450,” meaning GONZALEZ-COLLADO wanted Hector Yamil RODRIGUEZ-
RODRIGUEZ to box $15,450 of drug proceeds supplied by ROSA. Hector Yamil RODRIGUEZ-
RODRIGUEZ asked, “For Kevin (i.e, TORRES-BONILLA) there is 15,550, right?”
GONZALEZ-COLLADO replied, “Yes,” meaning that he wanted Hector Yamil RODRIGUEZ-

RODRIGUEZ to include $15,550 of drug proceeds collected from TORRES-BONILLA.

30
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 31 of 219 Document 1
 

 

Sounding exasperated, Hector Yamil RODRIGUEZ-RODRIGUEZ subsequently commented,
“Give me a moment, this fucker brought me a bunch of money without being wrapped.”

51. On the same day, at 4:50 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) called TARGET TELEPHONE-S (i.e., GONZALEZ-COLLADO).
During the intercepted conversation, Hector Yamil RODRIGUEZ-RODRIGUEZ said, “I have 15
and 15, that’s 30; that’s 30, and 500 that I have right here . . . 400,” indicating that Hector Yamil
RODRIGUEZ-RODRIGUEZ would have over $30,000 in drug proceeds to be boxed and mailed.
GONZALEZ-COLLADO subsequently directed, “Put 32 in it,” meaning that he wanted Hector
Yamil RODRIGUEZ-RODRIGUEZ to box $32,000 in drug proceeds. Hector Yamil
RODRIGUEZ-RODRIGUEZ replied, “I’m putting in everything that is here.” At 5:36 p.m.,
TARGET TELEPHONE-6 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) called TARGET
TELEPHONE-5 (i.e, GONZALEZ-COLLADO). During the intercepted conversation,
GONZALEZ-COLLADO inquired if Hector Yamil RODRIGUEZ-RODRIGUEZ had mailed the
box containing drug proceeds by asking, “Did you send it?” Hector Yamil RODRIGUEZ-
RODRIGUEZ replied, “Yes, and I sent you the receipt too,” indicating he had mailed the box and
provided GONZALEZ-COLLADO the proof.

GONZALEZ-COLLADO orchestrates distribution of drugs among Milwaukee associates

52. Numerous intercepted communications revealed GONZALEZ-COLLADO has
maintained his illegal drug supply at different storage facilities in Milwaukee, Wisconsin and
would ordinarily have Marcos APONTE-LEBRON retrieve drugs from storage whenever needed
for further distribution by mid- to low-level distributors. On September 27, 2019, at 12:01 p.m.,
TARGET TELEPHONE-9 (GONZALEZ-COLLADO) called TARGET TELEPHONE-2 (i.e.,

APONTE-LEBRON). During the intercepted call, GONZALEZ-COLLADO asked, “So, you are

31
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 32 of 219 Document 1
at the storage?” APONTE-LEBRON replied, “Yes!” Later in the conversation, GONZALEZ-
COLLADO asked, “Is there 3.5 left there?’” Based upon their training, experience, and familiarity
with the investigation, case agents believe GONZALEZ-COLLADO was inquiring if they had 3.5
grams of cocaine (also known as an “eight-ball’”) left in storage. APONTE-LEBRON replied,
“Yes, there is.” GONZALEZ-COLLADO then said, “Okay, take one (i.e., an “eight ball’) and
take it to Vlado, over on 15",” directing APONTE-LEBRON to retrieve 3.5 grams of cocaine from
storage and to provide it to Vladimir RODRIGUEZ-RODRIGUEZ at a location in Milwaukee.
APONTE-LEBRON responded, “‘There’s some there,” confirming they still had the needed
quantity of cocaine in storage. GONZALEZ-COLLADO said, “Go ahead, man. I'll tell him (..e.,
“Vlado”) right away that you are going to bring it (i.e., 3.5 grams of cocaine) to him later.”
APONTE-LEBRON replied, “Alright.”

53. During another intercepted call, GONZALEZ-COLLADO directed APONTE-
LEBRON to split a kilogram of cocaine in half for further distribution. Specifically, on October
12, 2019, at 2:16 pm., TARGET TELEPHONE-9 (i.e, GONZALEZ-COLLADO) called
TARGET TELEPHONE-2? (i.e., APONTE-LEBRON). During the intercepted call, GONZALEZ-
COLLADO said, “I need you to go over there and grab one and cut it in half.” APONTE-LEBRON
asked, “Right down the middle?” GONZALEZ-COLLADO replied, “Yes, divide it in two halves
. .. 500 and 500 and take it to Rafa.” APONTE-LEBRON said, “Alright.” Based upon their
training, experience, and familiarity with the investigation, case agents believe GONZALEZ-
COLLADO was directing APONTE-LEBRON to go to the storage facility, cut a kilogram of
cocaine into two 500 gram halves, and to supply each 500 gram half to an individual identified as

“Rafa.”

32
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 33 of 219 Document 1
54. During another intercepted call, GONZALEZ-COLLADO directed APONTE-
LEBRON to retrieve two kilograms of cocaine for a customer identified as “the Mexican.”
Specifically, on November 9, 2019, at 12:16 p.m., TARGET TELEPHONE-?2 (1.e., APONTE-
LEBRON) received a call from TARGET TELEPHONE-9 (i.e., GONZALEZ-COLLADO).
During the intercepted call, GONZALEZ-COLLADO said, ““The Mexican wants two.” APONTE-
LEBRON asked, “He wants two?” GONZALEZ-COLLADO replied, “Yes.” APONTE-
LEBRON asked, “Take it where?” GONZALEZ-COLLADO replied, “To the house.” APONTE-
LEBRON asked, “How much?” GONZALEZ-COLLADO replied, “I’m going to give you $200,”
and clarified, “for taking them, man.” Based upon their training, experience, and familiarity with
the investigation, case agents believe GONZALEZ-COLLADO offered to pay APONTE-
LEBRON $200 for delivering two kilograms of cocaine to a Mexican individual. GONZALEZ-
COLLADO subsequently said, “By Tuesday he has to give the money; if not, we go and get it.
Tell him if he doesn’t have them sold, not to break them or anything,” indicating he wanted
APONTE-LEBRON to inform the Mexican that he needed to provide the proceeds from the sale
of the cocaine by the following Tuesday or they would retrieve the drugs, and that the Mexican
should not break down the drugs if not sold. GONZALEZ-COLLADO directed, “Take pictures
of the stamps,” indicating the drugs were indeed kilogram bricks of cocaine, which often bear
stamps or seals. GONZALEZ-COLLADO subsequently said, “Remember, 29-5, tell him the two
for 29-5, if not, no,” indicating he would sell the Mexican two kilograms of cocaine for $29,500
per kilogram, or they would not have a deal (in a prior intercepted call, the Mexican wanted one
kilogram for $29,000, and another kilogram for $29,500). APONTE-LEBRON responded,

“Alright, I'll tell him.”

33
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 34 of 219 Document 1

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55. As the previous intercepted communication revealed, GONZALEZ-COLLADO
had the authority to set kilogram-level cocaine prices for the Milwaukee portion of the drug
organization; a fact revealed in earlier intercepts. On August 9, 2019, at 6: 45 p.m., TARGET
TELEPHONE: 8 (i.e., GONZALEZ-COLLADO) received a call from TARGET TELEPHONE-4
(i.e., APONTE-LEBRON). During the intercepted call, APONTE-LEBRON said, “If you sell him
(identified earlier in the conversation as “the Burnham guy”) a whole donkey for 30, he’ll buy it
right now.” APONTE-LEBRON inquired, “What do I tell him, no?” GONZALEZ-COLLADO
replied, “Tell him no.”, APONTE-LEBRON inquired, “It’s 32, right?” GONZALEZ-COLLADO
replied, “Yes, tell the Burnham guy if it isn’t for that, don’t call you.” Based upon their training,
experience, and familiarity with the investigation, case agents believe GONZALEZ-COLLADO
told APONTE-LEBRON that he would not sell a kilogram of cocaine to “the Burnham guy” for
less than $32,000, which is approximately the price for a kilogram of cocaine in the Milwaukee
area.

GONZALEZ-COLLADO participated in street-level distribution of controlled substances

 

56. GONZALEZ-COLLADO would also participate in street-level distributions of
controlled substances in Milwaukee. Specifically, on three occasions, DEA TFO Michael Saddy,
who was acting in an undercover capacity, purchased controlled substances from GONZALEZ-
COLLADO and his associate, Eric ROSA.2 On January 10, 2019, TFO Saddy purchased
approximately two ounces of cocaine from ROSA and GONZALEZ-COLLADO. On this
occasion, ROSA directed TFO Saddy to drive to El Tsunami seafood restaurant, located at 2222
S. 13th Street Milwaukee, Wisconsin. Upon arriving, ROSA walked inside the restaurant to

confirm the new cocaine deal. Soon thereafter, GONZALEZ-COLLADO and ROSA exited the

 

3 Throughout this Affidavit, all referenced undercover purchases of narcotics by TFO Saddy from DTO members
were audio and video recorded.

34
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 35 of 219 Document 1
 

restaurant. GONZALEZ-COLLADO approached the passenger side of TFO Saddy’s vehicle and
greeted TFO Saddy. ROSA directed TFO Saddy to return to ROSA’s residence. As TFO Saddy
was driving ROSA to his residence, ROSA referred to GONZALEZ-COLLADO as “Jose,” which
is GONZALEZ-COLLADO’s first name. ROSA remarked that GONZALEZ-COLLADO was
expecting four kilograms of cocaine during the January 12th weekend. ROSA said GONZALEZ-
COLLADO agreed to meet TFO Saddy at a BP gas station located at 27th Street and Saint Paul
Avenue. Soon after TFO Saddy and ROSA arrived at 27th Street and Saint Paul Avenue,
GONZALEZ-COLLADO arrived in a silver Suzuki and parked directly behind TFO Saddy’s
vehicle. GONZALEZ-COLLADO approached the passenger side of TFO Saddy’s vehicle and
handed TFO Saddy a cup that held a clear plastic baggie containing a white powdery substance.
TFO Saddy then gave $2,600 to ROSA as payment. GONZALEZ-COLLADO directed ROSA to
hold onto the money. After the deal, ROSA exited TFO Saddy’s vehicle and departed the scene
with GONZALEZ-COLLADO. TFO Saddy thereafter drove to a pre-determined location where
the suspected controlled substances field-tested positive for cocaine.

57. On March 28, 2019, TFO Saddy purchased approximately three ounces of cocaine
and approximately 15 grams of heroin from ROSA and GONZALEZ-COLLADO. On this
occasion, TFO Saddy contacted ROSA to arrange the drug transaction. ROSA told TFO Saddy
that he was working in Chicago and that GONZALEZ-COLLADO would conduct the drug
transaction. ROSA instructed TFO Saddy to meet GONZALEZ-COLLADO at the BP gas station
located at 27th Street and Saint Paul Avenue. TFO Saddy contacted ROSA to inform ROSA that
TFO Saddy arrived at the designated location. Soon thereafter, ROSA called TFO Saddy to inform
him that GONZALEZ-COLLADO was en route. GONZALEZ-COLLADO subsequently arrived

in a black Nissan Titan and parked behind TFO Saddy’s vehicle. GONZALEZ-COLLADO exited

35
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 36 of 219 Document 1
the Nissan and entered TFO Saddy’s vehicle. GONZALEZ-COLLADO gave TFO Saddy
approximately three ounces of a white powdery substance and approximately 15 grams of a gray-
brown substance. In exchange, TFO Saddy gave GONZALEZ-COLLADO $5,100. After the
transaction, TFO Saddy drove to a pre-determined location where the suspected controlled
substances field-tested positive for cocaine and heroin, respectively.

58. On April 17, 2019, TFO Saddy purchased approximately three ounces of cocaine
and approximately 20 grams of heroin from ROSA and GONZALEZ-COLLADO, TFO Saddy
contacted ROSA to arrange the drug transaction. ROSA informed TFO Saddy that the price for
the drugs would be $5,500 and the transaction would occur at El Rey Marketplace, 3524 West
Burnham Street, Milwaukee, Wisconsin. Upon arriving at El Rey Marketplace, TFO Saddy called
ROSA to inform ROSA that he had arrived at the designated location. During this time,
surveillance units observed GONZALEZ-COLLADO driving past El Rey Marketplace on two
occasions. Soon after TFO Saddy called ROSA, ROSA arrived in his vehicle and entered TFO
Saddy’s vehicle. ROSA gave TFO Saddy approximately three ounces of a white powdery
substance and approximately 20 grams of a gray-brown substance. In exchange, TFO Saddy gave
ROSA $5,500. After the transaction, TFO Saddy drove to a pre-determined location where the
suspected controlled substances field-tested positive for cocaine and heroin, respectively.

Hector Yamil RODRIGUEZ-RODRIGUEZ

59. As discussed in detail herein, Hector Yamil RODRIGUEZ-RODRIGUEZ (a/k/a
“Yamil”), an Hispanic male born on January 1, 1992, is a cocaine and heroin trafficker who obtains
these controlled substances for further distribution to low to mid-level drug traffickers. Hector
Yamil RODRIGUEZ-RODRIGUEZ resides at 2730 S. 10" St., Milwaukee, Wisconsin 53215,

which has been confirmed by investigation, surveillance, and review of utilities records. During

36
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 37 of 219 Document 1
 

the course of this investigation, case agents determined that Hector Yamil RODRIGUEZ-
RODRIGUEZ has used at least two cellular telephone numbers, including (414) 841-3770
(TARGET TELEPHONE-6) and (414) 208-5745 (TARGET TELEPHONE-7).
Hector Yamil RODRIGUEZ-RODRIGUEZ’s receipt of kilogram-quantities of cocaine

60. As detailed supra, Hector Yamil RODRIGUEZ-RODRIGUEZ and GONZALEZ-
COLLADO coordinate the receipt of kilogram-quantities of cocaine from Puerto Rico and the
return of drug proceeds to the island territory and to Mission, Texas. Intercepted communications
also revealed that Hector Yamil RODRIGUEZ-RODRIGUEZ has sought and secured independent
sources of cocaine. On September 24, 2019, at 1:49 p.m., TARGET TELEPHONE-9 (..e.,
GONZALEZ-COLLADO) called TARGET TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-
RODRIGUEZ). During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ said,
“Listen, they called me with the man that used to give me material in Puerto Rico fucker, he was
from Illinois. There is a Colombian with him now, fucker, he has 40 houses in Illinois and he will
give them to me twenty-six and a half.” Based upon their training, experience, and familiarity
with the investigation, case agents believe a Colombian associate of a former drug source of Hector
Yamil RODRIGUEZ-RODRIGUEZ could supply Hector Yamil RODRIGUEZ-RODRIGUEZ
cocaine priced at $26,500 per kilogram. GONZALEZ-COLLADO remarked, “We will sell it all.”
RODRIGUEZ said, “On Thursday, go up with Vlado to get it,” indicating he wanted GONZALEZ-
COLLADO and Vladimir RODRIGUEZ-RODRIGUEZ to retrieve the cocaine in Illinois the
following Thursday (because Hector Yamil RODRIGUEZ-RODRIGUEZ would be in Puerto Rico
at that time). GONZALEZ-COLLADO replied, “Alright fucker, let’s do it.” Hector Yamil
RODRIGUEZ-RODRIGUEZ said, “[H]e told me, ‘the guy can give you up to 40 monthly,’”

indicating the Colombian could supply Hector Yamil RODRIGUEZ-RODRIGUEZ up to 40

37
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 38 of 219 Document 1
kilograms of cocaine per month. Hector Yamil RODRIGUEZ-RODRIGUEZ continued, “He told
me, ‘the man (i.e., the Colombian) is with me now in Puerto Rico’ ... . I told him “Look, we can
talk, but if you want. . . I am arriving there (i.e., Puerto Rico) on Thursday’ . . . . He said, ‘well,
there’s no problem, we will see each other on Thursday night at home,”” indicating Hector Yamil
RODRIGUEZ-RODRIGUEZ would meet with his former drug source and the Colombian upon
his arrival in Puerto Rico on Thursday (i.e., September 26, 2019).

61.  Intercepted communications disclosed Hector Yamil RODRIGUEZ-RODRIGUEZ
had indeed secured Puerto Rican-based cocaine suppliers. On August 27, 2019, at 8:43 p.m.,
TARGET TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) received a call from
(920) 371-4279, used by Carlos Omar CONCEPCION-RIVERA (a/k/a “Omy”). During the
intercepted call, CONCEPCION-RIVERA said, “[T]his week I didn’t send you, but. . . I have the
box done already,” indicating that CONCEPCION-RIVERA had a parcel ready to be sent to
Hector Yamil RODRIGUEZ-RODRIGUEZ. Hector Yamil RODRIGUEZ-RODRIGUEZ
inquired, “['W hen will that storm be going through, Omy?” — referencing Hurricane Dorian, which
was then forecasted to impact Puerto Rico. CONCEPCION-RIVERA replied, “Wednesday or
Thursday (i.e., August 28 or 29, 2019),” which were the dates that Hurricane Dorian was originally
forecasted to hit Puerto Rico. CONCEPCION-RIVERA then admonished Hector Yamil
RODRIGUEZ-RODRIGUEZ not to mail anything to Puerto Rico until the hurricane passed by
saying, “’[D]on’t send anything, until it goes through,” and further commented, “if the hurricane
ruins us, we would have to wait.” Hector Yamil RODRIGUEZ-RODRIGUEZ indicated that
parcels originating from Puerto Rico may get scrutinized if mailed in the midst of the storm by
saying, “Then they’ll be like, ‘Oh, let’s check these boxes that are stuck here.”” CONCEPCION-

RIVERA then said, “Send me another [unintelligible] and on Monday I will send you two (2).”

38
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 39 of 219 Document 1
 

Based upon their training, experience, and familiarity with the investigation, case agents believe
CONCEPCION-RIVERA wanted Hector Yamil RODRIGUEZ-RODRIGUEZ to send him a
parcel containing drug proceeds, and CONCEPCION-RIVERA would mail two kilograms of
cocaine to RODRIGUEZ the following Monday.

62. During another intercepted call, CONCEPCION-RIVERA requested an address
where he could send an additional two kilograms of cocaine to Hector Yamil RODRIGUEZ-
RODRIGUEZ. On September 4, 2019, at 8:22 a.m., TARGET TELEPHONE-7 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) called (920) 371-4279, used by CONCEPCION-RIVERA.
During the intercepted call, CONCEPCION-RIVERA said, “I was going to ask you to send me
another address because I’m going to send two to you,” indicating he wanted Hector Yamil
RODRIGUEZ-RODRIGUEZ to provide another address in Milwaukee where he could mail an
additional two kilograms of cocaine. Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “Okay,
I'll get it for you.” CONCEPCION-RIVERA said, “I have the other one ready and I am going to
get the other box ready right now,” indicating he had already prepared one cocaine-laden parcel
for mailing and would be preparing another one. Hector Yamil RODRIGUEZ-RODRIGUEZ
responded, “Sounds good, I’m going to collect the bucks,” indicating he would be obtaining drug
proceeds for eventual mailing to Puerto Rico. When CONCEPCION-RIVERA reiterated that he
had not prepared the cocaine-laden box “because [he was] missing the other address,” Hector
Yamil RODRIGUEZ-RODRIGUEZ replied, “No, get it ready and I’ll get it (i.e., the Milwaukee
address) for you. Give me about an hour or two and I'll get it for you.”

63. Later in the same conversation, Hector Yamil RODRIGUEZ-RODRIGUEZ
inquired about the type of distinctive markings on the Milwaukee-bound cocaine by asking, “So

what stamp are those that are coming?” CONCEPCION-RIVERA replied, “One is a Nike and

39
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 40 of 219 Document 1
another one is. . . the Nike is awesome dude,” indicating the cocaine bore a Nike swoosh symbol.
Based upon their training, experience, and familiarity with the investigation, case agents know that
drug-trafficking organizations often stamp or place markings on their packaged drugs to identify
them as belonging to a particular organization and thereby facilitating the organization’s receipt
of the proceeds from the sale of those illicit goods. Hector Yamil RODRIGUEZ-RODRIGUEZ
asked, “Nike is awesome?” CONCEPCION-RIVERA replied, “Really fucking bad ass.” Hector
Yamil RODRIGUEZ-RODRIGUEZ asked, “Soft?” CONCEPCION-RIVERA replied, “Yes...
the Nike one is the kind that does not crumble.”” CONCEPCION-RIVERA continued, “The other
one says CBR 2019,” indicating another cocaine brick bore the marking “CBR 2019.” On the
same date, at 11:23 am., (920) 371-4279 (i.e, CONCEPCION-RIVERA) called TARGET
TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ). During the intercepted call,
CONCEPCION-RIVERA indicated he prepared a cocaine-laden parcel for mailing by saying,
“Dude, it’s all ready. I’ll call you when I send it.” Hector Yamil RODRIGUEZ-RODRIGUEZ
replied, “Yeah, that’s fine.”

64. On September 4, 2019, at 6:53 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) received a call from TARGET TELEPHONE-10, also used by
CONCEPCION-RIVERA. During the intercepted call, CONCEPCION-RIVERA said, “I was
going to send you two and I sent you one because I went to Rincon (i.e., a town on Puerto Rico’s
west coast),” indicating he had mailed a kilogram of cocaine to Hector Yamil RODRIGUEZ-
RODRIGUEZ. Hector Yamil RODRIGUEZ-RODRIGUEZ replied, ‘“That’s fine.”

CONCEPCION-RIVERA said, “The Post Office told me the package will arrive from ... Saturday

 

4 As detailed supra, investigators seized three bricks of cocaine (totaling approximately three kilograms) on
September 28, 2018, that were addressed to 1330 S. 22nd Street, Milwaukee, Wisconsin, and originating from
Hormigueros, Puerto Rico. Each brick had a distinctive marking — “CR7,” “H,” and the image of a turtle, respectively.

40
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 41 of 219 Document 1
 

to Tuesday due to the hurricane (i.e., Hurricane Dorian),” indicating when the drug-laden parcel
would arrive in Milwaukee. CONCEPCION-RIVERA said, “I was going to send the other one,
but when I got there, I got there too late.” Hector Yamil RODRIGUEZ-RODRIGUEZ responded,
“T am going to do the box now when I get home, so I can do it,” indicating he would prepare a
parcel containing drug proceeds for eventual mailing to Puerto Rico. CONCEPCION-RIVERA
subsequently identified the marking on the cocaine he sent by saying, “The one I sent you, it’s X,
the motorcycle.” Hector Yamil RODRIGUEZ-RODRIGUEZ said, “The motorcycle?”
CONCEPCION-RIVERA replied, “Yes, that’s the one that came out. Nike [unintelligible] didn’t
come out,” indicating the cocaine bearing the Nike symbol was unavailable.

65. On September 5, 2019, at 9:45 am., (920) 371-4279 (.e., CONCEPCION-
RIVERA) called TARGET TELEPHONE-6 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ).
During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ inquired about the address
where CONCEPCION-RIVERA mailed the kilogram of cocaine by asking, “Where did you send
the one from yesterday to?” CONCEPCION-RIVERA replied, “It says 53204,” indicating a
Milwaukee area zip code. Hector Yamil RODRIGUEZ-RODRIGUEZ said, “Oh, to the other one.
That’s on 8",” indicating that the cocaine-laden parcel was sent to a residence on South 8" Street
in Milwaukee. CONCEPCION-RIVERA referenced the names on the mailing label by
responding, “Yeah, that’s the one that says Adrian Mendez and [unintelligible] Morales. That’s
the one that was sent out.” Hector Yamil RODRIGUEZ-RODRIGUEZ indicated that he would
send CONCEPCION-RIVERA the drug proceeds by saying, “That’s good. I’m going to send
yours right now.” CONCEPCION-RIVERA said, “If you send it early, I will send the lady early
to send it as well,” indicating he would have a female send a cocaine-laden parcel if Hector Yamil

RODRIGUEZ-RODRIGUEZ promptly mails the drug proceeds. Hector Yamil RODRIGUEZ-

41
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 42 of 219 Document 1
RODRIGUEZ ultimately said, ““Yes, so you send it today so that one arrives on Saturday and that
one the following day.”

66. On September 9, 2019, at 3:45 p.m., TARGET TELEPHONE-7 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) called TARGET TELEPHONE-10 (ie., CONCEPCION-
RIVERA). During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ inquired if
CONCEPCION-RIVERA received the money-laden parcel by asking, “Did you get it?”
CONCEPCION-RIVERA replied, “Uh yes, the missus just called me,” indicating that
CONCEPCION-RIVERA’s spouse had notified him that the parcel had arrived. On September 6,
2019, investigators searched, pursuant to a warrant, the contents of a parcel sent by Hector Yamil
RODRIGUEZ-RODRIGUEZ to an address in Aguada, Puerto Rico. The parcel contained $27,000
in U.S. currency and was addressed to “Yashira Cortes,” whom CONCEPCIJON-RIVERA lists as
his spouse on his Facebook account. Investigators subsequently released the parcel into the mail.
Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “Oh, okay, they left it (i.e., the parcel) in front
of your house?” CONCEPCION-RIVERA replied, “Yes.” Hector Yamil RODRIGUEZ-
RODRIGUEZ said, “Alright then, I wanted to check that was left there — [you] never called me.”
CONCEPCION-RIVERA responded, “Yes, I left the missus and IJ called her and told her, ‘The

999

fucker (i.e., the parcel) is nearby,’” indicating that he had notified his spouse (i.e., “Yashira
Cortes”) of the parcel’s impending arrival. Hector Yamil RODRIGUEZ-RODRIGUEZ
subsequently said, “Call me when you count it,” indicating he wanted CONCEPCION-RIVERA
to contact him once CONCEPCION-RIVERA counted the money.

67. | Other intercepted communications disclosed that Hector Yamil RODRIGUEZ-
RODRIGUEZ is also supplied kilogram-quantities of cocaine by David QUINONES-RIOS, an

Hispanic male born on May 8, 1990. On September 6, 2019, at 11:16 p.m., TARGET

42
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 43 of 219 Document 1
 

TELEPHONE-7 (ie., Hector Yamil RODRIGUEZ-RODRIGUEZ) called TARGET
TELEPHONE-11 (i.e., QUINONES-RIOS). During the intercepted call, Hector Yamil
RODRIGUEZ-RODRIGUEZ said, “I moved it really slow. But those tickets will be ready on
Monday. I will send you those tickets on Monday for sure.” QUINONES-RIOS replied, “That’s
fine, relax, go ahead .. . . 1 am going to tell him (i.e., an unknown male) to send one so it arrives
Monday.” Based upon their training, experience, and familiarity with the investigation, case
agents believe Hector Yamil RODRIGUEZ-RODRIGUEZ intended to mail drug proceeds to
QUINONES-RIOS while QUINONES-RIOS intended to mail a cocaine-laden parcel to Hector
Yamil RODRIGUEZ-RODRIGUEZ. Hector Yamil RODRIGUEZ-RODRIGUEZ remarked, “If
you send it tomorrow it won’t arrive on Monday, it’ll arrive Tuesday or Wednesday.”
QUINONES-RIOS responded, “Well, Pll send it on Monday” indicating he would send the
cocaine-laden parcel the following Monday. Hector Yamil RODRIGUEZ-RODRIGUEZ replied,

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“Exactly, send it on Monday better so it doesn’t get stuck there on Sunday.” On September 9,
2019, at 5:42 p.m., TARGET TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ)
called TARGET TELEPHONE-11 (i.e., QUINONES-RIOS). During the intercepted call, Hector
Yamil RODRIGUEZ-RODRIGUEZ said, “I already sent you that,” indicating he had mailed a
parcel containing drug proceeds to QUINONES-RIOS. QUINONES-RIOS replied, “Alright
buddy. Thanks.” Hector Yamil RODRIGUEZ-RODRIGUEZ continued, “I’Il send you the receipt
here soon,” indicating he would provide QUINONES-RIOS proof that he had mailed the money-

laden parcel.

Hector Yamil RODRIGUEZ-RODRIGUEZ orchestrates distribution of
drugs among Milwaukee associates

68. | Numerous intercepted communications revealed Hector Yamil RODRIGUEZ-

RODRIGUEZ further distributes his supply of illegal drugs to low to mid-level distributors in

43
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 44 of 219 Document 1
Milwaukee. For instance, On September 20, 2019, at 3:51 p.m., TARGET TELEPHONE-7 (ie.,
Hector Yamil RODRIGUEZ-RODRIGUEZ) called (262) 770-9667, used by Andros
MARTINEZ-PELLOT. During the intercepted call, MARTINEZ-PELLOT said, “Look, listen,
there’s a person that asked me . . . [h]e wants three but he wants each one for 30,000 bucks.” Based
upon their training, experience, and familiarity with the investigation, case agents believe
MARTINEZ-PELLOT requested three kilograms of cocaine for a customer who was willing to
pay $30,000 per kilogram. Hector Yamil RODRIGUEZ-RODRIGUEZ responded, “Three? Man,
you know that we are waiting on some,” indicating that he was awaiting more cocaine to replenish
his supply. MARTINEZ-PELLOT said, “He says he has 90 and he’s wondering if you can sell
three for 90,” indicating the prospective customer had $90,000 and was prepared to purchase three
kilograms of cocaine. Hector Yamil RODRIGUEZ-RODRIGUEZ reiterated, “Man, you know
that I have to wait until the drop — two might arrive today, tomorrow one may arrive,” indicating
two kilograms of cocaine might arrive that day, and another kilogram the next day.

69. On October 15, 2019, at 1:06 p.m., TARGET TELEPHONE-7 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) received a call from (262) 770-9667 (i.e., MARTINEZ-PELLOT).
During the intercepted call, MARTINEZ-PELLOT said, “[T]here’s a person who asked me for
five jobs, fucker.” Hector Yamil RODRIGUEZ-RODRIGUEZ responded, “Man, there is some!”
MARTINEZ-PELLOT asked, “How much can you [unintelligible]?” | Hector Yamil
RODRIGUEZ-RODRIGUEZ replied, “[T]}he least J can give them to you, because it’s five, is
30.5.” Based upon their training, experience, and familiarity with the investigation, case agents
believe MARTINEZ-PELLOT requested five kilograms of cocaine, which RODRIGUEZ agreed
to provide at $30,500 per kilogram. Hector Yamil RODRIGUEZ-RODRIGUEZ continued, “You

can give them to him for 31 and you get five times five,” suggesting MARTINEZ-PELLOT could

44
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 45 of 219 Document 1
 

sell the kilograms for a $500 mark up per kilogram, for a $2,500 profit. MARTINEZ-PELLOT
responded, “[L]et me call to see what they are going to do.” On the same date, at 2:29 p.m.,
TARGET TELEPHONE-’? (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) called (262) 770-
9667 (i.e, MARTINEZ-PELLOT). During the intercepted call, MARTINEZ-PELLOT said,
“They found 31 to be expensive,” indicating his prospective customers believed $31,000 per
kilogram of cocaine was too expensive. Hector Yamil RODRIGUEZ-RODRIGUEZ replied,
“Man! That does not exist fucker.” MARTINEZ-PELLOT responded, “Yes, that’s what I am
going to tell them, ‘if you want it cheaper, then you are going to have to go buy it in Colombia,’”
sarcastically indicating the only way the prospective customers could get a better price would be
to purchase directly from Colombia, a known source country for cocaine. Hector Yamil
RODRIGUEZ-RODRIGUEZ responded, “They are sons-of-bitches. Man, I have a load of work.
I have like 15 jobs,” indicating he had 15 kilograms of cocaine available for distribution.

70. On October 27, 2019, at approximately 6:56 p.m., TARGET TELEPHONE-6 (i.e.
Hector Yamil RODRIGUEZ-RODRIGUEZ) called (414) 573-1846, used by Steven CORTES-
IRIZARRY (a/k/a “Tufo”). During the intercepted call, Hector Yamil RODRIGUEZ-
RODRIGUEZ said, “Damn, I’m over here. Joel hasn’t come and I have a kilo on me. This asshole
isn’t here.” Based upon their training, experience, and familiarity with the investigation, case
agents believe Hector Yamil RODRIGUEZ-RODRIGUEZ expressed frustration that “Joel” had
not retrieved a kilogram of cocaine. CORTES-IRIZARRY replied, “I’m going directly over
there.” Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “Where are you?” CORTES-
IRIZARRY replied, “On 30%.” Hector Yamil RODRIGUEZ-RODRIGUEZ responded, “I’m
going to be in the truck,” indicating where CORTES-IRIZARRY could find him to obtain the

kilogram of cocaine for “Joel.”

45
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 46 of 219 Document 1
Hector Yamil RODRIGUEZ-RODRIGUEZ maintains firearm(s) and other indicia
of drug trafficking at paramour’s residence

71. On December 2, 2019, at 5:05 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) called (414) 690-4619, used by his paramour Katiria Perez-
Gonzalez. Based upon their familiarity with the investigation, case agents believe that Perez-
Gonzalez and Hector Yamil RODRIGUEZ-RODRIGUEZ cohabitate. During the intercepted call,
Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “[W]here are my guns?” Perez-Gonzalez
inquired, “[W]hich one, Yamil?” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “Mine.”
Perez-Gonzalez later said, “J think that one is where J had told you there is the bag and the money,
it is in the ‘techa’ where I put my clothing,” indicating Hector Yamil RODRIGUEZ-
RODRIGUEZ’s firearm was located with money and a bag in a location in their residence where
she keeps her clothing. Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “In the ‘techa’ where
you put your clothing?” Perez-Gonzalez replied, “Where the desk is.” Hector Yamil
RODRIGUEZ-RODRIGUEZ responded, “Oh.” Perez-Gonzalez commented, “Uh, yes because
you had taken that bag already.” Hector Yamil RODRIGUEZ-RODRIGUEZ then said, “Okay, I
found it,” indicating he was at the residence and found the firearm. Hector Yamil RODRIGUEZ-
RODRIGUEZ continued, “It’s so I can take it with me up there, because I need to keep this by my
side,” indicating he felt the need to carry a firearm for protection. On November 20, 2019, and on
December 6, 2019, investigators observed Perez-Gonzalez exiting 1656 South Pearl Street,
Milwaukee, Wisconsin, with two children on both occasions. A check of WE Energies revealed
that services were established on November 9, 2019, in the name of Katiria Perez. Based upon
their training, experience, and familiarity with the investigation, case agents believe Hector Yamil

RODRIGUEZ-RODRIGUEZ kept one or more firearms and other indicia of drug trafficking (e.g.

46
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 47 of 219 Document 1
 

 

money) at their residence, which at the time and at present is located at 1656 South Pearl Street,
Milwaukee, Wisconsin.
Roberto ORENCH-FELICIANO

72. As discussed herein, Roberto ORENCH-FELICIANO (a/k/a “Kendo” and “Kendo
Kaponi”), an Hispanic male born on October 6, 1992, is a Puerto Rican-based multi-kilogram
cocaine distributor, who sends kilograms of cocaine via the U.S. Mail to various locations in the
continental United States, including Milwaukee, Wisconsin. ORENCH-FELICIANO is known to
reside in Puerto Rico. During the course of this investigation, case agents determined that
ORENCH-FELICIANO has used several cellular telephone numbers, including (939) 334-6355,
(787) 394-6087, and (939) 274-6962 (TARGET TELEPHONE-12).

ORENCH-FELICIANO’s multi-kilogram cocaine shipments to the continental United States
Seizure of a Milwaukee-bound cocaine shipment

73. As noted supra, ORENCH-FELICIANO supplies GONZALEZ-COLLADO
kilogram-quantities of cocaine via the U.S. Mail. A series of intercepted communications,
accompanied by a seizure, confirmed that ORENCH-FELICIANO had indeed been mailing
kilograms of cocaine to Milwaukee. On September 15, 2019, TARGET TELEPHONE-9 (i.e.,
GONZALEZ-COLLADO) called (939) 334-6355 (i.e., ORENCH-FELICIANO). During the
intercepted call, GONZALEZ-COLLADO said, “Find me three parts.” ORENCH-FELICIANO
responded, “Shit! What did you do? You sold them all?” and continued, “Oh okay, I'll find them
today.” Based upon their training, experience, and familiarity with the investigation, case agents
believe GONZALEZ-COLLADO requested three kilograms of cocaine from ORENCH-
FELICIANO. GONZALEZ-COLLADO said, “Yeah, start looking because that’s all done. I don’t
have a lot,” indicating his cocaine supply was getting low. ORENCH-FELICIANO responded, “I

have them. One for [Cabo] Rojo and two for Hormigueros, All set,” indicating he was prepared

47
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 48 of 219 Document 1
to mail GONZALEZ-COLLADO a kilogram of cocaine from Cabo Rojo, Puerto Rico and two
kilograms of cocaine from Hormigueros, Puerto Rico.

74. On September 18, 2019, TARGET TELEPHONE-9 (i.e... GONZALEZ-
COLLADO) received a call from (939) 334-6355 (i.e., ORENCH-FELICIANO). During the
intercepted call, ORENCH-FELICIANO indicated that he had mailed the drug-laden parcels by
saying, “Yeah, fucker, because I already sent you that. Do you want me to send you the receipt?
I have it there, fucker.” GONZALEZ-COLLADO replied, “Yes, send them, fucker,” indicating
he wanted ORENCH-FELICIANO to provide proof that he had mailed the parcels. GONZALEZ-
COLLADO inquired when the parcels would arrive by asking, “For when?” ORENCH-
FELICIANO replied, Saturday (i.e., September 21, 2019), man!”

75. Given the foregoing intercepts, on September 20, 2019, USPI Fink identified two —
suspicious packages addressed to Milwaukee residences and originating from Hormigueros,
Puerto Rico and Cabo Rojo, Puerto Rico, respectively. The package from Hormigueros (the
‘“Hormigueros package”) weighed approximately 11 pounds and the package from Cabo Rojo (the
“Cabo Rojo package”) weighed approximately 6 pounds. The “Cabo Rojo package” was
addressed to “Julio Martinez, 931 W Walker St, Milwaukee WI. 53204,” and originated from
“Cindy Bayron, Urb. Villa luisa #17 Calle Turquesa Cabo Rojo, P.R. 00623.” The “Cabo Rojo
package” was postmarked on September 18, 2019 in Cabo Rojo, Puerto Rico. To avoid arousing
concern among the defendants, investigators detained the “Cabo Rojo package” for further scrutiny
while releasing the “Hormigueros package” for delivery. After a narcotics-detecting canine alerted
to the contents of the “Cabo Rojo package,” USPI Fink obtained a warrant to search the contents

of the package. A search of the package revealed it contained a one-kilogram brick of cocaine.

48
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 49 of 219 Document 1
 

USPI Fink had the USPS tracking system indicate that the “Cabo Rojo package” would be
“returned to sender.”

76. On September 20, 2019, at 9:00 am., TARGET TELEPHONE-9 (ie.,
GONZALEZ-COLLADO) called (787) 394-6087, used by ORENCH-FELICIANO. During the
intercepted call, ORENCH-FELICIANO identified the “Cabo Rojo package” by saying, “It’s the
small one; it’s ‘Julio Martinez, 931 W. Walker Street, Milwaukee, WI 53204.” GONZALEZ-
COLLADO asked, “That’s the one that’s going to arrive?” ORENCH-FELICIANO clarified,
“That’s the one that’s not going to arrive,” indicating he had been tracking the “Cabo Rojo
package” and that it would not arrive at its Milwaukee destination. ORENCH-FELICIANO
reiterated the destination address by saying, “931 is the one that’s not going to arrive. The one for
Julio Martinez, Walker Street, Milwaukee, Wisconsin 53204. Fucker, but that address is written
down correctly.» ORENCH-FELICIANO reiterated, “The address is correct,” and said, “I write
chicken scratch, but it’s understandable, fucker,” indicating he had written the addresses on the
“Cabo Rojo package.”

77. On the same date, at 9:34 am., TARGET TELEPHONE-9 (i.e., GONZALEZ-
COLLADO) called (787) 394-6087 (i.e., ORENCH-FELICIANO). During the intercepted call,
ORENCH-FELICIANO said, “Man, that is not going to be there anymore,” indicating he believed
the “Cabo Rojo package” was no longer at the Milwaukee Post Office. GONZALEZ-COLLADO
responded, “They are not going to send it back that fast.” ORENCH-FELICIANO said, “As it
arrived, they put it to be returned,” meaning the Postal tracking system indicated that once the
“Cabo Rojo package” arrived in Milwaukee, it was promptly returned to sender. As they discussed
whether to call or send someone to the Post Office to retrieve the “Cabo Rojo package,”

GONZALEZ-COLLADO said, “Man, that was the thing that other time, fucker . . . because of

49
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 50 of 219 Document 1
calling, and all that shit.” ORENCH-FELICIANO asked, “What happened?” GONZALEZ-
COLLADO replied, “You don’t remember? That when... returned it, the wrong address fucker,”
recalling the occasion when on April 8, 2019, GONZALEZ-COLLADO went to the Post Office
and called the facility regarding an undeliverable (due to a nonexistent destination address) parcel
containing 1.8 kilograms of cocaine. ORENCH-FELICIANO replied, “Yeah, that’s true. Leave
it alone. Let’s see what happens.” Later in the conversation, GONZALEZ-COLLADO said, “If
you want me to, I can have him go now,” indicating he was prepared to send someone to the Post
Office to retrieve the “Cabo Rojo package.” ORENCH-FELICIANO responded, “And if
something happens. . . have you thought of that?” GONZALEZ-COLLADO replied, “Yes, man!
He’ll get fucked, but we’ll bail him out.”

78. On the same date, at 10:27 am., TARGET TELEPHONE-9 (i.e., GONZALEZ-
COLLADO) called (787) 394-6087 (i.e., ORENCH-FELICIANO). During the intercepted call,
GONZALEZ-COLLADO said, “This guy is saying he’ll go in to get it,” indicating he found
someone willing to retrieve the “Cabo Rojo package.” ORENCH-FELICIANO replied, “Well,
give him the information. Have him go in, fucker. That’s not a bad thing.” GONZALEZ-
COLLADO said, “Alright, [ll tell him.” ORENCH-FELICIANO directed, “But have him go and
pick it up, because if that . . . he can redirect it at once.” ORENCH-FELICIANO continued, “Send
him the picture and everything,” indicating he wanted GONZALEZ-COLLADO to provide the
person the image and other identifying information for the “Cabo Rojo package.” GONZALEZ-
COLLADO replied, “Alright, bye.”

79. On the same date, at approximately 10:36 a.m., Julio SEDA-MARTINEZ entered
the U.S. Post Office located at 4300 West Lincoln Avenue, Milwaukee, Wisconsin 53219. SEDA-

MARTINEZ came to the Post Office to inquire about the “Cabo Rojo package.” While speaking

50
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 51 of 219 Document 1
 

with the Postal employee, SEDA-MARTINEZ identified the package by its tracking number and
the delivery address (i.e., 931 W. Walker Street, Milwaukee, Wisconsin 53204). SEDA-
MARTINEZ also displayed his Wisconsin state identification card to the Postal employee and
provided his cellular telephone number (414) 406-7420. SEDA-MARTINEZ asked that he be
contacted at (414) 406-7420 once the “Cabo Rojo package” became available.

80. On the same date, at 11:14 am., (787) 394-6087 (i.e., ORENCH-FELICIANO)
called TARGET TELEPHONE-9 (i.e., GONZALEZ-COLLADO). During the intercepted call,
GONZALEZ-COLLADO said, “[T]he guy (i.e., the Postal worker) told him (i.e., SEDA-
MARTINEZ) that it (i.e., the “Cabo Rojo package”) didn’t arrive today .. . . He (i.e., the Postal
worker) gave him (i.e., SEDA-MARTINEZ) his telephone number to call him, for him to pick it
up tomorrow.” ORENCH-FELICIANO replied, “Alright, bye.”

ORENCH-FELICIANO discloses he has customers in Indiana and Pennsylvania

81. On October 12, 2019, at 6:09 p.m., TARGET TELEPHONE-12 (ORENCH-
FELICIANO) received a call from (939) 490-4901, used by an unidentified male (UM12-304).
During the intercepted call, ORENCH-FELICIANO said, “Joelo is working too, he sells them for
twenty,” and continued, “Joelo, I am helping him as well.” UM12-304 said, “Aha.” ORENCH-
FELICIANO noted, “He (i.e., Joelo) is selling the halves in twenty.” UM12-304 responded, ““What
a hit!” ORENCH-FELICIANO said, “With half of one, I can buy one.” UM12-304 said, “A hit.”
ORENCH-FELICIANO said, “He is selling them in Indiana, for twenty,” and continued, “[a]nd I
pack them for him.” Based upon their training, experience, and familiarity with the investigation,
case agents believe ORENCH-FELICIANO supplies “Joelo” “% kilogram-amounts of cocaine,
which Joelo sells for $20,000; enough, according to ORENCH-FELICIANO, to reinvest in the

purchase of a complete kilogram of cocaine. Furthermore, after contemplating cutting ties with

51
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 52 of 219 Document 1
certain drug associates, ORENCH-FELICIANO noted he could still “stay with the guy in
Pennsylvania paying 33, and those are easy.” Based upon their training, experience, and
familiarity with the investigation, case agents believe ORENCH-FELICIANO reliably supplies
cocaine to a person in Pennsylvania for $33,000 per kilogram.

ORENCH-FELICIANO’s receipt of drug proceeds from GONZALEZ-COLLADO

82.  Aseries of intercepts, accompanied by searches of parcels, disclosed GONZALEZ-
COLLADO mails drug proceeds to ORENCH-FELICIANO and others. On September 15, 2019,
at 7:27 p.m., TARGET TELEPHONE-9 (i.e., GONZALEZ-COLLADO) received a call from
(939) 334-6355 (i.e, ORENCH-FELICIANO). During the intercepted call, GONZALEZ-
COLLADO told ORENCH-FELICIANO to provide an address by saying, “Send me an address.”
ORENCH-FELICIANO asked, “How much is there?” GONZALEZ-COLLADO replied, “?’m
going to tell them to make one (i.e., a box) of 30.” Based upon their training, experience, and
familiarity with the investigation, case agents believe GONZALEZ-COLLADO indicated he
would be preparing a parcel containing $30,000 of drug proceeds to be mailed to an address
provided by ORENCH-FELICIANO.

83. On September 16, 2019, at 6:09 pm. TARGET TELEPHONE-9 (ie.,
GONZALEZ-COLLADO) received a call from (939) 334-6355 (i, used by ORENCH-
FELICIANO. During the intercepted call, GONZALEZ-COLLADO and ORENCH-FELICIANO
argued about drug-proceeds that GONZALEZ-COLLADO purportedly owed ORENCH-
FELICIANO. GONZALEZ-COLLADO said, “Buddy, I sent you, listen, three boxes of 20 and
one of 24,” indicating he had mailed ORENCH-FELICIANO three parcels each containing
$20,000 and one parcel containing $24,000 in drug proceeds. ORENCH-FELICIANO responded,

“You sent me three boxes of 20, two for the Mexican guy, and we are at 79. Listen to me,

52
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 53 of 219 Document 1
 

 

remember we were at 119,000 bucks, dude.” Later in the same conversation, ORENCH-
FELICIANO said, “I’m in San Juan to pick up work buddy. I came to pick up four boards that I
have up here.” Based upon their training, experience, and familiarity with the investigation, case
agents believe ORENCH-FELICIANO was referring to cocaine when using the term “work” and
that he intended to retrieve four kilograms of cocaine in San Juan, Puerto Rico when saying he
would pick up “four boards” in San Juan.

84. On September 16, 2019, at 6:58 pm., TARGET TELEPHONE-9 (i.e.,
GONZALEZ-COLLADO) called (939) 334-6355 (i.e, ORENCH-FELICIANO). During the
intercepted call, GONZALEZ-COLLADO and ORENCH-FELICIANO resumed their dispute
over the outstanding drug debt. ORENCH-FELICIANO said, “You owed me . . . four boxes. Two
of 20 to the Mexican guy and 44 to me; and one of 20 and one of 44,” indicating he believed
GONZALEZ-COLLADO owed a Mexican two boxes containing $20,000 each in drug proceeds,
and owed ORENCH-FELICIANO a box containing $20,000 in drug proceeds and two boxes each
containing $44,000 in drug proceeds. GONZALEZ-COLLADO teplied, “Look, I sent you one to
Mayagtiez; that was the last one. The other one was to Texas, to the Mexican guy.” On August
22, 2019, USPI Fink obtained a warrant to search a parcel containing suspected drug proceeds that
was mailed by Julio SEDA-MARTINEZ at the Harbor Post Office, 1416 S. 11™ Street, Milwaukee,
Wisconsin on August 21, 2019. The parcel was addressed to “Daniel de la Cruz, 2800 Abbott
Ave., Mission Tx. 78574.” A search of the parcel disclosed $20,000 in U.S. currency. The parcel
was thereafter released into the stream of mail. Based upon their training, experience, and
familiarity with the investigation, case agents believe the “Mexican guy” is the person who

receives drug proceeds in Mission, Texas from GONZALEZ-COLLADO and his associates.

Case 2:20-mj-00822-WEC Filed 02/73/20 Page 54 of 219 Document 1
Search of a money shipment

85. On September 17, 2019, at 2:47 pm., TARGET TELEPHONE-9 (ie.,
GONZALEZ-COLLADO) called (939) 334-6355 (i.e., ORENCH-FELICIANO). During the
intercepted call, GONZALEZ-COLLADO again requested an address where he could send a
suspected money-laden parcel by asking, “Where do I send that to?” ORENCH-FELICIANO
asked, “How much is that one?” GONZALEZ-COLLADO replied, “Thirty,” indicating the parcel
would contain $30,000. ORENCH-FELICIANO responded, “Thirty? Send it to Balboa,”
confirming the amount of currency and indicating the location where the money-laden parcel was
to be sent. GONZALEZ-COLLADO said, “Alright, bye! And start looking for more,” indicating
he wanted ORENCH-COLLADO to obtain more illegal drugs to be mailed to Milwaukee.
ORENCH-FELICIANO replied, “Alright.” On September 17, 2019, at approximately 4:50 p.m.,
investigators observed Enid MARTINEZ, the spouse of Marcos APONTE-LEBRON, mail a
package at the Harbor Post Office, 1416 S. 11" Street, Milwaukee, Wisconsin 53204. The package
was addressed to “Moises Gonzalez, Balboa 33 PMB 204, Mayagiiez P.R. 00680.” On September
18, 2019, USPI Fink obtained a warrant to search the contents of the package mailed by Enid
MARTINEZ at the Harbor Post Office. A search of the package revealed it contained $29,980 in
U.S. currency. Investigators subsequently released the package into the stream of mail.

Carlos Omar CONCEPCION-RIVERA

86. As discussed herein, Carlos Omar CONCEPCION-RIVERA (a/k/a “Omy”), an
Hispanic male born on March 18, 1988, is a Puerto Rican-based multi-kilogram cocaine
distributor, who sends kilograms of cocaine via the U.S. Mail to locations in the continental United
States, including Milwaukee, Wisconsin. CONCEPCION-RIVERA lives in Puerto Rico, which

has been confirmed by investigation and surveillance. During the course of this investigation, case

54
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 55 of 219 Document 1
agents determined that CONCEPCION-RIVERA has used more than one cellular telephone
number, including (787) 960-9540 (TARGET TELEPHONE-10) and (920) 371-4279.

CONCEPCION-RIVERA ’s multi-kilogram cocaine shipments to the continental United States
Seizure of a Milwaukee-bound cocaine shipment

 

87. As noted supra, CONCEPCION-RIVERA supplies Hector Yamil RODRIGUEZ-
RODRIGUEZ kilogram-quantities of cocaine via the U.S. Mail. A series of intercepted
communications, accompanied by a seizure, confirmed that CONCEPCION-RIVERA had indeed
been mailing kilograms of cocaine to Milwaukee. Specifically, on October 9, 2019, USPI Fink
identified a suspicious package addressed to a Milwaukee residence and originating from Rincon,
Puerto Rico. The “Rincon package” weighed approximately 6 pounds, 9 ounces, was addressed
to “Jose Caro, 725 § 28" St., Milwaukee WI. 53215-1203,” and originated from “Delia Caro, HC
03 Box 6219 Bo. Jaguey Rincon PR, 00677.” The “Rincon package” was postmarked on October
8, 2019 in Cabo Rojo, Puerto Rico, and assigned tracking number 9505516133779281326180.
After a narcotics-detecting canine alerted to the contents of the “Rincon package,” USPI Fink
obtained a warrant to search the contents of the package. A search of the package revealed it
contained a one-kilogram brick of cocaine that bore a “dolphin” stamp.

88. On October 11, 2019, at 8:35 am. TARGET TELEPHONE-10 (ie.,
CONCEPCION-RIVERA) called TARGET TELEPHONE -6 (i.e., Hector Yamil RODRIGUEZ-
RODRIGUEZ). During the intercepted call, CONCEPCION-RIVERA said, “I sent you the
address there,” and continued, “the one for Rincon and one of the names.” Hector Yamil
RODRIGUEZ-RODRIGUEZ asked, “Dammit, do you remember the name for over here?”
CONCEPCION-RIVERA replied, “Man, J think it was Edward Caro . . . Man, I am not sure,”
suggesting he was discussing the “Rincon package.” Hector Yamil RODRIGUEZ-RODRIGUEZ

said, “Let me check that.” CONCEPCION-RIVERA subsequently commented, “Dude, we cannot

Case 2:20-mj-00822-WEC Filed 02/73/20 Page 56 of 219 Document 1

aan chiens onetime:
let any of that get lost.” Hector Yamil RODRIGUEZ-RODRIGUEZ said, “I have to call again,”
indicating he would call the Post Office to inquire about the “Rincon package.” Later in the
conversation, Hector Yamil RODRIGUEZ-RODRIGUEZ said, “Send me a picture of the receipt
to this phone — the other phone is [unintelligible] so I can get it,” indicating he wanted the image
of the “Rincon package’s” receipt for reference when he spoke to the Post Office.

89. While Hector Yamil RODRIGUEZ-RODRIGUEZ was speaking to
CONCEPCION-RIVERA over TARGET TELEPHONE-6, he used TARGET TELEPHONE-7 to
contact the Post Office. Specifically, on October 11, 2019, at 8:36 am., TARGET TELEPHONE-
7 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) called (800) 275-8777, which is the Post
Office’s customer service number. During the intercepted call, “Aurelio,” a USPS customer
service representative, said, “Thank you for calling the United States Postal Service customer care
center, my name is Aurelio. To assist you, may I have your name please?” Hector Yamil
RODRIGUEZ-RODRIGUEZ replied, “Edward Caro.” Aurelio asked, “How may I help you
mister?” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “I am having a problem receiving a
package that was supposed to be here today, but they are telling me that they need to re-send it.”
Aurelio said, “I apologize for that delay, can you please give me the tracking number? Hector
Yamil RODRIGUEZ-RODRIGUEZ replied, “9505516133779281326180,” indicating the
tracking number assigned to the “Rincon package.” Aurelio said, “Thank you. So, I have
9505516133779281326180, going from Puerto Rico to Wisconsin, correct?” Hector Yamil
RODRIGUEZ-RODRIGUEZ replied, “That is correct.” Aurelio asked, “Can you verify your
address, please?” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “725 South 28" Street,
Milwaukee, Wisconsin 53211,” which corresponded to the destination address listed on the

“Rincon package.” Aurelio said, “[U]nfortunately, this item was missent to the wrong post office

; 36
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 57 of 219 Document 1
in Green Bay . . . yesterday, so it shows that it’s being . . . rerouted to the correct destination. It
went to Green Bay instead of Milwaukee.” Hector Yamil RODRIGUEZ-RODRIGUEZ said,
“Okay, no problem. When will I be receiving it?” Aurelio said, “We do not have an estimated
return date, but you can continue to track it on the website USPS.com.” Hector Yamil
RODRIGUEZ-RODRIGUEZ responded, “Okay, no problem.” Based on these facts, case agents
believe CONCEPCION-RIVERA had the cocaine-laden “Rincon package” mailed to Milwaukee
for further distribution by Hector Yamil RODRIGUEZ-RODRIGUEZ. As noted infra, CORTES-
NIEVES mailed the package.

CONCEPCION-RIVERA ’s receipt of drug proceeds from
Hector Yamil RODRIGUEZ-RODRIGUEZ

Searches of money shipments

90. | On September 6, 2019, USPI Fink obtained a warrant to search the contents of a
parcel that Hector Yamil RODRIGUEZ-RODRIGUEZ mailed on September 5, 2019, from
Milwaukee and addressed to “Yashira Cortes,” who CONCEPCION-RIVERA lists as his spouse
on his Facebook account. The parcel contained $27,000 in U.S. currency. Investigators
subsequently released the parcel into the stream of mail. On September 9, 2019, at 3:45 p.m.,
TARGET TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) called TARGET
TELEPHONE-10 (i.e., CONCEPCION-RIVERA). During the intercepted call, Hector Yamil
RODRIGUEZ-RODRIGUEZ inquired if CONCEPCION-RIVERA received the money-laden
parcel by asking, “Did you get it?” CONCEPCION-RIVERA replied, “Uh yes, the missus just
called me,” indicating that CONCEPCION-RIVERA’s spouse had notified him that the parcel had
arrived. Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “Oh, okay, they left it (i.e., the parcel)
in front of your house?” CONCEPCION-RIVERA replied, “Yes.” Hector Yamil RODRIGUEZ-

RODRIGUEZ said, “Alright then, I wanted to check that was left there — [you] never called me.”

Case 2:20-mj-00822-WEC Filed 02/18/20 Page 58 of 219 Document 1
CONCEPCION-RIVERA responded, “Yes, I left the missus and I called her and told her, ‘The

993

fucker (i.e., the parcel) is nearby,’” indicating that he had notified his spouse (i.e., Yashira
CORTES-NIEVES) of the parcel’s impending arrival. Hector Yamil RODRIGUEZ-
RODRIGUEZ subsequently said, “Call me when you count it,” indicating he wanted
CONCEPCION-RIVERA to contact him once CONCEPCION-RIVERA counted the money.
Based upon their training, experience, and familiarity with the investigation, case agents believe
Hector Yamil RODRIGUEZ-RODRIGUEZ had mailed CONCEPCION-RIVERA $27,000 in
proceeds from the sale of cocaine that CONCEPCION-RIVERA previously supplied to Hector
Yamil RODRIGUEZ-RODRIGUEZ.

91. On September 18, 2019, USPI Fink obtained a warrant to search the contents of a
parcel that Hector Yamil RODRIGUEZ-RODRIGUEZ mailed on September 17, 2019, from
Milwaukee and addressed to “Rafael Chaparro Concepcion” in Aguada, Puerto Rico. The parcel
contained $33,040 in U.S. currency. Investigators subsequently released the parcel into the stream
of mail. On September 30, 2019, at 2:46 p.m., TARGET TELEPHONE-10 (i.e., CONCEPCION-
RIVERA) called TARGET TELEPHONE-6 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ).
During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “Did it arrive
early?” CONCEPCION-RIVERA replied, “Tt arrived . . . no, it arrived at 8:00 in the morning, my
woman went over there,” indicating Yashira CORTES, his spouse, retrieved a parcel that Hector
Yamil RODRIGUEZ-RODRIGUEZ sent. Hector Yamil RODRIGUEZ-RODRIGUEZ asked,
“Did you find it?” CONCEPCION-RIVERA replied, “[T]here was 28,350,” indicating the parcel
contained $28,350. CONCEPCION-RIVERA continued, “And the other one was 33,” referencing
the parcel containing $33,040 that Hector Yamil RODRIGUEZ-RODRIGUEZ mailed on

September 17, 2019. Hector Yamil RODRIGUEZ-RODRIGUEZ responded, “The other one was

58
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 59 of 219 Document 1
 

33, exactly.” Based upon their training, experience, and familiarity with the investigation, case
agents believe Hector Yamil RODRIGUEZ-RODRIGUEZ had mailed CONCEPCION-RIVERA
$33,040 and $28,350 in proceeds from the sale of cocaine that CONCEPCION-RIVERA
previously supplied to Hector Yamil RODRIGUEZ-RODRIGUEZ.
David Joel QUINONES-RIOS

92. As discussed herein, David Joel QUINONES-RIOS (a/k/a “Gordo,” “Gordito,” and
“Davito”), an Hispanic male born on May 8, 1990, is a Puerto Rican-based multi-kilogram cocaine
distributor, who sends kilograms of cocaine via the U.S. Mail to various locations in the continental
United States, including Milwaukee, Wisconsin. QUINONES-RIOS resides in Puerto Rico, which
has been confirmed by investigation and surveillance. During the course of this investigation, case
agents determined that QUINONES-RIOS has used more than one cellular telephone number,
including (787) 463-8963 (TARGET TELEPHONE-11), (904) 314-9813, and (939) 339-3361.

QUINONES-RIOS’s multi-kilogram cocaine shipments to the continental United States
Cocaine shipments to Milwaukee

93. As detailed supra, QUINONES-RIOS supplies Hector Yamil RODRIGUEZ-
RODRIGUEZ kilogram-quantities of cocaine via the U.S. Mail. A series of intercepts revealed
how one cocaine shipment to Milwaukee transpired. On October 6, 2019, at 8:07 p.m., TARGET
TELEPHONE-6 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) received a call from (904) 314-
9813, used by QUINONES-RIOS. During the intercepted call, Hector Yamil RODRIGUEZ-
RODRIGUEZ asked, “How much are you going to send?” QUINONES-RIOS inquired, “{Ijf I
have four, will you take four?” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “Yes, of
course blood, you know.” Based upon their training, experience, and familiarity with the

investigation, case agents believe Hector Yamil RODRIGUEZ-RODRIGUEZ agreed to receive

Case 2:20-mj-00822-WEC Filed 02/98/20 Page 60 of 219 Document 1
four kilograms of cocaine from QUINONES-RIOS. On the same date, at 8:22 p.m., TARGET
TELEPHONE-6 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) received a call from (904) 314-
9813, used by QUINONES-RIOS. During the intercepted call, QUINONES-RIOS said, “28%,”
indicating his price for a kilogram of cocaine was $28,500. Hector Yamil RODRIGUEZ-
RODRIGUEZ replied, “Man, do 28, if I’m getting it for 27’ from these assholes,” indicating he
wanted QUINONES-RIOS to drop the price to $28,000 per kilogram. QUINONES-RIOS inquired
“28?” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “Yes, 28.” QUINONES-RIOS
responded, “Alright then.”

94. On October 7, 2019, at 8:02 p.m., TARGET TELEPHONE-13 (ie., David
QUINONES-QUINONES) called TARGET TELEPHONE-11 (i.e., QUINONES-RIOS). During
the intercepted call, QUINONES-QUINONES inquired if QUINONES-RIOS had customers
needing cocaine in the continental United States by asking, “And does anyone want any out there?”
QUINONES-RIOS replied, “For out there, I sent four today as well,” referencing the four
kilograms of cocaine he had sent to Hector Yamil RODRIGUEZ-RODRIGUEZ that day.
QUINONES-QUINONES remarked, “I was going to release you one to send it out there.”
QUINONES-RIOS said, “I have a guy there that grabs some. I’l tell him tomorrow.”
QUINONES-QUINONKES said, “Find out.” QUINONES-RIOS asked, “Alright, how much should
we charge him for it?” QUINONES-QUINONES inquired, “How much do you give it to him
for?” QUINONES-RIOS said, “I charge him 28,” indicating he charges $28,000 per kilogram of
cocaine. QUINONES-QUINONES said, “Whatever you can sell it for.”

95. | On October 9, 2019, at 3:18 p.m., TARGET TELEPHONE-11 (i.e., QUINONES-
RIOS) called TARGET TELEPHONE-13 (i.e. QUINONES-QUINONES). During the

intercepted call, QUINONES-RIOS said, “I sent four and two arrived and it has not arrived,”

60
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 61 of 219 Document 1
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indicating he had mailed Hector Yamil RODRIGUEZ-RODRIGUEZ four kilograms of cocaine,
but only two kilograms had arrived at that point. QUINONES-QUINONES said, “The mailmen
are stealing it, fucker.” QUINONES-RIOS noted, “[T]here was two in one box and two in the
other,” indicating he had mailed two boxes that each contained two kilograms of cocaine.
QUINONES-QUINONES tried to reassure QUINONES-RIOS by saying, “Well, it arrived.”
QUINONES-RIOS said, “One arrived and the other is still missing,” indicating only one of two
cocaine-laden boxes arrived in Milwaukee. Contemporaneous intercepted calls disclosed that the
two suspected drug-laden parcels were indeed mailed to Hector Yamil RODRIGUEZ-
RODRIGUEZ in Milwaukee. On October 9, 2018, at 11:22 am., TARGET TELEPHONE-11
(i.e., QUINONES-RIOS) received a call from (787) 675-0225 (i.e., TARGET TELEPHONE-14),
used by FNU LNU 8 (a/k/a “Edward”). During the intercepted call, QUINONES-RIOS said, “A
box of 2 got lost.” Later in the conversation, QUINONES-RIOS said, “[I]t (i.e., the box) is over
there in Milwaukee already.” On the same date, at 2:50 p.m., TARGET TELEPHONE-11 (ie.,
QUINONES-RIOS) received a call from (954) 560-1299, used by Karina FERRER. During the
intercepted call, QUINONES-RIOS said, “The fucking box arrived and it arrived somewhere else.
There were two more in another box; that’s $80,000 lost.” On the same date, at 4:00 p.m.,
TARGET TELEPHONE-11 (i.e, QUINONES-RIOS) received a call from (787) 240-6515, used
by an individual nicknamed “Peluca.” During the intercepted call, QUINONES-RIOS said, “One
is missing. Supposedly, Yamil (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) called over there
(i.e., the Post Office), and I was listening, and they told him that it (i.e., the box) will be delivered

tomorrow or the following day.”

61
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 62 of 219 Document 1
Seizure of a cocaine shipment

96. — Aseries of intercepted communications, accompanied by a seizure, confirmed that
QUINONES-RIOS had indeed been mailing kilograms of cocaine to the continental United States.
On October 28, 2019, at 10:06 am., TARGET TELEPHONE-11 (i.e., QUINONES-RIOS)
received a call from (860) 865-9716, used by FNU LNU 12 (a/k/a “Leo”). The “860” area code
is affiliated with the northern and eastern portions of Connecticut and includes the cities of
Hartford, Groton, and New London, Connecticut. During the intercepted call, QUINONES-RIOS
said, “I’m ready to send you some for tomorrow.” FNU LNU 12, who identified himself as “Leo”
in prior intercepts, asked, ““You haven’t made it yet?” QUINONES-RIOS replied, “No, I’m going
to make them later and have them ready and have the guys send it tomorrow.” QUINONES-RIOS
continued, “I’m going to send you six.” Based upon their training, experience, and familiarity
with the investigation, case agents believe QUINONES-RIOS indicated he would mail six
kilograms of cocaine to FNU LNU 12 on October 29, 2019.

97. Given the foregoing intercept, on October 30, 2019, USPI Fink identified a
suspicious package addressed to New London, Connecticut (the “New London package”) and
originating from Rincon, Puerto Rico, which is a town on the island’s northwest coast. The
package was postmarked on October 29, 2019 in Rincon and weighed approximately 8 pounds, 6
ounces. The package was addressed to “Antonio Gonzalez, 179 Lincoln Ave, New London CT
06320,” and listed the return address as “Abimael Gonzalez, PO. Box 50000 Suite 663 Aguada PR
00602.” Of note, on October 12, 2019, a suspected cocaine-laden parcel was mailed to Milwaukee,
Wisconsin from Aguada, Puerto Rico, and listed the return address as “Jose Aceveto, PO box
5000-663, Aguada PR 00602,” which was nearly identical to the return address listed on the “New

London package.” Based on this information, USPI Fink had the “New London package” rerouted

62
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 63 of 219 Document 1
 

to Milwaukee for further scrutiny. After a narcotics-detecting canine alerted to the contents of the
“New London package,” USPI Fink obtained a warrant to search its contents. A search of the
“New London package” revealed it contained two bricks of cocaine that weighed approximately
two kilograms. USPI Fink had the USPS tracking system indicate that the “New London package”
had arrived in Bennington, Nebraska and would be returned to sender. One cocaine brick had the
stamp “F8,” and the other cocaine brick had a “dolphin” stamp.°

98. On October 31, 2019, at 12:42 pm., TARGET TELEPHONE-11 (i.e.,
QUINONES-RIOS) called (860) 865-9716 (i.e., FNU LNU 12 (a/k/a “Leo”)). During the
intercepted call, QUINONES-RIOS asked, “Did you call?” FNU LNU 12 replied, “Hey, I’m here
and they have me on hold [BACKGROUND: on-hold music],” indicating he was also on-hold
with customer service regarding an undelivered item. QUINONES-RIOS directed, “Check and
see. It’s showing they are going to return it back [to sender].””» FNU LNU 12 responded, “What
are you thinking, could it have been caught, Davo?” QUINONES-RIOS replied, “No, no! I
checked it and all the passes were done. When they get caught, it always shows they are coming
to San Juan.” FNU LNU 12 later asked, “But what happened there?” QUINONES-RIOS said, “It
shows they couldn’t deliver it at the address,” indicating he was tracking the progress of an
undelivered package. FNU LNU 12 said, “That’s weird, you know?” QUINONES-RIOS
responded, “If it would have been caught, they would have tried to deliver it to try and get
someone,” indicating the package contained contraband, which would, in his view, have prompted

law enforcement to conduct a controlled delivery to arrest the recipient of the package.

 

5 On October 16, 2019, at 4:08 p.m., TARGET TELEPHONE-11 (i.e., QUINONES-RIOS) called TARGET
TELEPHONE-14 (i.e., FNU LNU 8). During the intercepted call, QUINONES-RIOS said, “The dolphins are badass,”
referring to the quality of cocaine bearing the “dolphin” stamp. FNU LNU 8 responded, “Yes, they are good.” FNU
LNU 8 later commented, “The dolphin and the F8 and the one you showed me are nice,” referring to the quality of
cocaine bearing the “dolphin,” “F8,” and an unspecified stamp.

63
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 64 of 219 Document 1
99. On the same date, at 3:47 p.m., TARGET TELEPHONE-11 (i.e., QUINONES-
RIOS) received a call from (860) 865-9716 (i.e, FNU LNU 12 (a/k/a “Leo”)). During the
intercepted call, QUINONES-RIOS said, “They sent it somewhere else.” FNU LNU 12 said,
“Shit, they sent it to Nebraska. What are they going to do?” Send it over here now?” QUINONES-
RIOS replied, “Supposedly.” QUINONES-RIOS continued, “I gave the name of the guy and
correct address; everything is perfect.” FNU LNU 12 remarked, “What a crazy thing.”
QUINONES-RIOS responded, “Right? It jumped from there.” FNU LNU 12 said, “Listen, I
freaked out.” QUINONES-RIOS said, “I called and they told me that, I will see what happens.”
Based upon their training, experience, and familiarity with the investigation, case agents believe
QUINONES-RIOS and FNU LNU 12 were referring to the “New London package” when
discussing the item that could not be delivered, was sent to Nebraska, and would be returned.

100. Also onthe same date, at 4:32 p.m., TARGET TELEPHONE-11 (i.e., QUINONES-
RIOS) called (717) 781-0536, used by FNU LNU 13 (a/k/a “Angel”). During the intercepted call,
QUINONES-RIOS remarked, “I did not go over there because I was doing other things and I lost
two as well,” indicating he was preoccupied because, among other things, he lost “two” —
corresponding to the undelivered two kilograms of cocaine in the “New London package.” FNU
LNU 13 asked, “That what?” QUINONES-RIOS reiterated, “That I also have something lost,”
again referring to the “New London package” that contained two kilograms of cocaine. FNU LNU
13 said, “Damn it dude, you should have picked up that money.” QUINONES-RIOS responded,
“Tt’s arriving tomorrow,” indicating a package containing suspected drug proceeds would arrive

the next day.

64
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 65 of 219 Document 1
 

Seizure of money shipment

101. On November 11, 2019, at 2:54 p.m., TARGET TELEPHONE-11 (ie.,
QUINONES-RIOS) received a call from (717) 781-0536 (1.e., FNU LNU 13 (a/k/a “Angel”). The
“717” area code is affiliated with the south central portions of Pennsylvania and includes the cities
of Harrisburg, Lancaster, and York. During the intercepted call, FNU LNU 13 said, “I have the
majority in there, man, but I’m waiting on two or three bucks; I’m waiting on two or three bucks
to arrive .. . I’m thinking I’ll be ready to send tomorrow. If I have to wait until tomorrow, then
Ill send it Wednesday.” QUINONES-RIOS responded, “Send it tomorrow.” FNU LNU 13 said,
“I’m going to send all I have there tomorrow and the rest through a money order on these days.”
QUINONES-RIOS said, “Alright, go ahead.” FNU LNU 13 asked, “Are you sending tomorrow?”
QUINONES-RIOS replied, “Let me see what is around.” FNU LNU 13 responded, “Man, check
and see if you can send yours because I need that.” Based upon their training, experience, and
familiarity with the investigation, case agents believed FNU LNU 13 indicated he would be
mailing drug proceeds to QUINONES-RIOS on November 11, 2019, and requested that
QUINONES-RIOS mail cocaine to him.

102. On November 12, 2019, at 2:49 pm., TARGET TELEPHONE-11 (ie.,
QUINONES-RIOS) received a call from (717) 781-0536 (i.e., FNU LNU 13 (a/k/a “Angel”).
During the intercepted call, FNU LNU 13 said, “That address is wrong.” QUINONES-RIOS
responded, “No, I already receive mail there.” FNU LNU 13 said, “No, San Antonio is a
neighborhood in Aguadilla, if I’m not mistaken; but it has to say Aguadilla. You only put San
Antonio, PR,” indicating QUINONES-RIOS may have provided an erroneous address where to
send the drug proceeds. QUINONES-RIOS said, “Hold on, give me a moment.” FNU LNU 13

said, “You see? That box would have ended up in the wrong place.” QUINONES-RIOS

65
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 66 of 219 Document 1
responded, “561 San Antonio, PR 00690. Aguadilla no, San Antonio.” QUINONES-RIOS
continued, “I always write it like that because by the zip code, they know,” indicating the zip code
would ensure the package’s arrival at the correct location.

103. Given the foregoing intercepts, on November 13, 2019, USPI Fink identified a
suspicious package addressed to San Antonio, Puerto Rico (the “San Antonio package”) and
originating from York, Pennsylvania. The package was postmarked on November 12, 2019 in
York, Pennsylvania and weighed approximately 4 pounds, 11 ounces. The package was addressed
to “Hector Mendez, PO Box 561, San Antonio, P.R. 00690,” and listed the return address as
“Yahaira Rosario, 411 S. George St., York, PA 17401.” Based on this information, USPI Fink
had the “San Antonio package” rerouted to Milwaukee for further scrutiny. After a narcotics-
detecting canine alerted to the contents of the “San Antonio package,” USPI Fink obtained a
warrant to search its contents. A search of the “San Antonio package” revealed it contained
$10,400 in U.S. currency.

104. On November 18, 2019, at 11:54 am., TARGET TELEPHONE-11 (ie.,
QUINONES-RIOS) received a call from (717) 781-0536 (i.e., FNU LNU 13 (a/k/a “Angel”.
During the intercepted call, QUINONES-RIOS said, “It hasn’t moved,” indicating the “San
Antonio package” had not moved according to the tracking system. FNU LNU 13 said, “Man, I
knew from the beginning that something might happen; that something was going to happen... .
[b]ut you said it was all good; well, I left it like that.” QUINONES-RIOS responded, “It’s always
sent like that.” FNU LNU 13 asked, “You can catch anything, man?” QUINONES-RIOS replied,
“Without money, I can’t,” indicating he cannot obtain additional cocaine without drug proceeds.
FNU LNU 13 said, “It’s been said that inventory is low. Is that true?” QUINONES-RIOS replied,

“No, there is some around,” indicating cocaine was available. FNU LNU 13 said, “[I]f I could

66
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 67 of 219 Document 1
 

work a whole one to not have to go through the trouble.” QUINONES-RIOS responded, “I’m just
waiting for the money to arrive so we could work something out.” Based upon their training,
experience, and familiarity with the investigation, case agents believe FNU LNU 13 wanted an
entire kilogram of cocaine, rather than the lesser quantity that QUINONES-RIOS had supplied
FNU LNU 13.

105. On November 21, 2019, at 5:24 pm. TARGET TELEPHONE-7 (ie.,
RODRIGUEZ) called TARGET TELEPHONE-11 (i.ec., QUINONES-RIOS). During the
intercepted call, RODRIGUEZ said, “Don’t leave me naked, man, we need to do business, Davo,
you have to... youknow...,” indicating he wanted QUINONES-RIOS to continue supplying
him cocaine. QUINONES-RIOS said, “That man has to give me from there, and now I lost a box
with ten bucks,” referencing the “San Antonio package” that was never delivered to him.

106. On November 25, 2019, 4:24 p.m., TARGET TELEPHONE-11 (i.e., QUINONES-
RIOS) called (787) 340-0513, used by “Marcelino.” During the intercepted call, QUINONES-
RIOS lamented, “Man, I have lost a box, fucking shit.” “Marcelino” said, “Wait, don’t call or
anything,” and continued, “[w]hen you call and call, man, those people know and they store it and
put it aside in a corner and that’s the problem,” admonishing QUINONES-RIOS not to call
attention to the lost box. QUINONES-RIOS responded, “Yes, they’1! check on it,” and continued,
“10,400 were coming in it, 10,400 bucks,” indicating he was talking about the “San Antonio
package” that was never delivered to him.

QUINONES-RIOS supplies fellow multi-kilogram cocaine distributor ORENCH-FELICIANO

107. Aseries of intercepted communications disclosed that QUINONES-RIOS supplied
ORENCH-FELICIANO cocaine. Specifically, on October 10, 2019, at 6:22 p.m., TARGET

TELEPHONE-11 (i.e., QUINONES-RIOS) called TARGET TELEPHONE-12 (ORENCH-

67
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 68 of 219 Document 1
FELICIANO). During the intercepted call, ORENCH-FELICIANO asked, “Do you still have any
left? QUINONES-RIOS replied, “Yes.” ORENCH-FELICIANO said, “I need one dude.”
QUINONES-RIOS said, “I'll go get it now or what should I do?” ORENCH-FELICIANO said,
“T don’t know. I am here at home, close to where we met yesterday.” QUINONES-RIOS said,
“T’]] call you back when I get one.” ORENCH-FELICIANO said, “Alright, call me.” On the same
date, at 8:45 p.m., TARGET TELEPHONE-12 (i.e, ORENCH-FELICIANO) called TARGET
TELEPHONE-11 (i.e., QUINONES-RIOS). During the intercepted call, ORENCH-FELICIANO
asked, “It’s 20 bucks a piece, right dude?” QUINONES-RIOS replied, “20-2.” ORENCH-
FELICIANO responded, “20-2? It’s fine.” QUINONES-RIOS said, “Alright.” Based upon their
training, experience, and familiarity with the investigation, case agents believe ORENCH-
FELICIANO agreed to purchase a kilogram of cocaine from QUINONES-RIOS for $20,200.

108. On the same date, at 8:35 p.m., TARGET TELEPHONE-12 (i.e., ORENCH-
FELICIANO) called TARGET TELEPHONE-11 (i.e., QUINONES-RIOS). During the
intercepted call, QUINONES-RIOS said, “I’m here, close to Aguada, on the second light.”
ORENCH-FELICIANO said, ““We can meet in Anasco. What do you think? We can meet at
McDonald’s, the front is dark and quiet,” suggesting they could conduct the cocaine transaction at
a discrete location in Anasco, Puerto Rico. QUINONES-RIOS replied, “J’ll see you there.”

David QUINONES-QUINONES

109. As discussed herein, David QUINONES-QUINONES (a/k/a “Davo”) is a Puerto-
Rican based cocaine distributor who obtains significant kilogram-quantities of cocaine from other
Puerto-Rican based distributors and Dominican suppliers via maritime shipment. QUINONES-
QUINONES, in turn, supplies the cocaine to other Puerto-Rican based distributors, such as

QUINONES-RIOS. QUINONES-QUINONES lives in Puerto Rico, which has been confirmed

68
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 69 of 219 Document 1
 

by the investigation. During the course of this investigation, case agents determined that
QUINONES-QUINONES uses more than one cellular telephone number, including (939) 414-
0240 (i.e. TARGET TELEPHONE-13).

OUINONES-OQUINONES discusses prospect of directly supplying
Milwaukee with Dominican-sourced cocaine

 

110. On October 29, 2019, at 2:20 p.m., TARGET TELEPHONE-13 (i.e., QUINONES-
QUINONES) received a call from (414) 573-1846, used by Steven CORTES-IRIZARRY (a/k/a
“Tufo”), who assists Hector Yamil RODRIGUEZ-RODRIGUEZ’s Milwaukee-based drug-
distribution network. During the intercepted call, CORTES-IRIZARRY said, “Things got slow,
Davo. Because, at this time . . . sometimes you sell 15 right away, but sometimes . . .,” indicating
at times one could quickly sell as much as 15 kilograms of cocaine, but recently the demand in
Milwaukee had lessened. QUINONES-QUINONES remarked, “Yes, up there they got one in,”
and continued, “[t]hey brought a load in, and he tells me that it cooks and all, but it won’t dry out.
He says he will sell them cheap.” Based upon their training, experience, and familiarity with the
investigation, case agents believe QUINONES-QUINONES informed CORTES-IRIZARRY that
a cocaine shipment had arrived in Puerto Rico, that the cocaine was ideal for “cooking” into
cocaine base, and that the cocaine was cheap. CORTES-IRIZARRY asked, “Do you sell them
whole one or by pieces?” QUINONES-QUINONES replied, “I usually sell them whole or halves,”
indicating he sells cocaine in either whole kilogram or 500 gram amounts. QUINONES-
QUINONES then noted, “I have some Dominican friends who are going to help me out,”
indicating he would be supplied by Dominicans. CORTES-IRIZARRY said, “Well, see what you
can do and call me as soon as you get them,” indicating he wanted QUINONES-QUINONES to
contact him once the Dominicans delivered the cocaine. QUINONES-QUINONES replied, “Yes,

I'll call you as soon as I get them.” Later in the conversation, CORTES-IRIZARRY said, “Yamil

69
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 70 of 219 Document 1
pays me here to pick them up . . . that way I earn $2,000 or $3,000,” indicating Hector Yamil
RODRIGUEZ-RODRIGUEZ pays him to retrieve cocaine-laden parcels sent to Milwaukee,
Wisconsin. QUINONES-QUINONES asked, “At how much is he selling them over there?”
CORTES-IRIZARRY said, “Davito puts them here for me at 28,” indicating QUINONES-RIOS
supplied cocaine to Milwaukee for $28,000 per kilogram. QUINONES-QUINONES responded,
“TI can give them to you for the same,” indicating he too could supply CORTES-IRIZARRY

cocaine at $28,000 per kilogram.

OUINONES-OUINONES prepares for receipt of 115 kilograms of cocaine
via maritime shipment from the Dominican Republic

 

111. On November 12, 2019, at 10:30 am. TARGET TELEPHONE-13 (e.,
QUINONES-QUINONES) called (787) 249-5219, used by a person identified as FNU LNU 18
[a/k/a “Andy”]). During the intercepted call, FNU LNU 18 said, “Listen, call Gordo to see if the
old man and young man want to go pick something up. I have a good number.” QUINONES-
QUINONES subsequently responded, “T’ll talk to him.” FNU LNU 18 said, “Of course, if not,
look for somebody that is serious and who knows how to do it well; whoever, but we need them
for today or early tomorrow. Based upon their training, experience, and familiarity with the
investigation, case agents believe FNU LNU 18 wanted QUINONES-QUINONES to assemble a
crew to retrieve an imminent maritime cocaine shipment. In a subsequent recorded call, at 11:21
a.m., FNU LNU 18 said, “It’s 115... then 3.” QUINONES-QUINONES asked, “How much are
they going to pay them?” FNU LNU 18 subsequently answered, “Maybe seven percent or eight.”
Based upon their training, experience, and familiarity with the investigation, case agents believe
FNU LNU 18 indicated they would be initially supplied 115 kilograms of cocaine (and later 300
kilograms), and that the crew may receive eight kilograms (i.e., ~ 7%) as payment for retrieving

the cocaine load.

70
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 71 of 219 Document 1
 

 

112. On November 12, 2019, at 11:26 am., TARGET TELEPHONE-13 (ie.,
QUINONES-QUINONES) received a call from (732) 804-7858, used by FNU LNU 15. During
the intercepted call, QUINONES-QUINONES directed FNU LNU 15, “Put Negro on the phone.”
Once “Negro” answered the phone, QUINONES-QUINONES discussed “Negro’s” payment
should he retrieve a maritime cocaine load for QUINONES-QUINONES. — Specifically,
QUINONES-QUINONES said, “Listen, I'll give you seven percent” “Negro” responded, “Seven
percent? Did you do the math? Tell me because these people and I are stupid.” QUINONES-
QUINONES replied, “Well, it’s 115 to start and then it’s 300; he said it’s like eight, in the end,”
indicating he would initially be supplied 115 kilograms of cocaine, “Negro” would receive eight
kilograms as payment (i.e., ~ 7%), and the supplier would subsequently provide 300 kilograms of
cocaine. “Negro” asked, “Okay, but in money, how much?” QUINONES-QUINONES replied,
“160,000,” indicating “Negro” could earn $160,000 (i.e., $20,000 per kilogram of cocaine).
“Negro” asked, “Is it far? Do we have to run a lot?” QUINONES-QUINONES replied, “No, he
says it’s closer,” indicating “Negro” would not need to travel far (i.e., in the Caribbean) to retrieve
the multi-kilogram cocaine load.

113. On November 16, 2019, at 1:53 p.m., TARGET TELEPHONE-13 (ie.,
QUINONES-RIOS) received a call from (717) 781-0536, used by FNU LNU 13 (a/k/a “Angel”).
During the intercepted call, FNU LNU 13 said, “Well dude, please let me know if you do anything.
Let’s see if we can start working again,” indicating he wanted QUINONES-QUINONES to notify
him when a supply of illegal drugs was available. QUINONES-QUINONES responded, “There
is a Dominican coming, if I get a hold of him, Ill be able to get two or three pieces,” indicating a
Dominican was about to supply cocaine, and that QUINONES-QUINONES could give FNU LNU

13 two to three kilograms from that shipment. FNU LNU 13 said, “Send them whole, don’t break

71
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 72 of 219 Document 1
them. Send it whole and I’1l go through it quick,” indicating he wanted QUINONES-QUINONES
to send the cocaine in uncut kilogram bricks. QUINONES-QUINONES said, “I'll send it whole
to you if you find a good address. I won’t even send you bubble gum to that address,” indicating
he would mail FNU LNU 13 the cocaine if FNU LNU 13 provided a secure address. QUINONES-
QUINONES continued, “I’ve lost too much, dude,” indicating he did not want to lose a cocaine
shipment. FNU LNU 13 said, “Dude, you have to send the whole piece at a good price.”
QUINONES-QUINONES responded, “Well, you get yourself a good address. The least I could
give you an entire piece is for 28 or 29 . . . depending on the price we get here. But there is none
here at this time,” indicating he could sell the cocaine to FNU LNU 13 for between $28,000 and
$29,000 per kilogram, and again insisted that FNU LNU 13 first find a secure address to receive
the cocaine. FNU LNU 13 subsequently said, “Go ahead and send it.” QUINONES-QUINONES
said, “Let’s see what happens; that thing is supposed to leave from there today or tomorrow, and
it’s coming with a couple of [unintelligible], and if it doesn’t get caught and comes to me... .,” and
continued, “[a] Dominican, a Dominican coming from there to here,” indicating his cocaine supply
would be replenished by a Dominican via maritime shipment unless the shipment was seized by
authorities.

114. On November 16, 2019, at 4:35 p.m. TARGET TELEPHONE-13 (.e.,
QUINONES-QUINONES) called (732) 804-7858 (i.e., FNU LNU 15). During the intercepted
call, QUINONES-QUINONES said, “Those people already sent me the video showing that they
left already,” indicating he received notice that the maritime cocaine shipment had departed the
Dominican Republic. FNU LNU 15 responded, “Oh, okay. Well, let me know so I go down there
and open it and... ,” indicating he would go to the location where their boat was located to allow

the crew to access the boat. QUINONES-QUINONES subsequently said, “Well, P’Il call you as

72
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 73 of 219 Document 1
Soe reaasahnen aa a ab ANE RLETAR Ser SR cae te Sok

 

soon as he calls me,” indicating he would contact FNU LNU 15 once he receives an update from
the Dominican cocaine supplier. FNU LNU 15 said, “Alright, I'll be waiting for your call.”

115. The Dominican cocaine suppliers ultimately chose not to conduct the shipment on
this occasion. QUINONES-QUINONES and FNU LNU 15 subsequently discussed the abandoned
maritime effort during an intercepted conversation. On November 18, 2019, at 11:22 am.,
TARGET TELEPHONE-13 (i.e., QUINONES-QUINONES) received a call from (732) 804-7858
(i.e., FNU LNU 15). During the intercepted call, FNU LNU 15 asked, “Listen, aren’t those people
going to try again? When are they going again?” QUINONES-QUINONES replied, “Yes, yes, I
think .. . I'll call later, but this week again,” indicating the Dominican supplier might attempt a
maritime cocaine shipment later that week. FNU LNU 15 responded, “[B]ecause I can’t believe
they cancelled that yesterday. They were supposed to try again today,” indicating the maritime
cocaine shipment was supposed to occur either late Sunday or early Monday. QUINONES-
QUINONES said, “I told them that it cannot wait now, ‘Are you going to wait?’ ‘No, no,

999

[unintelligible],’” indicating he was insisting on the Dominicans making the maritime cocaine
shipment. FNU LNU 15 commented, “If the road gets harder, the road can get harder, the road is
becoming hard. So, they have to take advantage, if not this is going to fall for a long time,”
indicating the conditions for a successful maritime cocaine shipment may become more difficult.
FNU LNU 15 continued, “And that is what the guy is planning; the more it delays, the better it is
for him,” indicating the supplier may be trying to extract a financial advantage by delaying the
cocaine shipment. QUINONES-QUINONES said, “Yes.” FNU LNU 15 said, “So . . . nothing,
light a fire,” indicating he wanted QUINONES-QUINONES to pressure the Dominicans to

promptly make the maritime cocaine shipment.

73
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 74 of 219 Document 1
OQUINONES-QUINONES discusses maritime cocaine seizure and loss of 90 kilograms of cocaine

116. On December 10, 2019, at approximately 4:40 am., the Puerto Rico Police
Department Joint Forces for Rapid Action (FURA) intercepted a “‘yola” type vessel approximately
one mile from Crash Boat Beach, which is near Aguadilla, Puerto Rico. The vessel had five
occupants each of whom claimed to be Dominican nationals. FURA, with the assistance of the
U.S. Border Patrol, searched the “yola” type vessel and found approximately 182 kilograms of
suspected cocaine. A field test later confirmed the suspected contraband was indeed cocaine.

117. Several intercepted communications disclosed that a substantial portion of the
seized cocaine was intended for QUINONES-QUINONES and his associates for further
distribution. Specifically, on December 10, 2019, at 7:29 am., TARGET TELEPHONE-13 (i.e.,
QUINONES-QUINONES) received a call from (787) 249-5219 (i.e., FNU LNU 18 [a/k/a
“Andy”]). During the intercepted call, QUINONES-QUINONES said, “They caught a car in
Aguadilla,” and he continued, “they caught a car at the beach in Aguadilla, half a mile from the
shore,” indicating law enforcement intercepted a vessel near Aguadilla, Puerto Rico. FNU LNU
18 responded, “Oh, shit!” QUINONES-QUINONES said, “They caught him at 4:40 in the
morning. I saw it on the news.” FNU LNU 18 inquired if the vessel came from the Dominican
Republic by asking, “But were they coming from my place?” QUINONES-QUINONES replied,
“Tt seems they came from there, with five people and eight sacks of roosters.” FNU LNU 18
responded, “Oh, my God.” Based upon their training, experience, and familiarity with the
investigation, case agents believe QUINONES-QUINONES and FNU LNU 18 were discussing
the 182 kilogram maritime seizure near Crash Boat Beach on December 10, 2019 (the “Crash Boat

Beach” load).

 

6 In a previous intercepted call, QUINONES-QUINONES identified FNU LNU 18 as a Dominican.

74
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 75 of 219 Document 1
 

118. On the same date, at 9:24 am., TARGET TELEPHONE-13 (i.e., QUINONES-
QUINONES) received a call from (787) 220-2602, used by FNU LNU 18 [a/k/a “Andy”]). During
the intercepted call, FNU LNU 18 said, “Call me at this one,” indicating he wanted QUINONES-
QUINONES to henceforth contact him at (787) 220-2602. QUINONES-QUINONES asked, “Oh,
you have this one now? FNU LNU 18 replied, “Yes, yes, I changed it. Listen, there was 90 there
for us.” QUINONES-QUINONES asked, “In that?” FNU LNU 18 replied, “Yes. It could be that

3

soon ... there is something.” Based upon their training, experience, and familiarity with the
investigation, case agents believe FNU LNU 18 indicated that although they were supposed to
receive 90 kilograms of cocaine from the “Crash Boat Beach” load, another maritime cocaine
shipment may be coming.

119. On the same date, at 9:50 am., TARGET TELEPHONE-13 (i.e., QUINONES-
QUINONES) received a call from (939) 339-9167, used by a person identified as “Joel.” During
the intercepted call, QUINONES-QUINONES asked, “Did you see the thing they caught over
there arriving at “Crash Boat?” “Joel” replied, “No, I don’t know anything,” indicating he was
unaware of the “Crash Boat beach” load. QUINONES-QUINONES said, “They told me it was
eight bales,” indicating he believed the cocaine was contained in eight bales. QUINONES-
QUINONES continued, “half mile from Crash Boat,” noting the location where the “Crash Boat
Beach” load was intercepted. Later in the conversation, “Joel,” asked, “[A]nd whose was that,
right?” QUINONES-QUINONES replied, “Ninety were the company’s,” and continued, “[m]y
company,” indicating he and his associates lost 90 kilograms of cocaine due to the seizure of the
“Crash Boat Beach” load. QUINONES-QUINONES subsequently said, “I already spoke to him,”

and continued, “He hung up on me quickly. I told him they caught... ‘What do you mean?’ And

he hung up.” “Joel” asked, “He hung up quickly?” QUINONES-QUINONES replied, “Yes, and

75
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 76 of 219 Document 1
he called me back from another number,” indicating FNU LNU 18 had changed his cellular number
following the loss of the “Crash Boat Beach” load.

120. On the same date, at 12:02 p.m., TARGET TELEPHONE-13 (i.e., QUINONES-
QUINONES) called (787) 233-2396, used by a person identified as UM13-1436. During the
intercepted call, QUINONES-QUINONES asked, “You saw what happened at Crash Boat?”
UM13-1436 asked, “How many did they get?” QUINONES-QUINONES replied, “They took
eight bales,” referencing the number of cocaine bales seized from the “Crash Boat Beach” load.
QUINONES-QUINONES said, “At half a mile from Crash, half a mile,” and continued, “five crew
members and eight bales,” noting the location of the seizure, the number of people on the vessel,
and reiterating the quantity of cocaine seized. QUINONES-QUINONES said, “And of those eight
bales, ninety belonged to my company,” indicating he and his associates lost 90 kilograms of
cocaine with the seizure of the “Crash Boat Beach” load. UM13-1436 asked, “Were they going
to arrive in this area?” QUINONES-QUINONES replied, “He didn’t know because that is
something the big boss knows, but when I told him the news, he found out, and he said, ‘Yes, they
took ninety,’” indicating FNU LNU 18 had notified him that they had lost 90 kilograms of cocaine
due to the seizure.

OUINONES-OUINONES supplies distributors mailing multi-kilogram
quantities of cocaine to the continental United States

121. Several intercepted communications disclosed that QUINONES-QUINONES
supplies cocaine to distributors, like QUINONES-RIOS, who send kilogram-quantities of cocaine
to various locations in the continental United States, including Milwaukee. On October 5, 2019,
at 11:12 am., TARGET TELEPHONE-13 (i.e., QUINONES-QUINONES) received a call from
TARGET TELEPHONE-11 (i.e., QUINONES-RIOS). During the intercepted call, QUINONES-

RIOS asked, “Is there work or no?” QUINONES-QUINONES replied, “I have the same stuff

76
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 77 of 219 Document 1
 

there.” QUINONES-QUINONES continued, “I’m going to bring some down. I have to go up
there. Some are going to arrive.” Based upon their training, experience, and familiarity with the
investigation, case agents believe QUINONES-RIOS asked about the availability of cocaine, and
QUINONES-QUINONES responded that cocaine was available and that more would arrive.
QUINONES-RIOS asked, “When are they leaving?” QUINONES-QUINONES replied, “Well,
I’m waiting for them to tell me, so I can take off tomorrow,” indicating he hoped his supplier
would notify him when the cocaine would be available. Later in the conversation, QUINONES-
QUINONES said, “Rene (another alias for FNU LNU 18) is getting 50 from the cousin,” and
continued, “[h]e told me 20, 20 for me and 30 for him.” Based upon their training, experience,
and familiarity with the investigation, case agents believe QUINONES-QUINONES expected to
receive 20 kilograms of cocaine from FNU LNU 18 [a/k/a “Andy”], who would retain 30
kilograms of cocaine.

122. On October 12, 2019, at 8:20 am., TARGET TELEPHONE-13 (i.e., QUINONES-
QUINONES) called TARGET TELEPHONE-11 (i.e, QUINONES-RIOS). During the
intercepted call, QUINONES-QUINONES inquired if QUINONES-RIOS needed cocaine by
asking, “Do you need work?” After the call was dropped, the parties promptly resumed their call
at 8:23 am. QUINONES-RIOS said, “Talk to me.” QUINONES-QUINONES responded, “For
19-5 are good looking for real,” indicating he was offering the cocaine for $19,500 per kilogram.
QUINONES-RIOS inquired as to the stamp on the cocaine kilogram-bricks by asking, “What
brand?” QUINONES-QUINONES replied, “There are three letters . . . three numbers,” indicating
the markings on the cocaine bricks. QUINONES-RIOS subsequently said, “Alright then, we’ll
see.” QUINONES-QUINONES responded, “Not offer them to anyone else,” indicating he was

offering the cocaine at that price only to QUINONES-RIOS.

77
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 78 of 219 Document 1
123. On November 16, 2019, at 6:44 p.m., TARGET TELEPHONE-13 (ie.,
QUINONES-QUINONES) received a call from TARGET TELEPHONE-11 (QUINONES-
RIOS). During the intercepted call, QUINONES-RIOS said, “Find me half so I can send it.”
QUINONES-QUINONES responded, “Alright.” QUINONES-RIOS said, “Buy it tomorrow.”
QUINONES-QUINONES said, “Let me see if I can find it.”, QUINONES-RIOS said, “Alright.”
Based upon their training, experience, and familiarity with the investigation, case agents believe
QUINONES-RIOS requested 500 grams of cocaine from QUINONES-QUINONES, and intended
to mail the cocaine to a customer.

124. On November 18, 2019, at 3:18 pm, TARGET TELEPHONE-13 (ie.,
QUINONES-QUINONES) received a call from TARGET TELEPHONE-11 (QUINONES-
RIOS). During the intercepted call, QUINONES-RIOS said, “If they are good, bring me one; but
they must be good,” indicating he wanted QUINONES-QUINONES to supply him a kilogram of
good-quality cocaine. QUINONES-QUINONES responded, “He said they are pretty,” indicating
his supplier attested to the cocaine’s good quality. QUINONES-RIOS said, “Bring me one.”
QUINONES-QUINONES responded, “I'll bring three down there,” indicating he would supply
three kilograms of cocaine. QUINONES-RIOS later said, “Bring me one. Nineteen-five, right?”
Based upon their training, experience, and familiarity with the investigation, case agents believe
QUINONES-RIOS wanted a kilogram of cocaine for $19,500. QUINONES-QUINONES replied,
“Y’ll bring down three, keep one.” QUINONES-RIOS responded, “Yes, okay.”

125. On December 5, 2019, at 11:01 am, TARGET TELEPHONE-13 (ie.,
QUINONES-QUINONES) received a call from TARGET TELEPHONE-11 (QUINONES-
RIOS). During the intercepted call, QUINONES-RIOS requested two kilograms of cocaine by

asking, “I need two for me; there is nothing around?” QUINONES-QUINONES responded, “See

78
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 79 of 219 Document 1
 

 

if you like these, they are pretty Davo. They’re good. Check,” indicating he had good-quality
cocaine available. QUINONES-RIOS asked, “Which?” QUINONES-QUINONES replied, “Two
that are here,” indicating he had two kilograms of cocaine available at his location. QUINONES-

RIOS responded, “I’m going over there.”

Marcos APONTE-LEBRON

126. As discussed in detail herein, Marcos APONTE-LEBRON (a/k/a “Javi,” “Kiko”
and “Viejo”’), is an Hispanic male who was born on January 25, 1979, facilitates, primarily at
GONZALEZ-COLLADO’s direction, the distribution of controlled substances in Milwaukee,
Wisconsin as well as the collection and mailing of the proceeds from the sale of those controlled
substances to Mission, Texas and various municipalities in western Puerto Rico. APONTE-
LEBRON resides at 2348A S. 13th Street, Milwaukee, Wisconsin 53215, which has been
confirmed by investigation, surveillance, and cellular phone ping data. During the course of this
investigation, case agents determined that APONTE-LEBRON has used at least two cellular
telephone numbers, including (414) 501-6426 (TARGET TELEPHONE-2) and (920) 651-5731
(TARGET TELEPHONE-4).

APONTE-LEBRON facilitates gram to kilogram-quantity
cocaine transactions for GONZALEZ-COLLADO

 

127, APONTE-LEBRON would facilitate GONZALEZ-COLLADO’s distribution of
cocaine to low to mid-level dealers for further distribution. For instance, in addition to the
examples noted supra, on October 28, 2019, at 9:50 am., TARGET TELEPHONE-?2 (..e.,
APONTE-LEBRON) called TARGET TELEPHONE-9 (i.e., GONZALEZ-COLLADO). During
the intercepted call, APONTE-LEBRON said, “[L]a Morena (i.e., the brown woman) called to see
if you have a complete one.” GONZALEZ-COLLADO responded, “I have half, dude.”

APONTE-LEBRON said, “That is what I told her.” GONZALEZ-COLLADO said, “Tell her that

79
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 80 of 219 Document 1
is what I have, a half, dude,” and continued, “[i]n fact, tell her it’s $15,000.” APONTE-LEBRON
said, “Okay, then.” Based upon their training, experience, and familiarity with the investigation,
case agents believe APONTE-LEBRON obtained permission to sell Kadeja LEWIS (1e., “La
Morena”)’ 500 grams of cocaine, which GONZALEZ-COLLADO priced at $15,000. On the same
date, at 5:07 p.m., TARGET TELEPHONE-2 (i.e.. APONTE-LEBRON) called TARGET
TELEPHONE-9 (i.e., GONZALEZ-COLLADO). During the intercepted call, GONZALEZ-
COLLADO asked, “The black girl (i.e., LEWIS) called?” APONTE-LEBRON replied, “Yes, she
called, she is going to Erico’s house, I will go pick it up and get going,” indicating he would
retrieve the 500 grams of cocaine from storage and take it to ROSA’s residence where LEWIS
would receive the cocaine.

128. On November 14, 2019, at 5:08 p.m., TARGET TELEPHONE-2 (i.e., APONTE-
LEBRON) received a call from TARGET TELEPHONE-9 (i.e., GONZALEZ-COLLADO).
During the intercepted call, APONTE-LEBRON asked, “You said half, right?” GONZALEZ-
COLLADO replied, “Yes.” APONTE-LEBRON asked, “Alright, just that? J don’t have to take
nothing else out? Just half?” GONZALEZ-COLLADO replied, “Half an ounce and a ‘tabla’ for
tomorrow. Based upon their training, experience, and familiarity with the investigation, case
agents believe GONZALEZ-COLLADO was directing APONTE-LEBRON to retrieve half an
ounce of cocaine and a kilogram brick (i.e., a “table”’) of cocaine from storage.

129. On November 14, 2019, at 5:32 p.m., TARGET TELEPHONE-2 (i.e., APONTE-
LEBRON) called TARGET TELEPHONE-9 (i.c., GONZALEZ-COLLADO). During the
intercepted call, APONTE-LEBRON said, “I’m here with the guy.”, GONZALEZ-COLLADO

responded, “Uh-huh.” APONTE-LEBRON continued, “They took time because they took another

 

7 Case agents are aware that Kadeja LEWIS is an African-American Female.

80
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 81 of 219 Document 1
 

one; but they already got rid of that and he took another one. They took it early today and they
will send you 10,000 tomorrow and in two days they will send the rest.” Based upon their training,
experience, and familiarity with the investigation, case agents believe APONTE-LEBRON was
notifying GONZALEZ-COLLADO that a customer was prepared to provide $10,000 in drug
proceeds the following day and the remaining balance two days later. GONZALEZ-COLLADO
subsequently responded, “Tell him to send at least 15,” and continued, “[a}t least half,” indicating
he wanted the drug customer to pay half the price, i.e., $15,000, for a kilogram of cocaine.

130. On November 15, 2019, at 11:14 a.m., TARGET TELEPHONE-2 (1.e., APONTE-
LEBRON) called TARGET TELEPHONE-9 (i.e, GONZALEZ-COLLADO). During the
intercepted call, GONZALEZ-COLLADO asked, “There must be two complete ones, right?”
Based upon their training, experience, and familiarity with the investigation, case agents believe
GONZALEZ-COLLADO was inquiring if two kilograms of cocaine were available for
distribution. APONTE-LEBRON replied, ““With the one from here, it’s two. There are supposed
to be two,” confirming two kilograms of cocaine were in storage. GONZALEZ-COLLADO
commented, “There must be two over there.” APONTE-LEBRON said, “I got 1’4 saved, and the
¥, opened, and the one I brought down here.” GONZALEZ-COLLADO responded, “There should
be more because there was four,” indicating he originally had four kilograms of cocaine available.
GONZALEZ-COLLADO subsequently said, “Well, I don’t know, it has to be there, fucker. There
has to be two closed there,” insisting that two wrapped kilograms of cocaine remained in storage.
APONTE-LEBRON responded, “When I get there, come so we can go over there,” inviting

GONZALEZ-COLLADO to inspect their inventory.

81
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 82 of 219 Document 1
APONTE-LEBRON facilitates receipt and mailing of drug proceeds

APONTE-LEBRON collects drug proceeds from ROSA and
Hector Yamil RODRIGUEZ-RODRIGUEZ

131. On August 16, 2019, at approximately 5:16 p.m., TARGET TELEPHONE-9 (.e.,
GONZALEZ-COLLADO) received a call from TARGET TELEPHONE-4 (i.e. APONTE-
LEBRON). During the intercepted call APONTE-LEBRON asked, “How much does he (i.e.,
ROSA) have to give me?” GONZALEZ-COLLADO ultimately replied, “Look, Erico is going to
give you 27 and he’s going to give you the rest,” indicating that ROSA would be giving APONTE-
LEBRON $27,000 in drug proceeds. GONZALEZ-COLLADO subsequently continued, “Ah,
well he (i.e., ROSA) has to give it to you. If he goes, get the money from him.” Later in the
conversation, APONTE-LEBRON noted, “Two boxes arrived at Yamil’s,” indicating that two,
drug-laden parcels had arrived at Hector Yamil RODRIGUEZ-RODRIGUEZ’s residence.
GONZALEZ-COLLADO and APONTE-LEBRON then engaged in the following colloquy

regarding the content of the parcels:

GONZALEZ-COLLADO (GC): And what did Yamil give you?

APONTE-LEBRON (A-L): He took half.

GC: Uh-huh.

AL: Half and he gave me a closed box. From the squared box, the half was taken out
and there was another whole one.

GC: Okay.

AL: And I opened the other box, but I didn’t get out the package to see what it had.

GC: I will check when I go over there.
Based upon their training, experience, and familiarity with the investigation, case agents believe
APONTE-LEBRON opened one parcel that he determined contained 1.5 kilograms of cocaine,
but did not inspect the contents of another parcel, which GONZALEZ-COLLADO said he would

later inspect.

82
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 83 of 219 Document 1
 

132. On August 20, 2019, at 7:33 p.m., TARGET TELEPHONE-4 (i.e., APONTE-
LEBRON) received a call from TARGET TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-
RODRIGUEZ). During the intercepted call, Hector Yami] RODRIGUEZ-RODRIGUEZ said,
“You can come get the tickets for the half-board and you can take it to Gordo.” APONTE-
LEBRON responded, “Alright, I will go get them now,” and continued, “I have to get something
over there and go down there to drop it off.” Hector Yamil RODRIGUEZ-RODRIGUEZ said,
“Alright then.” APONTE-LEBRON elaborated, “Because I don’t want to have that money on me.
When I come back, J will pick them up and head out.” Based upon their training, experience, and
familiarity with the investigation, case agents believe Hector Yami] RODRIGUEZ-RODRIGUEZ
asked APONTE-LEBRON to retrieve the proceeds from the sale of 500 grams of cocaine supplied
by GONZALEZ-COLLADO, who is known by the nickname “Gordo.” APONTE-LEBRON
indicated he would retrieve the drug proceeds only after he completed a drug delivery because

simultaneously having both drugs and money could risk a significant loss if caught.

APONTE-LEBRON mails drug proceeds to Mission, Texas

133. On August 21, 2019, at 1:08 p.m., TARGET TELEPHONE-8 (i.e., GONZALEZ-
COLLADO) called TARGET TELEPHONE-4 (1.e., APONTE-LEBRON). During the intercepted
call, GONZALEZ-COLLADO said, “[Y]ou can come to pick a box up, because . . . I’ll prepare
another one.” Later in the conversation, APONTE-LEBRON said, “I'll pick Bebe up so he can
drop that one off.”,- GONZALEZ-COLLADO said, “That is fine,” and continued, “because when
you get here, you have to drop this one off and another one.” APONTE-LEBRON asked, “Which
one?” GONZALEZ-COLLADO said, “You can send the other as a regular package; there is no
money in there.” APONTE-LEBRON said, “Okay, then.” GONZALEZ-COLLADO said, “Bebe

can send this one,” indicating SEDA-MARTINEZ, who is known by the nickname “Bebe,” would

83
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 84 of 219 Document 1
send the money-laden parcel. Based upon their training, experience, and familiarity with the
investigation, case agents believe GONZALEZ-COLLADO directed APONTE-LEBRON to have
SEDA-MARTINEZ mail a package containing suspected drug proceeds.

134. On August 21, 2019, at 2:27 p.m., investigators observed APONTE-LEBRON
atrive at 6652 N. 43" Street, Milwaukee, Wisconsin (i.e., GONZALEZ-COLLADO’s residence)
in his vehicle. APONTE-LEBRON entered the residence empty handed. At 2:37 p.m., APONTE-
LEBRON exited the residence and returned to his vehicle with two packages. Investigators
observed GONZALEZ-COLLADO speak with APONTE-LEBRON before APONTE-LEBRON
departed the residence. At 3:01 p.m., TARGET TELEPHONE-4 (i.e., APONTE-LEBRON)
received a call from (414) 676-7528, used by Enid MARTINEZ. During the intercepted call,
APONTE-LEBRON said, “I’m around 13" to go pick up Bebe,” indicating he would be picking
up SEDA-MARTINEZ.

135. On August 21, 2019, at 3:16 p.m., U.S. Postal Service surveillance cameras
captured SEDA-MARTINEZ carrying a package into the Harbor Post Office, located at 1416
South 11™ Street, Milwaukee, Wisconsin. The package was addressed to “Daniel de la Cruz, 2800
Abbot Avenue, Mission, TX 78574.” Mission, Texas is situated near the U.S. border with Mexico.
The package was mailed on the same date. USPI Fink obtained a warrant to search the contents
of the package before it was returned to the stream of mail. The package contained $20,000 in
U.S. currency. GPS data indicated TARGET TELEPHONE-4 (i.e., APONTE-LEBRON) was
within 16 meters of the Harbor Post Office at 3:20 p.m. on August 21, 2019.

136. On August 21, 2019, at 4:04 p.m., TARGET TELEPHONE-4 (i.e., APONTE-
LEBRON) received a call from TARGET TELEPHONE-8 (i.e., GONZALEZ-COLLADO).

During the intercepted call, GONZALEZ-COLLADO asked, “Did you send that?” APONTE-

84
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 85 of 219 Document 1
 

LEBRON replied, “Yes,” and later noted, “Bebe sent one,” indicating SEDA-MARTINEZ had
mailed the money-laden package.

137. Of note, on September 18, 2019, at 4:46 p.m., TARGET TELEPHONE-9 (i.e.,
GONZALEZ-COLLADO) called (939) 334-6355, used by ORENCH-FELICIANO. During the
intercepted call, GONZALEZ-COLLADO asked, “[T]he one is for twenty, right?” ORENCH-
FELICIANO replied, “For the Mexican guy, yeah.” ORENCH-FELICIANO then asked, “What
else do you have?” GONZALEZ-COLLADO replied, “I think there is a lot of money.” Based
upon their training, experience, and familiarity with the investigation, case agents believe
ORENCH-FELICIANO was directing GONZALEZ-COLLADO to send $20,000 (i.e., the same
amount mailed to Mission, Texas on August 21, 2019) in drug proceeds to a Mexican drug source.
On the same date, at 8:24 p.m., TARGET TELEPHONE-2 (i.e., APONTE-LEBRON) received a
call from TARGET TELEPHONE-9 (i.e., GONZALEZ-COLLADO). During the intercepted call,
APONTE-LEBRON said, “[G]Jet boxes ready today, so I can send that early tomorrow.”
GONZALEZ-COLLADO responded, “Yeah, I’m going to do them in a little while.”
GONZALEZ-COLLADO then asked, “Did you collect more money or not?” APONTE-LEBRON
replied, “No, Rafa told me that he will call me in an hour.” Based upon their training, experience,
and familiarity with the investigation, case agents believe APONTE-LEBRON asked
GONZALEZ-COLLADO to prepare money-laden parcels for mailing to suspected drug sources.
GONZALEZ-COLLADO also inquired if APONTE-LEBRON retrieved additional drug proceeds.

138. Onseveral occasions, U.S. Postal Service surveillance cameras captured images of
APONTE-LEBRON, either alone or accompanied by another person, mailing packages to
Mission, Texas. For instance, on July 19, 2019, at 4:36 p.m., surveillance footage showed

APONTE-LEBRON and an unknown female mailing a USPS priority medium flat rate package

85
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 86 of 219 Document 1
at the West Milwaukee Post Office, located at 4300 W. Lincoln Avenue, Milwaukee, Wisconsin.
The package was addressed to “Tino Valle, 7311 Rosa Street, Mission TX 78574.” On August
27, 2019, at 2:25 p.m., surveillance footage showed APONTE-LEBRON mailing a USPS priority
medium flat rate package at the West Milwaukee Post Office. The package was addressed to “Tino
Valle, 7311 Rosa St, Mission, TX 78574.” On September 4, 2019, at 4:20 p.m., surveillance
footage showed APONTE-LEBRON mailing a USPS priority medium flat rate package at the
Harbor Post Office. The package was addressed to “David Luna, 3107 Mar Verde, Mission, TX
78574.” On September 9, 2019, at 4:52 p.m., surveillance footage showed APONTE-LEBRON
and an unknown male mailing a USPS priority medium flat rate package at the Harbor Post Office.
The package was addressed to “Tino Valle, 7311 Rosa St, Mission, TX 78574.” On November
23, 2019, at 12:48 p.m., surveillance footage showed APONTE-LEBRON mailing a USPS priority
medium flat rate package at the West Milwaukee Post Office. The package was addressed to
“David Luna, 3107 Mar Verde, Mission Tx. 78574.” On each of these occasions, the name of the
return addressee appeared to be fictitious. Based upon their training, experience, and familiarity
with the investigation, case agents believe these recurrent mailings to the border region, a source

area for illegal drugs, contained proceeds from the sale of illegal drugs.

APONTE-LEBRON mails drug proceeds to Puerto Rico

139. On October 4, 2019, at 4:31 p.m., TARGET TELEPHONE-2 (i.e., APONTE-
LEBRON) received a call from TARGET TELEPHONE-9 (i.e., GONZALEZ-COLLADO).
During the intercepted call, GONZALEZ-COLLADO asked, “You got the box, right?” APONTE-
LEBRON replied, “I’m going to go get it right now.” On the same date, at 5:54 p.m., U.S. Postal
Service surveillance cameras captured APONTE-LEBRON and SEDA-MARTINEZ mailing a

package at the West Milwaukee Post Office. The package was addressed to “Orlando Medina,

86
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 87 of 219 Document 1
 

Urb. Valle Hermoso Calle Violeta Casa SD-36, Hormigueros P.R. 00660.” Based upon their
training, experience, and familiarity with the investigation, case agents believe APONTE-
LEBRON mailed drug proceeds to Hormigueros, Puerto Rico, a municipality investigators
identified as a place where known or suspected cocaine-laden parcels are mailed to locations in
the continental United States, including Milwaukee, Wisconsin.

140. On several occasions, U.S. Postal Service surveillance cameras captured images of
APONTE-LEBRON mailing packages to various municipalities in Puerto Rico where known or
suspected cocaine-laden parcels are mailed to locations in the continental United States, including
Milwaukee, Wisconsin. For instance, on July 18, 2019, at 4:43 p.m., surveillance footage showed
APONTE-LEBRON mailing a USPS priority medium flat rate package at the Harbor Post Office.
The package was addressed to “Cindy Rodriguez, Residencial Yaguez EdF 5 Apt 52, Mayaguez,
PR 00680.” On August 9, 2019, at 4:38 p.m., surveillance footage showed APONTE-LEBRON
mailing a USPS priority medium flat rate package at the Harbor Post Office. The package was
addressed to “Jean C. Rosario, HC 1 Box 7945, Hormigueros, PR 00660.” On August 19, 2019,
at 4:59 p.m., surveillance footage showed APONTE-LEBRON mailing a USPS priority medium
flat rate package at the Harbor Post Office. The package was addressed to “Jean C. Rosario, HC
01 Box 7945, Hormigueros P.R. 00660.” On August 20, 2019, at 3:28 p.m., surveillance footage
showed APONTE-LEBRON mailing a USPS priority medium flat rate package at the West
Milwaukee Post Office. The package was addressed to “Moises Gonzalez, Balboa 33 PMB 204,
Mayaguez P.R. 00680.” On August 26, 2019, at 2:43 p.m., surveillance footage showed
APONTE-LEBRON mailing a USPS priority medium flat rate package at the Harbor Post Office.
The package was addressed to “Alexandra Montes, HC 02 7980 Hormigueros P.R. 00660.” On

August 30, 2019, at 4:39 p.m., surveillance footage showed APONTE-LEBRON mailing a USPS

87
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 88 of 219 Document 1
priority medium flat rate package at the Harbor Post Office. The package was addressed to
“Michael Velez, HC 2 Box 9006, Las Marias P.R., 00670.” On September 7, 2019, at 1:26 p.m.,
surveillance footage showed APONTE-LEBRON mailing a USPS priority medium flat rate
package at the West Milwaukee Post Office. The package was addressed to “Moises G, Balboa
33 PMB, Mayaguez, PR 00680.” On September 26, 2019, at 12:00 p.m., surveillance footage
showed APONTE-LEBRON mailing a USPS priority medium flat rate package at the West
Milwaukee Post Office. The package was addressed to “Jean C. Rosario, HC 1 Box 7945,
Hormigueros P.R 00660.” On October 7, 2019, at 1:55 p.m., surveillance footage showed
APONTE-LEBRON mailing a USPS priority medium flat rate package at the Harbor Post Office.
The package was addressed to “Jean C. Rosario, HC 01 Box 7945, Hormigueros P.R. 00660.” On
October 9, 2019, at 5:48 p.m., surveillance footage showed APONTE-LEBRON mailing a USPS
priority medium flat rate package at the West Milwaukee Post Office. The package was addressed
to “Kevin Roman, Urb. Rio Cristal Calle Balbino Trinta #8138, Mayaguez, PR 00680.” On
October 15, 2019, at 4:30 p.m., surveillance footage showed APONTE-LEBRON mailing a USPS
priority medium flat rate package at the Harbor Post Office. The package was addressed to
“Moises Gonzalez, Balboa 33 PMB 204, Mayaguez, PR 00680.” On each of these occasions, the
name of the return addressee appeared to be fictitious. Based upon their training, experience, and
familiarity with the investigation, case agents believe these recurrent mailings to Puerto Rico, a
source area for cocaine, contained proceeds from the sale of cocaine.

Yashira CORTES-NIEVES

141. As discussed in detail herein, Yashira CORTES-NIEVES, an Hispanic Female born
on August 9, 1995, facilitates for CONCEPCION-RIVERA the mailing of cocaine-laden parcels

to Milwaukee, Wisconsin and the receipt in Puerto Rico of the proceeds from the sale of the

88
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 89 of 219 Document 1
 

cocaine. CORTES-NIEVES’s last known address is Bo Jaguey, Carr 411 KM 4.9 IZQ. Int,
Aguada, Puerto Rico 00602. During the course of this investigation, case agents determined that
CORTES-NIEVES uses cellular telephone number (551) 689-0755.
CORTES-NIEVES mails cocaine-laden packages to Milwaukee

142. On October 8, 2019, at 10:34 am... TARGET TELEPHONE-10 (ie.,
CONCEPCION-RIVERA) called (551) 689-0755 (i.e, CORTES-NIEVES). During the
intercepted call, CORTES-NIEVES said, “Look, um, I’m going to send it from Rincon,” indicating
she would be mailing an item from Rincon, Puerto Rico. CONCEPCION-RIVERA asked, “From
Rincon?” CORTES-NIEVES replied, “Yes.” On the same date, at 11:51 am., TARGET
TELEPHONE-10 (i.e., CONCEPCION-RIVERA) received a call from (551) 689-0755 (ie.,
CORTES-NIEVES). During the intercepted call, CORTES-NIEVES said, “Look, I forgot to take
a picture of that box,” and continued, “[b]ut the one who sends it is ‘Delia,’” indicating she
neglected to take a picture of the mailed package but that the return addressee was listed as “Delia.”
CONCEPCION-RIVERA asked, “Delia?” CORTES-NIEVES said, “But I don’t remember the
name of the guy who I put. It was... I don’t remember, but it was ‘Delia.’ It’s written in markers
too,” indicating she did not recall the name of the person to whom she addressed the package, but
that the name of the person on the return address was “Delia.”, CORTES-NIEVES then said, “I
just sent you the picture of the receipt,” indicating she had sent CONCEPCION-RIVERA an image
of the receipt for the mailed package. CONCEPCION-RIVERA responded, “Alright.”

143. On October 8, 2019, USPI Fink identified a package addressed to “Jose Caro, 725
S 28" St., Milwaukee WI. 53215-1203” and from “Delia Caro, HC 03 Box 6219 Bo. Jaguey
Rincon PR, 00677.” The package was postmarked on October 8, 2019 in Rincon, Puerto Rico.

After a narcotics-detecting canine alerted to the package, USPI Fink obtained a federal warrant to

89
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 90 of 219 Document 1
search it. The package contained a one-kilogram brick of cocaine that bore a “dolphin” stamp.
Based upon their training, experience, and familiarity with the investigation, case agents believe
CORTES-NIEVES mailed this Milwaukee-bound cocaine-laden package from Rincon, Puerto
Rico on October 8, 2019. As noted supra, Hector Yamil RODRIGUEZ-RODRIGUEZ was the
intended recipient of this package.

144. Between July 2019 and October 2019, USPS surveillance footage disclosed
CORTES-NIEVES mailing six packages (including the October 8, 2019 “Rincon” package) from
various municipalities in western Puerto Rico to Milwaukee, Wisconsin. Investigators determined
CORTES-NIEVES was the person in the surveillance footage based on a comparison with her
Puerto Rico driver’s license image and her social media images. On each of these occasions, the
names of the return addressees appeared to be fictitious. The weights of these packages also

corresponded to the weights of packages know to contain kilogram quantities of cocaine.

CORTES-NIEVES receives drug proceeds

145. Between August 2019 and November 2019, USPS surveillance footage disclosed
Hector Yamil RODRIGUEZ-RODRIGUEZ mailing four packages from various locations in
Milwaukee to “Yashira Cortes” at various addresses in Aguada. For instance, on September 5,
2019, at 4:39 p.m., surveillance footage showed Hector Yamil RODRIGUEZ-RODRIGUEZ
mailing a USPS priority medium flat rate package at the West Milwaukee Post Office. The
package was addressed to “Yashira Cortes, HC-03 Box 33514, Aguada P.R. 00602” and from
“Alberto Cortez, 3166 S 7 St, Milwaukee WI 53215.” On September 6, 2019, USPI Fink obtained
a warrant to search the contents of the parcel. The parcel contained $27,000 in U.S. currency.
Investigators subsequently released the parcel into the stream of mail. On September 9, 2019, at

3:45 p.m., TARGET TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) called

90
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 91 of 219 Document 1
 

TARGET TELEPHONE-10 (i.e., CONCEPCION-RIVERA). During the intercepted call, Hector
Yamil RODRIGUEZ-RODRIGUEZ inquired if CONCEPCION-RIVERA received the parcel by
asking, “Did you get it?” CONCEPCION-RIVERA replied, “Uh yes, the missus just called me,”
indicating that CONCEPCION-RIVERA’s spouse had notified him that the parcel had arrived.
Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “Oh ok, they left it (i-e., the parcel) in front of
your house?” CONCEPCION-RIVERA replied, “Yes.” Hector Yamil RODRIGUEZ-
RODRIGUEZ said, “Alright then, I wanted to check that was left there — [you] never called me.”
CONCEPCION-RIVERA responded, “Yes, I left the missus and I called her and told her, ‘The
fucker (i.e., the parcel) is nearby,’” indicating that he had notified CORTES-NIEVES of the
parcel’s impending arrival. Hector Yamil RODRIGUEZ-RODRIGUEZ subsequently said, “Call
me when you count it,” indicating he wanted CONCEPCION-RIVERA to contact him once
CONCEPCION-RIVERA counted the money. Based upon their training, experience, and
familiarity with the investigation, case agents believe Hector Yamil RODRIGUEZ-~-RODRIGUEZ
had mailed CONCEPCION-RIVERA $27,000 in drug proceeds, which CORTES-NIEVES
retrieved upon its delivery.

146. On September 25, 2019, at 1:57 p.m., surveillance footage showed Hector Yamil
RODRIGUEZ-RODRIGUEZ mailing a USPS priority medium flat rate package at the West
Milwaukee Post Office. The package was addressed to “Yashira Cortes, HC-57 Box 12190,
Aguada P.R. 00602” and from “Elba Cortes, 3166 S 7" St, Milwaukee WI 53215.” The package
was scheduled to arrive no later than September 28, 2019. On September 28, 2019, at 9:11 am.,
TARGET TELEPHONE-10 (i.e. CONCEPCION-RIVERA) called (551) 689-0755 (ie.,
CORTES-NIEVES). During the intercepted call, CONCEPCION-RIVERA asked, “Did the

mailman go by?” CORTES-NIEVES replied, “Not yet, he is out to deliver at 9:40.”

91
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 92 of 219 Document 1

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CONCEPCION-RIVERA said, “He will give it to you later.” On the same date, at 9:45 a.m.,
TARGET TELEPHONE-10 (i.e., CONCEPCION-RIVERA) received a call from (551) 689-0755
(i.e., CORTES-NIEVES). During the intercepted call, CORTES-NIEVES said, “[S]end me the
photo so I can track it over here. Did you hear?” CONCEPCION-RIVERA responded, “Alright.”
CORTES-NIEVES said, “I am here checking and there is nothing,” indicating a package had not
yet arrived. On the same date, at 10:53 a.m., TARGET TELEPHONE-10 (i.e., CONCEPCION-
RIVERA) received a call from (551) 689-0755 (i.e., CORTES-NIEVES). During the intercepted
call, CONCEPCION-RIVERA asked, “Did it arrive?” CORTES-NIEVES replied, “No, but I
checked and it says it’s ready to be delivered . . . to be picked up at the Post Office; like if they
have left the paper there.” On September 30, 2019, the package was scanned as delivered at the
Aguada, Puerto Rico Post Office. On the same date, surveillance footage from the Aguada Post
Office revealed CORTES-NIEVES retrieving a package at the facility. On September 30, 2019,
at 2:46 p.m., TARGET TELEPHONE-10 (i.e., CONCEPCION-RIVERA) called (414) 841-3770
(i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ). During the intercepted call, CONCEPCION-
RIVERA asked, “Did it arrive early?” CONCEPCION-RIVERA said, “It arrived...no, it arrived

2

at 8:00 in the morning my woman went over there,” indicating the package had arrived and
CORTES-NIEVES had picked it up at the post office. CONCEPCION-RIVERA stated, “there
was 28,350,” meaning the parcel CORTES-NIEVES picked up contained $28,350. Based upon
their training, experience, and familiarity with the investigation, case agents believe CORTES-

NIEVES retrieved a package containing drug proceeds in Aguada that Hector Yamil

RODRIGUEZ-RODRIGUEZ sent from Milwaukee on September 25, 2019.

92
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 93 of 219 Document 1
CORTES-NIEVES understood the illegality of her actions

147. Intercepted communications involving CORTES-NIEVES reveal she understood
the illicit nature of the mailings between Puerto Rico and Milwaukee, Wisconsin. On October 3,
2019, at 12:36 p.m., TARGET TELEPHONE-10 (i.e., CONCEPCION-RIVERA) called (551)
689-0755, used by Yashira CORTES-NIEVES. During the intercepted call, CORTES-NIEVES
said, “[Hector Yamil RODRIGUEZ-RODRIGUEZ] told you to send two at a time,” indicating
Hector Yamil RODRIGUEZ-RODRIGUEZ wanted CONCEPCION-RIVERA to mail two
cocaine-laden packages at a time to Milwaukee. CONCEPCION-RIVERA responded, “Mmhm.
I have the number of Negro, the friend of that one guy,” and continued, “he can send a box,”
indicating he would have a male known as “Negro” send a cocaine-laden package to Milwaukee.
CORTES-NIEVES said, “No, because that is in Aguada,” and continued, “[h]e said not in Aguada
because they will see two to Milwaukee; that’s what he said, to send one in Aguada and another
in Rincon or Aguadilla,” indicating they should not simultaneously mail more than one
Milwaukee-bound package from a single location. CORTES-NIEVES continued, “They are going
to see two Milwaukee addresses and they are going to be suspicious. Send one from Rincon and
one from Aguada or Aguadilla or Moca,” reiterating that the Postal Service may become suspicious
of two Milwaukee-bound packages sent from the same location. Later in the same conversation,
CONCEPCION-RIVERA commented, “[F]emales are better for sending, no?” CORTES-
NIEVES replied, “Yes, that is better. Females are less suspicious. Men, look . . . if [Negro] goes
to the Post Office all tatted up . . . I’ve seen him multiple times. I always see him there, his face
is even tattooed,” suggesting having females send Milwaukee-bound packages would arouse less

suspicion than a tattooed male doing so. Based upon their training, experience, and familiarity

93
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 94 of 219 Document 1
with the investigation, case agents believe CORTES-NIEVES understood the illicit nature of the
packages given her concern about avoiding suspicion when mailing them.
Vladimir RODRIGUEZ-RODRIGUEZ

148. Vladimir RODRIGUEZ-RODRIGUEZ (a/k/a “Blado” and “Vlado’”) is an Hispanic
male born on September 5, 1994. According to Wisconsin Department of Transportation records,
Vladimir RODRIGUEZ-RODRIGUEZ resides at 2166 South 15th Street, Milwaukee, Wisconsin.
On October 29, 2018, he disclosed this address as his residence during a law-enforcement traffic
stop. Furthermore, as detailed supra, on October 25, 2018, investigators seized a package sent
from Hormigueros, Puerto Rico to this residence. The package contained approximately two
kilograms of cocaine. The utilities for this residence were established on August 17, 2012 and are
in the name of Juan Villanueva. Between June 20, 2019, and December 27, 2019, over 188
interceptions occurred between Vladimir RODRIGUEZ-RODRIGUEZ, using (414) 551-0893,
and various TARGET TELEPHONES that were deemed criminal and pertinent in nature.
Viadimir RODRIGUEZ-RODRIGUEZ also used cellular phone number (414) 364-2867.
Between June 20, 2019 and the time Vladimir RODRIGUEZ-RODRIGUEZ ceased using this
phone, over 165 interceptions have occurred between Vladimir RODRIGUEZ-RODRIGUEZ and
various TARGET TELEPHONES that were deemed criminal and pertinent in nature. Vladimir
RODRIGUEZ-RODRIGUEZ has most recently used cellular telephone number (414) 551-0893,
which he continues to use to communicate with various TARGET TELEPHONES. Vladimir
RODRIGUEZ-RODRIGUEZ is the brother of Hector Yamil RODRIGUEZ-RODRIGUEZ, and
distributes controlled substances and collects drug proceeds for his brother and GONZALEZ-
COLLADO. On three occasions, CS-2 has personally observed GONZALEZ-COLLADO give

Vladimir RODRIGUEZ-RODRIGUEZ three to four kilograms of cocaine. Investigators have

94
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 95 of 219 Document 1
 

intercepted communications between Vladimir RODRIGUEZ-RODRIGUEZ and _ other
coconspirators concerning narcotics sales, money shipments, and the storage of his brother’s
property.

149. On September 16, 2019, at approximately 11:13 a.m., TARGET TELEPHONE-6
(ie., Hector Yamil RODRIGUEZ-RODRIGUEZ) called (414) 364-2867 (ie., Vladimir
RODRIGUEZ-RODRIGUEZ). During the intercepted call, Vladimir RODRIGUEZ-
RODRIGUEZ said, “Getting up now,” indicating he was waking up at his residence. Previous
surveillance also revealed that Vladimir RODRIGUEZ-RODRIGUEZ routinely spends the
evenings at 2166 South 15" Street. Hector RODRIGUEZ-RODRIGUEZ responded, “Damn, yes.
I have my wallet there and I am going to go on a trip and my ID is there and everything, fucker.”
Aat approximately 03:25 p.m., GPS data derived from TARGET TELEPHONE-6 showed the
device was located in the vicinity of 2166 South 15" Street, indicating Hector RODRIGUEZ-
RODRIGUEZ was at or near 2166 South 15" Street, Milwaukee, Wisconsin at the time. Based
upon their training, experience, and familiarity with the investigation, case agents believe Hector
Yamil RODRIGUEZ-RODRIGUEZ had been keeping his personal effects at 2166 South 15th
Street, Milwaukee, Wisconsin.

Vladimir RODRIGUEZ-RODRIGUEZ facilitates distribution of cocaine

Vladimir RODRIGUEZ-RODRIGUEZ apprises
Hector Yamil RODRIGUEZ-RODRIGUEZ of drug sale.

150. On September 17, 2019, at 8:11 p.m., TARGET TELEPHONE-6 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) sent the following text message to (414) 364-2867 (i.e.,
Vladimir RODRIGUEZ-RODRIGUEZ): “How many did he give.” On the same date, at 8:13 p.m.,
TARGET TELEPHONE-6 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) received a call from

(414) 364-2867 (i.e., Vladimir RODRIGUEZ-RODRIGUEZ). During the intercepted call,

95
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 96 of 219 Document 1
Vladimir RODRIGUEZ-RODRIGUEZ said, “For the drugs, it was 2,690 and for cocaine it was 4-
5,” indicating the prices a customer paid for cocaine and an unspecified drug. Hector

RODRIGUEZ-RODRIGUEZ responded, “Alright then.”

APONTE-LEBRON gives Vladimir RODRIGUEZ-RODRIGUEZ an “eight-ball” of
cocaine for further distribution

151. On September 27, 2019, at 12:01 p.m., TARGET TELEPHONE-9 (GONZALEZ-
COLLADO) called (414) 501-6426 (i.e, APONTE-LEBRON). During the intercepted call,
GONZALEZ-COLLADO asked, “So, you are at the storage?” APONTE-LEBRON replied,
“Yes!” Later in the conversation, GONZALEZ-COLLADO asked, “Is there 3.5 left there?” Based
upon their training, experience, and familiarity with the investigation, case agents believe
GONZALEZ-COLLADO was inquiring if they had 3.5 grams of cocaine (also known as an “eight-
ball”) left in storage. APONTE-LEBRON replied, “Yes, there is.” GONZALEZ-COLLADO then
said, “Okay, take one (i.e., and “eight ball’’) and take it to Vlado, over on 15% directing APONTE-
LEBRON to retrieve 3.5 grams of cocaine from storage and to provide it to Vladimir
RODRIGUEZ-RODRIGUEZ at his residence at 2166 South 15th Street. APONTE-LEBRON
responded, “There’s some there,” confirming they still had the needed quantity of cocaine in
storage. GONZALEZ-COLLADO said, “Go ahead, man. I'll tell him (1.e., Vladimir
RODRIGUEZ-RODRIGUEZ) right away that you are going to bring it (i.e., 3.5 grams of cocaine)
to him later.” APONTE-LEBRON replied, “Alright.”

152. On September 27, 2019, at approximately 2:57 p.m., TARGET TELEPHONE-9
(1.e., GONZALEZ-COLLADO) received a call from (414) 364-2867 (i.e., Vladimir
RODRIGUEZ-RODRIGUEZ). During the intercepted call, Vladimir RODRIGUEZ-
RODRIGUEZ asked, “What time is Viejo (i.e. APONTE-LEBRON) bringing me that?”

GONZALEZ-COLLADO replied, “I told him after 1:00 because you had said that you were going

96
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 97 of 219 Document 1
 

[to get a haircut], was the thing.” Vladimir RODRIGUEZ-RODRIGUEZ responded, “After 2:00!
Already!” GONZALEZ-COLLADO asked, “Where are you?” Vladimir RODRIGUEZ-
RODRIGUEZ replied, “I’m on 15th. Here,” indicating he was at his residence at 2166 South 15th
Street. GONZALEZ-COLLADO said, “Alright, I'll send him over now,” indicating he
immediately would send APONTE-LEBRON to Vladimir RODRIGUEZ-RODRIGUEZ’s
residence. Vladimir RODRIGUEZ-RODRIGUEZ asked, “How much?” GONZALEZ-
COLLADO replied, “200. An eight (i.e., 3.5 grams) and one gram, right?” Vladimir
RODRIGUEZ-RODRIGUEZ asked, “200 for all?” GONZALEZ-COLLADO replied, “Yes.” In
a subsequent intercepted call over TARGET TELEPHONE-9 (i.e., GONZALEZ-COLLADO),
APONTE-LEBRON confirmed he would deliver the drugs to Vladimir RODRIGUEZ-
RODRIGUEZ.

153. Based on these intercepted calls, investigators conducted surveillance at 2166
South 15th Street, Milwaukee, Wisconsin. At approximately 3:50 p.m., investigators observed
Vladimir RODRIGUEZ-RODRIGUEZ exit his residence. At approximately 3:52 p.m.,
investigators observed APONTE-LEBRON arrive near the residence in a green Mazda Protégé,
which was registered to APONTE-LEBRON. Investigators subsequently observed APONTE-
LEBRON meet Vladimir RODRIGUEZ-RODRIGUEZ outside the residence. Based upon their
training, experience, and familiarity with the investigation, case agents believe APONTE-
LEBRON and Vladimir RODRIGUEZ-RODRIGUEZ conducted a drug transaction on this
occasion.

Hector Yamil RODRIGUEZ-RODRIGUEZ requests Vladimir RODRIGUEZ-RODRIGUEZ
retrieve 500 grams of cocaine

154. On November 10, 2019, at 4:21 pm., TARGET TELEPHONE-7 (i.e., Hector

Yamil RODRIGUEZ-RODRIGUEZ) called (414) 323-0417, used by Vladimir RODRIGUEZ-

97
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 98 of 219 Document 1
RODRIGUEZ. During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ asked,
“How much product is there left, so you can bring me the half-board?” Based upon their training,
experience, and familiarity with the investigation, case agents believe Hector Yamil
RODRIGUEZ-RODRIGUEZ wanted Vladimir RODRIGUEZ-RODRIGUEZ to provide him 500
grams (one-half kilogram) of cocaine from storage. Vladimir RODRIGUEZ-RODRIGUEZ
replied, “Last time I counted was these past few days, but there is one from yesterday, which I
have not included in...” Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “How much is
there?” Vladimir RODRIGUEZ-RODRIGUEZ replied, “3,000 almost 3,000, and today it is
almost four and four” indicating they had approximately 4 kilograms of cocaine available for
distribution. At the end of the conversation, Vladimir RODRIGUEZ-RODRIGUEZ indicated he
would soon go to the storage facility and commented, “There must be like 25 or a little over,” and
continued, “I’ll count it all once I get home, and I'll call you back.” Based upon their training,
experience, and familiarity with the investigation, case agents believe Vladimir RODRIGUEZ-
RODRIGUEZ believed $25,000 in drug proceeds were at the storage facility.

Vladimir RODRIGUEZ-RODRIGUEZ mails drug proceeds and
discusses drug proceeds with Hector Yamil RODRIGUEZ-RODRIGUEZ

 

 

155. On October 7, 2019, at 3:56 p.m., U.S. Postal Service surveillance cameras captured
images of Vladimir RODRIGUEZ-RODRIGUEZ carrying a USPS priority medium flat rate
package into the Harbor Post Office. The package was addressed to “Carlos Concepcion, HC-03
Box 33512, Aguada P.R. 00602.” Vladimir RODRIGUEZ-RODRIGUEZ was not the person
listed as the return addressee. Based upon their training, experience, and familiarity with the
investigation, case agents believe Vladimir RODRIGUEZ-RODRIGUEZ was mailing drug
proceeds to CONCEPCION-RIVERA, one of Hector Yamil RODRIGUEZ-RODRIGUEZ’s

cocaine sources-of-supply who resides in Aguada, Puerto Rico.

98
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 99 of 219 Document 1
156. On October 27, 2019, at approximately 8:31 p.m., TARGET TELEPHONE-6 (i.e.
Hector Yamil RODRIGUEZ-RODRIGUEZ) received a call from (414) 364-2867 (i.e., Vladimir
RODRIGUEZ-RODRIGUEZ). During the intercepted call, Vladimir RODRIGUEZ-
RODRIGUEZ said, “I have 11,120 over here,” indicating he had $11,120 in drug proceeds.
RODRIGUEZ inquired about the quantity of an unspecified illegal drug by asking, “That’s good,
and how much is left?” Vladimir RODRIGUEZ-RODRIGUEZ asked, “What?” Hector Yamil
RODRIGUEZ-RODRIGUEZ clarified by asking, “Do you still have 50?” Vladimir
RODRIGUEZ-RODRIGUEZ replied, “Yes, and also a couple of packages,” indicating he still had
a sufficient quantity of illegal drugs for further distribution.

157. On November 2, 2019, at 2:05 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) called (414) 364-2867 (ie., Vladimir RODRIGUEZ-
RODRIGUEZ). During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ said,
“Tt’s 2:00 in the afternoon, Vlado. I have to come up with 20,000 bucks man,” indicating he needed
to prepare $20,000 in drug proceeds to mail to his drug source-of-supply. Vladimir RODRIGUEZ-
RODRIGUEZ asked, “With him?” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “Of
course,” confirming he needed to pay his supplier. Vladimir RODRIGUEZ-RODRIGUEZ
commented, “Well, there is still a lot missing for the 20,000,” indicating his awareness of the need
to collect more drug proceeds. Hector Yamil RODRIGUEZ-RODRIGUEZ responded, “I know
there is still a lot missing, but I took care of it with what I have there and take it out from there,”

indicating he used separate funds to satisfy the amount of drug proceeds owed his drug source.

Steven CORTES-IRIZARRY
158. Steven CORTES-IRIZARRY is an Hispanic male born on August 23, 1982. He

resides at 2730 South 10" Street, Milwaukee, Wisconsin. Between June 20, 2019 and December

99
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 100 of 219 Document 1
27, 2019, over 39 intercepted communications deemed criminal and pertinent occurred between
CORTES-IRIZARRY, who uses (414) 418-2970, and various TARGET TELEPHONE numbers.
CORTES-IRIZARRY previously used cellular phone number (414) 573-1846, and ceased using
the telephone on October 31, 2019. Between June 20, 2019 and the time CORTES-IRIZARRY
ceased using this cellular telephone number, 78 interceptions occurred between CORTES-
IRIZARRY and various TARGET TELEPHONES that were deemed criminal and
pertinent. CORTES-IRIZARRY also previously used cellular phone number (414) 552-9646, and
ceased using the telephone on August 17, 2019. Between June 20, 2019 and the time CORTES-
IRIZARRY ceased using this cellular phone number, four calls occurred between CORTES-
IRIZARRY and various TARGET TELEPHONE numbers that were deemed criminal and
pertinent. CORTES-IRIZARRY previously used cellular phone number (414) 933-6340, and
ceased using the telephone on October 28, 2019. Between June 20, 2019 and the time CORTES-
IRIZARRY ceased using this cellular telephone number, 68 interceptions occurred between
CORTES-IRIZARRY and various TARGET TELEPHONES that were deemed criminal and
pertinent. CORTES-IRIZARRY is a close associate of Hector Yamil RODRIGUEZ-
RODRIGUEZ.
CORTES-IRIZARRY facilitates distribution of controlled substances in Milwaukee

159. On September 20, 2019, at 6:11 p.m., TARGET TELEPHONE-6 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) received a call from (414) 933-6340, used by CORTES-
IRIZARRY. During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ asked,
“What’s up, Steven?” CORTES-IRIZARRY said, “We are finished. I have three and three left.”
and Hector Yamil RODRIGUEZ-RODRIGUEZ spoke on the phone. CORTES-IRIZARRY was

now utilizing cellular phone number (414) 933-6340. The two discussed CORTES-IRIZARRY’s

100
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 101 of 219 Document 1
 

current inventory of cocaine. Specifically, CORTES-IRIZARRY called RODRIGUEZ-
RODRIGUEZ and stated, ““We are finished. I have three and three left.” Based upon their training,
experience, and familiarity with the investigation, case agents believe CORTES-IRIZARRY
informed Hector Yamil RODRIGUEZ-RODRIGUEZ that they had three ounces of cocaine and
three ounces of heroin remaining for further distribution. Hector Yamil RODRIGUEZ-
RODRIGUEZ asked, “Why are you calling me?” CORTES-IRIZARRY replied, “Well, it’s just
that I have to go home to do some work, and even then I made another package.” Based upon their
training, experience, and familiarity with the investigation, case agents believe CORTES-
IRIZARRY also informed Hector Yamil RODRIGUEZ-RODRIGUEZ that he prepared a package
containing drug proceeds for mailing to their Puerto Rico-based cocaine source. Hector Yamil
RODRIGUEZ-RODRIGUEZ responded, “Alright, I’m going to [unintelligible], so you can sell
that,” authorizing CORTES-IRIZARRY to sell their remaining quantity of cocaine and heroin.
160. On November 29, 2019, at 3:12 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) received a call from (414) 418-2970 (i.e., CORTES-IRIZARRY).
During the intercepted call, CORTES-IRIZARRY asked, “Can I go and pick you up?” Hector Yamil
RODRIGUEZ-RODRIGUEZ asked, “Why?” CORTES-IRIZARRY replied, “So, you can take out
those eleven for me.” Based upon their training, experience, and familiarity with the investigation,
case agents believe CORTES-IRIZARRY requested eleven ounces of cocaine for further
distribution. Hector Yamil RODRIGUEZ-RODRIGUEZ said, “I’m here at home on 10%,” indicating

he was at his residence located at 2730 South 10" Street, Milwaukee, Wisconsin. CORTES-

 

8 Based on the UC’s experience purchasing cocaine and heroin from ROSA, when purchasing combinations of both
drugs, such as three ounces of cocaine and heroin, DTO members would refer to such combinations as “three and
three.” Given this DTO principally deals in cocaine and heroin, “three and three” likely refers to a combination of
three ounces of cocaine and three ounces of heroin.

; ; 101
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 102 of 219 Document 1
IRIZARRY said, “Okay then, I’ll head there now,” indicating he would meet Hector Yamil
RODRIGUEZ-RODRIGUEZ at his residence to retrieve the drugs.
CORTES-IRIZARRY mails drug proceeds to Puerto Rico

161. On September 25, 2019, at 9:53 am., TARGET TELEPHONE-6 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) received a call from (414) 933-6340 (i.e, CORTES-
IRIZARRY). During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ said, “Go
take the box.” CORTES-IRIZARRY asked, “Where am I] going to take the box?” Hector Yamil
RODRIGUEZ-RODRIGUEZ replied, “The post office.” Based upon their training, experience,
and familiarity with the investigation, case agents believe Hector Yamil RODRIGUEZ-
RODRIGUEZ directed CORTES-IRIZARRY to mail a package containing drug proceeds.
CORTES-IRIZARRY noted, “I have some of your money that Bebe (i.e., SEDA-MARTINEZ)
gave me last night,” indicating he obtained drug proceeds from SEDA-MARTINEZ. Hector Yamil
RODRIGUEZ-RODRIGUEZ directed CORTES-IRIZARRY which post office to mail the money-
laden parcel by saying, “On Greenfield, where you always take it.” CORTES-IRIZARRY
responded, “I always send it over there, I went with Kelly but I think it was on 43", I don’t fucking
know where it is.” Hector Yamil RODRIGUEZ-RODRIGUEZ said, “Lincoln and 43"4, it’s there.”

162. On September 25, 2019, at 10:15 a.m., U.S. Postal Service surveillance cameras
captured images of CORTES-IRIZARRY mailing a USPS priority mail package at the Harbor Post
Office (near the intersection of West Greenfield and South 11" Street). The package was
addressed to “Ricardo SOTO of HC 61 Box 38882 in Aguada, Puerto Rico.” CORTES-
IRIZARRY was not the person listed as the return addressee. Based upon their training,

experience, and familiarity with the investigation, case agents believe CORTES-IRIZARRY was

102
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 103 of 219 Document 1
 

mailing drug proceeds to one of Hector Yamil RODRIGUEZ-RODRIGUEZ’s cocaine sources-of-
supply in western Puerto Rico.
CORTES-IRIZARRY assists with receipt of cocaine-laden parcels

163. On October 9, 2019, at 8:38 am., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) received a call from TARGET TELEPHONE-11 (ie.,
QUINONES-RIOS). During the intercepted call, QUINONES-RIOS said, “Fucker, we need to
call the post office.” Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “Why?” QUINONES-
RIOS replied, “Because it says that the zip code that you guys gave me is not correct.” Hector
Yamil RODRIGUEZ-RODRIGUEZ said, “How can that be? If they are photo cards and J have
received there?” QUINONES-RIOS replied, “Fucker, I put it how it is and it says ‘zip code on the
label was incorrect.’” Hector Yamil RODRIGUEZ-RODRIGUEZ advised that he would call
QUINONES-RIOS back. Based upon their training, experience, and familiarity with the
investigation, case agents believe QUINONES-RIOS alerted Hector Yamil RODRIGUEZ-
RODRIGUEZ that a cocaine-laden parcel would not be delivered because Hector Yamil
RODRIGUEZ-RODRIGUEZ gave QUINONES-RIOS the incorrect zip code.

164. On October 9, 2019, at 1:39 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) received a call from (904) 314-9813, used by QUINONES-RIOS.
During the intercepted call, QUINONES-RIOS asked, “It arrived, right?” Hector Yamil
RODRIGUEZ-RODRIGUEZ replied, “Oh, let me call him; that went to Tufo’s (i.e., CORTES-
IRIZARRY’s) house. Tufo has not called me,” indicating a cocaine-laden parcel was sent to
CORTES-IRIZARRY’s residence. On the same date, at 2:32 p.m., TARGET TELEPHONE-6
(i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) received a call from (904) 314-9813 (e.,

QUINONES-RIOS). During the intercepted call, QUINONES-RIOS asked, “Did that box arrive?”

103
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 104 of 219 Document 1
Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “Fucker, Tufo is there waiting, but the
mailman has not gone by there. That’s Tufo’s house.” QUINONES-RIOS said, “It marks green.”
Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “It marks as though it is delivered?”
QUINONES-RIOS replied, “Yes,” indicating the USPS tracking system showed the cocaine-laden
parcel was delivered at CORTES-IRIZARRY’s residence. On the same date, at 2:35 p.m.,
TARGET TELEPHONE-6 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) received a call from
(904) 314-9813 (i.e, QUINONES-RIOS). During the intercepted call, QUINONES-RIOS said,
‘T think I wrote it down wrong man,” indicating he may have written the wrong address on the
cocaine-laden parcel. Hector Yamil RODRIGUEZ-RODRIGUEZ said, “Send me the one you
wrote down.”

165. On October 9, 2019, at 2:40 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) called (414) 573-1846 (i.e., CORTES-IRIZARRY). During the
intercepted call CORTES-IRIZARRY said, “Talk to me Yamil.” Hector Yamil RODRIGUEZ-
RODRIGUEZ said, “Fucker, he wrote the wrong address, fucker.” CORTES-IRIZARRY asked,
“Who?” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “David, the fucker,” indicating
QUINONES-RIOS may have written the wrong address on the cocaine-laden parcel. TARGET
TELEPHONE-6 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) then received an incoming call
from QUINONES-RIOS. During the intercepted call, QUINONES-RIOS said, “Look, it’s the
same one, but the only thing that changed is 53219,” indicating only the zip code was incorrect.
Hector Yamil RODRIGUEZ-RODRIGUEZ said, “Send it to me in a text message so I can put it
in the GPS. QUINONES-RIOS indicated he would send the message via text to both Hector Yamil
RODRIGUEZ-RODRIGUEZ and CORTES-IRIZARRY. On the same date, at 2:43 p.m.,

TARGET TELEPHONE-6 (1.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) received the

104
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 105 of 219 Document 1
 

following text message from (904) 314-9813 (i.e., QUINONES-RIOS): “Jos? Martinez 6225w
Mitchel ST Milwaukee wi 53219,” indicating the address where QUINONES-RIOS sent the
cocaine-laden parcel.

166. On October 9, 2019, at 3:21 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) called (904) 314-9813 (.e., QUINONES-RIOS). During the
intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ stated, “The one on 84th arrived.”
QUINONES-RIOS asked, “It arrived?” Hector Yamil RODRIGUEZ-RODRIGUEZ answered,
“Yes, that’s the one that you sent that was wrong.” QUINONEZ-RIOS said, “White, it’s two
boxes. I sent a white and a brown. I sent two boxes a white and a brown.” Hector Yamil
RODRIGUEZ-RODRIGUEZ said, “Oh, no, no the white one arrived!” QUINONES-RIOS said,
“The white arrived. The brown one is missing. The one that is going to Tufo’s is the brown.”
Hector Yamil RODRIGUEZ-RODRIGUEZ said, “I am going there now.” QUINONES-RIOS
said, “The one that is going to Tufo’s house is 53219.”

167. On October 10, 2019, at 3:07 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) called TARGET TELEPHONE-11 (.e., QUINONES-RIOS).
During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ said, “They arrived,
Gordo,” indicating both cocaine-laden parcels successfully arrived at their destinations, including
the 6225 West Mitchel Street address associated with CORTES-IRIZARRY.’ USPS records
confirmed an approximately 11 Ibs. 15 oz. priority mail parcel was shipped from San Antonio,

Puerto Rico to Jose Martinez, 6225 West Mitchell Street, Milwaukee, Wisconsin!° on October 8,

 

9 On November 11, 2019, Kelly Martinez-Bonilla called 911 requesting assistance at her residence located at 6225
West Mitchell Street, West Allis, Wisconsin. Martinez-Bonilla wanted her boyfriend, who she identified as Steven
CORTES-IRIZARRY (DOB: August 23, 1982; phone number: (414) 418-2970) to leave following a domestic
disturbance. Upon arrival, officers learned that CORTES-IRIZARRY had already left the residence.

10 On at least two additional occasions, suspected cocaine-laden parcels were mailed from western Puerto Rico to
6225 West Mitchell Street, Milwaukee, Wisconsin. On November 26, 2019, a parcel sent from Moca, Puerto Rico
was delivered to “Alberto Acevedo, 6225 W. Mitchell St., West Allis, WI 53214. On December 9, 2019, a parcel sent

Case 2:20-mj-00822-WEC Filed 02/1430 Page 106 of 219 Document 1
2019. Based upon their training, experience, and familiarity with the investigation, case agents
believe the weight of the parcel is consistent with containing approximately three (3) kilograms of
cocaine. QUINONES-RIOS said, “It’s there! Iam now happy. Send me two more [unintelligible]
three more,” indicating he wanted Hector Yamil RODRIGUEZ-RODRIGUEZ to send him

packages containing drug proceeds.

Keven TORRES-BONILLA

168. Keven TORRES-BONILLA is an Hispanic male born on December 1, 2019. He
resides at 8330 West Beloit Road, Milwaukee, Wisconsin. The utilities at this residence as
subscribed to Lesty E. BURGOS. Between June 20, 2019 and the December 27, 2019, 91
interceptions have occurred between TORRES-BONILLA, who uses cellular phone number (414)
391-5416, and various TARGET TELEPHONE numbers that were deemed criminal and pertinent
in nature. TORRES-BONILLA has also used cellular phone number (414) 312-3631. TORRES-
BONILLA ceased use of that telephone number on December 2, 2019. Between June 20, 2019 and
the time when TORRES-BONILLA ceased use of that phone, over 200 interceptions occurred
between TORRES-BONILLA and various TARGET TELEPHONE numbers that were deemed
criminal and pertinent in nature. TORRES-BONILLA is a mid-level drug distributor, who is

supplied by GONZALEZ-COLLADO.

 

from San Antonio, Puerto Rico was delivered to “Edwin Corts, 6225 W. Mitchell St. Milwaukee, WI 53214. Based
upon their training, experience, and familiarity with the investigation, case agents believe both parcels contained at
least a kilogram of cocaine and were sent by David QUINONES-RIOS.

106
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 107 of 219 Document 1
TORRES-BONILLA distributes cocaine supplied by GONZALEZ-COLLADO

TORRES-BONILLA coordinates with GONZALEZ-COLLADO and
CORTES-IRIZZARY to obtain distributable cocaine

169. On August 6, 2019, at 2:13 p.m., TARGET TELEPHONE S (i.e., GONZALEZ-
COLLADO) received a call from (414) 312-3631 (ie, TORRES-BONILLA). During the
intercepted call, TORRES-BONILLA said, “Tufo (i.e., CORTES-IRIZARRY) says he has a whole
one there, because he doesn’t want to tear it apart.” GONZALEZ-COLLADO responded, “Tell
Tufo if he has the ‘tabla’ to tear it apart.” TORRES-BONILLA said, “[H]e told me, ‘No, ’m not
going to tear that apart. I don’t touch anything without permission.” GONZALEZ-COLLADO
said, “I’m going to call him,” about the availability of cocaine. Specifically, when TORRES-
BONILLA called about the cocaine GONZALEZ-COLLADO stated, “You should have told me
yesterday. I would have taken that.” TORRES-BONILLA replied, “Damn,” to which
GONZALEZ-COLLADO advised, “Let me call him to see if he answers.” Based upon their
training, experience, and familiarity with the investigation, case agents believe TORRES-
BONILLA wanted a quantity of cocaine for distribution, but CORTES-IRIZARRY was reluctant
to open a kilogram (i.e., a ‘tabla’) of cocaine kept at storage without permission. GONZALEZ-
COLLADO indicated he would contact CORTES-IRIZARRY.

170. On August 6, 2019, at 2:23 p.m., TARGET TELEPHONE-S (i.e., GONZALEZ-
COLLADO) received a call from (414) 552-9646, used by CORTES-IRIZARRY. During the
intercepted call, GONZALEZ-COLLADO said, “Regarding that half board.” CORTES-
IRIZARRY responded, “If you guys ask me too, I’1l get it. Do you know what I mean? Because...
I can’t touch anything without permission, because I’m not going to...” GONZALEZ-COLLADO
ordered, “Yes, fucker, cut it in half. I got the other half sold, they are calling me.” Based upon

their training, experience, and familiarity with the investigation, case agents believe GONZALEZ-

Case 2:20-mj-00822-WEC Filed oaten0 Page 108 of 219 Document 1
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Andros MARTINEZ-PELLOT

185. Andros MARTINEZ-PELLOT is an Hispanic male born on October 14, 1989. He
resides at N88W14822 Main St. (Apartment #B-03), Menomonee Falls, Wisconsin. This has been
confirmed through the investigation and surveillance. Between June 20, 2019 and December 27,
2019, approximately 115 intercepted communications have occurred between MARTINEZ-
PELLOT utilizing (262) 770-9967 and DTO target telephone numbers that were deemed criminal
and pertinent in nature. The investigation to date has revealed that MARTINEZ-PELLOT is a mid-
level distributor of cocaine and is supplied by at least one member of the DTO.

CS-3 makes four two ounce purchases of cocaine from MARTINEZ-PELLOT

186. On May 30, 2019, Officer Conway met with CS-3 regarding MARTINEZ-PELLOT.
CS-3 had previously provided information regarding MARTINEZ-PELLOT’s drug trafficking
activities. CS-3 had purchased cocaine from MARTINEZ-PELLOT over three (3) times in the past
for a quantity around % ounce on each of the occasions. CS-3 stated that MARTINEZ-PELLOT sells
an ounce of cocaine for $1,100.00. CS-3 further stated that MARTINEZ-PELLOT drove a red pick-
up truck and goes by a nickname of “Dro.” Additionally, CS-3 identified one of MARTINEZ-
PELLOT?’s cellular phone numbers as (939) 202-6386 — with a prefix belonging to Puerto Rico.

187. On June 11, 2019, Officer Conway and other law enforcement met with CS-3. The
purpose of this meeting was to conduct a controlled purchase of cocaine from MARTINEZ-
PELLOT.!! CS-3 advised Officer Conway that MARTINEZ-PELLOT had previously provided the
cellular phone number of (262) 770-9667 to be utilized for all drug related transactions. At 1:45 p.m.,
MARTINEZ-PELLOT called CS-3 to discuss where to meet in order for CS-3 to purchase cocaine.

Both agreed to meet at the Cousin’s Restaurant at 7140 North 76th Street in Milwaukee, Wisconsin.

 

1! All four controlled purchases of cocaine from MARTINEZ-PELLOT were audio and video recorded.

116
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 109 of 219 Document 1
tai state

 

At approximately 2:25 p.m., MARTINEZ-PELLOT arrived at Cousin’s restaurant while driving a
white motor scooter (Wisconsin plate: 274HD). A query with the Wisconsin Department of
Transportation revealed that the scooter lists to Peter E. Barley of 6151 N. 116th Street in Milwaukee.
The last name BARLEY is consistent with MARTINEZ-PELLOT’s spouse’s maiden name. In
exchange for $2,200.00 in U.S. currency provided to CS-3 by law enforcement, MARTINEZ-
PELLOT provided CS-3 with two clear plastic bags containing suspected cocaine. Both
MARTINEZ-PELLOT and CS-3 parted company. Law Enforcement conducted surveillance of
MARTINEZ-PELLOT who then drove to Russ Darrow at 7676 North 76th Street after the
transaction. The suspected cocaine was field tested by Officer Conway, which resulted in a positive
test for cocaine, weighing approximately 55.61 grams.

188. On June 19, 2019, Officer CONWAY and other law enforcement met CS-3. The
purpose of this meeting was to conduct a controlled purchase of cocaine from MARTINEZ-PELLOT.
At 12:00 p.m., a recorded phone call was placed to MARTINEZ-PELLOT at (262) 770-9667.
MARTINEZ-PELLOT stated that he had to pick up the cocaine before he met CS-3. At 12:05 p.m.,
Law enforcement conducted surveillance at 9711 West Greenwood Terrace. During surveillance,
Officer Don Krenzien observed MARTINEZ-PELLOT exit 9711 West Greenwood and enter his red
Chevrolet truck (Wisconsin plate: NR6908). Law enforcement officers surveilled MARTINEZ-
PELLOT as he drove to 2730 South 10th Street, the address of Hector Yamil RODRIGUEZ-
RODRIGUEZ. At about 1:42 p.m., both CS-3 and MARTINEZ-PELLOT met at the Taco Bell. In
exchange for $2,200.00, MARTINEZ-PELLOT provided CS-3 with one large bag containing
suspected cocaine. CS-3 turned over the suspected cocaine to a law enforcement officer who
subjected a sample of it to a field test which yielded a positive result for cocaine, weighing

approximately 55.77 grams.

117
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 110 of 219 Document 1
189. On July 2, 2019, Officer Conway and other law enforcement officers met CS-3. The
purpose of this meeting was to conduct a controlled purchase of cocaine from MARTINEZ-PELLOT.
At approximately 12:44 p.m., CS-3 received a phone call from MARTINEZ-PELLOT from the cell
number of (262) 770-9667. The phone call was prompted by a previous call between CS-3 and
MARTINEZ-PELLOT who had made a request to purchase cocaine. MARTINEZ-PELLOT asked
for CS-3’s location and MARTINEZ-PELLOT stated that he was ready to meet [had cocaine on his
person to sell CS-3]. Both agreed to meet at the same Taco Bell located at 5751 West Fond du Lac
Avenue in Milwaukee. In exchange for $2,200.00 in U.S. currency provided by law enforcement,
MARTINEZ-PELLOT gave CS-3 two vacuum sealed bags that contained suspected cocaine. The
suspected cocaine was provided to a law enforcement officer who subjected a sample of it to a field
test. The test provided a positive result for cocaine, and weighed approximately 56.14 grams.

190. On July 18, 2019, Officer Conway and other law enforcement met with CS-3. The
purpose of this meeting was to conduct a controlled purchase of cocaine from MARTINEZ-PELLOT.
At 10:42 a.m., law enforcement met CS-3. CS-3 had prior contact with MARTINEZ-PELLOT who
agreed to sell cocaine to CS-3 at the Taco Bell located at 5751 West Fond du Lac Avenue, Milwaukee,
WI. At 11:23 a.m., CS-3 met MARTINEZ-PELLOT at National Muffler. In exchange for $2,200.00
in U.S. currency provided by law enforcement, MARTINEZ-PELLOT gave CS-3 two plastic bags
containing suspected cocaine. The suspected cocaine was given to a law enforcement officer who
subjected it to a field test. The test provided a positive result for the presence of cocaine, and weighed
approximately 55.89 grams.

MARTINEZ-PELLOT receives 2.5 kilograms of cocaine from
Hector Yamil RODRIGUEZ-RODRIGUEZ

191. On September 6, 2019, at 3:52 p.m., MARTINEZ-PELLOT and Hector Yamil

RODRIGUEZ-RODRIGUEZ (i.e. TARGET TELEPHONE-7) spoke by phone. MARTINEZ-

118
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 111 of 219 Document 1
PELLOT (i.e. (262) 770-9667) wanted to purchase a quantity of cocaine. Specifically MARTINEZ-
PELLOT asked, “Listen, is there something?” Hector Yamil RODRIGUEZ-RODRIGUEZ
responded, “Dude, two and a half in my hand.” MARTINEZ-PELLOT asked, “Oh, you only have 2
Ys left? Then asked, “Are they solid or...” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “No,
they are solid.” MARTINEZ-PELLOT asked, “When can I go get them? Right now?” Hector Yamil
RODRIGUEZ-RODRIGUEZ replied, “Well, give me some time. I’m going to go get a haircut. Can
you do it at around 7:00 p.m.?” MARTINEZ-PELLOT stated, “Yes.” Based on their training,
experience, and familiarity with this investigation, case agents believe MARTINEZ-PELLOT
requested to purchase two and a half kilograms of cocaine. When MARTINEZ-PELLOT asked if
they are “solid,” he referred to whole kilograms of cocaine, unadulterated by any other means, with
“2 ¥,” the remaining quantity of cocaine which MARTINEZ-POLLOT requested from Hector Yamil
RODRIGUEZ-RODRIGUEZ. I also know that MARTINEZ-PELLOT is a kilogram quantity
purchaser.

192. At 10:03 p.m., MARTINEZ-PELLOT texted from (262) 770-9667 to Hector Yamil
RODRIGUEZ-RODRIGUEZ (i.e. TARGET TELEPHONE-7), “Blood if you can get me that, I need
it”

193. On September 7, 2019, at 3:50 p.m., Hector Yamil RODRIGUEZ-RODRIGUEZ (i.e.
TARGET TELEPHONE-7) called MARTINEZ-PELLOT at cellular phone number (262) 770-9667.
Hector Yamil RODRIGUEZ-RODRIGUEZ informed MARTINEZ-PELLOT that he had just woken
up and was at his “lady’s house.” Hector Yamil RODRIGUEZ-RODRIGUEZ added, “Give me a
few minutes to get ready and everything and I’! call you so you can head to the house.” MARTINEZ-
PELLOT replied, “I lost a lot of sales today and people call me nonstop when I don’t have anything.

[lose the money.” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “That’s how it always works.

Case 2:20-mj-00822-WEC Filed o2/1b}30 Page 112 of 219 Document 1
Give me a few minutes because I just got up. I’m at my lady’s house.” MARTINEZ-PELLOT
replied, “Okay. Don’t leave me hanging because I have a lot of people waiting.”

194. At 5:12 pm, Hector Yamil RODRIGUEZ-RODRIGUEZ (i.e. TARGET
TELEPHONE-7) called MARTINEZ-PELLOT at (262) 770-9667 and stated, “Come over here.”
MARTINEZ-PELLOT responded, “On my way over there, faggot.”

195. At 6:35 p.m., MARTINEZ-PELLOT called Hector Yamil RODRIGUEZ-
RODRIGUEZ (i.e. TARGET TELEPHONE-7) and advised, “I am in the back, blood.” Hector Yamil
RODRIGUEZ-RODRIGUEZ instructed, “Come through the door.” At the time of this phone call,
Hector Yamil RODRIGUEZ-RODRIGUEZ’ cellular phone registered to the cellular tower servicing
the area of 2730 South 10th Street, Milwaukee, Wisconsin. Based upon my training, experience, and
familiarity of this investigation, I believe that MARTINEZ-PELLOT and Hector Yamil
RODRIGUEZ-RODRIGUEZ executed a 2.5 kilogram of cocaine deal and that it occurred at 2730
South 10th Street.

MARTINEZ-PELLOT receives an half-kilogram of cocaine from
Hector Yamil RODRIGUEZ-RODRIGUEZ

196. On October 7, 2019, at 5:16 p.m., MARTINEZ-PELLOT and Hector Yamil
RODRIGUEZ-RODRIGUEZ (ic. TARGET TELEPHONE-7) spoke by telephone with
MARTINEZ-PELLOT utilizing cellular phone number (262) 770-9667. Hector Yamil
RODRIGUEZ-RODRIGUEZ stated, “...whole one and there’s a half.” MARTINEZ-PELLOT
replied, “Half? Okay.” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “Yes, half because they
arrived Wednesday.” MARTINEZ-PELLOT stated, “Okay, what was I going to tell you? How
much? The same?” Hector Yamil RODRIGUEZ-RODRIGUEZ answered, “Yes, man.”

MARTINEZ-PELLOT responded, “Go ahead. Let me see what these people want to do.”

 

2? MARTINEZ-PELLOT used (262) 770-9667 for all intercepted communications.

120
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 113 of 219 Document 1
“enna Ae thm atamt ia ARS Na indices fitieg ive im epamninmenan oe bomen intact

197. At 5:21 p.m., MARTINEZ-PELLOT asked, “What is the half that you have left?”
Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “From a whole... I just sold half.”
MARTINEZ-PELLOT inquired about the price and Hector Yamil RODRIGUEZ-~-RODRIGUEZ
stated, “Fifteen and a half.” Hector Yamil RODRIGUEZ-RODRIGUEZ added, “Yes, I will give it
to you for fifteen and a half, he can screw himself. I will have commotion over here, but go ahead.
That belongs to me and my friend. Go ahead.” MARTINEZ-PELLOT remarked, “I will go get the
money at the house and will head over there.” Prior to ending the call, Hector Yamil RODRIGUEZ-
RODRIGUEZ advised that on, “Wednesday six more will arrive.” MARTINEZ-PELLOT asked if
Hector Yamil RODRIGUEZ-RODRIGUEZ would give him one of the Wednesday arrivals. Hector
Yamil RODRIGUEZ-RODRIGUEZ stated, “Yes, six will arrive Wednesday and they’re mine. Yes,
we can work. Go ahead. You know it.” MARTINEZ-PELLOT replied, “Let me see about this work.
Save them for me I will look.” Based upon their training, experience and familiarity with the
investigation, case agents know that MARTINEZ-PELLOT asked the price for half a kilogram and
Hector Yamil RODRIGUEZ-RODRIGUEZ agreed to sell it to MARTINEZ-PELLOT at a good
price, $15,500, instead of the usual price. Hector Yamil RODRIGUEZ-RODRIGUEZ indicated that
there would be problems (“I will have commotion here”), but Hector Yamil RODRIGUEZ-
RODRIUEZ didn’t care (“he [i.e., GONZALEZ-COLLADO] can screw himself”).

198. At 7:07 p.m., MARTINEZ-PELLOT texted Hector Yamil RODRIGUEZ-
RODRIGUEZ (i.e. TARGET TELEPHONE-7), “I am here.” At the time of this interception, Hector
Yamil RODRIGUEZ-RODRIGUEZ’s cellular phone was registering to the cellular tower servicing

the area of 2730 South 10th Street.

121
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 114 of 219 Document 1
199. Anexamination of U.S. Postal Service parcel records indicated that five USPS Priority
mail parcels were shipped between the dates of October 7, 2019 and October 8, 2019 from Puerto
Rico to Milwaukee, Wisconsin to addresses associated with this DTO.

200. On November 29, 2019, at 2:57 p.m., MARTINEZ-PELLOT and Hector Yamil
RODRIGUEZ-RODRIGUEZ (ic. TARGET TELEPHONE-7), spoke by telephone with
MARTINEZ-PELLOT utilizing cellular phone number (262) 770-9667. Hector Yamil
RODRIGUEZ-RODRIGUEZ stated, “Dude, we are active again”? MARTINEZ-PELLOT
responded, “Oh, thank God.” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “... Call me, I
have something for you here, something arrived today.” Based upon their training, experience, and
familiarity with this investigation, case agents believe the DTO received kilogram(s) of cocaine
through USPS Priority mail and Hector Yamil RODRIGUEZ-RODRIGUEZ set up a future
transaction with MARTINEZ-PELLOT.

201. On December 9, 2019, at approximately 2:10 p.m., Officer Conway conducted a spot
check at National Muffler, 5740 W. Fond du Lac Avenue, and located a black Ford Taurus bearing a
temporary Wisconsin license plate of $9562H. CS-3 advised Officer Conway that this vehicle is
driven by MARTINEZ-PELLOT.

202. On December 17, 2019, at approximately 9:07 a.m., Officer Conway observed the
black Ford Taurus with the same temporary license plate parked in the rear of N88 W14822 Main
Street, Menomonee Falls, Wisconsin. Officer Conway also observed the red Chevrolet truck used by
MARTINEZ-PELLOT from the controlled purchase of cocaine on June 19, 2019 parked in the same
area. Officer Conway contacted the apartment complex manager and requested a tenant list for N88
W14822 Main Street. The property manager stated they would freely provide him with a tenant list

at a later date.

122
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 115 of 219 Document 1
 

203. OnDecember 18, 2019, at approximately 2:30 p.m., Officer Conway conducted a spot
check of N88 _W14822 Main Street and again observed the black Ford Taurus parked in the same
parking spot as observed in the day prior. The Taurus was now bearing Wisconsin license plate
AGY2703. A check with the Wisconsin Department of Transportation records revealed that the
vehicle was registered to Andros R. MARTINEZ-PELLOT with an address of 5055 N. 58th Street,
Milwaukee, Wisconsin. On this same date, Officer Conway was contacted by the apartment complex
manager who provided him with the tenant list of individuals staying at N88 W14822 Main Street.
Andros Martinez is listed as the tenant for apartment number “B03.”

204. OnDecember 19, 2019, at approximately 1:40 p.m., Officer Conway conducted a spot
check of N88 W14822 Main Street and again observed MARTINEZ-PELLOT’s black Ford Taurus
parked in the rear of the complex.

Pursuant to a federal warrant, narcotics detection canine “Flexy” alerted to the presence
of controlled substances at MARTINEZ-PELLOT’s apartment

205. On January 6, 2020, United States Magistrate Judge William E. Callahan, Jr.,
authorized the search of the exterior front door to N88 W14822 Main Street, Apartment B03
Menomonee Falls, Wisconsin, by narcotics canine detection dog “Flexy.” On January 7, 2020, at
7:15 a.m., Inspector Fink along with Milwaukee Police Officer Conway and his canine, “Flexy,” met
at N88 W14822 Main Street, Apartment B3, Menomonee Falls, Wisconsin. At this time, “Flexy”
alerted to the presence of controlled substances or other items which have been recently contaminated

with, or associated with the odor of one or more controlled substances.

Eric ROSA
206. As discussed in detail herein, Eric ROSA (a/k/a "Erico”), an Hispanic male born on
July 10, 1987, is a Milwaukee-based cocaine, heroin, and fentanyl distributor, who is principally

supplied by GONZALEZ-COLLADO. ROSA resides at 6353 W. Lakefield Dr., Unit #1

; ; 123
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 116 of 219 Document 1
Milwaukee, Wisconsin, which has been confirmed by investigation, surveillance, and review of
utilities records. During the course of this investigation, case agents determined that ROSA has
used several cellular telephone numbers, including (920) 651-5723 (TARGET TELEPHONE-1),
(920) 651-5712, (224) 478-7162, (312) 632-4305, (920) 970-2169, and (262) 693-2860.

Controlled Purchases Involving ROSA
December 6, 2018 Controlled Purchase

207. From December 2018 through October 2019, DEA TFO Michael Saddy
(hereinafter UC), who was acting in an undercover capacity, arranged controlled purchases of
cocaine and heroin from ROSA in Milwaukee, Wisconsin. CS-1 introduced the UC to ROSA on
December 6, 2018. During that time, ROSA facilitated the purchase of approximately 3.5 grams
of cocaine from Wilberto SANTIAGO-MARTINEZ at 3223 West Lincoln Avenue, Milwaukee,
Wisconsin. While awaiting SANTIAGO-MARTINEZ, ROSA discussed his friend "Gordo" (i.e.,
GONZALEZ-COLLADO). ROSA said his cocaine was supplied by "Gordo," who received it
from Puerto Rico. ROSA claimed he was once able to obtain between % and one kilogram of
cocaine with little difficulty, but was unsure if he could still obtain that quantity of cocaine. ROSA
said a kilogram of cocaine would cost approximately $22,000. ROSA reiterated that the cocaine
would come from Puerto Rico.

December 20, 2018 Controlled Purchase

208. On December 20, 2018, ROSA agreed to facilitate the purchase of 27.7 grams of
cocaine from SANTIAGO-MARTINEZ. At ROSA’s direction, the UC picked him up at 2307
West Rodgers Street, Milwaukee, Wisconsin and drove to the 800 block of West Harrison Avenue,
where they parked. Soon thereafter, SANTIAGO-MARTINEZ entered the UC’s vehicle. In
exchange for the cocaine, the UC gave SANTIAGO-MARTINEZ $1,300. During this transaction,

ROSA said the guy with whom he previously worked (i.e., “Gordo”) because he had drug-laden

124
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 117 of 219 Document 1
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packages seized by the authorities. ROSA added that “they” were receiving “7K” (i.e., 7
kilograms) of cocaine per week in the mail.
January 10, 2019 Controlled Purchase

209. On January 10, 2019, the UC originally arranged to purchase two ounces of cocaine
from ROSA and SANTIAGO-MARTINEZ. While en route to the drug deal, ROSA said he was
intending to cut SANTIAGO-MARTINEZ out because “Gordo” (i.e., GONZALEZ-COLLADO)
was returning to the business. ROSA commented that GONZALEZ-COLLADO's cocaine was
better quality and that GONZALEZ-COLLADO offered more timely service than SANTIAGO-
MARTINEZ. ROSA said GONZALEZ-COLLADO normally gives ROSA the cocaine prior to a
deal and that ROSA would be supplying the UC for subsequent deals. ROSA said GONZALEZ-
COLLADO may even have ROSA deliver the cocaine directly to the UC because GONZALEZ-
COLLADO liked to keep his customers happy.

210. Expressing frustration with SANTIAGO-MARTINEZ’s delay, ROSA said he
would take the UC to his other cocaine supplier - GONZALEZ-COLLADO. ROSA directed the
UC to El Tsunami seafood restaurant, located at 2222 S. 13th Street Milwaukee, Wisconsin.
ROSA said GONZALEZ-COLLADO was at the restaurant. ROSA gave the UC the choice as to
whom the UC wished to conduct business: SANTIAGO-MARTINEZ or GONZALEZ-
COLLADO. ROSA said GONZALEZ-COLLADO was better. ROSA said GONZALEZ-
COLLADO agreed to immediately sell the UC two ounces, but that they needed to go to a home
on 27th Street to pick it up. The UC agreed to purchase the cocaine from GONZALEZ-
COLLADO.

211. ROSA walked inside the restaurant to confirm the new cocaine deal. Soon

thereafter, GONZALEZ-COLLADO and ROSA exited the restaurant. GONZALEZ-COLLADO

125
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 118 of 219 Document 1
approached the passenger side of the UC’s vehicle and greeted the UC. ROSA directed the UC to
return to ROSA’s residence. As the UC was driving ROSA to his residence, ROSA referred to
GONZALEZ-COLLADO as “Jose,” which is GONZALEZ-COLLADO’s first name. ROSA
remarked that GONZALEZ-COLLADO was expecting four kilograms of cocaine during the
January 12th weekend. ROSA said GONZALEZ-COLLADO agreed to meet the UC at a BP gas
station located at 405 North 27" Street, Milwaukee, Wisconsin. Soon after the UC and ROSA
arrived at 27th Street and Saint Paul Avenue, GONZALEZ-COLLADO arrived in a silver Suzuki
and parked directly behind the UC’s vehicle. GONZALEZ-COLLADO approached the passenger
side of the UC’s vehicle and handed the UC a cup that held a clear plastic baggie containing 55.5
grams of cocaine. The UC then gave $2,600 to ROSA as payment. GONZALEZ-COLLADO
directed ROSA to hold onto the money.
January 16, 2019 Controlled Purchase

212. OnJanuary 15, 2019, ROSA agreed to facilitate a three-ounce cocaine deal between
Jose GONZALEZ-COLLADO and the UC. On January 16, 2019, ROSA directed the UC to meet
him at 2307 West Rogers Street, Milwaukee, Wisconsin. ROSA then directed the UC to drive to
a BP gas station, located at 405 North 27" Street, Milwaukee, Wisconsin. Soon after arriving at
the BP gas station, ROSA and the UC were met by GONZALEZ-COLLADO, who gave the UC
84.1 grams of cocaine in exchanged for $3,900.00.

January 31, 2019 Controlled Purchase

213. On/January 23, 2019, ROSA agreed to facilitate a three-ounce cocaine deal between
Jose GONZALEZ-COLLADO and the UC. On January 31, 2019, ROSA directed the UC to meet
him at 1336 South Layton Boulevard, Milwaukee, Wisconsin. ROSA then directed the UC to

drive to 2300 West Rogers Street, Milwaukee, Wisconsin. Soon after arriving at the location,

126
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 119 of 219 Document 1
 

ROSA and the UC were met by GONZALEZ-COLLADO, who gave the UC 83.4 grams of cocaine
in exchange for $3,750.00.
February 22, 2019 Controlled Purchase

214. On February 7, 2019, ROSA agreed to sell the UC two ounces of cocaine and ten
grams of heroin for $3,400.00. On February 22, 2019, ROSA directed the UC to meet him at 1336
South Layton Boulevard, Milwaukee, Wisconsin. Upon the UC’s arrival, ROSA informed him
that he was awaiting a call from GONZALEZ-COLLADO. ROSA received the call from
GONZALEZ-COLLADO, who said he would send someone to complete the drug transaction.
Soon thereafter, a blue Toyota arrived and parked behind the UC’s vehicle. ROSA walked to the
Toyota and returned with two clear baggies, one containing 55.8 grams of cocaine and the other
containing 9.9 grams of heroin. ROSA gave the drugs to the UC in exchange for $3,400.00.

March 12, 2019 Controlled Purchase

215. On March 11, 2019, at approximately 7:00 p.m., the UC requested two ounces of
cocaine and 15 grams of heroin by text messaging ROSA as follows: “2 oz. white 15 g. brown...”
On the same date, at approximately 7:19 p.m., the UC received the following text-message
response from ROSA: “They only have 1 w,” which the UC understood to mean that ROSA had
an ounce of cocaine available for sale. The UC agreed to purchase an ounce of cocaine and again
inquired about the availability of 15 grams of heroin. At approximately 10:05 p.m., the UC
received the following text message response from ROSA: “For the stuff is going to be 2,650”
which the UC understood to mean that ROSA was charging $2,650 for an ounce of cocaine and
15 grams of heroin. Upon agreeing to this purchase price, the UC agreed to meet ROSA on March

12, 2019 to conduct the drug transaction.

127
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 120 of 219 Document 1
216. On March 12, 2019, the UC purchased an ounce of cocaine and 15 grams of heroin
from ROSA and GONZALEZ-COLLADO. The UC contacted ROSA (i.e., by contacting a
previous cellular telephone number used by ROSA) to arrange the drug transaction. The
transaction occurred near 3500 W. Burnham Avenue, Milwaukee, Wisconsin. During the
transaction, the UC asked ROSA when the next shipment of cocaine would arrive. ROSA
subsequently made a call on his cell phone. The UC observed the screen on ROSA’s phone
indicated that the call was to “Gordo,” which is a nickname for GONZALEZ-COLLADO. After
the call, ROSA said GONZALEZ-COLLADO would let ROSA know when the next cocaine
shipment would arrive. ROSA thereafter gave the UC approximately 26.5 grams of cocaine and
approximately 14.7 grams of heroin in exchange for $2,650.

March 28, 2019 Controlled Purchase

217. On March 27, 2019, at approximately 3:32 p.m., the UC was trying to arrange
another drug transaction by sending ROSA the following text message: “What’s up my friend.
I’m off tomorrow and I’1! looking to swing in.” On the same date, at approximately 4:09 p.m., the
UC called ROSA. During the call, the UC requested three ounces of cocaine and 15 grams of
heroin, which the UC referenced as “three white and 15 brown.” ROSA responded, “Gordo doing
that for you.” ROSA explained that GONZALEZ-COLLADO would conduct the drug transaction
because ROSA would be in Chicago. On March 28, 2019, the UC inquired about the purchase
price by text messaging ROSA the following: “how much $$.” On the same date, at 7:06 a.m.,
ROSA sent the UC the following text messages: “I don’t know” and “I got to call gordo,” which
the UC understood to mean that ROSA needed to contact GONZALEZ-COLLADO to ascertain
the purchase price for the drugs. At 12:00 p.m., ROSA sent the UC the following text message:

“5,100 3w 15b” which the UC understood to mean that ROSA and GONZALEZ-COLLADO were

128
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 121 of 219 Document 1
 

charging $5,100 for three ounces of cocaine and 15 grams of heroin. ROSA subsequently
instructed the UC to meet GONZALEZ-COLLADO at the BP gas station located at 405 North 27
Street, Milwaukee, Wisconsin. The UC informed ROSA that the UC arrived at the designated
location.

218. Soon thereafter, ROSA called the UC to inform him that GONZALEZ-COLLADO
was en route. GONZALEZ-COLLADO subsequently arrived in a black Nissan Titan and parked
behind the UC’s vehicle. GONZALEZ-COLLADO exited the Nissan and entered the UC vehicle.
GONZALEZ-COLLADO gave the UC approximately 81.6 grams of cocaine and approximately
15 grams of heroin in exchange for $5,100.

April 17, 2019 Controlled Purchase

219. On April 16, 2019, at approximately 12:34 p.m., the UC requested three ounces of
cocaine and 20 grams of heroin by sending ROSA the following text message: “My friend looking
for 3 white and 20 g brown.” On the same date, at approximately 12:34 p.m., ROSA sent the UC
a text message inquiring, “when.” The UC responded via text message, “tomorrow.” On April 17,
2019, ROSA informed the UC that the price for the drugs would be $5,500 and the transaction
would occur at El Rey Marketplace, 3524 West Burnham Street, Milwaukee, Wisconsin. Upon
arriving at El Rey Marketplace, the UC called ROSA to inform him that the UC had arrived at the
designated location. During this time, surveillance units observed GONZALEZ-COLLADO
driving past E] Rey Marketplace on two occasions. Soon after the UC called ROSA, ROSA arrived
in his vehicle and entered the UC vehicle. ROSA gave the UC approximately 83.2 grams of

cocaine and approximately 20 grams of heroin in exchange for $5,500.

129
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 122 of 219 Document 1
May 8, 2019 Controlled Purchase

220. On May 7, 2019, at approximately 2:05 p.m., the UC requested cocaine and heroin
by sending ROSA the following text message: “What’s up my friend. I’m looking to swing by
Need white and brown.” On the same date, at approximately 5:50 p.m., the UC requested two
ounces of cocaine and an ounce of heroin from ROSA. ROSA inquired, “two and one?” and said,
“1711 call you right now,” which the UC understood to mean that ROSA would promptly call the
UC back. At approximately 6:00 p.m., ROSA called to inform the UC that he was charging $5,000
for two ounces of cocaine and an ounce of heroin. On May 8, 2019, the UC met ROSA at a BP
gas station located at 5912 W. Oklahoma Avenue, Milwaukee, Wisconsin. ROSA entered the
UC’s vehicle where he gave the UC approximately 55.7 grams of cocaine and 27.9 grams of a
substance containing fentanyl in exchange for $5,000.

June 5, 2019 Controlled Purchase

221. OnMay 30, 2019, at approximately 5:32 p.m., the UC requested cocaine and heroin
by sending ROSA the following text message: “I call ya be I'l] need white and brown soon.” On
June 3, 2019, at approximately 11:16 a.m., the UC again requested cocaine and heroin by sending
ROSA the following text message: “My friend I’m out of brown and should be out of white by
tomorrow or wed when can I come by.” At approximately 11:18 am., the UC received the
following text message from ROSA: “Today.” The UC responded via text message, “Working
and have to go collect $ tomorrow so Wednesday would be my earliest.” ROSA responded via
text message, “I say today because I am not working,” and “Because this week I am getting out
late.” The UC responded via text message, “Fuck buddy can’t make it today. Pll let you know

when I have everything straight. Probably need 4 white and 1 or 2 brown.” The UC informed

130
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 123 of 219 Document 1
 

ROSA that he could not conduct the drug transaction that day, but indicated that he would need
four ounces of cocaine and one or two ounces of heroin.

222. On June 4, 2019, at approximately 4:00 p.m., the UC placed a consensually
recorded telephone call to ROSA. ROSA answered the call. The UC indicated that he would be
ready to purchase drugs from ROSA once he finished collecting drug proceeds by stating he had
to “pick up money from one guy” and that he would then be “good to go.” At approximately 7:54
p.m., the UC requested two ounces of heroin and two ounces of cocaine from ROSA and further
inquired about the price by sending ROSA the following text message: “Going to need two brown
and two white let me know how §$.” At approximately 8:26 p.m., ROSA responded that the total
price for the drugs would be $7,350 based on the following text message from ROSA: “7,350.”

223. On June 5, 2019, at approximately 2:04 p.m., the UC placed a consensually
recorded telephone call to ROSA. ROSA answered the call. The UC said, “I’m ready, when are
you,” indicating that he was ready to conduct the drug transaction and inquired whether ROSA
was also prepared to do so. ROSA replied “I’m done” and “I’m on my way to my job to get my
car.” The UC responded that he would meet with ROSA in “an hour and a half.” The UC told
ROSA that he was riding a motorcycle and that the UC would meet with ROSA at the BP gas
station. ROSA responded “yes the BP,” indicating that the drug transaction would occur at the BP
gas station located at 5912 W. Oklahoma Avenue, Milwaukee, Wisconsin. At approximately 3:56
p.m., the UC placed a consensually recorded telephone call to ROSA. ROSA answered the call.
The UC informed ROSA that he had arrived at the agreed location (i.e., the BP gas station). ROSA
responded that he needed “5 or 10 minutes” because he had to “pick it up,” meaning ROSA was
in the process of retrieving the drugs. ROSA then inquired if the UC was riding a black

motorcycle. The UC was using a black motorcycle. ROSA commented, “I see you,” indicating

131
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 124 of 219 Document 1
ROSA was conducting counter surveillance. At approximately 4:33 p.m., ROSA arrived at the
agreed meet location (i.e., the BP gas station) in a black Volkswagen. The UC entered the front
passenger seat of ROSA’s vehicle. ROSA gave the UC approximately 56.4 grams of cocaine and
approximately 56 grams of a substance containing fentanyl in exchange for $7,350.
June 21, 2019 Controlled Purchase

224. On June 6, 2019, ROSA agreed to sell the UC two ounces of cocaine and two
ounces of heroin for $7,500. On June 21, 2019, ROSA directed the UC to meet him at the BP gas
station located at 5912 West Oklahoma Avenue, Milwaukee, Wisconsin. Following the UC’s
arrival at the location, ROSA gave the UC approximately 56.1 grams of cocaine and approximately
58.2 grams of a substance that contained fentanyl in exchange for $7,500.

August I, 2019 Controlled Purchase

225. On June 22, 2019, ROSA agreed to sell the UC three ounces of cocaine and three
ounces of heroin for $10,470. On August 1, 2019, ROSA directed the UC to Russ Darrow
Mazda located at 11330 West Metro Auto Mall, Milwaukee, Wisconsin, which was ROSA’s
place of employment. Following the UC’s arrival at the location, ROSA gave the UC
approximately 82.8 grams of cocaine and 84 grams of heroin in exchange for $10,470.

September 5, 2019 Controlled Purchase

226. On August 1, 2019, ROSA agreed to sell the UC % ounce of cocaine and an ounce
of heroin for $3,300. On September 5, 2019, 09-05-2019, ROSA directed the UC to Russ Darrow
Mazda located at 11330 West Metro Auto Mall, Milwaukee, Wisconsin, which was ROSA’s place
of employment. Following the UC’s arrival, ROSA gave the UC 13.59 grams of cocaine and 28.8

grams of a substance that contained fentanyl in exchange for $3,300.

132
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 125 of 219 Document 1
 

October 3, 2019 Controlled Purchase

227. On September 10, 2019, ROSA agreed to sell the UC an ounce of cocaine and an

ounce of heroin for $3,600. On October 3, 2019, ROSA directed the UC to meet him at the BP

gas station located at 5912 West Oklahoma Avenue, Milwaukee, Wisconsin. Following the UC’s

atrival at the location, ROSA gave the UC approximately 28.7 grams of a substance that

subsequently field-tested positive for cocaine and 29.1 grams of a substance that subsequently

field-tested positive for heroin in exchange for $3,600.

Summary of Controlled Buys in Milwaukee, Wisconsin

 

DATE

LOCATION

SUSPECT

PRICE
PAID

DRUG
TYPE

 

December 6, 2018

3223 W. Lincoln Ave.

Eric ROSA,
Wilberto
SANTIAGO-
MARTINEZ

$175

cocaine
(3.5 g)

 

December 20, 2018

800 block
W. Harrison Ave.

Eric ROSA,
Wilberto
SANTIAGO-
MARTINEZ

$1,300

cocaine
(27.7 g)

 

January 10, 2019

405 N. 27" Street

Eric ROSA,
Jose Manuel
GONZALEZ-
COLLADO

$2,600

cocaine
(55 g)

 

January 16, 2019

405 N. 27" Street

Eric ROSA,
Jose Manuel
GONZALEZ-
COLLADO

$3,900

cocaine
(84 g)

 

January 31, 2019

1336 S. Layton Blvd.

Eric ROSA,
Jose Manuel
GONZALEZ-
COLLADO

$3,750

cocaine
(83.4 g)

 

 

February 22, 2019

 

1336 S. Layton Blvd.

 

Eric ROSA,
Jose Manuel
GONZALEZ-
COLLADO

 

$3,400

 

cocaine

(55.8 g)
heroin

(9.9 g)

 

133
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 126 of 219 Document 1

 
 

 

 

 

 

 

 

 

 

 

 

March 12, 2019 3500 W. Burnham Eric ROSA $2,650 cocaine
Ave. (26.5 g)

heroin
(14.7 g)

March 28, 2019 405 N. 27" Street Eric ROSA, $5,100 cocaine
Jose Manuel (81.6 g)

GONZALEZ- heroin

COLLADO (15 g)

April 17, 2019 3524 W. Burnham St. Eric ROSA, $5,500 cocaine
Jose Manuel (83.2 g)

GONZALEZ- heroin

COLLADO (20 g)

May 8, 2019 5912 W. Oklahoma Eric ROSA $5,000 cocaine
Ave. (55.7 g)
fentanyl
(27.9 g)

June 5, 2019 5912 W. Oklahoma Eric ROSA $7,350 cocaine
Ave. (56.4 g)
fentanyl

(56 g)

June 21, 2019 5912 W. Oklahoma Eric ROSA $7,500 cocaine
Ave. (56.1 g)
fentanyl
(58.2 g)
August 1, 2019 11330 West Metro Eric ROSA $10,470 cocaine
Auto Mall (82.8 g)

heroin

(84 g)
September 5, 2019 11330 West Metro Eric ROSA $3,300 cocaine
Auto Mail (13.5 g)
fentanyl
(28.8 g)
October 3, 2019 5912 W. Oklahoma Eric ROSA $3,600 cocaine
Ave (28.7 g)

heroin
(29.1 g)
TOTALS $65, 595 | cocaine
(793.9 g)
heroin

134

 

 

 

 

Case 2:20-mj-00822-WEC Filed 02/18/20 Page 127 of 219 Document 1

 
 

(172.7)
fentanyl
(170.9)

 

Kadeja LEWIS

228. Kadeja LEWIS is an African American female born on July 8, 1990. Her current
residence is unknown. Between June 20, 2019 and December 27, 2019, over 12 intercepted
communications have occurred between LEWIS, who was using (414) 736-0451, and TARGET
TELEPHONE-1, (i.e. ROSA), that were deemed criminal and pertinent in nature. According to
CS-2, LEWIS is a multi-kilogram cocaine customer of GONZALEZ-COLLADO. In October and
November 2018, CS-2 was present for eight to nine kilogram-level drug transactions between
GONZALEZ-COLLADO and LEWIS. In December 2018, LEWIS met with CS-2 and asked CS-
2 to contact GONZALEZ-COLLADO so she could purchase more drugs from GONZALEZ-
COLLADO. LEWIS provided CS-2 her telephone number (414) 736-0451. Intercepted
communications over TARGET TELEPHONE-1! (i.e. ROSA), along with physical surveillance
have confirmed LEWIS to be a kilogram-level-cocaine customer of ROSA and GONZALEZ-
COLLADO. ROSA, who is the only known English speaker in the DTO, coordinates,
communicates and facilitates kilogram-level-cocaine transactions between LEWIS and
GONZALEZ-COLLADO.

LEWIS obtains cocaine from GONZALEZ-COLLADO and ROSA for further distribution
LEWIS purchases 500 grams of cocaine from ROSA

229. On June 22, 2019, at 1:23 p.m., TARGET TELEPHONE-1 (i.e. ROSA) received a
call from (414) 736-0451, used by LEWIS. During the intercepted call, LEWIS inquired if ROSA
had one-half kilogram of cocaine by asking, “...do you got a half bro?” ROSA responded, “Let
me call him.” At 1:27 p.m., TARGET TELEPHONE-1 (i.e., ROSA) called (217) 298-8208, then

135
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 128 of 219 Document 1
used by GONZALEZ-COLLADO, but received the following service-provider automated
response: “The person that you are calling cannot accept calls at this time. We are sorry.” At 1:58
p.m., TARGET TELEPHONE-I(i.e., ROSA) called TARGET TELEPHONE-2, (i.e. APONTE-
LEBRON). During the intercepted call, ROSA asked, “Hey, and Gordo? Was his phone
disconnected?” APONTE-LEBRON replied, “No, I’m here with him. He’s just doing something
there.” ROSA said, “Ask him if he has half,” inquiring if GONZALEZ-COLLADO had a half-
kilogram of cocaine available. APONTE-LEBRON replied, “Alright, then. Let him finish.” At
2:00 p.m., TARGET TELEPHONE-1 (1.e., ROSA) received a call from TARGET TELEPHONE-
2, which GONZALEZ-COLLADO was borrowing from APONTE-LEBRON. During the
intercepted call, ROSA asked, “Did your phone get disconnected?” GONZALEZ-COLLADO
replied, “I don’t even have money to pay for it.” ROSA asked, “Hmmm - look, do you have half?”
GONZALEZ-COLLADO replied, “For Monday or Tuesday,” indicating he did not presently have
that quantity, but that he would by the following Monday or Tuesday. At 3:11 p.m., TARGET
TELEPHONE-]1 (i.e., ROSA) received a call from TARGET TELEPHONE-3 (i.e., GONZALEZ-
COLLADO). During the intercepted call, GONZALEZ-COLLADO disclosed that TARGET
TELEPHONE-3 was his new cellular telephone number by saying, “This is my new number.”
ROSA replied, “Alright.”

230. On June 24, 2019, at 1:25 p.m., TARGET TELEPHONE-1 (i.e., ROSA) received
a call from (414) 736-0451 (i.e., LEWIS). During the intercepted call, LEWIS inquired if the half-
kilogram of cocaine was available by asking, “Did he get it yet bro?” ROSA replied, “Uh, let me
call him.” At 1:50 p.m., TARGET TELEPHONE-1 (i.e., ROSA) called TARGET TELEPHONE-
3 (i.e, GONZALEZ-COLLADO). During the intercepted call, ROSA said, “It’s a half,”

confirming that LEWIS only needed one-half kilogram of cocaine. GONZALEZ-COLLADO

136
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 129 of 219 Document 1
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replied, ““That’s fine.” At 5:23 p.m., TARGET TELEPHONE-1 (i.e., ROSA) received a call from
(414) 736-045] (i.e., LEWIS). During the intercepted call, LEWIS asked, “What’s up brother?
Are you coming yet?” ROSA replied, “So, I am waiting for him to call me to pick it up so then I
will call you” indicating he was awaiting GONZALEZ-COLLADO’s call before he could retrieve
the cocaine. LEWIS asked, “It ain’t gonna be too late, is it?” ROSA replied, “I am calling him
right now,” indicating he would inquire with GONZALEZ-COLLADO. At 5:27 p.m., TARGET
TELEPHONE-1 (i.e., ROSA) called TARGET TELEPHONE: 3 (i.e., GONZALEZ-COLLADO).
During the intercepted call, ROSA inquired about when the cocaine would be available by asking,
“In how long dude? She called me already.” GONZALEZ-COLLADO replied, “Tell her like . .
. lam going to see you. . . you are going to see me or Viejo (i.e., APONTE-LEBRON) in like 25
minutes . . . tell her like 40 minutes.” ROSA replied, “Alright. I am going to tell her an hour.” At
5:28 p.m., TARGET TELEPHONE-1 (i.e., ROSA) sent (414) 736-0451 (i.e., LEWIS) the
following text message: “‘Give me 1 hr.”

231. On June 24, 2019, at 7:05 p.m., TARGET TELEPHONE-1 (i.e., ROSA) called
TARGET TELEPHONE-2 (i.e., APONTE-LEBRON). During the intercepted call, APONTE-
LEBRON said, “I am going now. I will bring that to you,” indicating he was prepared to supply
ROSA the cocaine. ROSA said, “I am here on 13th,” indicating his current location. APONTE-
LEBRON asked, “At the garage?” ROSA replied, “Yes [unintelligible].”,» APONTE-LEBRON
said, “Well, Iam going there now.” ROSA asked, “Are you at the storage?” APONTE-LEBRON
said, “Yes.” ROSA said, “Ah, well, it would be better there,” suggesting he instead meet
APONTE-LEBRON at the storage facility. APONTE-LEBRON said, “Well come in here then.”
At 7:08 p.m, TARGET TELEPHONE-2 (i.e. APONTE-LEBRON) called TARGET

TELEPHONE 1 (i.e., ROSA). During the intercepted call, APONTE-LEBRON said, “Look, it’s

137
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 130 of 219 Document 1
21-5-5-8-3-9 star,” giving ROSA the access code to the storage facility. ROSA said, “When I am
there, I will call you.” At 7:12 p.m., TARGET TELEPHONE-1 (i.e., ROSA) called TARGET
TELEPHONE-2 (i.e.. APONTE-LEBRON). During the intercepted call, APONTE-LEBRON
again provided ROSA the access code and inquired if ROSA was able to enter the storage facility
by saying, “21-5-5-8-3-9 star. Did it open?” ROSA responded, “Yes.” Several minutes later,
investigators conducting surveillance observed a Volkswagen Gulf (Wisconsin plates AFN-4527)
driven by ROSA, and a Honda Accord (Wisconsin plates AFF-3835) driven by APONTE-
LEBRON leave a storage facility located at 5014 South 13th St., Milwaukee, Wisconsin in tandem
and depart the area.

232. On June 24, 2019, at 7:30 p.m., investigators observed ROSA return to his
residence located at 6353 West Lakefield Dr., Unit 1, Milwaukee, Wisconsin. At 8:14 p.m., (414)
736-0451 (i.e., LEWIS) sent the following text message to TARGET TELEPHONE-1 (.e.,
ROSA): “Send me address.” Approximately a minute later, TARGET TELEPHONE-1 (i.e.,
ROSA) sent the following text message to (414) 736-0451 (.e., LEWIS): “6353 w lakefield dr,”
which is the address for ROSA’s apartment complex. At 8:43 p.m., investigators observed a dark
Chevrolet Impala (Wisconsin plates: ABT7139) park outside ROSA’s apartment complex.
According to the Wisconsin Department of Transportation, the Impala was a rental vehicle. At
approximately 8:51 p.m., investigators observed an African America female resembling LEWIS
meet ROSA in the apartment complex’s parking lot. The African American female took a bag
from ROSA, returned to the Impala, and departed the area. Based upon their training, experience,
and familiarity with the investigation, case agents believe ROSA had supplied LEWIS with
approximately 500 grams (1.e., one-half kilogram) of cocaine in the parking lot of the apartment

complex located at 6353 West Lakefield Dr., Milwaukee, Wisconsin.

138
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 131 of 219 Document 1
 

233. On June 24, 2019, at 8:51 p.m., TARGET TELEPHONE-3 (i.e., GONZALEZ-
COLLADO) called TARGET TELEPHONE-1 (i.e., ROSA). During the intercepted call,
GONZALEZ-COLLADO inquired if ROSA completed the drug transaction with LEWIS by
asking, “Did you get it?” ROSA answered in the affirmative. When ROSA inquired as to whom
he should give the proceeds from the sale to LEWIS, ROSA indicated APONTE-LEBRON by
saying, “To Viejo.” At 8:54 p.m., TARGET TELEPHONE-2 (i.e., APONTE-LEBRON) called
TARGET TELEPHONE-1 (i.e., ROSA). During the intercepted call, APONTE-LEBRON
inquired if ROSA was going to give him the drug proceeds by asking, “Were you coming here, or
no?” ROSA remarked, “Oh, no, the machine was not working well,” indicating he was having
problems with his money-counting machine. ROSA said, “We counted four times because at one
point it gave us 17, and another was 16,” indicating he and someone else counted the money four
times, and that the total was $17,000 on one occasion and $16,000 on another occasion. APONTE-
LEBRON thereafter attempted to instruct ROSA on how to properly use the money-counting
machine, and recommended that ROSA ask GONZALEZ-COLLADO how to properly use the
machine, by saying, “Yeah, because you have to program it. If you set it, it will tell you what type
of bill it is. It will then stop and continue, continue counting the rest. You need to ask Cheito how
it is because he has his set like that.” ROSA subsequently said, “I am going to put this away and
come down,” indicating he would meet APONTE-LEBRON with the drug proceeds.

LEWIS and ROSA discuss cocaine prices and negotiate 500 gram cocaine deal

234. On June 29, 2019, at 1:02 p.m., (414) 736-0451 (i.e. LEWIS) sent TARGET
TELEPHONE-1 (i.e., ROSA) the following text message: “Need one-and-a-half,” indicating that
LEWIS wanted 1% kilograms of cocaine. LEWIS noted that she had sufficient funds for the drug

transaction by subsequently sending TARGET TELEPHONE-] (i.e., ROSA) the following text

139
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 132 of 219 Document 1
message: “I got all the money.” At 1:03 p.m., TARGET TELEPHONE-1 (i.e., ROSA) called
TARGET TELEPHONE-4 (i.e., APONTE-LEBRON). During the intercepted call, ROSA
inquired about the availability of the cocaine by asking APONTE-LEBRON, “Has anything
come?” APONTE-LEBRON replied, “Nothing.” ROSA informed APONTE-LEBRON that
LEWIS wanted 1’ kilograms of cocaine by saying, “That dark-skinned female wants a whole one
and a half.” APONTE-LEBRON indicated that LEWIS would need to wait until the following
Monday or Tuesday by saying, “She’s going to have to wait until it arrives, Monday or Tuesday.”
APONTE-LEBRON then indicated that he would contact GONZALEZ-COLLADO regarding
when the drugs would actually arrive by saying, “Let me call him and I will call you back.” ROSA
replied, “Yes, let me know.” At 1:05 p.m., TARGET TELEPHONE-4 (i.e., APONTE-LEBRON)
called TARGET TELEPHONE-1 (i.e., ROSA). During the intercepted call, APONTE-LEBRON
indicated that the cocaine requested by LEWIS would be available the following Thursday by
saying to ROSA, “It’ll arrive Thursday.”

235. On July 2, 2019, at 1:50 pm. TARGET TELEPHONE-3 (i.ec., GONZALEZ-
COLLADO) called TARGET TELEPHONE-1 (i.e., ROSA). During the intercepted call,
GONZALEZ-COLLADO said, “It’s going up, kid.” ROSA asked, “To how much?”
GONZALEZ-COLLADO said, “To thirty-two again, man.” ROSA responded, “Damn, shit.”
GONZALEZ-COLLADO explained, “[T]hat is what is available, if she wants it. If not, man, she
will have to buy somewhere else because . . . hey, there is nothing. It seems these people are held
back over there, man. They raised it back to thirty again, man.” Based upon their training,
experience, and familiarity with the investigation, case agents believe GONZALEZ-COLLADO

advised ROSA that his price for cocaine increased to $32,000 per kilogram. ROSA asked, “For

140
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 133 of 219 Document 1
 

thirty-two?” GONZALEZ-COLLADO replied, “Yes, man.” ROSA responded, “T’ll let her know
now,” indicating he would notify LEWIS about the price increase for cocaine.

236. On July 2, 2019, at 1:59 p.m., TARGET TELEPHONE-] (i.e., ROSA) sent the
following text message to (414) 736-0451 (i.e. LEWIS): “Hey i talk to my guy and he said the
price go up to 32 because every body dosent have in PR thas why he dond got nothing now but he
if u want some he going to grab 1 during this week for now,” indicating the price for cocaine
increased to $32,000 per kilogram due to the limited supply in Puerto Rico (a trans-shipment point
for cocaine), and that GONZALEZ-COLLADO had a kilogram of cocaine available for LEWIS.
At 7:00:13 p.m., (414) 736-0451 (ie. LEWIS) sent the following text message to TARGET
TELEPHONE-1 (i.e., ROSA): “Tl go thru my other guy,” indicating she would use an alternative
cocaine supplier. At 7:00:22 p.m., TARGET TELEPHONE-1 (i.e., ROSA) sent the following text
message to (414) 736-0451 (i.e. LEWIS): “The price always going up.” At 7:00:31, (414) 736-
0451 (i.e. LEWIS) sent the following text message to TARGET TELEPHONE-1 (i.e., ROSA):
“With you guys.” At 7:01:03 p.m., TARGET TELEPHONE-1] (i.e., ROSA) sent the following
text message to (414) 736-0451 (i.e. LEWIS): “I am telling u what he (i.e., GONZALEZ-
COLLADO) tell me.” At 7:01:15 p.m., (414) 736-0451 (i.e. LEWIS) sent the following text
message to TARGET TELEPHONE-I1 (i.e., ROSA): “I don’t want it I’m good,” indicating she did
not want to purchase cocaine from GONZALEZ-COLLADO and ROSA for $32,000 per kilogram.
At 7:04:37 p.m., (414) 736-0451 Ge. LEWIS) sent the following text message to TARGET
TELEPHONE-1 (i.e., ROSA): “Been dealing with u for a while now and J always paid u But u
guys always going up on the price,” indicating LEWIS had a long history of purchasing cocaine
from GONZALEZ-COLLADO and ROSA and was upset with the price increases. At 7:26:47

p.m., TARGET TELEPHONE-1 (i.e., ROSA) sent the following text message to (414) 736-0451

141
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 134 of 219 Document 1
(i.e. LEWIS): “Is not us is the connection in PR because my guy want the good stuff,” indicating
the cocaine source-of-supply was responsible for the increased price.

237. On July 3, 2019, at 1:29 a.m., (414) 736-0451 (i.e. LEWIS) sent the following text
message to TARGET TELEPHONE-1 (i.e., ROSA): “Il grab a half but I can’t go over 16,”
indicating LEWIS wanted to purchase 500 grams (one-half kilogram) of cocaine for no more than
$16,000. At 11:43 am., TARGET TELEPHONE-1 (i.e., ROSA) called TARGET TELEPHONE-
3 (i.e., GONZALEZ-COLLADO). During the intercepted call, ROSA said, “She wants half,”
indicating LEWIS wanted 500 grams (one-half kilogram) of cocaine. GONZALEZ-COLLADO
said, “I don’t have it. That will be ready, tell her, by Friday or Saturday,” indicating the cocaine
would be available by the following Friday or Saturday. ROSA asked, “How much is the half?”
GONZALEZ-COLLADO replied, “[T]he half costs 16%, you know,” indicating 500 grams (one-
half kilogram) of cocaine costs $16,500. At 5:41 p.m., 414) 736-0451 (i.e. LEWIS) sent the
following text message to TARGET TELEPHONE-1 (i.e., ROSA): “When will he have it.” At
8:00 p.m., TARGET TELEPHONE-1 (i.e., ROSA) sent the following text message to (414) 736-
0451 (i.e. LEWIS): “He said Friday,” indicating the 500 grams (one-half kilogram) of cocaine
would be available for LEWIS by the following Friday.

238. The authorized interception of TARGET TELEPHONE-1 (i.e., ROSA) ended on
July 11, 2019, which precluded direct intercepts of communications with LEWIS. Although
LEWIS was not intercepted again, the authorized interception of the other TARGET
TELEPHONES revealed that LEWIS remained a consistent purchaser of significant quantities of

cocaine from GONZALEZ-COLLADO and his associates.

142
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 135 of 219 Document 1
 

Traffic stop on LEWIS produces firearm and indicia of drug-trafficking

239. On September 30, 2019, Milwaukee police officers conducted a traffic stop of a
blue Mazda (bearing Wisconsin plate: 378-ZZY). Officers observed the Mazda as it pulled next
to another occupied vehicle at 4795 South 70th Street, Milwaukee, Wisconsin. Based on the
officers’ training and experience, the occupants of the adjacent vehicles appeared to have been
conducting a drug transaction. When the Mazda subsequently pulled away at a high rate of speed,
Milwaukee Police officers activated the lights on their squad, and conducted a traffic stop. After
an officer identified the driver of the Mazda as LEWIS, he inquired whether she had any firearms
inside her vehicle. LEWIS replied, “I got my gun.” After the officers found a loaded Glock with
a high capacity magazine tucked between the driver’s seat and the center console of the Mazda,
they arrested LEWIS for carrying a concealed weapon. The officers also found a 50-round drum
magazine, loaded with 39 cartridges; $3,108.00 in U.S. currency; a digital scale with white residue,
and sandwich baggies in the Mazda. Following her arrest, LEWIS was in pre-trial detention at the
Milwaukee County Jail. While in detention, LEWIS made several recorded phone calls. During
one call, LEWIS admitting to possessing the above-mentioned Glock as well as a “Drake,” which
is a Slang term for a Draco brand AK-47 type assault rifle manufactured by Century Arms. The
location of the “Drake” is currently unknown. The Milwaukee County District Attorney’s Office
has charged LEWIS, who is currently out on bail.

Yadier ROSARIO

240. Yadier ROSARIO is an Hispanic male born on October 3, 1996. He resides at
2310A West Maple Street, Upper Unit, Milwaukee, Wisconsin. The utilities for this residence are
in Yadier ROSARIO’s name. Between June 20, 2019 and December 27, 2019, over 65 intercepted

communications deemed criminal and pertinent occurred between ROSARIO, using (414) 630-

143
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 136 of 219 Document 1
2627, and various TARGET TELEPHONE numbers. ROSARIO also used cellular phone number

(414) 595-0785. Between June 20, 2019 and the time ROSARIO ceased using (414) 595-0785,

over 230 intercepted communications deemed criminal and pertinent occurred between this

number and various TARGET TELEPHONE numbers. ROSARIO is a mid-level cocaine

distributor, who is supplied by Hector Yamil RODRIGUEZ-RODRIGUEZ and his associates.
ROSARIO’s distribution of ounce-quantities of cocaine

ROSARIO and APONTE-LEBRON discuss sale of 9 ounces of cocaine
241. On August 15, 2019, at 10:25 am., TARGET TELEPHONE-4 (ie.,

APONTE-LEBRON) called (414) 595-0785, used by ROSARIO. During the intercepted call,
ROSARIO asked, “Man, those nine pieces that you had given, what was the weight?” APONTE-
LEBRON replied, “The weight was 252.” ROSAIRO said, “Oh, the dude is saying that twenty
grams were missing.” APONTE-LEBRON responded, “That is a lie. Tell him that is a lie because
it weighed exactly 252.” Later in the conversation, APONTE-LEBRON said, “It is all there.
Cheito always tells me, “Always set it as 252, so it’1l come up to 252 or 251.” Based upon their
training, experience, and familiarity with the investigation, case agents believe one of ROSARIO’s
customers complained that nine ounces (1.e., 252 grams) of cocaine that he purchased were short
20 grams, which APONTE-LEBRON vehemently denied.

ROSARIO requests two 500-gram quantities of cocaine from
Hector Yamil RODRIGUEZ-RODRIGUEZ

242. On September 6, 2019, at 11:04 am., TARGET TELEPHONE-7 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) received a call from (414) 595-0785 (i.e., ROSARIO).
During the intercepted call, ROSARIO said, “Dude, they are asking me for two halves.” Hector
Yamil RODRIGUEZ-RODRIGUEZ replied, “Yes, something is going to arrive today. I am

waiting.” ROSARIO said, “Okay, because I would need something today or tomorrow. They’ve

144
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 137 of 219 Document 1
 

been waiting on me since Tuesday.” Hector Yamil RODRIGUEZ-RODRIGUEZ replied, “Oh, I
have 250 left.” ROSARIO asked, “That’s a nine, right?” Hector Yamil RODRIGUEZ-
RODRIGUEZ replied, “Yes.” Based upon their training, experience, and familiarity with the
investigation, case agents believe ROSARIO requested two 500-gram (one-half kilogram)
quantities of cocaine for a customer. Hector Yamil RODRIGUEZ-RODRIGUEZ indicated
although he had only 250 grams of cocaine available, additional quantities of cocaine would arrive
that day.
ROSARIO requests four ounces of cocaine from Hector Yamil RODRIGUEZ-RODRIGUEZ

243. On October 21, 2019, at 1:25 p.m., TARGET TELEPHONE-7 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) received a call from (414) 595-0785 (i.e., ROSARIO). During the
intercepted call, ROSARIO asked, “You have four loose ones?” Hector Yamil RODRIGUEZ-
RODRIGUEZ replied, “Yes.” ROSARIO said, “I need them for the black guy from the north side.
He wants them right now.” Hector Yamil RODRIGUEZ-RODRIGUEZ responded, “Give me like
40 minutes.” Based upon their training, experience, and familiarity with the investigation, case
agents believe ROSARIO requested four ounces of cocaine from Hector Yamil RODRIGUEZ-
RODRIGUEZ for distribution to an African American male.

244, On October 21, 2019, at 3:35 p.m., TARGET TELEPHONE-7 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) received a call from (414) 595-0785 (i.e., ROSARIO). During the
intercepted call, ROSARIO asked, “You took that aside?” Hector Yamil RODRIGUEZ-
RODRIGUEZ replied, “Go to the house,” indicating he wanted ROSARIO to come to his
residence to retrieve the 4 ounces of cocaine. Based on this intercepted communication,
investigators conducted surveillance at the residence of ROSARIO’s sister at 1245 West Windlake

Avenue, Milwaukee, Wisconsin. At approximately 3:44 p.m., investigators observed ROSARIO

145
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 138 of 219 Document 1
depart the residence in a vehicle. At approximately 3:48 p.m., investigators observed ROSARIO
arrive at 2730 South 10th Street, Milwaukee, Wisconsin where he was met by Hector Yamil
RODRIGUEZ-RODRIGUEZ. ROSARIO and Hector Yamil RODRIGUEZ-RODRIGUEZ then
entered the residence. At approximately 4:44 p.m., investigators observed ROSARIO depart 2730
South 10th Street and return and return to 1245 West Windlake Avenue.

245. On October 21, 2019, at 8:19 p.m., TARGET TELEPHONE-7 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) received a call from (414) 595-0785 (i.e., ROSARIO). During the
intercepted call, ROSARIO said, ‘“[T]he guy just did two, he ended up getting two, but I will get
them to you tomorrow,” indicating he sold only 2 of the 4 ounces of cocaine to the African
American male, and would return the two remaining ounces to Hector Yamil RODRIGUEZ-
RODRIGUEZ the next day. Hector Yamil RODRIGUEZ-RODRIGUEZ responded, “That is
fine.”

ROSARIO requests 4.5 ounces of cocaine from Hector Yamil RODRIGUEZ-RODRIGUEZ

246. On November 8, 2019, at 12:09 pm., TARGET TELEPHONE-7 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) received the following text from (414) 595-0785 (i.e.,
ROSARIO): “Tell me should I go over there?” Hector Yamil RODRIGUEZ-RODRIGUEZ
responded that he was getting dressed. At 12:10 p.m., TARGET TELEPHONE-7 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) received the following text from (414) 595-0785 (.e.,
ROSARIO): “Okay, take out four and a half.” Hector Yamil RODRIGUEZ-RODRIGUEZ
replied, “Alright.” At 12:45 p.m., TARGET TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-
RODRIGUEZ) received the following text from (414) 595-0785 (i.e., ROSARIO): “Talk to me
man. Ready? The guy is in a hurry because he has to leave.” At 12:46 p.m., TARGET

TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) called (414) 595-0785 (i.e.,

146
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 139 of 219 Document 1
 

ROSARIO). During the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ said, “Come
to my house, man.” ROSARIO responded, “Alright, I’m leaving something here in the cage and
I’ll be right over.” Based upon their training, experience, and familiarity with the investigation,
case agents believe ROSARIO requested 4.5 ounces of cocaine from Hector Yamil RODRIGUEZ-

RODRIGUEZ, who directed ROSARIO to come to his home to retrieve the cocaine.

Julio RIVERA-RAMIREZ

247. Julio RIVERA-RAMIREZ (a/k/a Macho) is an Hispanic male born on April 25,
1968. He resides at 1466A South Union Street, Milwaukee, Wisconsin, which has been confirmed
by investigation and surveillance.'? In addition, CS-2 has identified 1466A South Union Street as
RIVERA-RAMIREZ’s residence. The utilities for this residence are in the name of Julio C.
Rivera, (414) 544-9701, (414) 514-9650. RIVERA-RAMIREZ is a mid-level cocaine and heroin
distributor, who is supplied by GONZALEZ-COLLADO and his associates. RIVERA-RAMIREZ
has used telephone numbers (414) 208-5302 and (414) 514-9650. Between June 20, 2019, and
December 27, 2019, over 40 intercepted communications have occurred between RIVERA-
RAMIREZ and various TARGET TELEPHONE numbers that were deemed criminal and pertinent
in nature.

248. In June 2019, case agents learned that RIVERA-RAMIREZ drives an Acura
bearing Wisconsin registration 895-ZDS. Based upon this information, Wisconsin Department of
Transportation records revealed a dark blue 2007 Acura TL, 4-door vehicle was registered to Julio
Cesar RIVERA-RAMIREZ, 1466 South Union Street Milwaukee, Wisconsin. On July 3, 2019,

investigators preformed a spot-check at 1466A South Union Street, Milwaukee, Wisconsin.

 

3 During a welfare check on December 9, 2019, police officers confirmed that RIVERA-RAMIREZ lived in the
upper level of the residence.

147
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 140 of 219 Document 1
Parked near the residence, investigators observed a 2014 red Toyota Camry bearing Wisconsin
registration 355-XGP. Wisconsin Department of Transportation records revealed that Julio Cesar
RIVERA-RAMIREZ was the registered owner of the vehicle. At this same time, investigators
also observed the dark blue 2007 Acura TL, bearing Wisconsin registration 895-ZDS, parked near
the residence.
GONZALEZ-COLLADO supplies RIVERA-RAMIREZ seven ounces of cocaine

249. On August 2, 2019, at 12:33 p.m., TARGET TELEPHONE- 5 (i.e., GONZALEZ-
COLLADO) received a call from (414) 208-5302, used by RIVERA-RAMIREZ. During the
intercepted call, RIVERA-RAMIREZ said, “I can pay you a portion, at least give you 1,000. So,
you can bring me two-and-a-half, because I got them sold.” GONZALEZ-COLLADO said, “Oh,
fucker, I thought it was someone else.” RIVERA-RAMIREZ responded, “It’s me, Macho.”
RIVERA-RAMIREZ asked, “Hey, is that good to cook it?” GONZALEZ-COLLADO replied,
“Yes, buddy, for sure.” Changing his mind about the desired quantity, RIVERA-RAMIREZ said,
“Fine. Bring me three. I’m going to pay you for two and I’ll give you half for the other one, when
this guy gives me the money.” GONZALEZ-COLLADO responded, “Yes, I'll send Kiko (i.e.,
APONTE-LEBRON) shortly.” RIVERA-RAMIREZ subsequently said, “Alright, send him over.
They are waiting for me.” Based upon their training, experience, and familiarity with the
investigation, case agents believe RIVERA-RAMIREZ asked GONZALEZ-COLLADO for three
ounces of cocaine that could be “cooked” into crack (i.e., cocaine base). GONZALEZ-COLLADO
agreed to have APONTE-LEBRON deliver the cocaine.

250. On August 2, 2019, at 12:50 p.m., TARGET TELEPHONE-4 (ie. APONTE-
LEBRON) received a call from (414) 514-9650, used by RIVERA-RAMIREZ. During the

intercepted call, RIVERA-RAMIREZ asked, “Man, are you on your way?” APONTE-LEBRON

148
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 141 of 219 Document 1
 

replied, “No, I am going to pick that up to take it to you,” indicating he first needed to retrieve the
3 ounces of cocaine for RIVERA-RAMIREZ. RIVERA-RAMIREZ responded, “Call me when
you get here so I can come down and get it.” On the same date, at 1:36 p.m., TARGET
TELEPHONE-4 (i.e. APONTE-LEBRON) received a call from (414) 514-9650 (i.e., RIVERA-
RAMIREZ). During the intercepted call, APONTE-LEBRON said, “I am almost there. Start
coming down.” RIVERA-RAMIREZ said, “Okay, I am coming down now,” indicating he would
promptly meet APONTE-LEBRON near 1466A South Union Street to conduct the cocaine
transaction.

251. On August 2, 2019, at 8:02 p.m., TARGET TELEPHONE-S (i.e., GONZALEZ-
COLLADO) received a call from (414) 514-9650 (.e., RIVERA-RAMIREZ). During the
intercepted call, RIVERA-RAMIREZ asked, “Look, do you have any more?” GONZALEZ-
COLLADO replied, “Yeah.” RIVERA-RAMIREZ said, “Tell him to bring me three more to
square yours.” GONZALEZ-COLLADO responded, “Call him. Call him.” RIVERA-RAMIREZ
said, “Okay, I'll call him.” Based upon their training, experience, and familiarity with the
investigation, case agents believe RIVERA-RAMIREZ asked GONZALEZ-COLLADO to have
APONTE-LEBRON deliver an additional three ounces of cocaine. GONZALEZ-COLLADO
instructed RIVERA-RAMIREZ to call APONTE-LEBRON.

252. On August 2, 2019, at 8:03 p.m., TARGET TELEPHONE-4 (i.e. APONTE-
LEBRON) received a call from (414) 514-9650 (ie., RIVERA-RAMIREZ). During the
intercepted call, RIVERA-RAMIREZ said, “I need five.” APONTE-LEBRON asked, “Five?”
RIVERA-RAMIREZ said, “Yeah, you have five there? It’s me, Macho, man.” APONTE-
LEBRON replied, “I have to check.” RIVERA-RAMIREZ asked, “[S]o you do not have it on you

right now?” APONTE-LEBRON replied, “No man, I do not carry any of that,” indicating he

149
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 142 of 219 Document 1
would need to retrieve the cocaine from storage. RIVERA-RAMIREZ noted, “I called Cheito and
he told me to call you,” indicating GONZALEZ-COLLADO told him to call ARONTE-LEBRON.
APONTE-LEBRON said, “That is fine.” RIVERA-RAMIREZ said, “Bring me four to five,
whatever you have,” indicating he wanted between four to five additional ounces of cocaine.
APONTE-LEBRON confirmed, “That is fine.”

253. On August 2, 2019, at 8:54 p.m., TARGET TELEPHONE-4 (i.e. APONTE-
LEBRON) received a call from (414) 514-9650 (.e., RIVERA-RAMIREZ). During the
intercepted call, RIVERA-RAMIREZ asked, “Did you get there yet?” APONTE-LEBRON
replied, “Yes. I am taking you four,” indicating he would supply RIVERA-RAMIREZ four ounces
of cocaine. RIVERA-RAMIREZ responded, “That’s fine.” On the same date, at 9:39 p.m.,
RIVERA-RAMIREZ said, “Man, I am waiting on you.” APONTE-LEBRON explained, “I had to
change out trucks and the police were behind me,” and continued, “I am on my way already. Come
downstairs.” RIVERA-RAMIREZ replied, “Okay, I am coming now,” indicating he would again
promptly meet APONTE-LEBRON near 1466A South Union Street to conduct a cocaine
transaction.

GONZALEZ-COLLADO supplies RIVERA-RAMIREZ three ounces of cocaine

254. On August 8, 2019, at 9:49 am., TARGET TELEPHONE 8 (i.e., GONZALEZ-
COLLADO) called TARGET TELEPHONE-4 (i.e., APONTE-LEBRON). During the intercepted
call, GONZALEZ-COLLADO said, “Go get the box at Bebe’s [house]. It arrived,” indicating a
cocaine-laden parcel had arrived at SEDA-MARTINEZ’s residence. APONTE-LEBRON
responded, “I will go soon. I am at the storage. I was taking some out for Macho to bring him; I

am only bringing him three, did you hear me? He told me to bring him four,” indicating he was

150
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 143 of 219 Document 1
 

retrieving 3 ounces of cocaine for RIVERA-RAMIREZ. GONZALEZ-COLLADO subsequently
said, “[T]ell him that I only had those three left and a little.”

255. On August 8, 2019, at 10:03 am., TARGET TELEPHONE-4 (i.e., APONTE-
LEBRON) received a call from (414) 514-9650 (i.e., RIVERA-RAMIREZ). During the
intercepted call, RIVERA-RAMIREZ asked, “Are you on your way now or what?” APONTE-
LEBRON replied, “I am about to, in like 10 minutes. I am picking that up,” indicating he was
retrieving the cocaine from storage. RIVERA-RAMIREZ asked, “How many do you have?”
APONTE-LEBRON replied, “I got three, did you hear?” RIVERA-RAMIREZ replied, “That is
fine. Bring them to me,” indicating three ounces of cocaine was acceptable. APONTE-LEBRON
said, “Alright.”

256. On August 8, 2019, at 10:43 am., TARGET TELEPHONE-4 (i.e., APONTE-
LEBRON) called (414) 514-9650 (i.e., RTIVERA-RAMIREZ). During the intercepted call,
RIVERA-RAMIREZ asked, “Are you outside?” APONTE-LEBRON replied, “One minute and I
will be there,” indicating they would soon conduct the three-ounce cocaine transaction. RIVERA-
RAMIREZ responded, “Alright.”

GONZALEZ-COLLADO supplies RIVERA-RAMIREZ three ounces of cocaine
despite outstanding $3,000 drug debt

257. On August 23, 2019, at 4:21 pm., TARGET TELEPHONE-4 (i.e., APONTE-
LEBRON) received a call from (414) 514-9650 (i.e., RIVERA-RAMIREZ). During the
intercepted call, RIVERA-RAMIREZ said, “Bring me three or four,” indicating he wanted three
to four ounces of cocaine. APONTE-LEBRON said, “Alright then.” RIVERA-RAMIREZ said,
“T talked to Cheito. I sent him a message,” indicating he already apprised GONZALEZ-
COLLADO about his request for three to four ounces of cocaine. APONTE-LEBRON said,

“Okay.”

151
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 144 of 219 Document 1
258. On August 23, 2019, at 4:22 p.m., TARGET TELEPHONE-4 (i.e., APONTE-
LEBRON) called TARGET TELEPHONE-8 (i.e. GONZALEZ-COLLADO). During the
intercepted call, APONTE-LEBRON asked, “(Has Macho checked in with you?” GONZALEZ-
COLLADO replied, “No.” APONTE-LEBRON said, “For me to take him four . . . he is crazy!”
GONZALEZ-COLLADO reiterated, “No, he did not talk to me, man!” APONTE-LEBRON
subsequently said, “He is supposed to give me 3,000,” indicating RIVERA-RAMIREZ owed a
$3,000 drug debt. GONZALEZ-COLLADO responded, “Tell him exactly like that. ‘Do you have
the three thousand bucks?’ And tell him, ‘Macho, it’s not that I don’t want to give you, it’s not.’
Yeah, fucker, you have to tell him, ‘You have to give me the money,”” and ask him if he has the
money.” APONTE-LEBRON said, “I’m going to tell him, ‘The most I can bring you is two, man,
and I need the 3,000 because I have to pay that money today.” GONZALEZ-COLLADO
subsequently said, “Tell him you can give him three, but that he has to give you the 3,000 bucks.
Tell him exactly like that, that is it!” Based upon their training, experience, and familiarity with
the investigation, case agents believe GONZALEZ-COLLADO agreed to supply RIVERA-
RAMIREZ with three ounces of cocaine provided that RIVERA-RAMIREZ paid his $3,000 drug
debt.

259. On August 23, 2019, at 6:16 p.m., TARGET TELEPHONE-4 (i.e., APONTE-
LEBRON) received a call from (414) 514-9650 (i.e., RIVERA-RAMIREZ). During the
intercepted call, RIVERA-RAMIREZ asked, “How much are you going to bring me?” APONTE-
LEBRON replied, “Three,” indicating he would provide RIVERA-RAMIREZ with three ounces
of cocaine per GONZALEZ-COLLADO’s instructions. On the same date, at 6:29 p.m., TARGET
TELEPHONE-4 (1.e., APONTE-LEBRON) called (414) 514-9650 (1e., RIVERA-RAMIREZ).

During the intercepted call, RIVERA-RAMIREZ asked, “You in front?” APONTE-LEBRON

152
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 145 of 219 Document 1
replied, “Yes.” RIVERA-RAMIREZ said, “I am coming now,” indicating he would promptly

meet APONTE-LEBRON near 1466A South Union Street to conduct the cocaine transaction.

Rafael RIVERA-HERNANDEZ

260. Rafael RIVERA-HERNANDEZ (a/k/a Rafa) is an Hispanic male born on April 11,
1985. He resides at 2179 South 14" Street, Milwaukee, Wisconsin, in the rear, upper unit,
accessible by a rear exterior stairwell. This has been confirmed by investigation and surveillance.
Between June 20 and December 27, 2019, over 126 intercepted communications have occurred
between RIVERA-HERNANDEZ, utilizing (414) 213-7590 and DTO Target Telephone numbers
that were deemed criminal and pertinent in nature. The investigation to date has revealed that
RIVERA-HERNANDEZ is a mid-level distributor of cocaine for the DTO. The utilities for this
residence are in the name Rafael RIVERA."

RIVERA-HERNANDEZ brokered an eight ounce cocaine transaction between Hector
Yamil RODRIGUEZ-RODRIGUEZ and an unknown third party

261. On October 6, 2019, a series of phone calls occurred between Hector Yamil
RODRIGUEZ-RODRIGUEZ, Rafael RIVERA-HERNANDEZ and Jose GONZALEZ-
COLLADO. During one such call, RIVERA-HERNANDEZ, using (414) 213-7590, brokered an
eight ounce cocaine deal between an unknown third party and GONZALEZ-COLLADO (i.e.
TARGET TELEPHONE-9). RIVERA-HERNANDEZ stated, “Cock sucker, the guy ... [U/T] is
here right now, man.” GONZALEZ-COLLADO responded, “Tell me ... The guy.” RIVERA-
HERNANDEZ replied, “Yes, dude. He only wants eight because he doesn’t have enough money.”

RIVERA-HERNANDEZ further related that he called “Viejo (APONTE-LEBRON) and “Viejo

 

14 See also the September 25, 2019, intercepted communication of Keven TORRES-BONILLA regarding the
participation and DTO role of RIVERA-HERNANDEZ.

; ; 153
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 146 of 219 Document 1
stated he did not have any cocaine. GONZALEZ-COLLADO stated, “No, Pll call — Pll call Yamil
right now because he has of mine.” Case agents are also aware that RODRIGUEZ-RODRIGUEZ
and GONZALEZ-COLLADO have a partnership in distributing narcotics so it is a common
practice that if one of the two is out or low on narcotics that they would turn to the other for
narcotics.

262. Later, on October 6, 2019, at 12:03 p.m., GONZALEZ-COLLADO (i.e. TARGET
TELEPHONE-9) called RIVERA-HERNANDEZ back at (414) 213-7590 stating, “This cock
sniffer, Yamil, is not answering the fucking phone.” ,RIVERA-HERNANDEZ responded, “Man,
fucker, from Waukegan.” GONZALEZ-COLLADO replied, “Damn man.” RIVERA-
HERNANDEZ exclaimed, “Fuck! Is there any other way of getting in touch with that fucker?”
GONZALEZ-COLLADO told RIVERA-HERNANDEZ to hold on while he called Hector Yamil
RODRIGUEZ-RODRIGUEZ’s, brother, Vladimir RODRIGUEZ-RODRIGUEZ.

263. Later, on October 6, 2019, at 12:06 p.m., GONZALEZ-COLLADO (i.e. TARGET
TELEPHONE-9) called Vladimir RODRIGUEZ-RODRIGUEZ (i.e. TARGET TELEPHONE-6).
GONZALEZ-COLLADO stated, “I’m trying to reach Yamil the cock sniffer. I have eight ounces
sold already and Yamil, the cock sniffer, is not answering the phone, fucker.” GONZALEZ-
COLLADO instructed Vladimir RODRIGUEZ-RODRIGUEZ, “Go get them. If you go get them
and take them to Rafa, I'll give you a $100.” Vladimir RODRIGUEZ-RODRIGUEZ informed
GONZALEZ-COLLADO that he was not in possession of any cocaine. GONZALEZ-COLLADO
stated, “Fucker, they’re at Yamil’s house. Did you hear me?” Vladimir RODRIGUEZ-
RODRIGUEZ indicated he would try to make contact with Yamil RODRIGUEZ-RODRIGUEZ.
GONZALEZ-COLLADO then called RIVERA-HERNANDEZ back and explained to RIVERA-

HERNANDEZ that if RIVERA-HERNANDEZ had have given GONZALEZ-COLLADO a days’

154
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 147 of 219 Document 1
 

 

notice, GONZALEZ-COLLADO would have had the eight ounces of cocaine ready for RIVERA-
HERNANDEZ’s narcotics transaction.

264. Later on October 6, 2019, at 12:15 p.m., GONZALEZ-COLLADO (i.e. TARGET
TELEPHONE-9) called Vladimir RODRIGUEZ-RODRIGUEZ. During the call, Vladimir
RODRIGUEZ-RODRIGUEZ indicated that he was unable to make contact with Yamil
RODRIGUEZ-RODRIGUEZ. Vladimir RODRIGUEZ-RODRIGUEZ stated, RODRIGUEZ-
RODRIGUEZ is at “Katiria’s house.” Based upon their training, experience, and familiarity with
the investigation, case agents know “Katiria” is Katiria PEREZ-GONZALEZ, whom case agents
believe is in a relationship with Yamil RODRIGUEZ-RODRIGUEZ. GONZALEZ-COLLADO
replied, “Man, fucker. There’s a guy from Waukegan at Rafa’s house. He came from Waukegan
to pick up eight ounces.” Vladimir RODRIGUEZ-RODRIGUEZ stated he would keep trying to
make contact with Yamil RODRIGUEZ-RODRIGUEZ.

265. Later on October 6, 2019 12:52 p.m., GONZALEZ-COLLADO (i.e. TARGET
TELEPHONE-9) called RIVERA-HERNANDZ, stating that APONTE-LEBRON went to Hector
Yamil RODRIGUEZ-RODRIGUEZ’ residence and picked up the eight ounces. RIVERA-
HERNANDEZ asked, “Hey, for the eight, should I give him for the same price.” GONZALEZ-
COLLADO replied, “Ask his for eight [i.e. $8,000 ($1,000 per ounce of cocaine)] and I'll give
you $500.” Based upon their training, experience, and familiarity with the investigation, case
agents believe GONZALEZ-COLLADO sells cocaine for $1,000 dollars an ounce for a total of
$8,000 and that GONZALEZ-COLLADO agreed to pay RIVERA-HERNANDEZ a total of $500

for brokering the deal.

Case 2:20-mj-00822-WEC Filed o2ik}30 Page 148 of 219 Document 1
RIVERA-HERNANDEZ obtained 12 ounces of heroin from
GONZALEZ-COLLADO for resale

266. Later on October 6, 2019 1:38 p.m., RIVERA-HERNANDEZ, using (414) 213-
7590, received a call from GONZALEZ-COLLADO (i.e. TARGET TELEPHONE-9). During the
call, RIVERA-HERNANDEZ advised GONZALEZ-COLLADO that the same unknown male
from Waukegan wanted to return to Milwaukee for “18.” GONZALEZ-COLLADO confirmed
this amount by saying, “That’s halfa board.” Based upon their training, experience, and familiarity
with the investigation, case agents believe “half a board” refers to a half kilogram of cocaine.
RIVERA-HERNANDEZ asked GONZALEZ-COLLADO to put aside a half-kilogram of cocaine
so it would be ready for the unknown male on Saturday, October 12, 2019. RIVERA-
HERNANDEZ continued that is was “for sure,” and that if GONZALEZ-COLLADO wanted he
could bring the half kilogram of cocaine to him on Friday, October 11, 2019, and he would store
it.

267. Later on October 6, 2019, at 3:43 p.m., GONZALEZ-COLLADO (i.e. TARGET
TELEPHONE-9) spoke to Hector Yamil RODRIGUEZ-RODRIGUEZ (i.e. TARGET
TELEPHONE-6), and explained that he removed eight “Zetas” from his residence and provided it
to the guy from Chicago. Based upon their training, experience, and familiarity with the
investigation, case agents believe “Zetas” refers to an ounce of a controlled substance.

RIVERA-HERNANDEZ purchased a firearm for GONZALEZ-COLLADO

268. As another example, on October 26, 2019, RIVERA-HERNANDEZ, using (414)
213-7590, called GONZALEZ-COLLADO (i.e. TARGET TELEPHONE-9), and described an
apparent firearm that an unknown third party was selling. RIVERA-HERNANDEZ described the
firearm as, “16 inches the cannon.” Based upon their training, experience, and familiarity with the

investigation, case agents believe “16 inches the cannon” is referring to the barrel length of a long-

156
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 149 of 219 Document 1
gun (rifle). RIVERA-HERNANDEZ stated, “It has papers and everything. He wants nine for it.
With the case, with a box of bullets and everything.” Based upon their training, experience, and
familiarity with the investigation, case agents believe, RIVERA-HERNANDEZ explained to
GONZALEZ-COLLADO that the firearm had proper documentations and registration. RIVERA-
HERNANDEZ told GONZALEZ-COLLADO the unknown third party is looking to sell the
firearm of $900 in U.S. Currency. GONZALEZ-COLLADO replied, “That only cost 500 bucks
new, dude. At the armory dude, if it has some pieces it could cost ... 300 bucks, dude.”
GONZALEZ-COLLADO stated he would not purchase the firearm for $900. RIVERA-
HERNANDEZ asked, “How much would you give for it, then.” GONZALEZ-COLLADO
replied, “Seven.” RIVERA-HERNANDEZ is heard on the intercepted call communicating with
an unknown third party, and stating, “Hey dude, he offers seven for it right now, bullets and all
included.”, RIVERA-HERNANDEZ then returned to GONZALEZ-COLLADO and stated, “He
said ‘yes,’ Gordo, do you want to come get it now?” GONZALEZ-COLLADO later informed
RIVERA-HERNANDEZ that he would come over and pick-up the firearm.

269. On November 8, 2019, at 1:46 p.m., RIVERA-HERNANDEZ, using (414) 213-
7590, called GONZALEZ-COLLADO (i.e. TARGET TELEPHONE-9), and stated he had “half
an onion” sold. Based upon their training, experience, and familiarity with the investigation, case
agents believe “half an onion” refers to a half ounce of cocaine. GONZALEZ-COLLADO replied,
“Oh [U/I] later, fucker.” RIVERA-HERNANDEZ stated, “Around what time?” and GONZALEZ-
COLLADO advised, “I’m waiting for that.” RIVERA-HERNANDEZ stated he would call
“Viejo,” (i.e. APONTE-LEBRON) later that day to attempt to obtain the half ounce of cocaine.
Based upon their training, experience, and familiarity with the investigation, case agents believe

RIVERA-HERNANDEZ had a buyer prepared to purchase the half ounce of cocaine from

Case 2:20-mj-00822-WEC Filed 02/18/40 Page 150 of 219 Document 1
RIVERA-HERNANDEZ. Case agents further believe RIVERA-HERNANDEZ planned on
obtaining the half ounce of cocaine from “Viejo” (i.e. APONTE-LEBRON), who distributes

cocaine and illicit substances for GONZALEZ-COLLADO.
Two kilograms of cocaine were stolen from RIVERA-HERNANDEZ

270. On December 19, 2019, a series of phone calls occurred between Rafael RIVERA-
HERNANDEZ and Jose GONZALEZ-COLLADO. RIVERA-HERNANDEZ brokered a two (2)
kilogram cocaine deal between an unknown third party “Rudy,” and two unknown black males.
The cocaine was supplied by GONZALEZ-COLLADO, On December 19, 2019, at 6:27 p.m.,
RIVERA-HERNANDEZ called GONZALEZ-COLLADO and _ stated, ‘“What’s up?”
GONZALEZ-COLLADO responded, “I’m going now. I’m over here picking it up.” RIVERA-
HERNANDEZ replied, “Alright dude. ’'m with him. ’m here with him.” GONZALEZ-
COLLADO asked, “But, does he have the money and everything?” RIVERA-HERNANDEZ
advised, “No [An aside: At what time is the guy coming?] He will be home at 7:30 p.m.”
GONZALEZ-COLLADO instructed RIVERA-HERNANDEZ, “Take the short one [gun] if those
people don’t come through.” RIVERA-HERNANDEZ told GONZALEZ-COLLADO to “relax”
and GONZALEZ-COLLADO asked “Who are you with, Rudy?” RIVERA-HERNANDEZ
replied, “Yes,” confirming that RIVERA-HERNANDEZ was brokering the cocaine transaction
with the unknown subject “Rudy.” RIVERA-HERNANDEZ advised that the other unknown male
was on his way to RIVERA-HERNANDEZ’s location, later determined to be at or near RIVERA-
HERNANDEZ’s residence. GONZALEZ-COLLADO further advised RIVERA-HERNANDEZ,
“T don’t trust them people, fucker. I was told something about them dude.” RIVERA-
HERNANDEZ again advised GONZALEZ-COLLADO to “relax, dude. You know how J is. I will

take care of it. Take it to the house. I will take care of it.” Based upon their training, experience,

Case 2:20-mj-00822-WEC Filed oFi$/20 Page 151 of 219 Document 1
and familiarity with the investigation, case agents believe RIVERA-HERNANDEZ had a cocaine
deal brokered with “Rudy” and what was later determined to be two unknown black males. Case
agents further believe RIVERA-HERNANDEZ and “Rudy” were prepared to sell what was later
determined to be two kilogram quantities of cocaine two the unknown black males, which was
supplied by GONZALEZ-COLLADO and delivered to RIVERA-HERNANDEZ’s residence.

271. Later, on December 19, 2019, at 7:35 p.m., GONZALEZ-COLLADO (i.e.
TARGET TELEPHONE-9) called RIVERA-HERNANDEZ back stating, “Tell me man.”
RIVERA HERNANDEZ advised, “The guy is coming over. He texted. He is about to pull up.”
GONZALEZ-COLLADO advised “I am _ waiting,’ and HERNANDEZ-RIVERA | told
GONZALEZ-COLLADO, “I will call you when I have it in my hand.” Based upon their training,
experience, and familiarity with the investigation, case agents believe RIVERA-HERNANDEZ
had obtained the cocaine from GONZALEZ-COLLADO and that RIVERA-HERNANDEZ would
contact GONZALEZ-COLLADO at the conclusion of the cocaine transaction, once RIVERA-
HERNANDEZ obtained the narcotics proceeds.

272. Later, on December 19, 2019 8:02 p.m., GONZALEZ-COLLADO (i.e. TARGET
TELEPHONE-9) engaged in a series of telephone calls with an unknown male named “Melvin,”
using telephone number (414) 933-3361. During the calls, GONZALEZ-COLLADO advised
“Faggot, those fuckers robbed Rafa.” “Melvin” asked, “From one whole?” GONZALEZ-
COLLADO replied, “Man from two, fucker.” In a subsequent call, “Melvin” asked GONZALEZ-
COLLADO, “Do you not talk to Rudy?” GONZALEZ-COLLADO replied, “No. I don’t talk to
that guy; I only go through Rafa. Faggot!” Based upon their training, experience, and familiarity
with the investigation, case agents believe RIVERA-HERNANDEZ and “Rudy” were robbed by

the two black males, during the cocaine transaction at or near RIVERA-HERNANDEZ’s

Case 2:20-mj-00822-WEC_ Filed 02/18/30 Page 152 of 219 Document 1
residence. During the calls, GONZALEZ-COLLADO asked “Melvin” for assistance in attempts
to identify the two black males who robbed RIVERA-HERNANDEZ of the two kilograms of
cocaine, and to retrieve the cocaine. Case agents are further aware that the term “whole one” refers
to a kilogram of cocaine.

273. Later, on December 19, 2019, at 8:44 p.m., GONZALEZ-COLLADO (ae.
TARGET TELEPHONE-9), spoke with Jomar LABOY-SILVA (i.e. (414) 888-3328) in regard to
the robbery of the two kilograms of cocaine. During the conversation, GONZALEZ-COLLADO
told LABOY-SILVA “Give me those rifles [U/I]. Man...but, get to work now, man.” LABOY-
SILVA inquired what had happened and GONZALEZ-COLLADO advised, “They robbed Rafa
with two kilos there.” LABOY-SILVA asked, “Who?” GONZALEZ-COLLADO replied, “Some
black people from Waukesha.”

274. On December 20, 2019, GONZALEZ-COLLADO (i.e. TARGET TELEPHONE-
9) placed a series of telephone calls to RIVERA-HERNANDEZ, and “Melvin,” an unknown male.
During one of the calls, an unknown male provided information to GONZALEZ-COLLADO to
include the possible identification of one of the unknown black males, allegedly involved in the
robbery of the two kilograms of cocaine from RIVERA-HERNANDEZ that occurred on the
preceding day. Fearing retaliation and violence, case agents devised a plan to thwart any possible
acts of violence by making contact with RIVERA-HERNANDEZ, under the guise of investigating
an anonymous complaint regarding retaliation and gun violence at RIVERA-HERNANDEZ’s
residence.

275. On the evening of December 20, 2019, at approximately 7:48 p.m., members of
North Central HIDTA and the Milwaukee Police Department responded to 2179 South 14” Street,

Milwaukee, Wisconsin, in an effort to make contact with RIVERA-HERNANDEZ. Prior to

; 160
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 153 of 219 Document 1
 

making contact at the residence, law-enforcement were provided with a series of photographs
depicting RIVERA-HERNANDEZ. Upon arrival, Milwaukee police officers made contact with
RIVERA-HERNANDEZ outside of the residence, near the rear stairwell which leads directly to
the rear/upper unit at 2179 South 14 Street, Milwaukee, Wisconsin. Officers advised RIVERA-
HERNANDEZ of an anonymous complaint regarding reports of potential retaliation and gun
violence at the residence. RIVERA-HERNANDEZ denied any knowledge of criminal activity;
however, RIVERA-HERNANDEZ provided his name of Rafael RIVERA-HERNANDEZ, an
address of 2179 South 14™ Street, and telephone number (414) 213-7590 (the same telephone
number intercepted during the investigation). After the officers’ conversation with RIVERA-
HERNANDEZ concluded, one of the officers observed RIVERA-HERNANDEZ walk up the rear,
exterior stairs, towards the entry door to the rear upper unit at the address. While police and
RIVERA-HERNANDEZ talked, “Melvin” called GONZALEZ-COLLADO (ic. TARGET
TELEPHONE-9) and advised, “There’s like 15 cops outside of his house.” During a subsequent
call, “Melvin” advised GONZALEZ-COLLADO, “It is too late,” and told GONZALEZ-
COLLADO that RIVERA-HERNANDEZ had opened the door of his residence and was speaking
to the police. After the officers made contact with RIVERA-HERNANDEZ, the officers confirmed
the individual with whom they spoke at the aforementioned residence was in fact RIVERA-
HERNANDEZ.

276. Later on that evening, a case agent acting in an undercover capacity, made
telephonic contact with RIVERA-HERNANDEZ, at telephone number (414) 213-7590. The case
agent identified himself to RIVERA-HERNANDEZ as a Milwaukee Police Department detective,
assigned to the robbery/violent crimes unit. The case agent inquired whether he was speaking with

Rafael RIVERA-HERNANDEZ and the user of the telephone confirmed he was RIVERA-

Case 2:20-mj-00822-WEC Filed 021s Page 154 of 219 Document 1
HERANDEZ, and that he resided at 2179 South 14" Street, Milwaukee. During the telephone
conversation, the case agent, acting as the Milwaukee Police Department detective, advised
RIVERA-HERNANDEZ that another anonymous caller had reported retaliation and gun violence
involving “Rafa” and another person named “Rudy,” at the same residence located at 2179 South
14" Street. During the call the case agent noticed that RIVERA-HERNANDEZ sounded nervous,
and stuttered in response to questions. RIVERA-HERNANDEZ spoke fluent English and advised
the case agent that he neither knew “Rudy” nor did he have any information related to violence.
The case agent asked RIVERA-HERNANDEZ if he (RIVERA-HERNANDEZ) used the
nickname “Rafa,” to which RIVERA-HERNANDEZ replied, “No.” RIVERA-HERNANDEZ
informed the case agent that he was a law-abiding citizen who lived at the residence with his
family. RIVERA-HERNANDEZ was instructed to call 911 to report any violence. The case agent
warmed RIVERA-HERANNDEZ that if RIVERA-HERNANDEZ was involved in any illegal
activity that the police were going to be provided all the information by the anonymous caller.
After the case agent concluded the call with RIVERA-HERNANDEZ, RIVERA-HERNANDEZ
called GONZALEZ-COLLADO (i.e. TARGET TELEPHONE-9) and advised that the “black
guys” were “snitching.” GONZAELZ-COLLADO told RIVERA-HERNANDEZ to break his
phone, fearing that the police may be investigating RIVERA-HERNANDEZ and other members
of the DTO.
Ricardo BONILLA

277. Ricardo BONILLA is an Hispanic male born on September 19, 1971. He resides at

725 South 28" Street, Milwaukee, Wisconsin. Between June 20, 2019 and December 27, 2019,

over 65 intercepted communications have occurred between BONILLA utilizing (414) 708-8978

; ; 16
Case 2:20-mj-00822-WEC Filed o28B)20 Page 155 of 219 Document 1
 

and DTO Target Telephone numbers that were deemed criminal and pertinent in nature. Ricardo
BONILLA is believed to be a lower level drug distributor for the DTO.
Cocaine laden parcels are shipped from Puerto Rico to BONILLA ’s address

278. On July 9, 2019, case agents learned that a 10-pound 13-ounce suspected drug
parcel was shipped from Anasco, Puerto Rico, to Julio E. Martinez at 725 South 28" Street,
Milwaukee, Wisconsin. Based upon their training, experience, and familiarity with the
investigation, case agents believe that this parcel contained approximately three kilograms of
cocaine. Case agents also believe, based upon the investigation and confirmed by surveillance,
that the address of 725 South 28" Street is where BONILLA resides.

279. On July 22, 2019, a6-pound 15-ounce suspected drug parcel shipped from Aguada,
Puerto Rico, to Miguel Mendez at 725 South 28" Street in Milwaukee, Wisconsin. Based upon
their training, experience, and familiarity with the investigation, case agents believe this parcel
contained approximately one kilogram of cocaine.

280. On August 1, 2019, a 7-pound 0-ounce suspected drug parcel shipped from Rincon,
Puerto Rico, to Luis LORENZO at 725 South 28" Street in Milwaukee, Wisconsin. Based upon
their training, experience, and familiarity with the investigation, case agents also believe that this
parcel contained approximately one kilogram of cocaine.

BONILLA brokered a quarter ounce cocaine transaction and obtained DTO cocaine

281. On August 8, 2019, at 5:28 p.m., intercepted communications between Ricardo
BONILLA and GONZALEZ-COLLADO (i.e. TARGET TELEPHONE 5) occurred. BONILLA
utilized cellular phone number (414) 708-8978. Ricardo BONILLA had brokered a quarter ounce
of cocaine deal between GONZALEZ-COLLADO and an unknown third party. During the call,

GONZALEZ-COLLADO answered the phone and stated, “Hello.” Ricardo BONILLA stated,

Case 2:20-mj-00822-WEC Filed o2/tfs0 Page 156 of 219 Document 1
“Look. Take out — have someone get me that.” GONZALEZ-COLLADO asked, “Who is it?”
Ricardo BONILLA replied, “The seven — Ricky.” GONZALEZ-COLLADO exclaimed, “Ah
fucker! You have to wait. I’ with the old guy. We are over by Kenosha.” BONILLA asked,
“Alright, call me than. How long should J tell him, about an hour?” GONZALEZ-COLLADO
advised Ricardo BONILLA more like an hour-and-a-half. Based upon their training, experience,
and familiarity with the investigation, case agents believe “the seven” refers to seven grams of
cocaine or a quarter ounce. Case agents also know that when GONZALEZ-COLLADO referred
to the fact he was with “The old guy,” GONZALEZ-COLLADO referred to Marcos APONTE-
LEBRON.

282. Almost two hours later Ricardo BONILLA called GONZALEZ-COLLADO (ie.
TARGET TELEPHONE-S) utilizing cellular phone (414) 708-8978. BONILLA stated, “Gordo,
don’t forget about me.” GONZALEZ-COLLADO replied that he would not forget. GONZALEZ-
COLLADO asked, “Where are you?” Ricardo BONILLA answered, “On 15", where do I see
you?” GONZALEZ-COLLADO replied, “The old guy is looking for that there. I’m going there
to 15", T’ll go get it and drive by.” Based upon their training, experience, and familiarity with the
investigation, case agents believe “on 15” meant the address of Vladimir RODRIGUEZ-
RODRIGUEZ located at 2166 South 15" Street Milwaukee, Wisconsin, a known address and
meeting location for members of the GONZALEZ-COLLADO DTO. Case agents also know that
“Gordo,” is a nickname for GONZALEZ-COLLADO.

283. Sometime later, Ricardo BONILLA placed a follow-up call to GONZALEZ-
COLLADO (i.e. TARGET TELEPHONE: S) utilizing cellular phone number (414) 708-8978.
RICARDO BONILLA stated, “Hey, man. Nothing yet?” GONZALEZ-COLLADO replied,

“He’s getting in. Be attentive in a couple of minutes.” Ricardo BONILLA confirmed with

164
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 157 of 219 Document 1
 

GONZALEZ-COLLADO that he was waiting for APONTE-LEBRON on 15" Street. Based upon
my training, experience, and familiarity with the investigation, I believe Ricardo BONILLA
continued to await APONTE-LEBRON’s arrival at the 15" street location. Approximately thirty
minutes later, GONZALEZ-COLLADO told Ricardo BONILLA, “Go outside. He’s almost
there.” Ricardo BONILLA responded, “I have that already, buddy. Thank you, bro.” Based upon
my training, experience, and familiarity with the investigation, I believe APONTE-LEBRON had
delivered the cocaine to RICARDO BONILLA.

284. On September 4, 2019, a 7-pound 5-ounce suspected drug parcel was shipped from
Sabana Grande, Puerto Rico, to Jose L. RIVERA at 725 South 28" Street in Milwaukee,
Wisconsin. Based upon their training, experience, and familiarity with the investigation, case
agents believe this parcel contained approximately one kilogram of cocaine.

285. On September 6, 2019, the Greenfield Police Department conducted a traffic stop
of Ricardo BONILLA who was driving a 2007 White Nissan Sentra (VIN no.
3N1AB61E37L726186, Wisconsin Plate no. AFZ2998). BONILLA is the registered owner of the
vehicle. During the stop, BONILLA provided his cellular phone number as (414) 708-8978.

286. On October 1, 2019, BONILLA, utilizing cellular phone number (414) 708-8978,
asked GONZALEZ-COLLADO (i.e. TARGET TELEPHONE-5), “Hey, did you get work.”
GONZALEZ-COLLADO responded, “I don’t have any yet, fucker.” BONILLA stated, “What do
you mean?” GONZALEZ-COLLADO, replied, “A week.” BONILLA stated, “Fuck. Trying to
see what to do. Broke. Looking for money.” GONZALEZ-COLLADO advised BONILLA that
things are bad at the current time. BONILLA responded, “Alright. Well, I have to keep looking
because my cousin is driving me crazy. I’m looking for an onion. Do you have one? Give me

one.” GONZALEZ-COLLADO replied, “I don’t have any. If I had any...” BONILLA conceded

Case 2:20-mj-00822-WEC Filed o2/ko Page 158 of 219 Document 1
by responding, “Alright. I will keep blowing people’s phones up because I’m looking for some.”
Based upon my training, experience, and familiarity with the investigation, I believe BONILLA
was looking to purchase cocaine, an “onion,” which case agents know is a code word for an ounce
of cocaine for his cousin.

287. On December 1, 2019, at 9:26 p.m., Ricardo BONILLA called Hector Yamil
RODRIGUEZ-RODRIGUEZ (i.e. TARGET TELEPHONE-6). BONILLA asked, “Hey do you
have a seven there? So, I can go and get it?” Based upon their training, experience, and familiarity
with the investigation, case agents BONILLA asked Yamil RODRIGUEZ-RODRIGUEZ for
ounce of cocaine, or seven grams.

Ricardo BONILLA and Hector Yamil RODRIGUEZ-RODRIGUEZ
receive a cocaine-laden parcel

288. On December 12, 2019, investigators conducted surveillance at 2900 South 16"
Street, Milwaukee, Wisconsin, where the U.S. Postal Service was scheduled to deliver a suspected
cocaine-laden parcel mailed from San Antonio, Puerto Rico. Based on the package’s place of
origin and its weight, case agents believed the package contained approximately one kilogram of
cocaine. At 10:37 a.m., investigators observed a mail carrier deliver a white USPS parcel. At
11:18 a.m., a gold Ford Taurus (WI: 478-ZKF) arrived at the address and parked in the driveway.
The unidentified occupant of the vehicle retrieved a white USPS parcel from a person inside the
residence. On the same date, at approximately 2:50 p.m., investigators established surveillance at
2730 South 10" Street, Milwaukee, Wisconsin. At approximately 3:08 p.m., a white Toyota
Corolla (WI: AFZ2998) arrived at 2730 South 10th Street. Investigators observed Ricardo
BONILLA and Hector Yamil RODRIGUEZ-RODRIGUEZ exit the Toyota. As they were exiting
the vehicle, the gold Ford Taurus (WI: 478ZKF) pulled up next to them. Hector Yamil

RODRIGUEZ-RODRIGUEZ walked to the passenger side of the Ford and retrieved a white USPS

166
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 159 of 219 Document 1
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parcel from inside that vehicle. Investigators subsequently observed both Hector Yamil
RODRIGUEZ-RODRIGUEZ and Ricardo BONILLA enter 2730 South 10" Street with the white
USPS parcel. Based upon their training, experience, and familiarity with the investigation, case
agents believe Hector Yamil RODRIGUEZ-RODRIGUEZ and Ricardo BONILLA received a
cocaine-laden parcel from San Antonio, Puerto Rico (i.e., a location where QUINONES-RIOS has
mailed known or suspected cocaine-laden parcels), which they brought inside 2730 South 10
Street, Milwaukee, Wisconsin.

Jose BURGOS-RIVERA

289, Jose BURGOS-RIVERA (aka Chino) is an Hispanic male born on September 13,
1977. He facilitates and receives drug-laden parcels on behalf of GONZAELZ-COLLADO and
the DTO. BURGOS-RIVERA has utilized telephone numbers (414) 380-9415, (414) 554-4849
and (414) 335-7518. Between June 20, 2019, and December 27, 2019, over 20 intercepted
communications have occurred between BURGOS-RIVERA and DTO Target Telephone numbers
that were deemed criminal and pertinent in nature.

BURGOS-RIVERA receives cocaine laden parcels from Puerto Rico on behalf of the DTO

290. On October 25, 2018, the U.S. postal service intercepted a suspicious parcel
addressed to “Jose Luis Burgos Rivera,” at the address of 2166 South 15", Street, Milwaukee,
Wisconsin 53215, originating from Hormigueros, Puerto Rico. On October 29, 2018, law-
enforcement attempted to deliver the parcel to 2166 South 15" Street; however, no one retrieved
it. A postal employee left a notice in the mailbox directing the parcel’s intended recipients to
contact the USPS to claim the parcel. On October 30, 2019, an unidentified male went into the
main Post Office located at 345 West Saint Paul Avenue, Milwaukee, Wisconsin, in an attempt to

retrieve the undelivered parcel. The unidentified male (now believed to be BURGOS-RIVERA)

Case 2:20-mj-00822-WEC Filed o2/t8/bo Page 160 of 219 Document 1
provided the USPS employee with his contact number for the undelivered parcel. The phone
number (414) 380-9415 (discussed Infra), was provided to the postal employee as a contact
number in reference to the undelivered parcel. Through the investigation case agents learned that
the telephone number (414) 380-9415 was affiliated with BURGOS-RIVERA, an identified
associate of GONZALEZ-COLLADO. U.S. Postal Inspector (USPS) Tyler Fink called the
number and spoke to a heavily-accented male who agreed to retrieve the parcel, yet the parcel
remained unclaimed. On October 30, 2018, law enforcement searched the parcel pursuant to a
watrant and discovered approximately two kilograms of cocaine.

291. In December, 2018, a confidential source, (i.e., CS-3) positively identified a
photograph of BURGOS-RIVERA as a subject known to CS-3 as “Chino.” CS-3 stated that
BURGOS-RIVERA (a/k/a Chino) has worked with GONZALEZ-COLLADO in the past and has
also been paid by GONZALEZ-COLLADO to obtain narcotics-laden parcels sent from source(s)
of supply in Puerto Rico. CS-3 provided BURGOS-RIVERA's telephone number of (414) 380-
9415. CS-3 was aware of a parcel, intercepted by law enforcement (discussed Supra), which was
mailed to BURGOS-RIVERA. GONZALEZ-COLLADO told CS-3 that GONZALEZ-
COLLADO tracked the parcel and watched the delivery of the parcel from a distance (counter
surveillance). GONZALEZ-COLLADO indicated that he observed law-enforcement in the area
and that the parcel was never retrieved. (GONZALEZ-COLLADO is making reference to the
intercepted parcel mailed to 2166 South 15th St., Milwaukee, Wisconsin and the subsequent two
kilogram cocaine seizure). CS-3 stated that BURGOS-RIVERA is a heroin user and that
GONZALEZ-COLLADO paid BURGOS-RIVERA in the form of heroin to retrieve the narcotic-

laden parcels on behalf of GONZALEZ-COLLADO and the DTO.

168
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 161 of 219 Document 1
292. USPS records have shown the following suspicious parcels, addressed to
BURGOS-RIVERA:

e On 05-06-2019, an 8-pound 7-ounce suspected drug parcel was
shipped from Cabo Rojo, PR to Jose BURGOS of 2246 S 15" Place
in Milwaukee, Wisconsin.

e On 05-29-2019, an 8-pound 12-ounce suspected drug parcel was
shipped from Anasco, PR to Jose BURGOS of 1430 S 4" Street in
Milwaukee, Wisconsin.

e On 06-22-2019, a 7-pound 14-ounce suspected drug parcel was
shipped from San German, PR to Jose BURGOS of 2448 S 14"
Street in Milwaukee, Wisconsin.

e On 07-03-2019, a 10-pound 9-ounce suspected drug parcel was
shipped from Anasco, PR to Jose BURGOS of 1339 W Scott Street
in Milwaukee, Wisconsin.

293. On July 25, 2019, at approximately 11:11 p.m., GONZALEZ-COLLADO, using
TARGET TELEPHONE-S, called (414) 554-4849, used by Jose BURGOS-RIVERA. During the
intercepted call, the parties discussed GONZALEZ-COLLADO preparing to have a narcotics-
laden parcel mailed to BURGOS-RIVERA’s residence. Specifically, GONZALEZ-COLLADO
asked, “Listen Chino, what is your maiden last name?” BURGOS-RIVERA responded, “Burgos-
Rivera.” GONZALEZ-COLLADO explained, “Because I’m going to send a box to your house in
case .... I’m leaving on Sunday, but something is going to be sent and in case I am not here.”
BURGOS-RIVERA replied, “Okay,” and later in the same conversation said, “Yes, Burgos-
Rivera,” confirming the user of the telephone was indeed Jose BURGOS-RIVERA.

294. USPS records have shown the additional suspicious parcels, addressed to
BURGOS-RIVERA:

e On 07-26-2019, a 7-pound 9-ounce suspected drug parcel was shipped
from Cabo Rojo, PR to Jose L. BURGOS at 3255 S 84th Street
(Apartment #3) in Milwaukee, Wisconsin.

e On 08-14-2019, a 5-pound 11-ounce suspected drug parcel was shipped
from Cabo Rojo, PR to Jose L. BURGOS at 1339 W Scott Street in
Milwaukee, Wisconsin.

Case 2:20-mj-00822-WEC Filed 02/1930 Page 162 of 219 Document 1
e On 08-21-2019, a 9-pound 4-ounce suspected drug parcel was shipped
from Cabo Rojo, PR to Jose Luis BURGOS at 2350 S 10th Street in
Milwaukee, Wisconsin.

e On 10-11-2019, a 10-pound 1-ounce suspected drug parcel was
shipped from Las Marias, PR to Jose BURGOS of 2426 S 9" Place
in Milwaukee, Wisconsin.
e On 10-11-2019, a 10-pound 1-ounce suspected drug parcel was
shipped from Las Marias, PR to Jose BURGOS of 2426 S 9" Place
in Milwaukee, Wisconsin.
295. On September 14, 2019, at approximately 1:07 p.m., TARGET TELEPHONE-9,
(i.e. GONZALEZ-COLLADO), placed an intercepted call to BURGOS-RIVERA, using (414)
554-4849. During the call, the parties greeted. GONZALEZ-COLLADO asked BURGOS-
RIVERA, “Chino, what are you doing?” BURGOS-RIVERA responded, “Nothing” and
GONZALEZ-COLLADO stated, “Get a bag ready, in case [U/I] you are leaving to Philadelphia
with me today.” BURGOS-RIVERA responded, “Alright man” and “Let me know.” At
approximately 4:50 p.m., in a subsequent intercepted conversation, GONZALEZ-COLLADO
advised BURGOS-RIVERA that BURGOS-RIVERA could park his vehicle at Stadium Self
Storage, 4000 W Burnham Street, Milwaukee, Wisconsin, while the two traveled to Philadelphia.
E-911 data/ping data on TARGET TELEPHONE-9 confirmed GONZALEZ-COLLADO and
BURGOS-RIVERA traveled to Philadelphia, Pennsylvania on September 14, 2019, with a return
to Milwaukee, Wisconsin on September 18, 2019. Based upon their training, experience and
knowledge of the investigation, case agents believe GONZLAEZ-COLLADO had taken multiple
trips to Philadelphia, Pennsylvania to both obtain large quantities of heroin, and for the collection
of drug proceeds, on behalf of Roberto ORENCH-FELICIANO, and had done so again.
296. On September 25, 2019, at approximately 3:14 p.m., BURGOS-RIVERA, using

(414) 335-7518, placed an intercepted call to TARGET TELEPHONE-Y, (i.e. GONZALEZ-

COLLADO). During the call, GONZAEZ-COLLADO greeted BURGOS-RIVERA by stating,

170
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 163 of 219 Document 1
“What’s up Chino?” BURGOS-RIVERA later responded, “Save me, man. I’m sick.” Based upon
their training, experience and knowledge of the investigation, case agents believe BURGOS-
RIVERA requested illicit substances and was suffering from narcotics withdrawal symptoms.
GONZALEZ-COLLADO responded, “I’m working, man. I can’t pay attention to you guys now.
I’m working. I’1] call you later.”

297. On September 27, 2019, at approximately 7:04 p.m., BURGOS-RIVERA, using
(414) 554-4849, placed an intercepted call to TARGET TELEPHONE-Y, (i.e. GONZALEZ-
COLLADO). During the call, GONZAEZ-COLLADO greeted BURGOS-RIVERA by stating,
“What’s up Chino?” BURGOS-RIVERA stated, “Hey, Gordo! [U/l], man.” GONZALEZ-
COLLADO advised, “Hey, Chino, I’m really screwed. If you only knew...” GONZALEZ-
COLLADO stated, “I’m fucking screwed, Chino, man.” BURGOS-RIVERA asked, “What
happened?” and GONZLAEZ-COLLADO advised “Fucker, [U/I] one of those boxes, fucker.
Man, it rough, faggot.” BURGOS-RIVERA asked, “The one you sent?” and GONZALEZ-
COLLADO advised, “One that was sent and one that I sent, fucker.” BURGOS-RIVERA asked,
“They got taken?” GONZALEZ-COLLADO replied, “It seems man.” Based upon their training
experience and knowledge of the investigation, case agents believe that GONZALEZ-COLLADO
is concerned about a narcotics-laden parcel that has yet to arrive in Milwaukee, and a narcotics
proceeds-laden parcel, sent to source(s) of supply in Puerto Rico, that had not yet reached the

intended destination.

Jomar LABOY-SILVA

298. Jomar LABOY-SILVA is an Hispanic male born on January 14, 1993. He resides
at 5956 North 65th Street, Milwaukee, Wisconsin, and was also associated with the residence

located at 2448 South 14th Street, Milwaukee, Wisconsin, which has been confirmed by

Case 2:20-mj-00822-WEC Filed o2/td/2o Page 164 of 219 Document 1
investigation and surveillance. The investigation to date has revealed Jomar LABOY-SILVA
facilitates the receipt of Milwaukee-bound shipments of cocaine from Puerto Rico for
GONZALEZ-COLLADO. Between June 20, 2019 and December 27, 2019, over 57 intercepted
communications between Jomar LABOY-SILVA utilizing (414) 888-3328 and DTO Target
Telephone numbers have been intercepted that were deemed criminal and pertinent in nature. The
residence of LABOY-SILVA has received multiple suspected drug parcels shipped from Puerto
Rico during the course of this investigation. LABOY-SILVA has been intercepted discussing
distribution amounts of cocaine, and coordinating inbound narcotics parcels. The utilities are in
the name Weishka I. Laboy.

LABOY-SILVA receives cocaine laden parcels from Puerto Rico on behalf of the DTO

299. In February and March 2019, telephone number (414) 888-3328 was identified as
having high-volume contact with TARGET TELPHONE-5 (.e., GONZALEZ-COLLADO).
Subpoenaed information for (414) 888-3328 listed Jomar LABOY-SILVA as the subscriber on the
account for telephone number (414) 888-3328 with a subscriber address of 2448 South 14th Street,
Milwaukee, Wisconsin. The name and address were provided to Postal Inspector Fink for further
review. Inspector Fink noted two separate parcels sent to an address previously associated with
LABOY-SILVA, 2448 South 14" Street, Milwaukee, Wisconsin, on January 25, 2019, and
February 11, 2019, respectively. Both packages were sent from Puerto Rico addressed to Jose M.
GONZALEZ at 2448 South 14th Street. Both packages weighed approximately six pounds. Based
upon their training, experience, knowledge of the investigation and seized cocaine parcels, case
agents believe the two packages destined to LABOY-SILVA’s residence were consistent in weight

to one kilogram of cocaine.

172
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 165 of 219 Document 1
 

300. For example, on September 13, 2019, approximately one kilogram of cocaine was
seized from a postal parcel associated with this DTO with an aggregate weight of five pounds, 12
ounces. As another example, on September 20, 20189, approximately one kilogram of cocaine
was seized from a postal parcel associated with this DTO with an aggregate weight of six pounds,
one ounce. Both parcels were shipped from western Puerto Rico (i.e., Cabo Rojo and Hormigueros
which are adjacent cities).

301. On April 5, 2019, a parcel originating from western Puerto Rico was delivered to
2448 South 14" Street, Milwaukee, Wisconsin, and addressed to coconspirator Julio SEDA-
MARTINEZ. According to Wisconsin Department of Transportation records, the destination
location of the parcel, 2448 South 14” Street, was LABOY-SILVA’s previous residence.
According to a law enforcement database and the Wisconsin Department of Transportation,
SEDA-MARTINEZ is not associated with this address. A review of USPS records revealed that
the parcel weighed 4 Ibs. 10 ounces. Based upon this investigation, the weight of the parcel is
consistent with approximately one kilogram of cocaine.

302. On May 17, 2019, a parcel originating from western Puerto Rico was delivered to
LABOY-SILVA’s previous residence at 2448 South 14" Street, Milwaukee, Wisconsin. The
parcel was address to Julio Martinez. According to a law enforcement database and the Wisconsin
Department of Transportation, Julio SEDA-MARTINEZ is not associated with this address. A
review of USPS records revealed that the parcel weighed 8 lbs. 9 ounces. Based upon this
investigation, case agents believe the weight of the parcel is consistent with approximately one
kilogram of cocaine. A review of a USPS surveillance video revealed that this parcel was dropped
off at the Cabo Rojo, Puerto Rico, Post Office by Keishla ORENCH-FELICIANO. U.S. Postal

Services surveillance cameras from several different Puerto Rican post officers have captured

173
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 166 of 219 Document 1
images of ORENCH-FELICIANO shipping 18 different suspicious packages, between May of
2019 to October of 2019, to various addresses in Milwaukee County addressed to various members
of the GONZALEZ-COLLADO DTO (discussed Jnfra).

303. On June 1, 2019, a parcel originating from western Puerto Rico, was delivered to
LABOY-SILVA’s previous residence at 2448 South 14 Street, Milwaukee, Wisconsin. The
parcel was address to Julio Martinez. A review of USPS records revealed that the parcel weighed
8 Ibs. 4 ounces. Based upon this investigation, case agents believe the weight of the parcel is
consistent with approximately one kilogram of cocaine.

304. On June 24, 2019, a parcel originating from western Puerto Rico, was delivered to
LABOY-SILVA’s previous residence at 2448 South 14" Street, Milwaukee, Wisconsin. The
parcel was addressed to Jose Burgos, another member of the GONZALEZ-COLLADO DTO, who,
according to a law enforcement database and the Wisconsin Department of Transportation, is not
associated with this address. A review of USPS records revealed that the parcel weighed 7 lbs. 14
ounces. Based upon this investigation, case agents believe the weight of the parcel is consistent
with approximately one kilogram of cocaine.

305. On August 15, 2019, case agents intercepted a series of calls on TARGET
TELEPHONE-4 between APONTE-LEBRON, GONZALEZ-COLLADO, and LABOY-SILVA.
At approximately 11:59 am., GONZALEZ-COLLADO instructed APONTE-LEBRON to grab
keys so that they could put a car into a storage unit. At 12:08 p.m., GONZALEZ-COLLADO
inquired about APONTE-LEBRON’s location because GONZALEZ-COLLADO planned on
heading to the storage unit. At 12:11 p.m., LABOY-SILVA instructed APONTE-LEBRON to
stay at his current location because he needed to give him (APONTE-LEBRON) keys to give to

GONZALEZ-COLLADO. Case agents believe that the above-discussed keys were either for the

174
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 167 of 219 Document 1
 

storage unit or the vehicle going into the storage unit. At approximately 12:41 p.m., GONZALEZ-
COLLADO advised APONTE-LEBRON that he was already in the storage facility, and he gave
instructions to APONTE-LEBRON on where to go within the facility to find the correct unit.
306. On October 3, 2019, at or about 11:35 a.m., a suspected USPS drug-laden parcel
was delivered to 9917 West Lincoln Avenue in West Allis, Wisconsin. The parcel was sent from
Hormigueros, PR on October 1, 2019. Based upon this investigation, case agents believe the
weight of the package is consistent with approximately two kilograms of cocaine. Accordingly,
at 2:20 p.m., surveillance was conducted at this address by case agents. During surveillance, no
USPS parcel was observed in plain view at the address. At 2:01 p.m., a phone call was intercepted
between Vladimir RODRIGUEZ-RODRIGUEZ and GONZALEZ-COLLADO (i.e. TARGET
TELEPHONE-9) regarding the pending parcel delivery. GONZALEZ-COLLADO instructed
RODRIGUEZ-RODRIGUEZ to pick him up and go with him to retrieve the package. At
approximately 2:27 p.m., case agents observed a white Toyota S.U.V. bearing Wisconsin
registration of ACR3554, drive up to and park in front of the above listed residence. During that
time, the occupant(s) remained inside of the vehicle. At approximately 2:30 p.m., the Toyota
S.U.V. drove from its parked position, into an adjacent parking lot, on the south side of West
Lincoln Avenue. The occupant(s) remained inside the vehicle. A check of the registration through
the Wisconsin Department of Transportation revealed the following: a 2006 Toyota Highlander,
white in color, listed to a Jomar LABOY-SILVA, at 2448a South 14th Street. At approximately
2:36 p.m., a review of location data for TARGET TELEPHONE-9 (GONZALEZ-COLLADO)
revealed that the device was within a 19 meter radius of South 100th Street and West Lincoln
Avenue, Milwaukee, Wisconsin. Based upon their training, experience, and familiarity with the

investigation, case agents believe that the positional data for TARGET TELEPHONE-9 reflects

175
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 168 of 219 Document 1
that GONZALEZ-COLLADO and LABOY-SILVA were together. At approximately 2:40 p.m.,
the Toyota S.U.V drove from the area, west bound on West Lincoln Avenue.

307. Also on October 3, 2019, case agents intercepted a call between APONTE-
LEBRON and GONZALEZ-COLLADO (ie. TARGET TELEPHONE-9). During the call,
APONTE-LEBRON informed GONZALEZ-COLLADO he was going to pay the bills for the
storage unit belonging to GONZALEZ-COLLADO and LABOY-SILVA.

LABOY-SILVA brokered a kilogram transaction and obtained the cocaine from
GONZALEZ-COLLADO

308. On October 8, 2019, at approximately 6:15 p.m., TARGET TELEPHONE-9 (i.e.,
GONZALEZ-COLLADO) placed a call to (414) 888-3328 (i.e., LABOY-SILVA). During the
intercepted conversation, LABOY-SILVA brokered a kilogram of cocaine transaction between
GONZALEZ-COLLADO and an unknown third party, possibly LABOY-SILVA’s cousin.
LABOY-SILVA stated, “Bro, a complete one, the cousin.” GONZALEZ-COLLADO informed
LABOY-SILVA that he has to wait to receive the cocaine by saying, “Well, dude, you got to wait.”
LABOY-SILVA asked the price for the cocaine, “Damn, number?” GONZALEZ-COLLADO
replied, “Well dude, a quarter and a half, ask him 32 [$32,000].” LABOY-SILVA answered, “Oh
no, not like that, with that can’t work with that, you give me a number.” GONZALEZ-COLLADO
changed the price by saying, “Well dude, 31 and a half [$31,500], faggot.” LABOY-SILVA
replied, “Oh, okay then.”

309. On November 4, 2019, case agents intercepted a TARGET TELEPHONE-9 call
between LABOY-SILVA and GONZALEZ-COLLADO. During the call, LABOY-SILVA
advised GONZALEZ-COLLADO that the price of the storage unit increased by $20. LABOY-
SILVA told GONZALEZ-COLLADO that he has a receipt for him as proof so GONZALEZ-

COLLADO can pay for it accordingly.

176
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 169 of 219 Document 1
310. On November 8, 2019, a parcel originating from western Puerto Rico, was
delivered to LABOY-SILVA’s residence 5956 North 56" Street, Milwaukee, Wisconsin.
According to the Wisconsin Department of Transportation records, this address is LABOY-
SILVA’s new residence. The parcel was addressed to Jose L. Rivera, another member of the
GONZALEZ-COLLADO DTO, who, according to a law enforcement database and the Wisconsin
Department of Transportation, is not associated with this address. A review of USPS records
revealed that the parcel weighed 6 lbs. 2 ounces. Based upon this investigation, case agents believe
the weight of the parcel is consistent with approximately one kilogram of cocaine.

311. Lawenforcement conducted surveillance at this residence to document the delivery
of this suspicious parcel. Upon delivery, the USPS letter carrier made contact at the door of 5956
North 56™ Street. Law enforcement observed a heavy built Hispanic male open the door. After
receiving the parcel, the Hispanic male brought the parcel inside the residence, and then closed the
door. A law enforcement officer positively identified this Hispanic male as Jomar LABOY-
SILVA. During the package’s delivery, two vehicles were observed parked and unoccupied
behind the residence, a blue 2003 Toyota SUV (WI: AEV3533), listing to a Weishka LABOY of
2448 South 14th Street and a white 2006 Toyota SUV (WI: ACR3354), listing to Jomar LABOY-
SILVA of 2448A South 14th Street.

312. On November 8, 2019, at approximately 12:24 p.m., GONZALEZ-COLLADO
(i.e., TARGET TELEPHONE-9) placed a call to (414) 501-6426 (ie., Marcos APONTE-
LEBRON). During the intercepted call, GONZALEZ-COLLADO instructed APONTE-LEBRON
to hurry up in retrieving the narcotics because a third party, Jose AVILES-GONZALEZ (a/k/a
“Josema”), was awaiting a half-kilogram of cocaine from one of the narcotic shipments.

GONZALEZ-COLLADO stated, “Viejo (i.e., APONTE-LEBRON) don’t take too long because I

177
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 170 of 219 Document 1
got half a table for Josema.” Later in the same conversation GONZALEZ-COLLADO stated,
“There are three boxes. There is [Audio breaks] and one [Audio breaks] in one box there is one
[and] half. There is half a table that has [Audio breaks].”. GONZALEZ-COLLADO and
APONTE-LEBRON continued the conversation and GONZALEZ-COLLADO instructed,
“Weigh the half because it’s going to have more. You heard me?” APONTE-LEBRON replied,
“Yes, and you know what I’m going to do.”, GONZALEZ-COLLADO asked, “What?” APONTE-
LEBRON answered, “I’m going to buy a new scale...big, and I’m going to cut it in the house to
be quick.” Based upon their training, experience and familiarity with the investigation, case agents
believe APONTE-LEBRON retrieved this parcel from LABOY-SILVA’s residence and was
taking it to weigh and cut a half-kilogram of cocaine so GONZALEZ-COLLADO could provide
the half-kilogram to Jose AVILES-GONZALEZ (a/k/a “Josema”’).

313. Additionally on this same date, November 8, 2019, another parcel originating from
western Puerto Rico, was delivered to 1968 South 8" Street, Milwaukee, Wisconsin. The parcel
was addressed to Julio Martinez, who, according to a law enforcement database and the Wisconsin
Department of Transportation, is not associated with this address. A review of USPS records
revealed that the parcel weighed 8 Ibs. 10 ounces. Based upon this investigation, case agents
believe the weight of the parcel is consistent with approximately two kilograms of cocaine.

314. On November 8, 2019, at approximately 1:30 p.m. law enforcement conducted
surveillance regarding the delivery of this parcel at 1968 South 8 Street. At approximately 1:32
p.m., case agents observed a silver Honda Odyssey (WI/ACR3554) park in front of 1968 South
8th Street. Agents observed LABOY-SILVA exit the Honda Odyssey and enter the residence
through the front door. At approximately 2:10 p.m., a USPS carrier delivered the parcel containing

suspected cocaine to 1968 South 8th Street. At 2:11 p.m., agents observed LABOY-SILVA leave

178
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 171 o0f 219 Document 1
 

the house and place a small package in the Honda Odyssey. At 2:16 p.m., LABOY-SILVA
approached the USPS carrier who handed LABOY-SILVA a larger USPS box. LABOY-SILVA
placed the larger box in the Honda Odyssey. At 3:02 p.m., LABOY-SILVA parked in the alley
behind 1968 South 8th Street and met with APONTE-LEBRON. Shortly thereafter, LABOY-
SILVA and APONTE-LEBRON left the alley in their respective vehicles.

315. OnNovember 8, 2019, at approximately 1:48 p.m., GONZALEZ-COLLADO (.e.,
TARGET TELEPHONE-9) received a call from (414) 501-6426 (i.e., APONTE-LEBRON).
During the intercepted conversation APONTE-LEBRON stated, “There’s some missing.”
GONZALEZ-COLLADO asked, “Missing what?” APONTE-LEBRON replied, “A little bit, like
two grams.” GONZALEZ-COLLADO asked, “Is there one and a half?” APONTE-LEBRON
responded, “There’s only one there.” GONZALEZ-COLLADO inquired, “How much it weighs?”
APONTE-LEBRON replied, “999.99.” Based upon their training, experience, and familiarity with
the investigation, case agents believe APONTE-LEBRON weighed the cocaine from the postal
shipments retrieved earlier that day, including the parcel which was delivered to LABOY-SILVA’s
residence, and it was short several grams of cocaine.

316. OnSeptember 24, 2019, a person identifying himself as Jomar M. LABOY-SILVA
submitted Postal Service Form 3575 to officially change his residence. LABOY-SILVA requested
stopped the mail to his old address of 2448 South 14 Street, Upper, Milwaukee Wisconsin 53215
and instead sent the mail to his new address, 5956 North 65" Street, Milwaukee, Wisconsin 53218.

317. OnNovember 25, 2019, case agents served a subpoena on Devon Self Storage. An
examination of the records revealed that on May 2, 2019, LABOY-SILVA rented storage unit
number “015.” LABOY-SILVA was charged $171.00 per month. LABOY-SILVA no longer rents

this storage unit.

179
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 172 of 219 Document 1
318. On November 22, 2019, a parcel originating from western Puerto Rico, was
delivered to 5956 North 65" Street, Milwaukee, Wisconsin. The parcel was addressed to Julio
Martinez. A review of USPS records revealed that the parcel weighed 3 Ibs. 12 ounces. Based
upon this investigation, case agents believe the weight of the parcel is consistent with
approximately one kilogram of cocaine. Law enforcement conducted surveillance of the parcel’s
delivery at 5956 North 65" Street. The USPS letter carrier delivered the parcel by placing it at the
front door. After the parcel was delivered and the USPS letter carrier left the area, case agents
observed the front door open slightly and an unknown subject pulled the package inside the
residence. A law enforcement officer observed APONTE-LEBRON drive up to the residence in
a black Nissan Titan. He exited his vehicle and was handed the parcel from an unknown person
from inside the house. APONTE-LEBRON walked back to his vehicle with the parcel and left the
area.

319. Inspector Fink identified a 9 lbs. 13 ounce suspected cocaine laden parcel which
was scheduled to be delivered between December 4, 2019 and December 5, 2019, to LABOY-
SILVA’s residence, 5956 North 65th Street. The package was never scanned as delivered and it
is unknown if or when delivery ever occurred. The parcel was sent from Hormigueros, Puerto
Rico. Based upon this investigation, the weight of the parcel is consistent with approximately two
kilograms of cocaine.

320. On December 6, 2019, phone calls were intercepted between Marcus APONTE-
LEBRON and Jose GONZALEZ-COLLADO (i.e. TARGET TELEPHONE-9) regarding the
above missing package. Both discussed that the Puerto Rico package had not yet arrived.
GONZALEZ-COLLADO advised APONTE-LEBRON that the USPS tracking showed the parcel

was in Pennsylvania. USPS records did in fact show the parcel destined for LABOY-SILVA’s

180
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 173 of 219 Document 1
 

how was scanned as arriving in Pennsylvania. At 11:52 am., GONZALEZ-COLLADO called
LABOY-SILVA and asked if the package was delivered. LABOY-SILVA replied that that
package had not arrived. At 12:39 p.m., another phone call occurred between GONZALEZ-
COLLADO (i.e. TARGET TELEPHONE-9) and LABOY-SILVA. During this call, LABOY-
SILVA advised that he spoke to a postal worker who informed him how to file a claim on the lost
package.

321. On December 19, 2019, a suspected drug-laden parcel was delivered to 1968 South
8th Street, mailed from Cabo Rojo, Puerto Rico. At approximately 2:05 p.m., a law enforcement
officer observed LABOY-SILVA pacing in front of 1968 South 8th Street. This officer observed
LABOY-SILVA walk up to and knock on the front door of South 8th Street. The knock remained
unanswered, prompting LABOY-SILVA to walk back and enter a maroon sedan bearing
Wisconsin plate number ACR3554, a vehicle listing to LABOY-SILVA. Prior to any USPS
delivery, the officer was called away from the area.

Enid MARTINEZ

322. Enid MARTINEZ is an Hispanic female born on May 28, 1987, who resides with
Marcos APONTE-LEBRON at 2348A South 13th Street, Milwaukee, Wisconsin. This has been
confirmed by investigation and surveillance. The investigation to date has revealed MARTINEZ
is utilized as a parcel courier to ship parcels containing drug proceeds for the DTO. The
investigation has further revealed that MARTINEZ sells narcotics on behalf of the DTO.

MARTINEZ knowingly ships DTO drug proceeds using the USPS

323. From April 2019 to October 2019, U.S. Postal Services surveillance cameras have
captured images of MARTINEZ shipping 13 different parcels from various post offices in

Milwaukee, Wisconsin using several different sender names, fictitious sender addresses, and real

; 181
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 174 of 219 Document 1
sender addresses for which she is not associated.’> The 13 different parcels were shipped to various
municipalities throughout western Puerto Rico and to Mission, Texas. MARTINEZ never used
her real name on the shipping labels for any of the shipped packages. Based upon their training,
experience, and familiarity with the investigation, case agents believe that because MARTINEZ
shipped all 13 parcels using various sender names, not using her own name on any of the shipping
labels, and the parcels were all destined for known drug source locations, case agents believe all
13 parcels she shipped contained drug proceeds.

324. For example, on April 18, 2019, a USPS surveillance video depicted MARTINEZ
shipping USPS Priority Mail parcel 9505513465969108236296 from the Tuckaway Post Office,
located at 5114 South 27th Street, Milwaukee, Wisconsin. A review of USPS records revealed
that the parcel weighed approximately 5 Ibs. 4 ounces. The parcel’s shipping label indicated it
was sent from “Luis Perez, 2426 W Grant St, Milwaukee Wi 53215.” The parcel bore a
handwritten label addressed to “Ramiro Perez, Hc 2 Box 8423, Las Marias P.R. 006702.” Las
Marias is a municipality in western Puerto Rico. Through the investigation, case agents have
learned western Puerto Rico is the location of operation for the Puerto Rican drug source. Based
upon their training, experience, and familiarity with the investigation, case agents are aware that
controlled substances are frequently transported from Puerto Rico via the USPS, and the proceeds
from the sale of the controlled substances are frequently returned to Puerto Rico via the USPS. A
search of a law enforcement database revealed that no person by the name of Luis Perez currently

lives, or has lived, at 2426 West Grant Street, Milwaukee, WI 53215.

 

'S Through this section, I make reference to the depiction of MARTINEZ on post office surveillance videos. I have
compared these videos to surveillance and a known picture of MARTINEZ, and I am able to positively identify her
through this comparison.

182
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 175 of 219 Document 1
 

325. As another example, on June 26, 2019, USPS surveillance cameras captured images
of MARTINEZ shipping USPS Priority Mail parcel 9505515217029177112279 from the Harbor
Post Office, located at 1416 South 11th Street, Milwaukee, Wisconsin. A review of USPS records
revealed that the parcel weighed approximately 6 Ibs. 5 ounces. The parcel’s shipping label
indicated it was sent from “Juan C. Valles, 2428 W Grant St, Milwaukee Wi 53215.” The parcel
bore a handwritten label addressed to “Tino Valles, 7311 Rosa St., Mission Tx. 78574.” A search
of a law enforcement database revealed a person by the name of Celestino Valles currently lives,
or has lived, at 7311 Rosa Street, Mission, Texas 78574. Through the investigation, case agents
learned that several addresses in Mission, Texas are destination locations for parcels shipped by
various members of the GONZALEZ-COLLADO DTO. Based upon their training, experience,
and familiarity with the investigation, case agents are aware controlled substances are frequently
transported from Texas via the USPS, and the proceeds from the sale of the controlled substances
are also frequently returned to Texas via the USPS.

326. Also on September 17, 2019, while conducting routine parcel screenings at the
Harbor Post Office, located at 1416 South 11th Street, Milwaukee, Wisconsin, I located a
suspicious parcel: USPS Priority Mail parcel 95055 15217019260139672. A review of the Harbor
Post Office surveillance video revealed the parcel was shipped by MARTINEZ. A review of USPS
records revealed that the parcel weighed approximately 5 lbs. 12 ounces. The parcel’s shipping
label indicated it was sent from “Eriberto Gonzalez, 2371 S 7 ST, Milwaukee WI 53215.” The
parcel bore a handwritten label addressed to “Moises Gonzalez, Balboa 33 PMB 204, Mayaguez
P.R. 00680.” Based upon this investigation, case agents know that between June 2019 to October
2019, twelve different suspected drug proceeds packages have been shipped to Balboa 33 PMB

204, Mayaguez, Puerto Rico by various members of the GONZALEZ-COLLADO DTO to

Case 2:20-mj-00822-WEC Filed o2tdo Page 176 of 219 Document 1
include, but not limited to, Julio SEDA-MARTINEZ, Hector Yamil RODRIGUEZ-RODRIGUEZ,
MARTINEZ, and Marcos APONTE-LEBRON, the husband of MARTINEZ. A search of the
USPS database revealed the sender’s address, 2371 South 7th Street, Milwaukee, WI 53215, to be
a fictitious address.

327. OnSeptember 18, 2019, United States Magistrate Judge William E. Duffin, Eastern
District of Wisconsin, issued a sneak and peek warrant for this parcel. Upon execution of the
search warrant, case agents discovered the parcel contained $29,980.00 in small denominations of
U.S. currency wrapped in saran wrap, carbon paper, and was contained inside vacuum sealed bags.
After documenting the contents of the parcel, Inspector Fink repackaged the parcel and placed it
back into the USPS mail stream for delivery.

328. On October 21, 2019, a USPS surveillance video depicted MARTINEZ and
APONTE-LEBRON shipping USPS Priority Mail parcel 9505512777399294292588 from the
West Milwaukee Post Office, located at 4300 West Lincoln Avenue, Milwaukee, Wisconsin. A
review of USPS records revealed that the parcel weighed approximately 6 Ibs. 15 ounces. The
parcel’s shipping label indicated it was from “Miguel Perez, 1862 S 7th St, Milwaukee Wi 53204.”
The parcel bore a handwritten label addressed to “Radame Perez, HC 2 Box 8423 Maravilla Norte,
Las Marias P.R. 00670.” A search of the USPS database revealed the sender’s address, 1862 South
7th Street, Milwaukee, WI 53204, to be a fictitious address.

MARTINEZ sells cocaine for the DTO

329. On November 8, 2019, at approximately 5:16 p.m., APONTE-LEBRON placed a
call to TARGET-TELEPHONE-9. During the intercepted communications between APONTE-
LEBRON and GONZALEZ-COLLADO, both were discussing money, while MARTINEZ in the

background asked, “How much it is?” GONZALEZ-COLLADO told APONTE LEBRON, “Put

184
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 177 of 219 Document 1
 

me on speaker.” GONZALEZ-COLLADO advised, “Weigh them beforehand.” APONTE-
LEBRON said, “I will purchase a scale and I will weigh it right in front of her.” GONZALEZ-
COLLADO said later in the conversation, “Have your wife tell her that I will give it to her in order
not to lose business. But, next time I will weigh it in front of her.” The female’s voice in the call
was compared to known sample of MARTINEZ’s voice — both of which were concluded to be
from the same person. Based upon their training, experience, and familiarity with the
investigation, case agents believe MARTINEZ sold cocaine to a customer on behalf of
GONZALEZ-COLLADO, and there was a discrepancy with the amount of cocaine sold to her
customer. Case agents believe GONZALEZ-COLLADO told MARTINEZ and APONTE-
LEBRON the cocaine needs to be weighed before a drug deal transaction occurs in order to avoid
these discrepancies.

330. On December 2, 2019, a case agent served a subpoena on Public Storage, 5014 S.
13 Street, Milwaukee, Wisconsin. An examination of records revealed unit 3326 is rented by
MARTINEZ, APONTE-LEBRON’s “wife,” with a monthly fee of $86.00 being paid for a 10’ x
10’ unit. As of January 3, 2020, a review of Public Storage records revealed that MARTINEZ
remains the renter of this unit.

Alexander MORALES-RIVERA

331. Alexander MORALES-RIVERA is an Hispanic male born on February 5, 1992,
who resides at 1339 West Scott Street, Apartment #1, Milwaukee, Wisconsin, and has a secondary
address of 931 West Walker Street, Milwaukee, Wisconsin. This has been confirmed by
investigation and surveillance. The investigation to date has revealed Alexander MORALES-
RIVERA facilitates the receipt of Milwaukee-bound shipments of cocaine from Puerto Rico,

brokers narcotics transactions between GONZALEZ-COLLADO and others unknown, and

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Case 2:20-mj-00822-WEC Filed 02/180 Page 178 of 219 Document 1
initiated a hitman-for-hire plot detailed below. Between June 20, 2019 and December 27, 2019,
over 75 intercepted communications occurred between Alexander MORALES-RIVERA, using
(414) 215-8845, and various TARGET TELEPHONE numbers that were deemed criminal and
pertinent in nature. During the course of the investigation, the residence(s) of MORALES-
RIVERA have received multiple suspected drug parcels shipped from Puerto Rico to Milwaukee.

MORALES-RIVERA receives cocaine laden parcels from Puerto Rico on behalf of the DTO

332. On August 16, 2019, U.S. Postal Inspector Fink identified a suspicious parcel
originating from Cabo Rojo, Puerto Rico, which is a municipality in western Puerto Rico,
addressed to a “Jose L. Burgos” at 1339 West Scott Street, Milwaukee, Wisconsin. From Inspector
Fink’s training, experience, and familiarity with this investigation, the weight of this parcel was
consistent with one kilogram of suspected cocaine. Prior to this parcel’s delivery, law enforcement
officers established surveillance around 1339 West Scott Street. On this date, at approximately
1:49 p.m., case agents observed MORALES-RIVERA entering and exiting the residence. At
approximately 1:55 p.m., a USPS letter carrier knocked on the door of the residence. Case agents
observed MORALES-RIVERA answer the door and take possession of the delivered suspected
cocaine laden parcel. MORALES-RIVERA then retreated into the residence with the parcel and
closed the door. At approximately 1:57 p.m., case agents intercepted a call on TARGET
TELEPHONE-4 (i.e., Marcos APONTE-LEBRON) to (414)215-8845 (i.e, MORALES-
RIVERA). During the call, MORALES-RIVERA confirmed the parcel’s receipt and said, “The
box came open.” MORALES-RIVERA continued to explain to APONTE-LEBRON the parcel
was opened. APONTE-LEBRON later said, “Look, come here to the house.” MORALES-

RIVERA stated, “Alright.” Based upon their training, experience, and familiarity with this

186
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 179 of 219 Document 1
 

investigation, case agents believe MORALES-RIVERA advised APONTE-LEBRON that he
received the cocaine through the mail and it is ready for distribution.

333. On September 15, 2019, at 10:24 am., GONZALEZ-COLLADO (i.e. TARGET
TELEPHONE-9) received a call from (414) 215-8845 (i.e., Alexander MORALES-RIVERA).
During the intercepted call, GONZALEZ-COLLADO (GC) and MORALES-RIVERA engaged in
the following colloquy regarding hiring a “hitman” to murder someone.

MORALES-RIVERA and GONZALEZ-COLLADO engage
in a murder for hire conversation

334. MORALES-RIVERA (MR): Ineed someone from here (i.e., Puerto Rico) to work.

To work (1.e., kill) someone, you understand?

GC: My man, fucker! My friend is a cock sniffer. That you, fucker, you call
him asking for something, fucker and...

MR: No, it’s not for that. It’s to know if you have someone from here (i.e.,
Puerto Rico), or anywhere. The guy, the guy I’m talking about is a fool. But
every time I go, he’s giving the tip-off that I’m there.

GC: Say what?

MR: That every time I go there, that I arrive there. He gives the tip-off that
I’m over there. And those people showed up. You understand? How else are
they going to know if the only one that spends time with him is that guy!”

GC: But where? Here or out there? There?

Robert: There — here, here, I’m still here (i.e., Puerto Rico).
GC: But, oh! Here in Milwaukee?

MR: In Puerto Rico! Not, in Milwaukee, man.

GC: Who’s the guy?

MR: He’s from here (i.e., Puerto Rico).

GC: Oh, he’s from there?

MR: That’s why. I want to pay someone. Check out how much it would be. I
know where he spends most of his time, I know everything.

Case 2:20-mj-00822-WEC Filed 02/1850 Page 180 of 219 Document 1
GC: Yeah?

MR: Yes! I know everything. Fucker, there’s a business store that doesn’t
have a camera, there’s nothing! Across the street from my house.

GC: Oh, okay, okay! What happened? Those people showed up there?
MR: Yeah.
GC: Who? Who showed up?

MR: The ones that want to take me down. For like the past seven years. The
thing is that the same guy is still there (in charge). Not the guy. The big guy
(i.e., boss) was arrested. He got 200 years ... [unintelligible]

GC: Okay.
MR: And left a guy there that had (a high ego), you understand?”
GC: Uh-huh.

MR: But the guy doesn’t know me. Yet, how was he already at the business
store? I was just there. I had just arrived. You understand? How would they
get there if the only one that knows me is you?

GC: Yeah! Yeah!

MR: You understand? This fucker called and said, “He’s there” this and that
and alerted all of them because they don’t even live there. You understand?

GC: Yeah!

MR: How are they going to arrive there? I was just getting there! And he was
the only one who saw me. He went to the car, drove away, returned back at the
hour. He works in that cylinder thing, gas cylinders, delivering gas.

GC: Yeah?

MR: He’sa fool. The thing is that they are saying we killed one of his brothers.
Well!

GC: Yeah?
MR: Uh-huh. From [unintelligible]. And since he never got along with me.

GC: Damn, man. Well, I know someone from a project (i.e., low-income
housing) but the thing is I don’t have those fuckers’ number.

MR: Alright! [Il pay them whatever they ask. If it’s by my house, I’ll get
them a car so they can take it. I’ll give them the address, where they need to be
at, pictures and everything. When ... the fucker spends time on an avenue.”

188
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 181 of 219 Document 1
 

GC: Uh-huh.

MR: On an avenue, and not too far ahead, is the exit to Manati, Vega Baja,
Morovis. He (i.e., the victim) could be dropped anywhere. You understand?

GC: Yeah! Yeah!
MR: Uh, fucker, and he spends time...it’s an, uh, an open business store.
GC: Oh, okay.

MR: And there are some chairs on the outside. And he spends his time there
drinking, fucker.

GC: Yes, yes. It seems easy.

MR: No, that looks pretty (perfect). I would do it (ie., kill him) myself but
since I’m here (i.e., Puerto Rico), theyll know it was me. I have to wait until I
leave. For a week to pass, so they see I’m over there (i.e., Milwaukee). I could
do it, fucker. I would just put a hoodie on. But they will all know it was me.
Since everyone there knows me, and body type and all that, fucker.”

GC: Yeah, yeah.

MR: I don’t trust anyone, fucker. You understand? Tell someone to do that,
you understand? They will alert him.

GC: Damn, man! IfI could find the number. I'll try. Call me later to see if
my friend, the fucker calls me or something.

MR: Alright! Check with him how much he would charge me...and all set. I
explain it to him, send him pictures...send him picture, and done deal.

GC: I’m going to ask him and see...I’Il ask him...I’Il ask him.

MR: Not for today, at least, fucker.

GC: Huh?

MR: Not for today, but for ... Tuesday, Wednesday...I’m leaving Monday.

GC: Yeah! I’m just going to ask him...let me think about it...let me think about
it because there were some people in Manati that I know of that did a lot of that
shit.

MR: [Unintelligible}] I’m also looking myself for someone here (i.e., Puerto
Rico). If I find them, I’ll have them do it. I know people from here in, uh, uh,
Barbosa (i.e., low-income housing), and all those places.

GC: Yeah?

189
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 182 of 219 Document 1
MR: And I don’t have anyone’s name. And I don’t dare going in (i.e., low-
income housing) since it’s always changing (i.e., change in leadership) so often.
I would go in and not know who they are.

GC: Yeah! Damn, man. Hmm. But don’t you hang out with people down
there?

MR: Yes, fucker! But I can’t find them. And I was just with a couple of my
friends, but there is one that turned his back on me. I had to leave because |
wanted to finish him.

GC: What do you mean — he flipped/switched/turned?
MR: Fucker, one of my cousins, turned his back on me to go with those people.
GC: With whom?

MR: Selling me out to those people. The ones that want to bring me down,
fucker. Those same ones.

GC: Yes?

MR: [Unintelligible] Eric. Wanted to take me to another business store, which
is darker, fucker, to play pool. I told him, “Fucker, no I’m not going there.” He
said, “Oh, let’s go. Come with me to play pool.” I told him, “But take the other
one, uh my other cousin.” But no, he wanted me to go, fucker.

GC: Yeah?

MR: Yes, fucker.

GC: Oh!

MR: And he’s my cousin. First cousin.

GC: Oh!” Do you think he turned his back? Huh?
MR: Say what?

GC: You think?

MR: Yes, fucker! I mean, they were investigating, checking on [unintelligible]
call him out without knowing. But the other one, I want him worked (i.e.
killed). Because I know he was the one who tipped me off. Three years ago, I
came/flew here, and he was sitting on the same place.

GC: Yes?

MR: The other one, yes! The other one [unintelligible]. The other one hates
me. Remember, they say I killed their brother.

GC: Yeah — Yeah! Damn, man.

190
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 183 of 219 Document 1
 

MR: We had to go the court to testify that we didn’t do it.
GC: Okay, okay.
MR: Alright, I’m going to continue calling around. I get back on Monday.
GC: Alright, alright!
335. On September 17, 2019, at approximately 4:07 p.m., MORALES-RIVERA and

GONZALEZ-COLLADO (ie. TARGET TELEPHONE-9) continued to discuss narcotics and
finding a hitman. GONZALEZ-COLLADO received a call from (414) 215-8845 (e.,
MORALES-RIVERA). During the intercepted call, GONZALEZ-COLLADO said, “Buddy, I’m
on that guy for the same thing, so he can lower it (i.e., price of drugs), but the fucker doesn’t want
to.” MORALES-RIVERA replied, “[Unintelligible] fucker, because that’s not enough, not even
a lawyer.” As a matter of fact, not even enough for gas.” GONZALEZ-COLLADO says, “Fucker,
stop talking shit, cock sniffer.” MORALES-RIVERA said, “It’s true fucker, at least 100 (i.e.,
$100) more, fucker.” GONZALEZ-COLLADO replied, “No, I can’t. As a matter of fact, let me
tell you, I was talking with my other buddy [unintelligible], he is going to give them (i.e. drugs) to
me a little bit cheaper. Ill let you know when the box (i.e., a drug-laden parcel) is ready. I'll
know, he’ll let me know, to give me another one and I’ll give you another 100 bucks.” The
intercepted conversation then shifted to a discussion about arranging for a “hitman.” MORALES-
RIVERA said, “All right, all right. Call that guy (i.e., the prospective “hitman”) there in Puerto
Rico. I want to kill that fucker (i.e., kill the victim), I want to bring him down. MORALES-
RIVERA then complained that GONZALEZ-COLLADO was taking too long in locating a
“hitman” by saying, “But come on, because you’re being slow.” GONZALEZ-COLLADO
replied, “I’m driving, fucker.” MORALES-RIVERA inquired, “But, you’re not here (i.e.,

Milwaukee)?” GONZALEZ-COLLADO replied, “No.” Indeed, GPS/E-911 data derived from

Case 2:20-mj-00822-WEC. Filed 02/1850 Page 184 of 219 Document 1
TARGET TELEPHONE-9 indicated that TARGET TELEPHONE-9 (used by GONZALEZ-
COLLADO) was in Pennsylvania at the time of this intercepted call.

GONZALEZ-COLLADO requests that MORALEZ-RIVERA allow the use of the Walker
Street address to receive a cocaine laden parcel

336. Between September 17, 2019, and September 23, 2019, GONZALEZ-COLLADO
(i.e, TARGET TELEPHONE-9) and MORALES-RIVERA (i.e., (414) 215-8845) engaged in
several intercepted conversations regarding a pending narcotics shipment from Puerto Rico,
destined to the Milwaukee-based DTO. GONZALEZ-COLLADO and MORALES-RIVERA
orchestrated the consignee address. During an intercepted conversation on September 17, 2019,
at approximately 3:59 p.m., GONZALEZ-COLLADO (i.e. TARGET TELEPHONE-9) called
(414) 215-8845 (i.e. MORALES-RIVERA). GONZALEZ-COLLADO stated, “Hey, the
address...I need an address.” MORALES-RIVERA attempted to clarify which address should be
used to receive the narcotics parcel by saying, “Which one was the one used last?” GONZALEZ-
COLLADO replied, “The one to your mom’s house (i.e., 931 West Walker Street, Milwaukee,
WI).”” MORALES-RIVERA answered, “No. Those people, [my] sister is always on the look-out.
What if the package is opened? [My] sister opens all the packages... Yes, that’s why, when I used
it [address] she was, because, she was in Puerto Rico.” Later in the same conversation,
GONZALEZ-COLLADO asked, “Why can’t it be sent to your mom’s house?” MORALES-
RIVERA replied, “Well use that one but only one more time, no more.” After a brief back-and-
forth, MORALES-RIVERA says, “‘That’s fine, but he [third party] should put in sangria or
something. If my sister gets it she can think it’s sangria or something.”

337. On September 19, 2019, U.S. Postal Inspector Fink identified a suspicious parcel
sent from Cabo Rojo, Puerto Rico and addressed to “Julio Martinez” at 931 West Walker Street,

Milwaukee, Wisconsin. On September 20, 2019, Inspector Fink applied for, and was granted, a

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Case 2:20-mj-00822-WEC Filed 02/8/20 Page 185 of 219 Document 1
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federal search warrant for this parcel. Pursuant to the search warrant, the parcel was found to
contain 1,037 grams of a substance which tested positive for the presence of cocaine.

338. Not realizing the narcotics-laden package was seized by the U.S. Postal Service,
GONZALEZ-COLLADO and MORALES-RIVERA continued to determine the package’s arrival
date. On September 21, 2019, at approximately 1:22 p.m., GONZALEZ-COLLADO (i.e.
TARGET TELEPHONE-9), called (414) 215-8845 (ie., MORALES-RIVERA). During the
intercepted conversation, GONZALEZ-COLLADO expressed frustration regarding the status of
the narcotics shipment by saying, “That fucker [third party] hasn’t called me yet, but it hasn’t been
delivered.” GONZALEZ-COLLADO continued, “It hasn’t been delivered and that fucker hasn’t
called me either.” MORALES-RIVERA exclaimed, “Damn!” GONZALEZ-COLLADO stated,
“This fucker, that [unintelligible]. Let me call him, no worries. I’m going to shit on his mom a
thousand times because he had said he was going to do that.” MORALES-RIVERA asked, “But
how am I going to know [unintelligible] that shit?” MORALES-RIVERA continued, “How am I
going to know if it arrived, came, he grabbed it, this and that?” GONZALEZ-COLLADO stated,
“Man, I’m going to know once I get the notification on my phone. If they [mailman] drop it at
your house, it will notify me on my phone. Ifit’s at your place. If they go pick it up, it will notify
me that it was picked up there.”

339. On September 23, 2019, at approximately 2:55 p.m., GONZALEZ-COLLLADO
(ie. TARGET TELEPHONE-9) received a call from (414) 215-8845 (i.e, MORALES-RIVERA).
During the intercepted call, GONZALEZ-COLLADO and MORALES-RIVERA discussed the
lost narcotics-laden parcel MORALES-RIVERA asked, “What happened with that?”
GONZALEZ-COLLADO replied, “It didn’t arrive. I don’t know. That...nothing, fucker.”

MORALES-RIVERA stated, “Well, it didn’t arrive. I’m here...and the mailman. And it didn’t

193
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 186 of 219 Document 1
arrive.” GONZALEZ-COLLADO conceded, “Yeah, forget about that already. Forget about it.
That’s screwed.” Later in the same conversation GONZALEZ-COLLADO stated, “Yes, but that
fucker...fucker, that hasn’t been scanned any longer. Fucker, you understand? Fuckers, they'll
come back wasting our time, you know? It’ll be wasting our time; that happened to me once
already.” GONZALEZ-COLLADO later explained, “...it shows that it got scanned, ‘PUM,’ as it
was going on its way to deliver, and that the address was wrong. Fucker, how is it going to be
wrong. Man, that’s that, they put that...grabbed it...someone grabbed it and said, ‘let me check
this, and see,’ you understand?”

340. Based on their training, experience, and knowledge of this investigation, case
agents believe GONZALEZ-COLLADO uses multiple co-conspirators, and multiple addresses,
including MORALES-RIVERA and his associated addresses, to receive multi-kilogram cocaine
parcels from Puerto Rico. GONZALEZ-COLLADO tracks the parcels to ensure delivery and the
assigned co-conspirator successfully retrieves the cocaine-laden parcel(s). GONZALEZ-
COLLADO described tracking the seized parcel and theorized that perhaps a postal employee
intentionally scanned the parcel incorrectly and stole it. Furthermore, based upon their training,
experience, and knowledge of this investigation, agents know GONZALEZ-COLLADO pays co-
conspirators nominal amounts of money to use their addresses or addresses of their family
members to receive narcotics-laden parcels. During the course of this investigation, three
suspicious parcels were sent to 1339 West Scott Street and two suspicious parcels (one previously
mentioned above found to contain suspected cocaine) were sent to 931 West Walker Street. All
of these suspicious parcels were shipped from western Puerto Rico and were addressed to DTO

members Julio SEDA-MARTINEZ or Jose BURGOS-RIVERA.

194
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 187 of 219 Document 1
341. On October 29, 2018, a City of Milwaukee police officer conducted an accident
investigation on south 20th Street in Milwaukee. One of the subjects involved in the accident
identified himself as Alexander MORALES-RIVERA of 931 West Walker Street and provided a
cell phone number of (414) 215-8845. This is the same phone number intercepted during this
investigation over multiple TARGET TELEPHONES.

342. Case agents’ review of the State of Wisconsin Department of Corrections database
currently shows that MORALES-RIVERA is on probation. On June 3, 2019, MORALES-
RIVERA was convicted for criminal theft arising from a case in Racine County, Wisconsin.
According to the probation rules requiring probationers to provide an address where they reside,
MORALES-RIVERA provided his probation officer with a probation address of 931 West Walker
Street, Milwaukee, Wisconsin. In addition, he advised the probation officer he is self-employed,
and again provided this same address as his work address. Under his standard rules of supervision,
MORALES-RIVERA is also required to obtain approval from his agent prior to changing his
residence or employment. In the case of an emergency, he is to notify his agent of the change
within 72 hours. Through surveillance activities and intercepted telephone calls, MORALES-
RIVERA, although utilizing both locations, MORALES-RIVERA does not currently live at 931
West Walker and has not updated his probation officer with his new address which is in violation
of one of his standard probation rules.

343. On December 21, 2019, a City of Milwaukee police officer conducted surveillance
at 1339 West Scott Street. At approximately 10:20 a.m., the officer observed an unknown Hispanic
male working on a Ford truck parked on the parking slab at 1339 West Scott Street. At

approximately 10:45 a.m., the officer observed MORALES-RIVERA at this residence. The

195
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 188 of 219 Document 1
officer observed MORALES-RIVERA walk in and out, using the back door of the residence

several times over a 15-minute period.

Keishla ORENCH-FELICIANO

344. Keishla ORENCH-FELICIANO is an Hispanic female born on October 26, 1993.
She is believed to reside somewhere in western Puerto Rico. A review of Keishla ORENCH-
FELICIANO’s Puerto Rican driver’s license reveals that her last known address is listed at Res
Sabalos Nuevo, Edif 11 P1 Apt 113, Desconocido, Puerto Rico 00680. Keishla ORENCH-
FELICIANO is the sister of one of the Puerto Rican drugs sources, Roberto ORENCH-
FELICIANO. The investigation has established that Keishla ORENCH-FELICIANO ships
cocaine laden parcels through the USPS from Puerto Rico to the GONZALEZ-COLLADO DTO,
and other locations within the continental United States.

Keishla ORENCH-FELICIANO ships cocaine laden parcels through the USPS

345. Between May 2019 to October 2019, case agents have obtained surveillance videos
from various post offices in Western Puerto Rico. U.S. Postal Service surveillance cameras
captured images of Keishla ORENCH-FELICIANO shipping 18 different parcels from various
post offices in western Puerto Rico to 11 different addresses in Milwaukee, Wisconsin. In addition,
a USPS surveillance camera captured an image of Keishla ORENCH-FELICIANO shipping one
parcel to an address in Erie, Pennsylvania. Case agents have reviewed the 18 shipping labels
associated with packages sent by Keishla ORENCH-FELICIANO. Keishla ORENCH-
FELICIANO did not use her real name as the sender on any of these 18 parcels. Instead, Keishla
ORENCH-FELICIANO used nine different male and/or female names as the “sender” and 13

different return addresses within five different municipalities in western Puerto Rico. Out of the

196
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 189 of 219 Document 1
 

17 parcels Keishla shipped to Milwaukee, Wisconsin, 13 of the parcels were shipped to either Jose
BURGOS-RIVERA or Julio SEDA-MARTINEZ. Based upon their training, experience and
familiarity with the investigation, case agents believe all 17 parcels contained cocaine.

346. In October 2019, in an effort to identify members of Roberto ORENCH-
FELICIANO’s family, a criminal analyst searched social media and located Roberto ORENCH-
FELICIANO’s Facebook page. A review of Roberto ORENCH-FELICIANO’s Facebook page
revealed a photograph of a woman believed to be his mother. A search of the Facebook page
associated with his mother, revealed multiple photos of a female later identified by case agents as
her daughter, Keishla ORENCH-FELICIANO, who is also Roberto’s sister. Additionally,
Roberto’s Facebook page displayed multiple photographs of this same female and in these
photographs the female was tagged, or identified, as “Keishla Orench.” A review of the “Keishla
Orench” Facebook page revealed several additional photographs of the same female shown on
Roberto’s and Roberto’s mother’s Facebook page. Based upon a search of a law enforcement data
base in conjunction with an examination of Keishla ORENCH-FELICIANO’s Puerto Rican
driver’s license photograph, case agents confirmed a match between the Puerto Rican driver’s
license and her social media profile. After receiving the Puerto Rican driver’s license photo, case
agents used these combined photographs to positively identify Keishla ORENCH-FELICIANO in
the 18 different USPS surveillance videos.

347. OnNovember 15, 2019, at approximately 12:52 p.m., case agents intercepted a call
on TARGET TELEPHONE-7 (i.e., Hector Yamil RODRIGUEZ-RODRIGUEZ) with Carlos
CONCEPCION-RIVERA. During the intercepted conversation, CONCEPCION-RIVERA told
Hector Yamil RODRIGUEZ-RODRIGUEZ that a prosecutor in Puerto Rico mentioned the name

Jose GONZALEZ-COLLADO and advised him, “They are under investigation.” CONCEPCION-

197
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 190 of 219 Document 1
RIVERA further related that his wife was told that all the people under investigation sent “work,”
(i.e. cocaine) through the Aguada Post Office. As a result of this intercepted call, case agents
feared targets of the investigation may have been tipped off to law enforcement activity. Uncertain
where the leak occurred, case agents ceased requests for surveillance videos from Puerto Rican
post offices. Since no more requests for video surveillance were sent to Puerto Rico after October
2019, it is unknown whether Keishla ORENCH-FELICIANO continues to ship cocaine laden

parcels to various locations from Puerto Rico.

Keishla ORENCH-FELICIANO shipped a cocaine laden parcel to Milwaukee on May 6, 2019

348. An example of Keishla ORENCH-FELICIANO’s shipping activities, occurred on
May 6, 2019, where a USPS surveillance video depicted Keishla ORENCH-FELICIANO shipping
USPS Priority Mail parcel 95055 11429929126293613 from the Cabo Rojo Post Office, located in
western Puerto Rico. A review of USPS records revealed that the parcel weighed approximately
8 lbs. 7 ounces. The parcel’s shipping label indicated it was from “Jose Rodriguez, Urb. Villa
Luisa #18, Calle turguesa Cabo Rojo, 00623.” The parcel bore a handwritten label addressed to
“Jose Burgos, 2246 S 15 PL, Milwaukee, Wi 53215.” A search of a law enforcement database
revealed no person by the name of Jose Burgos currently lives, or has lived, at 2246 South 15th
Pl., Milwaukee, WI 53215. Based upon their training, experience, and familiarity with the
investigation, case agents believe the weight of the package is consistent with approximately one
to two kilograms of cocaine.

Keishla ORENCH-FELICIANO shipped two different cocaine-laden parcels to Milwaukee at
different post offices in western Puerto Rico within an hour

349. On May 15, 2019, at approximately 2:02 p.m., a U.S. Postal Service surveillance
camera captured an image of Keishla ORENCH-FELICIANO shipping USPS Priority Mail parcel
9505511429919135209033 from the Cabo Rojo Post Office, located in western Puerto Rico. A

198
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 191 of 219 Document 1
 

review of USPS records revealed that the parcel weighed approximately 8 Ibs. 9 ounces. The
parcel’s shipping label indicated it was from “Emma Rodriguez, Urb. Villa Luisa #18, Calle
turguesa Cabo Rojo 00623.” The parcel bore a handwritten label addressed to “Julio Martinez,
2448 S 14 St Milwakee, Wi 53215.” A search of a law enforcement database revealed no person
by the name of Julio Martinez currently lives, or has lived, at 2448 South 14th Street, Milwaukee,
Wisconsin. Based upon their case training, experience, and familiarity with the investigation, the
weight of the package is consistent with approximately one kilogram of cocaine.

350. Later on this same date, at approximately 3:03 p.m., one hour later, a USPS
surveillance camera also captured an image of Keishla ORENCH-FELICIANO shipping USPS
Priority Mail parcel 9505511454159135227750 from the Mayaguez Post Office, located in
western Puerto Rico. A review of USPS records revealed that the parcel weighed approximately 7
Ibs. 12 ounces. The parcel’s shipping label indicated it was from “Orlando Medina, Ba Paris Calle
De. Perac #117 Mayaguez P.R. 00680.” The parcel bore a handwritten label addressed to “Julio
Seda, 1214 S 14th St, Milwaukee, WI 53204.” A search of a law enforcement database revealed
no person by the name of Julio Seda currently lives, or has lived, at 1214 South 14th Street,
Milwaukee, Wisconsin. Based upon their training, experience, and familiarity with the
investigation, case agents believe the weight of the package is consistent with approximately one
kilogram of cocaine. Using an internet search engine, case agents learned that the Cabo Rojo Post
Office is approximately a 20 to 25 minute drive from the Mayaguez Post Office. From their
training, experience, and familiarity with this investigation, case agents believe that Keishla
ORENCH-FELICIANO intentionally visited two different post offices in order to conceal her
participation, and the contents of the parcels. Case agents further believe that because Keishla

ORENCH-FELICIANO shipped the parcels using two different sender names, with two different

19
Case 2:20-mj-00822-WEC Filed 02/18/30 Page 192 of 219 Document 1
sender addresses, (i.e. each parcel addressed to two different Milwaukee DTO members at two
different Milwaukee addresses), she intentionally visited separate post offices to further conceal
the parcels contents and her participation.

Keishla ORENCH-FELICIANO shipped two cocaine-laden parcels to Milwaukee at
different post offices within 20 minutes

351. As another example, on July 26, 2019, U.S. Postal Service surveillance cameras
captured an image of Keishla ORENCH-FELICIANO shipping USPS Priority Mail parcel
9505511451539207372541 from the Hormigueros Post Office, and USPS Priority Mail parcel
9505511429919207226555 from the Cabo Rojo Post Office. Both post offices are located in
western Puerto Rico. A review of USPS records revealed that the parcels weighed approximately
9 Ibs. 3 ounces and 7 lbs. 9 ounces, respectively. The parcels’ shipping labels indicated they were
sent from “Jean Rosario, HC 01 Box 7995 Hormigueros PR 00660” and “Emma Rodriguez, Urb.
Villa luisa #17, Calle Turquesa Cabo Rojo, P.R. 00623,” respectively. The parcels bore
handwritten labels addressed to “Julio Martinez, 1613 S Union St, Milwaukee Wi. 53204” and
“Jose L Burgos, 3255 S 84th St Apt #3 Milwaukee Wi 53227.” A search of a law enforcement
database revealed that neither Julio Martinez nor Jose Burgos are associated with the respective
addresses listed on the shipping labels. Based upon their training, experience, and familiarity with
the investigation, case agents believe the weight of each package is consistent with approximately
two kilograms and one kilogram of cocaine, respectively.

352. Again case agents used an internet search engine to determine the distance between
the two post officers. This search revealed the Hormigueros Post Office is approximately a 10 to
15 minute drive from the Cabo Rojo Post Office. At 12:29 p.m., a USPS surveillance camera
captured an image of Keishla ORENCH-FELICIANO at the Cabo Rojo Post Office.

Approximately 20 minutes later, at 12:50 p.m., a USPS surveillance video depicted ORENCH-

200
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 193 of 219 Document 1
FELICIANO conducting her transaction at the Hormigueros Post Office. Based upon their
training, experience, and familiarity with the investigation, case agents believe that Keishla
ORENCH-FELICIANO again intentionally visited two different post offices to mail the parcels in
order to conceal the contents of the parcels and her DTO participation.

Keishla ORENCH-FELICIANO’s multi-faceted concealment establishes
her knowledge of the parcels’ contents

353. Of the 18 different occasions USPS surveillance cameras captured Keishla
ORENCH-FELICIANO shipping suspected cocaine laden parcels, on six different dates she
shipped one parcel at a post office in western Puerto Rico and then on that same date traveled to
another post office in the vicinity to ship an additional suspected cocaine laden parcel. Case agents
believe that Keishla ORENCH-FELICIANO’s actions are meant to conceal the contents of the
parcels, and her involvement in the mailings.

Hector Yamil RODRIGUEZ-RODRIGUEZ discussed delivery of the parcels
mailed by Keishla ORENCH-FELICIANO

354. On July 29, 2019, in an intercepted call at approximately 9:31 a.m., Hector Yamil
RODRIGUEZ-RODRIGUEZ and Jose GONZALEZ-COLLADO spoke via _ telephone.
GONZALEZ-COLLADO, using TARGET TELEPHONE-5, called Hector Yamil RODRIGUEZ-
RODRIGUEZ. During the intercepted call, GONZALEZ-COLLADO and Hector Yamil
RODRIGUEZ-RODRIGUEZ spoke about cocaine laden packages being delivered on this date.
GONZALEZ-COLLADO stated, “Yeah, that is arriving.” GONZALEZ-COLLADO asked Hector
Yamil RODRIGUEZ-RODRIGUEZ, “You checked it?’ Hector Yamil RODRIGUEZ-
RODRIGUEZ replied, “Yes, I checked them all out.” Hector Yamil RODRIGUEZ-RODRIGUEZ
later stated in the same conversation, “Yes, they're all for today. I] checked on it at 8:00 this
morning, the one that was closer to delivery was Holton's on the east side. But the other ones are

at the post office ready for delivery. They will be go out any moment for delivery.” Based upon

Case 2:20-mj-00822-WEC Filed o2tbo Page 194 of 219 Document 1
their training, experience, and familiarity with the investigation, case agents believe GONZALEZ-
COLLADO asked whether Hector Yamil RODRGIEUZ-RODRIGUEZ tracked the parcels
shipped by Keishla on July 26, 2019, to determine time of delivery. RODRIGUEZ-RODRIGUEZ
confirmed he was tracking the parcels, and the tracking information indicated a July 29, 2019,
delivery date.

355. Based upon a review of postal records, a case agent discovered five different
suspicious parcels, two of which were shipped by Keishla ORENCH-FELICIANO, and all five
were delivered on July 29, 2019. On July 29, 2019, the two parcels shipped by Keishla ORENCH-
FELICIANO were delivered by approximately 2:50 p.m. At approximately 4:08 p.m., Hector
Yamil RODRIGUEZ-RODRIGUEZ using TARGET TELEPHONE-5 called GONZALEZ-
COLLADO to inquire about the cocaine the DTO received through the mail on this date.
GONZALEZ-COLLADO asked RODRIGUEZ-RODRIGUEZ, “So, how does the job look?”
RODRIGUEZ-RODRIGUEZ replied, “It looks good, but I don't know. I'm not too sure about it.”
Based upon their training, experience, and familiarity with the investigation, case agents know the
coded word “job” in this context refers to a controlled substance and the readiness of DTO

members to begin distributing it.

Keishla ORENCH-FELICIANO shipped a parcel containing
one kilogram of cocaine to Pennsylvania

356. On September 6, 2019, after reviewing USPS business records, Postal Inspector
Fink identified USPS Priority Mail parcel 9505511451519248058789 as a DTO parcel. A review
of USPS records revealed that the parcel weighed approximately 5 Ibs. 12 ounces. The parcel’s
shipping label indicated it was sent from “Alexandra Alnodobal, HC 02 7981 Hormigueros, P.R.
00660.” The parcel bore a handwritten label addressed to “Thomas Allen, 1435 Buffalo Rd, Erie

PA 16503.” Case agents received a USPS surveillance video which depicted Keishla ORENCH-

202
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 195 of 219 Document 1
FELICIANO shipping this parcel. After receiving this information, Inspector Fink directed this
parcel back to Milwaukee, Wisconsin for further scrutiny.

357. On September 13, 2019, Inspector Fink received a federal search warrant, issued
by United States Magistrate Judge William E. Duffin, Eastern District of Wisconsin, for this
parcel. Upon execution of the search warrant, case agents discovered the parcel contained
suspected cocaine with a gross weight of approximately 1,012 grams and the kilogram depicted a
“HERMES” stamp on one side.

358. On October 8, 2019, a U.S. Postal Service surveillance camera captured an image
of Keishla ORENCH-FELICIANO — shipping USPS _ Priority Mail parcel
9505510977179281341437 from the Mayaguez Post Office, located in western Puerto Rico. A
review of USPS records revealed that the parcel weighed approximately 8 lbs. 6 ounces. The
parcel’s shipping label indicated it was sent from “Luis Roman, Urb. San Jose Calle Vista Mar
#35 Mayaguez P.R. 00680.” The parcel bore a handwritten label addressed to “Julio Seda, 1968
S 8th St Lower, Milwaukee Wi 53204.” A search of a law enforcement database revealed no
person by the name of Julio Seda currently lives, or has lived, at 1968 South 8th Street, Milwaukee,
WI 53204. Based upon their training, experience, and familiarity with the investigation, case
agents believe the weight of the package is consistent with approximately one to two kilograms
of cocaine.

DTO members discuss another cocaine laden parcel sent by Keishla ORENCH-FELICIANO

359. Case agents’ review of USPS records revealed that USPS Priority Mail parcel
9505510977179281341437 was delivered on October 10, 2019, at approximately 2:13 p.m. On
October 10, 2019, at approximately 2:12 p.m., Jomar LABOY-SILVA and GONZALEZ-

COLLADO spoke by telephone. LABOY-SILVA called GONZALEZ-COLLADO (i.e. TARGET

Case 2:20-mj-00822-WEC Filed o2/t 850 Page 196 of 219 Document 1
TELEPHONE: S) and stated, “Done. Come over here.” GONZALEZ-COLLADO responded, “Ill
go over there right now.” Based upon their training, experience, and familiarity with the
investigation, case agents believe LABOY-SILVA had just received the parcel shipped by Keishla
ORENCH-FELICIANO and advised GONZALEZ-COLLADO that the package had been

delivered and was ready to be picked up.

Wilberto SANTIAGO-MARTINEZ

360. Wilberto SANTIAGO-MARTINEZ is an Hispanic male born on March 30, 1981.
He resides at 2151 South 16th Street, Milwaukee, Wisconsin. This has been confirmed by
investigation and surveillance. The investigation to date has revealed that SANTIAGO-
MARTINEZ is a mid-level distributor of cocaine for at least one member of the DTO, and requests
distribution quantities of narcotics. Between June 20, 2019, and December 27, 2019, over 40
intercepted communications occurred between SANTIAGO-MARTINEZ utilizing telephone
number (414) 501-9716 and DTO Target Telephone numbers that were deemed criminal and
pertinent in nature.!¢

361. On October 24, 2019, intercepted communication occurred between Hector Yamil
RODRIGUEZ-RODRIGUEZ (ie. TARGET TELEPHONE-7) and SANTIAGO-
MARTINEZ. At 11:22 am., SANTIAGO-MARTINEZ called Hector Yamil RODRIGUEZ-
RODRIGUEZ on TARGET TELEPHONE-7 stating, “Buddy this is my number. When you
called, it didn’t come out.” Hector Yamil RODRIGUEZ-RODRIGUEZ responded, “Okay, that’s

fine. Go ahead. I will call you back.”

 

16 See also paragraphs 206-207 supra, for a discussion of two undercover cocaine purchases from ROSA and
SANTIAGO-MARTINEZ in December, 2018.

204
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 197 of 219 Document 1
 

Hector Yamil RODRIGUEZ-RODRIGUEZ supplied SANTIAGO-MARTINEZ with five
grams of heroin

362. Later on October 24, 2019, 12:15 p.m., Hector Yamil RODRIGUEZ-RODRIGUEZ
(ie. TARGET TELEPHONE-7) called SANTIAGO-MARTINEZ asking, “Hey where are
you?” SANTIAGO-MARTINEZ responded, “At the barbershop on 62™ and Lincoln.” Hector
Yamil RODRIGUEZ-RODRIGUEZ stated, “Oh, I am on Cleveland and 10°.” SANTIAGO-
MARTINEZ related to Hector Yamil RODRIGUEZ-RODRIGUEZ that once he finished with the
haircut he would return Hector Yamil RODRIGUEZ-RODRIGUEZ’ call. Based upon their
training, experience, and familiarity with the investigation, case agents know SANTIAGO-
MARTINEZ has worked at barbershops within Southeastern Wisconsin.

363. Later on October 24, 2019, 1:24 p.m., SANTIAGO-MARTINEZ called Hector
Yamil RODRIGUEZ-RODRIGUEZ using TARGET TELEPHONE-’7 and asked, “Did you tell me
on 10" and Cleveland?” Hector Yami] RODRIGUEZ-RODRIGUEZ confirmed the location with
SANTIAGO-MARTINEZ. SANTIAGO-MARTINEZ replied, “Alright I am on my way. I am
turning on 16,” SANTIAGO-MARTINEZ asked, “Listen up how many are you going to give
me? He gives me 20 but ....” Hector Yamil RODRIGUEZ-RODRIGUEZ responded,
“Five.” SANTIAGO-MARTINEZ replied, “That’s fine. Not a problem. We’ll be there.” Based
upon their training, experience, and familiarity with the investigation, case agents believe Hector
Yamil RODRIGUEZ-RODRIGUEZ supplied SANTIAGO-MARTINEZ with five grams of
heroin because heroin is commonly sold in five gram increments.

SANTIAGO-MARTINEZ paid Hector Yamil RODRIGUEZ-RODRIGUEZ drug money

364. On October 29, 2019, at 7:28 p.m., intercepted communication occurred between
SANTIAGO-MARTINEZ and Hector Yamil RODRIGUEZ-RODRIGUEZ (i.e. TARGET

TELEPHONE-7). SANTIAGO-MARTINEZ asked, “Are you home, dude?” Hector Yamil

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Case 2:20-mj-00822-WEC Filed 02/8130 Page 198 of 219 Document 1
RODRIGUEZ-RODRIGUEZ replied, “Yes, dude.””» SANTIAGO-MARTINEZ stated, “I’m going
to stop by to bring you a couple bucks.” RODRIGUEZ-RODRIGUEZ answered,
“Alright.” Based upon their training, experience, and familiarity with the investigation, case
agents believe SANTIAGO-MARTINEZ owed RODRIGUEZ-RODRIGUEZ for a past drug debt

and was going to drop off the U.S. Currency at RODRIGUEZ-RODRIGUEZ’s residence.

Julio SEDA-MARTINEZ

365. Julio SEDA-MARTINEZ (a/k/a “Bebe,” and “Bebo’) is an Hispanic male born on
January 2, 1981, who resides at 2428 South 9" Street, Milwaukee, Wisconsin. The investigation
to date has revealed Julio SEDA-MARTINEZ is a lower-level distributor of cocaine for at least
one member of GONZALEZ-COLLADO’s DTO, and facilitates the receipt of Milwaukee-bound
shipments of cocaine from Puerto Rico. SEDA-MARTINEZ has used cellular telephone assigned
numbers (414) 233-1544, (414) 600-9108, (262) 693-2012, (414) 213-2279, (414) 406-7420, (414)
331-8436 and (262) 505-7250 all of which has been intercepted over the TARGET
TELEPHONES. Between June 20, 2019 and December 27, 2019, over 400 intercepted
communications have occurred between Julio SEDA-MARTINEZ and DTO Target Telephone
numbers that were deemed criminal and pertinent in nature.

SEDA-MARTINEZ obtains cocaine and heroin for further distribution
SEDA-MARTINEZ obtains cocaine and heroin from GONZALEZ-COLLADO and APONTE-
LEBRON, and discusses price increases and overdose of heroin customer

366. On numerous occasions, SEDA-MARTINEZ obtained cocaine or heroin for
further distribution from GONZALEZ-COLLADO, Hector Yamil RODRIGUEZ-RODRIGUEZ,
and their associates. For instance, on August 8, 2019, at 10:13 am., TARGET TELEPHONE-2
(ie., APONTE-LEBRON) received a call from (414) 331-8436 (i.c., SEDA-MARTINEZ).

During the intercepted call, SEDA-MARTINEZ said, “I need two.” APONTE-LEBRON asked,

206
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 199 of 219 Document 1
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“Two what?” SEDA-MARTINEZ replied, “Halves.” APONTE-LEBRON asked, “Two of
fourteen?” SEDA-MARTINEZ said, “Yes.” APONTE-LEBRON asked, “For when?” SEDA-
MARTINEZ replied, “[I]n an hour and a half or two hours, so have it ready.” APONTE-LEBRON
said, “I will get it fast. I don’t want to be going around with that because things are hot.” Based
upon their training, experience, and familiarity with the investigation, case agents believe SEDA-
MARTINEZ requested two half-ounce (i.e., 14 gram) quantities of cocaine for further distribution.
APONTE-LEBRON indicated he would retrieve the cocaine closer to when SEDA-MARTINEZ
needed it to avoid any unnecessary risk of seizure by law enforcement.

367. On August 8, 2019, at 10:33 am., TARGET TELEPHONE-2 (i.e., APONTE-
LEBRON) received a call from (414) 331-8436 (i.e., SEDA-MARTINEZ). During the intercepted
call, APONTE-LEBRON asked, “Cheito did not tell you yesterday?” SEDA-MARTINEZ asked,
“What?” APONTE-LEBRON replied, “The ounces went up $50 and the other ones went up $25
... the fourteens.” Based upon their training, experience, and familiarity with the investigation,
case agents believe APONTE-LEBRON notified SEDA-MARTINEZ that GONZALEZ-
COLLADO increased the price of ounce and half-ounce quantities of cocaine.

368. Later in the conversation, SEDA-MARTINEZ asked, “[I]f you have some of that
one, you already know... .”» APONTE-LEBRON interjected, “There is no more of that; it’s gone.”
SEDA-MARTINEZ repeated, “It’s gone?” APONTE-LEBRON said, “Yes.” SEDA-MARTINEZ
commented, “Because the other one is too potent. The other one dropped my friend to the ground.”
Based upon their training, experience, and familiarity with the investigation, case agents believe
SEDA-MARTINEZ was referring to heroin when inquiring about the availability of the “other
one.” Furthermore, SEDA-MARTINEZ disclosed the heroin previously supplied by APONTE-

LEBRON was so potent that it caused a friend to overdose (i.e., he dropped to the ground).

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Case 2:20-mj-00822-WEC Filed o2/fs/b0 Page 200 of 219 Document 1
APONTE-LEBRON asked, “That was the last one, right?” SEDA-MARTINEZ replied, “Yes, last
one, the one you brought me,” confirming the potent heroin was indeed supplied by APONTE-
LEBRON. APONTE-LEBRON commented, “I told you that that was good.” SEDA-MARTINEZ
responded, “It dropped him to the floor, really fucked,” and continued, “I had to give him two
shocks of that — that revives people when they overdose,” indicating he used Narcan to revive his
friend who experienced a heroin overdose. APONTE-LEBRON said, “The thing is that that was
in the living room of [unintelligible] and I said, “Devil, if this fucker dies here, then I am really
fucked,” indicating he was responsible for providing the heroin to his friend.

SEDA-MARTINEZ obtains cocaine from Hector Yamil RODRIGUEZ-RODRIGUEZ
and disputes drug debt

369. On September 25, 2019, at 12:24 am., TARGET TELEPHONE-6 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) received the following text from (414) 406-7420 (i.e.,
SEDA-MARTINEZ): “Fucker and the 2 oz.” Based upon their training, experience, and
familiarity with the investigation, case agents believe SEDA-MARTINEZ was inquiring about two
ounces of cocaine.

370. On September 25, 2019, at 10:59 am., TARGET TELEPHONE-6 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) received a call from (414) 406-7420 (1.e., SEDA-
MARTINEZ). During the intercepted call, SEDA-MARTINEZ said, “I need two and two.” Hector
Yamil RODRIGUEZ-RODRIGUEZ replied, “Let me see... [unintelligible] at home. Jam waiting
for something today,” indicating his cocaine supply would be replenished that day. SEDA-
MARTINEZ said, “Look, at least 2 beforehand.” Hector Yamil RODRIGUEZ-RODRIGUEZ
responded, “Let me go to the house and I will check,” indicating he would see if he had the

requested quantity of cocaine at his residence.

208
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 201 of 219 Document 1
 

371. On September 25, 2019, at 12:39 p.m., TARGET TELEPHONE-6 (i.e., Hector
Yamil RODRIGUEZ-RODRIGUEZ) called (414) 406-7420 (i.e., SEDA-MARTINEZ). During
the intercepted call, Hector Yamil RODRIGUEZ-RODRIGUEZ asked, “Listen to me . . . how
much did you give to Tufo?” SEDA-MARTINEZ replied, “I gave him... . mmmm 1,970,”
indicating he paid CORTES-IRIZARRY $1,970 for the cocaine. Hector Yamil RODRIGUEZ-
RODRIGUEZ asked, “Wasn’t it $4,000 or was it not $4,000?” SEDA-MARTINEZ replied, “It
was two ounces, fucker,” indicating he purchased only two ounces of cocaine from CORTES-
IRIZARRY. Hector Yamil RODRIGUEZ-RODRIGUEZ responded, “It was 3.5 and the half that
you had . . . or is it not like that?” SEDA-MARTINEZ replied, “No, fucker!” Hector Yamil
RODRIGUEZ-RODRIGUEZ said, “It was 2.5 and half that you had. Remember that you took
half first, that you had at your house and then you got 2.5.” SEDA-MARTINEZ responded,
“Fucker, I squared that away with you two days ago!” Hector Yamil RODRIGUEZ-RODRIGUEZ
replied, “Cock sucker, I haven’t seen you since two days ago.” Based upon their training,
experience, and familiarity with the investigation, case agents believe Hector Yamil
RODRIGUEZ-RODRIGUEZ and SEDA-MARTINEZ were disputing the money SEDA-
MARTINEZ owed for cocaine previously supplied to SEDA-MARTINEZ.

SEDA-MARTINEZ mails drug proceeds

 

SEDA-MARTINEZ mails drug proceeds to Puerto Rico
372. On August 7, 2019, at 5:32 p.m., TARGET TELEPHONE-4 (i.e., APONTE-

LEBRON) called (414) 331-8436, used by SEDA-MARTINEZ. During the intercepted call,
SEDA-MARTINEZ said, “It’s me Bebe. I am here at the house.” APONTE-LEBRON said,
“Come on, so we can go send a box that Cheito (i.e., GONZALEZ-COLLADO) is sending.” On
the same date, at 5:43 p.m., U.S. Postal Service surveillance cameras captured SEDA-MARTINEZ

carrying a USPS priority medium flat rate package into the West Milwaukee Post Office. The

209
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 202 of 219 Document 1
package was addressed to “Moises Gonzalez, Balboa 33 PMB 204, Mayaguez, PR 00680.”
SEDA-MARTINEZ was not the person listed as the return addressee. Based upon their training,
experience, and familiarity with the investigation, case agents believe SEDA-MARTINEZ was
mailing drug proceeds to Mayaguez, Puerto Rico, a municipality investigators identified as a place
where known or suspected cocaine-laden parcels are mailed to locations in the continental United
States, including Milwaukee, Wisconsin.

373. On September 11, 2019, at 4:51 p.m., U.S. Postal Service surveillance cameras
captured SEDA-MARTINEZ carrying a USPS priority medium flat rate package into the Harbor
Post Office. The package was again addressed to “Moises Gonzalez, Balboa 33 PMB 204,
Mayaguez P.R. 00680.” SEDA-MARTINEZ was not the person listed as the return addressee.
Based upon their training, experience, and familiarity with the investigation, case agents believe
SEDA-MARTINEZ was mailing drug proceeds to Mayaguez, Puerto Rico, a municipality
investigators identified as a place where known or suspected cocaine-laden parcels are mailed to
locations in the continental United States, including Milwaukee, Wisconsin.

SEDA-MARTINEZ mails drug proceeds to Mission, Texas

374. On August 21, 2019, at 1:08 p.m., TARGET TELEPHONE-8 (i.e., GONZALEZ-
COLLADO) called TARGET TELEPHONE-4 (i.e., APONTE-LEBRON). During the intercepted
call, GONZALEZ-COLLADO said, “[Y]ou can come to pick a box up, because . . . I’ll prepare
another one.” Later in the conversation, APONTE-LEBRON said, “I’ll pick Bebe up so he can
drop that one off.” GONZALEZ-COLLADO said, “‘That is fine,” and continued, “because when
you get here, you have to drop this one off and another one.” APONTE-LEBRON asked, “Which
one?” GONZALEZ-COLLADO said, “You can send the other as a regular package; there is no

money in there.” APONTE-LEBRON answered, “Okay, then.” GONZALEZ-COLLADO said,

210
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 203 of 219 Document 1
 

“Bebe can send this one,” indicating SEDA-MARTINEZ, who is known by the nickname “Bebe,”
would send the money-laden parcel.

375. On August 21, 2019, at 2:27 p.m., investigators observed APONTE-LEBRON
arrive at 6652 N. 43 Street, Milwaukee, Wisconsin (i.e., GONZALEZ-COLLADO’s residence)
in his vehicle. APONTE-LEBRON entered the residence empty handed. At 2:37 p.m., APONTE-
LEBRON exited the residence and returned to his vehicle with two packages. Investigators
observed GONZALEZ-COLLADO speak with APONTE-LEBRON before APONTE-LEBRON
departed the residence. At 3:01 p.m., TARGET TELEPHONE-4 (i.e., APONTE-LEBRON)
received a call from (414) 676-7528, used by Enid MARTINEZ. During the intercepted call,
APONTE-LEBRON said, “I’m around 13" to go pick up Bebe,” indicating he would be picking
up SEDA-MARTINEZ.

376. On August 21, 2019, at 3:16 p.m., U.S. Postal Service surveillance cameras
captured SEDA-MARTINEZ carrying a package into the Harbor Post Office, located at 1416
South 11" Street, Milwaukee, Wisconsin. The package was addressed to “Daniel de la Cruz, 2800
Abbot Avenue, Mission, TX 78574.” Mission, Texas is situated near the U.S. border with Mexico.
The package was mailed on the same date. USPI Fink obtained a warrant to search the contents
of the package before it was returned to the stream of mail. The package contained $20,000 in
U.S. currency. GPS data indicated TARGET TELEPHONE-4 (i.e., APONTE-LEBRON) was
within 16 meters of the Harbor Post Office at 3:20 p.m. on August 21, 2019.

377. On August 21, 2019, at 4:04 p.m., TARGET TELEPHONE-4 (i.e., APONTE-
LEBRON) received a call from TARGET TELEPHONE-8 (i.e... GONZALEZ-COLLADO),.
During the intercepted call, GONZALEZ-COLLADO asked, “Did you send that?” APONTE-

LEBRON replied, “Yes,” and later noted, “Bebe sent one,” indicating SEDA-MARTINEZ had

211
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 204 of 219 Document 1
mailed the money-laden package. Based upon their training, experience, and familiarity with the
investigation, case agents believe SEDA-MARTINEZ’s money-laden mailing to the border region,
a source area for illegal drugs, constituted proceeds from the sale of illegal drugs.
SEDA-MARTINEZ facilitates the receipt of kilogram-quantities of cocaine in Milwaukee

378. U.S. Postal Service records revealed that six parcels were delivered to SEDA-
MARTINEZ’s residence, located at 2428 South 9 Street, Milwaukee, Wisconsin. For example,
on September 5, 2019, a 9-pound 13 ounce parcel was shipped from Cabo Rojo, Puerto Rico, to
Julio Martinez at 2428 South 9™ Street, Milwaukee, Wisconsin. Based upon their training,
experience, and familiarity with the investigation, case agents believe this parcel, as well as the
other comparable parcels mailed to this address, contained kilogram-quantities of cocaine.
Furthermore, according to CS-2, SEDA-MARTINEZ, at the behest of GONZALEZ-COLLADO
and his associates, retrieves cocaine-laden parcels sent from Puerto Rico.

Jose M. AVILES-GONZALEZ

379. JOSE M. AVILES-GONZALEZ, (a/k/a “Josema” and ‘“Manuel”) is an Hispanic
male born on June 12, 1994. He resides at 120 E. National Avenue, #326, Milwaukee, Wisconsin
53204. A check of utilities through WE Energies revealed that services were established on August
4, 2019 in the name of Daisy M. VELEZ-COLLET. AVILES-GONZALEZ is a mid-level cocaine
distributor, who is supplied by GONZALEZ-COLLADO and his associates. Between June 20,
2019 and December 27, 2019, over 90 intercepted communications deemed criminal and pertinent
have occurred between AVILES-GONZALEZ, using cellular phone number (414) 393-7182,!”

and various TARGET TELEPHONE numbers.

 

17 On December 3, 2019, while conducting surveillance at the Golden Domes Apartments, investigators observed
AVILES-GONZALEZ exiting the apartment complex. At this time, an investigator called (414) 393-7182 and
observed A VILES-GONZALEZ immediately answer his cellular phone, confirming that he was the user of (414) 393-
7182.

212
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 205 of 219 Document 1
 

AVILES-GONZALEZ and GONZALEZ-COLLADO discuss kilogram
and half-kilogram prices for cocaine

380. On October 12, 2019, at 1:19 p.m., TARGET TELEPHONE-9 (i.e., GONZALEZ-
COLLADO) received a call from (414) 393-7182, used by AVILES-GONZALEZ. During the
intercepted call, GONZALEZ-COLLADO said, “I have some stuff around faggot.” AVILES-
GONZALEZ asked, “Yeah?” GONZALEZ-COLLADO replied, “Yes, I can give it to you for 19
2 for half and a whole one for 31.” Based upon their training, experience, and familiarity with the
investigation, case agents believe GONZALEZ-COLLADO offered to sell AVILES-GONZALEZ
500 grams (one-half kilogram) of cocaine for $19,500 or a kilogram of cocaine for $31,000.
AVILES-GONZALEZ responded, “Um, let me... Um, well, I’m going to need half soon, because,
um, I already grabbed something,” indicating he would soon need 500 grams (one-half kilogram)
of cocaine. AVILES-GONZALEZ added, “But I got it for 30,” indicating he was already able to
obtain a kilogram of cocaine for $30,000. AVILES-GONZALEZ reiterated, “But I’m going to
need half either tomorrow or the following day.”, GONZALEZ-COLLADO responded, “Well,
call me. I have it there fucker, and it looks .. . you have to see it, it looks badass,” indicating he
had good-quality cocaine available for AVILES-GONZALEZ should he need it.

AVILES-GONZALEZ supplied 500 grams of cocaine by GONZALEZ-COLLADO

381. On November 8, 2019, at 12:24 pm. TARGET TELEPHONE-9 (Le.,
GONZALEZ-COLLADO) called TARGET TELEPHONE-? (i.e., APONTE-LEBRON). During
the intercepted call, GONZALEZ-COLLADO said, “Viejo, do not take too long because I got half
a ‘tabla’ for Josema.”, APONTE-LEBRON said, “And this one called me that he is going to take
a complete one, I don’t know. He told you?” GONZALEZ-COLLADO asked, “Who?”
APONTE-LEBRON replied, “Steven.” GONZALEZ-COLLADO subsequently said, “[O]pen that

up and check how much there is. See if there is one and a half. If there is, give one to this faggot

213
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 206 of 219 Document 1
(i.e., “Steven”), and half to Josema.” Based upon their training, experience, and familiarity with
the investigation, case agents believe GONZALEZ-COLLADO directed APONTE-LEBRON to
open a newly arrived parcel to see if it contained 1.5 kilograms of cocaine; if so, APONTE-
LEBRON was to give a kilogram of cocaine to “Steven,” and 500 grams (one-half kilogram) of
cocaine to AVILES-GONZALEZ.

382. OnNovember 8, 2019, at 3:41 p.m., TARGET TELEPHONE 9 (i.e., GONZALEZ-
COLLADO) received a call from (414) 393-7182 (i.e, AVILES-GONZALEZ). During the
intercepted call, GONZALEZ-COLLADO asked, “Should I call him?” AVILES-GONZALEZ
replied, “Yeah, call him to go pick it up,” indicating he wanted GONZALEZ-COLLADO to have
APONTE-LEBRON obtain 500 grams (one-half kilogram) of cocaine for him. At 3:42 p.m.,
TARGET TELEPHONE-9 (i.e., GONZALEZ-COLLADO) called TARGET TELEPHONE-2
(i.e., APONTE-LEBRON). During the intercepted call, GONZALEZ-COLLADO said, “Josema
just called me.” APONTE-LEBRON responded, “He called you? Tell him to wait for me in the
house too. I’m going there now,” indicating he would meet AVILES-GONZALEZ to conduct the
cocaine transaction. GONZALEZ-COLLADO said, “Alright.” At 3:43 p.m., TARGET
TELEPHONE-9 (i.e., GONZALEZ-COLLADO) called (414) 393-7182 (i.e, AVILES-
GONZALEZ). During the intercepted call, GONZALEZ-COLLADO said, “He is over there,”
indicating APONTE-LEBRON was ready to conduct the cocaine transaction. AVILES-
GONZALEZ responded, “I’m going over there.”

383. On November 12, 2019, at approximately 1:56 p.m., TARGET TELEPHONE-9,
(i.e., GONZALEZ-COLLADO) called (414) 393-7182 (i.e., AVILES-GONZALEZ). During the
intercepted call, GONZALEZ-COLLADO inquired about the quality of the cocaine he recently

supplied by asking, “Hey, you liked that right?” AVILES-GONZALEZ replied, “Yeah. That was

214
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 207 of 219 Document 1
good.” Later in the same conversation, GONZALEZ-COLLADO stated, “Well let me know. I
have more of that,” indicating he had more cocaine available for AVILES-GONZALEZ.
AVILES-GONZALEZ asked, “You have more? Okay then. When I have a little less. J have
around six left. Around that. I'll call you.”

AVILES-GONZALEZ identifies Hector Yamil RODRIGUEZ-RODRIGUEZ as an
additional kilogram-quantity cocaine source

384. On December 1, 2019, at 4:41 p.m., TARGET TELEPHONE-6 (i.e., Hector Yamil
RODRIGUEZ-RODRIGUEZ) called (414) 393-7182 (i.e., AVILES-GONZALEZ). During the
intercepted call, AVILES-GONZALEZ said, “I called you a while ago for a [unintelligible] half
because I didn’t have any,” and continued, “or a complete one. I didn’t have any left but I was
able to figure it out, I called you a bunch of times, called Vlado too, and nobody answered me.”
Based upon their training, experience, and familiarity with the investigation, case agents believe
AVILES-GONZALEZ had unsuccessfully sought Hector Yamil RODRIGUEZ-RODRIGUEZ,
and his brother, Vladimir RODRIGUEZ-RODRIGUEZ to purchase 500 grams (one-half
kilogram) or a kilogram of cocaine, but was able to find an alternative cocaine source.

VI. COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

385. As described above and in Attachment B, this application seeks permission to
search for records that might be found on the PREMISES, in whatever form they are found. One
form in which the records might be found is data stored on a computer’s hard drive or other storage
media. Thus, the warrant applied for would authorize the seizure of electronic storage media or,
potentially, the copying of electronically stored information, all under Rule 41(e)(2)(B).

386. Probable cause. | submit that if a computer or storage medium is found on the
PREMISES, there is probable cause to believe those records will be stored on that computer or

storage medium, for at least the following reasons:

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Case 2:20-mj-00822-WEC Filed 02/180 Page 208 of 219 Document 1
Based on my knowledge, training, and experience, I know that computer
files or remnants of such files can be recovered months or even years after
they have been downloaded onto a storage medium, deleted, or viewed via
the Internet. Electronic files downloaded to a storage medium can be stored
for years at little or no cost. Even when files have been deleted, they can be
recovered months or years later using forensic tools. This is so because
when a person “deletes” a file on a computer, the data contained in the file
does not actually disappear; rather, that data remains on the storage medium
until it is overwritten by new data.

Therefore, deleted files, or remnants of deleted files, may reside in free
space or slack space—that is, in space on the storage medium that is not
currently being used by an active file—for long periods of time before they
are overwritten. In addition, a computer’s operating system may also keep
a record of deleted data in a “swap” or “recovery” file.

Wholly apart from user-generated files, computer storage media—in
particular, computers’ internal hard drives—contain electronic evidence of
how a computer has been used, what it has been used for, and who has used
it. To give a few examples, this forensic evidence can take the form of
operating system configurations, artifacts from operating system or
application operation, file system data structures, and virtual memory
“swap” or paging files. Computer users typically do not erase or delete this
evidence, because special software is typically required for that task.
However, it is technically possible to delete this information.

Similarly, files that have been viewed via the Internet are sometimes
automatically downloaded into a temporary Internet directory or “cache.”

387. Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how computers

were used, the purpose of their use, who used them, and when. There is probable cause to believe

that this forensic electronic evidence will be on any storage medium in the PREMISES because:

a.

Data on the storage medium can provide evidence of a file that was once on
the storage medium but has since been deleted or edited, or of a deleted
portion of a file (such as a paragraph that has been deleted from a word
processing file). Virtual memory paging systems can leave traces of
information on the storage medium that show what tasks and processes were
recently active. Web browsers, e-mail programs, and chat programs store
configuration information on the storage medium that can reveal

216

Case 2:20-mj-00822-WEC Filed 02/18/20 Page 209 of 219 Document 1
 

information such as online nicknames and passwords. Operating systems
can record additional information, such as the attachment of peripherals, the
attachment of USB flash storage devices or other external storage media,
and the times the computer was in use. Computer file systems can record
information about the dates files were created and the sequence in which
they were created, although this information can later be falsified.

b. As explained herein, information stored within a computer and other
electronic storage media may provide crucial evidence of the “who, what,
why, when, where, and how” of the criminal conduct under investigation,
thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion. In my training
and experience, information stored within a computer or storage media
(e.g., registry information, communications, images and movies,
transactional information, records of session times and durations, internet
history, and anti-virus, spyware, and malware detection programs) can
indicate who has used or controlled the computer or storage media. This
“user attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence. The existence
or absence of anti-virus, spyware, and malware detection programs may
indicate whether the computer was remotely accessed, thus inculpating or
exculpating the computer owner. Further, computer and storage media
activity can indicate how and when the computer or storage media was
accessed or used. For example, as described herein, computers typically
contain information that log: computer user account session times and
durations, computer activity associated with user accounts, electronic
storage media that connected with the computer, and the IP addresses
through which the computer accessed networks and the internet. Such
information allows investigators to understand the chronological context of
computer or electronic storage media access, use, and events relating to the
crime under investigation. Additionally, some information stored within a
computer or electronic storage media may provide crucial evidence relating
to the physical location of other evidence and the suspect. For example,
images stored on a computer may both show a particular location and have
geolocation information incorporated into its file data. Such file data
typically also contains information indicating when the file or image was
created. The existence of such image files, along with external device
connection logs, may also indicate the presence of additional electronic
storage media (e.g., a digital camera or cellular phone with an incorporated
camera). The geographic and timeline information described herein may
either inculpate or exculpate the computer user. Last, information stored
within a computer may provide relevant insight into the computer user’s
state of mind as it relates to the offense under investigation. For example,
information within the computer may indicate the owner’s motive and intent
to commit a crime (e.g., internet searches indicating criminal planning), or
consciousness of guilt (e.g., running a “wiping” program to destroy

217
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 210 of 219 Document 1
evidence on the computer or password protecting/encrypting such evidence
in an effort to conceal it from law enforcement).

c. A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context, draw conclusions
about how computers were used, the purpose of their use, who used them,
and when.

d. The process of identifying the exact files, blocks, registry entries, logs, or
other forms of forensic evidence on a storage medium that are necessary to
draw an accurate conclusion is a dynamic process. While it is possible to
specify in advance the records to be sought, computer evidence is not
always data that can be merely reviewed by a review team and passed along
to investigators. Whether data stored on a computer is evidence may depend
on other information stored on the computer and the application of
knowledge about how a computer behaves. Therefore, contextual
information necessary to understand other evidence also falls within the
scope of the warrant.

e. Further, in finding evidence of how a computer was used, the purpose of its
use, who used it, and when, sometimes it is necessary to establish that a
particular thing is not present on a storage medium. For example, the
presence or absence of counter-forensic programs or anti-virus programs
(and associated data) may be relevant to establishing the user’s intent.

f. I know that when an individual uses a computer to operate a website that is
used for illegal conduct, the individual’s computer will generally serve both
as an instrumentality for committing the crime, and also as a storage
medium for evidence of the crime. The computer is an instrumentality of
the crime because it is used as a means of committing the criminal offense.
The computer is also likely to be a storage medium for evidence of crime.
From my training and experience, I believe that a computer used to commit
a crime of this type may contain: data that is evidence of how the computer
was used; data that was sent or received; notes as to how the criminal
conduct was achieved; records of Internet discussions about the crime; and
other records that indicate the nature of the offense.

388. Necessity of seizing or copying entire computers or storage media. In most cases,
a thorough search of a premises for information that might be stored on storage media often
requires the seizure of the physical storage media and later off-site review consistent with the
warrant. In lieu of removing storage media from the premises, it is sometimes possible to make an

image copy of storage media. Generally speaking, imaging is the taking of a complete electronic

218
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 211 of 219 Document 1
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picture of the computer’s data, including all hidden sectors and deleted files. Either seizure or

imaging is often necessary to ensure the accuracy and completeness of data recorded on the storage

media, and to prevent the loss of the data either from accidental or intentional destruction. This is

true because of the following:

a.

The time required for an examination. As noted above, not all evidence
takes the form of documents and files that can be easily viewed on site.
Analyzing evidence of how a computer has been used, what it has been used
for, and who has used it requires considerable time, and taking that much
time on premises could be unreasonable. As explained above, because the
warrant calls for forensic electronic evidence, it is exceedingly likely that it
will be necessary to thoroughly examine storage media to obtain evidence.
Storage media can store a large volume of information. Reviewing that
information for things described in the warrant can take weeks or months,
depending on the volume of data stored, and would be impractical and
invasive to attempt on-site.

Technical requirements. Computers can be configured in several different
ways, featuring a variety of different operating systems, application
software, and configurations. Therefore, searching them sometimes requires
tools or knowledge that might not be present on the search site. The vast
array of computer hardware and software available makes it difficult to
know before a search what tools or knowledge will be required to analyze
the system and its data on the Premises. However, taking the storage media
off-site and reviewing it in a controlled environment will allow its
examination with the proper tools and knowledge.

Variety of forms of electronic media. Records sought under this warrant
could be stored in a variety of storage media formats that may require off-
site reviewing with specialized forensic tools.

389. Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review of the media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

; ; 21
Case 2:20-mj-00822-WEC Filed 02/8130 Page 212 of 219 Document 1
scans of the entire medium, that might expose many parts of a hard drive to human inspection in
order to determine whether it is evidence described by the warrant.

390. Because multiple people share the PREMISES as a residence, it is possible that the
PREMISES will contain storage media that are predominantly used, and perhaps owned, by
persons who are not suspected of a crime. If it is nonetheless determined that that it is possible that
the things described in this warrant could be found on any of those computers or storage media,
the warrant applied for would permit the seizure and review of those items as well.

391. Unlocking Apple brand devices: | know based on my training and experience, as
well as from information found in publicly available materials including those published by Apple,
that Apple devices are used by many people in the United States, and that some models of Apple
devices such as iPhones and iPads offer their users the ability to unlock the device via the use of a
fingerprint or thumbprint (collectively, “fingerprint”) in lieu of a numeric or alphanumeric
passcode or password. This feature is called Touch ID.

a. If a user enables Touch ID on a given Apple device, he or she can register
up to 5 fingerprints that can be used to unlock that device. The user can then
use any of the registered fingerprints to unlock the device by pressing the
relevant finger(s) to the device’s Touch ID sensor, which is found in the
round button (often referred to as the “home” button) at the bottom center
of the front of the device. In my training and experience, users of Apple
devices that offer Touch ID often enable it because it is considered to be a
more convenient way to unlock the device than by entering a numeric or
alphanumeric passcode or password, as well as a more secure way to protect
the device’s contents. This is particularly true when the user(s) of the device
are engaged in criminal activities and thus have a heightened concern about
securing the contents of the device.

b. In some circumstances, a fingerprint cannot be used to unlock a device that
has Touch ID enabled, and a passcode or password must be used instead.
These circumstances include: (1) when more than 48 hours has passed since
the last time the device was unlocked and (2) when the device has not been
unlocked via Touch ID in 8 hours and the passcode or password has not
been entered in the last 6 days. Thus, in the event law enforcement
encounters a locked Apple device, the opportunity to unlock the device via

220
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 213 of 219 Document 1
 

Touch ID exists only for a short time. Touch ID also will not work to unlock
the device if (1) the device has been turned off or restarted; (2) the device
has received a remote lock command; and (3) five unsuccessful attempts to
unlock the device via Touch ID are made.

C. If Touch ID enabled Apple devices are found during a search of the
PREMISES, the passcode or password that would unlock such the devices
are presently unknown to law enforcement. Thus, it will likely be necessary
to press the finger(s) of the user(s) of any Apple device(s) found during the
search of the PREMISES to the device’s Touch ID sensor in an attempt to
unlock the device for the purpose of executing the search authorized by this
warrant. Attempting to unlock the relevant Apple device(s) via Touch ID
with the use of the fingerprints of the user(s) is necessary because the
government may not otherwise be able to access the data contained on those
devices for the purpose of executing the search authorized by this warrant.

d. In my training and experience, the person who is in possession of a device
or has the device among his or her belongings at the time the device is found
is likely a user of the device. However, in my training and experience, that
person may not be the only user of the device whose fingerprints are among
those that will unlock the device via Touch ID, and it is also possible that
the person in whose possession the device is found is not actually a user of
that device at all. Furthermore, in my training and experience, I know that
in some cases it may not be possible to know with certainty who is the user
of a given device, such as if the device is found in a common area of a
premises without any identifying information on the exterior of the device.
Thus, it will likely be necessary for law enforcement to have the ability to
require any occupant of the premises to press their finger(s) against the
Touch ID sensor of the locked Apple device(s) found during the search of
the PREMISES in order to attempt to identify the device’s user(s) and
unlock the device(s) via Touch ID.

e. Although I do not know which of a given user’s 10 fingerprints is capable
of unlocking a particular device, based on my training and experience I
know that it is common for a user to unlock a Touch ID-enabled Apple
device via the fingerprints on thumbs or index fingers. In the event that law
enforcement is unable to unlock the Apple device(s) found in the
PREMISES as described above within the five attempts permitted by Touch
ID, this will simply result in the device requiring the entry of a password or
passcode before it can be unlocked.

392. Due to the foregoing, I request that the Court authorize law enforcement to press
the fingers (including thumbs) of individuals found at the PREMISES to the Touch ID sensor of

the Apple brand device(s), such as an iPhone or iPad, found at the PREMISES for the purpose of

221
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 214 of 219 Document 1
attempting to unlock the device via Touch ID in order to search the contents as authorized by this
warrant.

VII. REQUEST FOR NIGHTIME SERVICE

393. I request that the Court authorize law enforcement authorities to serve warrants
during the nighttime, specifically 4:00 am., as set forth under Fed. R. Crim. Proc.
41(e)(2)(A)(~ii). Good cause for nighttime service exists because as discussed above, the
defendants listed herein are involved in trafficking significant amounts of narcotics across state
lines and are known to purchase firearms. Arrest and search warrants are sought/will be sought
for defendants in both Milwaukee, Wisconsin, and Puerto Rico. Case agents seek to
simultaneously execute all warrants in both Puerto Rico and Milwaukee, Wisconsin. Puerto Rico
is two hours ahead of Milwaukee, and because the Puerto Rican based targets are known to rise
early in the morning, these warrants must be executed at 6:00 a.m., or shortly thereafter. Delaying
the execution of these warrants for two hours is thus unfeasible, putting law enforcement at
risk. Arrest warrants are sought herein for QUINONES-RIOS, CONCEPCION-RIVERA, and
Roberto ORENCH-FELICIANO. Homeland Security Investigation agents based in Puerto Rico
have learned that ORENCH-FELICIANO’s residence is next to a commercial business known to
house local narcotics dealers who also serve as lookouts. The residences of both QUINONES-
RIOS and CONCEPCION-RIVERA are surrounded by family members. If the Wisconsin
warrants are not executed prior to 6:00 am., because of the difference in time DTO family
members in Puerto Rico have the ability to notify Milwaukee based DTO members. Thus, advance
notice to DTO members in Milwaukee will potentially endanger law enforcement as they will lose
the element of surprise, and this increases the risk of flight, and movement and/or evidence

destruction sought through the search warrants.

222
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 215 of 219 Document 1
Vit. CONCLUSION

394. Based on the forgoing, I believe there is probable cause to believe that the following
individuals have and are committing violations of federal law, including Title 21, United States
Code, Sections 841, 843, and 846; and Title 18, United States Code, Sections 1956(h) and 2. These
individuals are: David QUINONES-QUINONES, David Joel QUINONES-RIOS, Roberto
ORENCH-FELICIANO, Carlos Omar CONCEPCION-RIVERA, Yashira Jehovalis CORTES-
NIEVES, Jose GONZALEZ-COLLADO, Hector Yamil RODRIGUEZ-RODRIGUEZ, Marcos
APONTE-LEBRON, Vladimir RODRIGUEZ-RODRIGUEZ, Steven CORTES-IRIZARRY,
Keven TORRES-BONILLA, Andros MARTINEZ-PELLOT, Eric ROSA, Kadeja LEWIS, Yadier
ROSARIO, Julio RIVERA-RAMIREZ, Rafael RIVERA-HERNANDEZ, Ricardo BONILLA,
Jose BURGOS-RIVERA, Jomar LABOY-SILVA, Enid MARTINEZ, Alexander MORALES-
RIVERA, Keishla M. ORENCH-FELICIANO, Wilberto SANTIAGO-MARTINEZ, Julio SEDA-
MARTINEZ, Jose M. AVILES-GONZALEZ. I further believe that there is probable to believe
that located at and in the property described in Attachment A, there is evidence of drug trafficking
and fruits, instrumentalities and proceeds of drug trafficking, all of which is detailed more

specifically in Attachment B, Items to be Seized.

- 223
Case 2:20-mj-00822-WEC Filed 02/18/20 Page 216 of 219 Document 1
ATTACHMENT A

1656 South Pearl Street, Milwaukee, WI, to include all associated vehicles parked on the
premises, and the areas associated with “1656” in the garage and outbuildings at this address.
This property is a multifamily residence located at the corner of S. Pearl St. at S. 18th Street. It
is a two story residence with white siding, brown trim, and a brown roof. A wooden fence
surrounds the backyard of the residence. The entry doors are on the northwest portion of the
residence. The entry door for “1650” is off the large front porch. The numbers “1650” are
above a black mailbox to the right of the door. Another small porch is located to the west with
two entry doors. Above the entry door to the right (west) are the numbers “1652.” The door to
the right of that area has the numbers “1654” above it. A small porch is located to the right
(west) with the entry door for “1656.” The numbers “1656” are affixed to the trim above the
door. Another door is located on the east side of the residence, and there is a small porch on the
south side inside the fenced in area leading to another door. Inside the fenced in area is a
concrete parking slab.

 

Case 2:20-mj-00822-WEC Filed 02/18/20 Page 217 of 219 Document 1
ATTACHMENT B
Items To Be Seized

Paraphernalia associated with the manufacture and distribution of controlled substances
including but not limited to materials and items used for packaging, processing, diluting,
weighing, and distributing controlled substances;

Duffel, canvas bags, suitcases, safes, or other containers to hold or transport controlled
substances and drug trafficking related items and proceeds;

Proceeds of drug trafficking activities, such as United States currency, precious metals,
financial instruments, and jewelry, and documents and deeds reflecting the purchase or
lease of real estate, vehicles, precious metals, jewelry or other items obtained with the
proceeds from drug trafficking activities;

Firearms, including pistols, handguns, shotguns, rifles, assault weapons, machine guns,
magazines used to hold ammunition, silencers, components of firearms including laser
sights and other components which can be used to modify firearms, ammunition and
ammunition components, bulletproof vests, gun boxes and any and all documentation
related to the purchase of such items;

Bank account records, loan documents, wire transfer records, money order receipts, postal
express mail envelopes, bank statements, safe deposit box keys and records, money
containers, financial records and notes showing payment, receipt, concealment, transfer, or
movement of money generated from the sale of controlled substances, or financial
transactions related to the trafficking of controlled substances;

Drug or money ledgers, drug distribution or customer lists, drug supplier lists,
correspondence, notations, logs, receipts, journals, books, records, and other documents
noting the price, quantity, and/or times when controlled substances were obtained,
transferred, sold, distributed, and/or concealed;

Personal telephone books, address books, telephone bills, photographs, letters, cables,
telegrams, facsimiles, personal notes, receipts, documents and other items or lists reflecting
names, addresses, purchases, telephone numbers, addresses and communications regarding
illegal activities among and between members and associates involved in drug trafficking
activities;

Records of off-site storage locations, including but not limited to safe deposit box keys and
records, and records and receipts and rental agreements for storage facilities;

Cellular telephones, text messaging systems, other communication devices, and all
electronic storage areas on the device including stored telephone numbers, recently called
numbers list, text messages, digital audio and/or video recordings, pictures, settings, and

Case 2:20-mj-00822-WEC Filed 02/18/20 Page 218 of 219 Document 1
10.

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12.

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any other user defined settings and/or data, as well as any records associated with such
communications services used to commit drug trafficking offenses;

Records, items and documents reflecting travel for the purpose of participating in drug
trafficking activities, such as passports, airline tickets, bus tickets, vehicle rental receipts,
credit card receipts, taxi cab receipts, hotel and restaurant receipts, canceled checks, maps,
and records of long distance calls reflecting travel;

Indicia of occupancy, residency or ownership of the premises, vehicles, and things
described in the warrant, including utility bills, telephone bills, loan payment receipts, rent
receipts, trust deeds, lease or rental agreements, addressed envelopes, escrow documents
and keys;

Photographs, videotapes or other depictions of assets, firearms, coconspirators, or
controlled substances;

Computers, laptops, or other electronic storage device capable of being used to commit the
violations or store any of the information described above.

As used above, the terms “records” and “information” include all of the foregoing items of

evidence in whatever form and by whatever means they may have been created or stored, including
any form of computer or electronic storage (such as hard disks or other media that can store data);
any handmade form (such as writing, drawing, painting); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

Case 2:20-mj-00822-WEC Filed 02/18/20 Page 219 of 219 Document 1
